Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 1 of 247 PageID #: 512




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


       IN RE:                               )    Case No. 08-13141(KJC)
                                            )
                                            )
       TRIBUNE COMPANY                      )    Chapter 11
                                            )
                                            )    Courtroom 5
                                            )    824 Market Street
                    Debtors.                )    Wilmington, Delaware
                                            )
                                            )    April 13, 2011
                                            )    10:00 a.m.

                            TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                         UNITED STATES BANKRUPTCY JUDGE

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                                     A292                                  4/14/2011
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 2 of 247 PageID #: 513
                                                                                 2


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                                     A293
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 3 of 247 PageID #: 514
                                                                                 3


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                                     A294
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 4 of 247 PageID #: 515
                                                                                 4


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                                     A295
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 5 of 247 PageID #: 516
                                                                                 5


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                                     A296
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 6 of 247 PageID #: 517
                                                                                 6


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                                     A297
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 7 of 247 PageID #: 518
                                                                                 7


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                                     A298
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 8 of 247 PageID #: 519
                                                                                 8


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                                     A299
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 9 of 247 PageID #: 520
                                                                                 9


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                                     A300
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 10 of 247 PageID #: 521
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                                     A301
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 11 of 247 PageID #: 522
                                                                             11


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                                     A302
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 12 of 247 PageID #: 523
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                                     A303
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 13 of 247 PageID #: 524
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                                     A304
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 14 of 247 PageID #: 525
                                                                             14


    1   WILMINGTON, DELAWARE, WEDNESDAY, APRIL 13, 2011, 10:09 A.M.

    2                THE CLERK:    Be seated, please.

    3                THE COURT:    Good morning, everyone.

    4                ALL:   Good morning, Your Honor.

    5                MR. LANTRY:    Good morning, Your Honor.       Kevin

    6   Lantry on behalf of the debtors.

    7                Your Honor, we have circulated to all the third

    8   party objectors the schedule which is largely like we

    9   proposed and presented to you yesterday.         There have been a

  10    few additional changes.      If I may approach with that revised

  11    schedule and a red line?

  12                 THE COURT:    That'd be great.

  13                 MR. LANTRY:    Your Honor, just a couple of

  14    housekeeping things.      We have tried through what both of the

  15    plan proponents filed a large chart on Friday indicating

  16    what has been resolved and what has not been resolved, as

  17    well as, notices that went out to all the third party

  18    objectors either by email or fax or overnight on Friday as

  19    well.   We think we have identified everyone who's been

  20    resolved so that they don't need to be here.          There's always

  21    the chance that something fell through the cracks.

  22                 So what we would suggest having distributed this

  23    list is if someone is here for something that has been they

  24    think resolved or otherwise that isn't on this list, that

  25    they try to see the applicable plan proponents during the




                                     A305
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 15 of 247 PageID #: 526
                                                                              15


    1   first break and talk about it.       I think that's easier than

    2   anything else interrupting.

    3                THE COURT:    All right, I think that's fine.

    4                MR. LANTRY:    In addition, Your Honor, we have

    5   found as of last night in terms of the changes that are on

    6   this list that the Department of Labor's objection to the

    7   noteholders' plan has been resolved so we move that forward

    8   since it was an objection to both plans.         So that's one of

    9   the changes you see there.

  10                 In addition, Your Honor, the PHONES priority and

  11    amount, the parties raising that issue, it is pertinent to

  12    both plans, it's not really objection to both plans.           We

  13    have been hearing from Wilmington Trust that he believes

  14    from chatting with him it may be a very quick administrative

  15    matter.   So we might be able to take care of that early.           I

  16    don't know if it really is, but they have at least asked to

  17    go to the front of the line. I'm not sure we want to grant

  18    that because if everyone wanted to go the front of the line

  19    to get out of here, but I promised that I would at least

  20    raise that with you before we started with the agenda.

  21    Right now it's put toward the end of the day.

  22                 THE COURT:    Well, I'm curious about how it could

  23    be characterized as a quick administrative matter.           And if

  24    someone wants to speak to that briefly, I will hear it.

  25                 MR. YURKEWICZ:     Good morning, Your Honor.




                                     A306
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 16 of 247 PageID #: 527
                                                                              16


    1   Michael Yurkewicz with Klehr, Harrison, Harvey, Branzburg &

    2   Ellers on behalf of Suttonbrook Capital Management.           With me

    3   today is Mr. Larry Gelber of Schulte Roth & Zabel.           He has

    4   been admitted pro hoc in this case.        I ask that he be heard

    5   on this matter.

    6                THE COURT:    Okay.

    7                MR. GELBER:    Good morning, Your Honor.       Lawrence

    8   Gelber of Schulte, Roth & Zabel.

    9                I apologize, sitting in the back I couldn't hear

  10    what the issue was that you had raised that you wanted to

  11    have addressed.

  12                 THE COURT:    Well --

  13    (Laughter)

  14                 THE COURT:    Mr. Lantry indicated that there was

  15    an issue concerning the PHONES which parties wished me

  16    address ahead of that which had been proposed by the parties

  17    in the nature of a quick administrative matter and I'm

  18    curious about what that might be.

  19                 MR. GELBER:    Oh, I'm sorry.     This is a

  20    continuation.    We had a hearing back in January on the

  21    amount on the estimation of the PHONES claims based on the

  22    motion of Wilmington Trust.         We didn't know -- Your Honor

  23    entered an order at that time saying it would be taken up at

  24    the confirmation hearing or in the context of the

  25    confirmation hearing and we just didn't know how Your Honor




                                     A307
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 17 of 247 PageID #: 528
                                                                             17


    1   wanted to deal with that.

    2                THE COURT:    Were you here yesterday?

    3                MR. GELBER:    No I was not.

    4                THE COURT:    You should have been.      And I answered

    5   that question.     Let's go back to the agenda.

    6                MR. GELBER:    Okay.   Thank you, Your Honor.

    7                MR. LANTRY:    Thank you, Your Honor, for that

    8   clarification.

    9                I would only say one other thing in terms of this

  10    will progress today.      We would ask that each of the

  11    objectors try to articulate all of their individual

  12    objections at once so that they will complete their

  13    presentation.    To the extent then the various plan

  14    proponents have a response, we would generally have the DCL

  15    plan proponents' response go first and then the noteholder

  16    plan, if they have something additional to say in response

  17    to those objections.      When there are multiple objectors on a

  18    peer issue, for example, as we get down into the list,

  19    objections to the creditors' trust or objections to the bar

  20    order, we thought it would be better for each of those

  21    objectors to articulate their issues in a non-duplicative

  22    way.   And when that's completed, then the plan proponents

  23    get up and respond.

  24                 I think that's the most efficient way to do it,

  25    but I just thought I would put that out there as what we




                                     A308
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 18 of 247 PageID #: 529
                                                                             18


    1   have tentatively thought would be the most organized way of

    2   doing this.

    3                 THE COURT:    Does anyone have    contrary view?

    4   (No audible response.)

    5                 THE COURT:    I hear no response.

    6                 MR. LANTRY:    In addition, Your Honor, just so you

    7   know, although of the issues have to go through your head in

    8   the end, we have divided our labors and many of us will be

    9   getting up on behalf of the plan proponents and articulating

  10    different points.     Hopefully, we will have orchestrated that

  11    in advance, but I just wanted you to know that a number of

  12    us have divided the labor and so it will be articulated by a

  13    variety of different parties --

  14                  THE COURT:    All right.

  15                  MR. LANTRY:    -- but I think we know who that will

  16    be.

  17                  THE COURT:    That's fine.   I just ask that counsel

  18    remember to identify themselves for the record as they come

  19    up to address each individual objection or response.

  20                  MR. LANTRY:    With that, Your Honor, the first

  21    individual objection is by Kevin Millen.         I don't know if

  22    he's here in the courtroom.

  23                  THE COURT:    Let me ask for the record.      Mr.

  24    Millen are you present in the courtroom or on the telephone?

  25                  MR. LANTRY:    Your Honor, I would ask that my




                                     A309
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 19 of 247 PageID #: 530
                                                                             19


    1   partner, Ken Kansa just briefly articulate the objection for

    2   you in his -- Mr. Millen's absence.

    3                THE COURT:    Okay.

    4                MR. KANSA:    Good morning, Your Honor.       Ken Kansa

    5   of Sidley Austin on behalf of the debtors.

    6                The first objection as Mr. Lantry noted is the

    7   objection of Kevin Millen confirmation.         Your Honor,

    8   although the pleading has been styled as an objection to

    9   both the responsive statements, the disclosure, and the plan

  10    of reorganization, the objection articulates no cognizable

  11    or substantive objection to confirmation of the debtor

  12    committee lender plan.      The pleading is a near verbatim

  13    reworking of the prior pleadings that have been filed by Mr.

  14    Millen in which he seeks allowance of an alleged defamation

  15    claim relating to a 1998 article that was published in the

  16    Hartford Current.     Those claims were disallowed by this

  17    Court pursuant to an order entered on June 14 of last year

  18    at Docket Number 4775.      There has been no appeal so that

  19    order disallowing those claims has long become final.

  20                 There was also a similar pleading filed by Mr.

  21    Millen seeking administrative relief that was disallowed by

  22    this Court on September 13 of last year on a similar basis

  23    to what we would ask the Court to deny the instant pleading

  24    for.   Namely, there was not an articulation by Mr. Millen in

  25    the pleading of any basis on which the Court could grant the




                                     A310
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 20 of 247 PageID #: 531
                                                                             20


    1   relief requested.     For that reason here, we ask that this

    2   confirmation objection to the extent that it's taken as such

    3   be denied, Your Honor.

    4                THE COURT:    Does anyone else wish to be heard in

    5   connection with this objection?

    6   (No audible response.)

    7                THE COURT:    All right.    This objection is

    8   overruled.

    9                MR. KANSA:    Thank you, Your Honor.

  10                 MR. LANTRY:    The next objection, Your Honor is

  11    the Department of Labor and that is an objection just now to

  12    the DCL plan.

  13                 MR. GERSON:    Good morning, Your Honor, Leonard

  14    Gerson.   I'm appearing for the United States Department of

  15    Labor.

  16                 As Mr. Lantry stated at the beginning of this

  17    hearing, an agreement has been reached between the

  18    Department and the noteholders essentially to put off the

  19    resolution of the issue of whether the Secretary's claims

  20    are subject to 501(b) to a time after confirmation and

  21    instead treat those claims as disputed claims.

  22                 There's language that we've agreed on which in

  23    substance that we've agreed upon will be added to the

  24    confirmation order.      I'd like to read it into the record,

  25    please.




                                     A311
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 21 of 247 PageID #: 532
                                                                             21


    1                THE COURT:    Go ahead.

    2                MR. GERSON:    Notwithstanding anything to the

    3   contrary set forth in the noteholder plan or this

    4   confirmation order, the claim filed by the United States

    5   Department of Labor against Tribune Company (the DOL claim)

    6   shall be treated as a disputed other parent claim, which

    7   claims ultimate priority and amount shall be determined by a

    8   final order, unless otherwise agreed to by the parties at a

    9   time in the briefing schedule to be agreed upon by the

  10    parties.    The disputed claim reserve provided the noteholder

  11    plan is deemed sufficient to allow for the satisfaction of

  12    all disputed claims, including the DOL claim in whatever

  13    amount it is ultimately allowed.        Such reserve is deemed

  14    sufficient to rebut any claim that the appeal of any order

  15    disallowing the DOL claim is mooted as a result of the

  16    noteholder plan becoming effective.

  17                 THE COURT:    Thank you.

  18                 MR. GERSON:    That's the end of the language, Your

  19    Honor.

  20                 THE COURT:    All right.

  21                 MR. GERSON:    Now with respect to our objection to

  22    the DCL plan.

  23                 Congress gave the Secretary of Labor the role of

  24    protecting a worker the time in plan from exploitation.

  25    That fundamental goal of ERISA is being undermined by the




                                     A312
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 22 of 247 PageID #: 533
                                                                             22


    1   DCL plans' subordination of the Secretary's claim.           Under

    2   the DCL plan, the Secretary's claims under ERISA will be

    3   paid nothing.

    4                 There are many reasons why a failure to provide

    5   any recovery on those claims should be denied, but the

    6   fundamental failure is the DCL plan proponents ignoring the

    7   difference between claims under ERISA and the claims of

    8   ordinary investors.      501(b) of the Bankruptcy Code as the

    9   Court is aware is directed at preventing investors from

  10    darning the cloaks of predators if their investment goes

  11    south.

  12                  In contrast, the Secretary's claims arise from

  13    violations by the Tribune and the trustee that it appointed,

  14    Great Banc, for a violation of their fiduciary duties under

  15    ERISA.    If the claims were based on the Tribune's

  16    misrepresentations to the ESOP in connection with the sale

  17    of the Tribune stock to the ESOP, the Secretary understands

  18    that those claims would be property subordinated under

  19    501(b).   But ERISA interposes a fiduciary between a plan's

  20    investment decisions and those decisions.         Our claim arises

  21    from the violation of the ESOP's fiduciary, its trustee, the

  22    Great Banc.

  23                  In leaning on ERISA, Courts are careful to

  24    distinguish the claims of shareholders from the claims

  25    arising from violations of ERISA.        For example, in Martin v.




                                     A313
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 23 of 247 PageID #: 534
                                                                             23


    1   Fallon, it was a situation where basically the -- a company

    2   was despoiled by the actions of its management who also to

    3   some extent were fiduciaries and professionals who assisted

    4   them.   The District Court -- the Secretary brought an action

    5   against them.    The District Court found the fiduciaries and

    6   the corporate managers liable for violations of ERISA.            The

    7   Circuit Court reversed in part.        It ruled you had to -- even

    8   though the ERISA plan at issue in that case was an ESOP so

    9   as -- so the ESOP was damaged by the actions taken by the

  10    corporate managers because they were shareholders.           So as to

  11    the extent the corporation was injured, so was the ESOP.

  12                 With respect to ERISA claims, it was necessary to

  13    distinguish what claims were being brought under ERISA and

  14    what claims the defendants were liable because of their

  15    mismanagement of the corporations which would be claims of

  16    shareholders.    To the extent that the District Court's

  17    findings of liability with respect to the ERISA claims

  18    involved violations of fiduciary duties, the Circuit Court

  19    upheld the District Court's findings.         To the extent the

  20    District Court's ruling found the defendants liable under

  21    ERISA for actions involving corporate mismanagement, the

  22    Circuit Court reversed.      And we believe those same

  23    principles are applicable in this case.

  24                 We understand that 501(b) arguably is not limited

  25    to cases involving securities fraud, but is recognized by




                                     A314
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 24 of 247 PageID #: 535
                                                                             24


    1   the Third Circuit there are limits to the 501(b) scope.

    2   It's sometimes argued that 501(b) has remedial purpose and

    3   because it's remedial, it should be broadly construed.            But

    4   ERISA also is a remedial statute.        In fact, that fact is --

    5   Congress stated that fact explicitly in 29 USC 1001.           ERISA

    6   explicitly states that its passage was critical to the

    7   wellbeing of millions of workers and their dependents.

    8   Congress also made their concern for ERISA plan participants

    9   evident of the Bankruptcy Code itself when it provided

  10    priority for failures by employers to make their

  11    contributions to ERISA plans.

  12                 So it would seem strange that on one hand

  13    Congress would provide a priority under the Bankruptcy Code

  14    for contributions to ERISA plans, but at the same time wish

  15    to subordinate other ERISA plans.        That lack of congruity is

  16    also reflected in the treatment of what would be the

  17    treatment of the tax claims in this case under Section 4975.

  18    Section 4975 imposes a penalty upon breaches upon prohibited

  19    transactions under Section 406 of ERISA.         But before that

  20    penalty is imposed, it gives the Department of Labor the

  21    opportunity to work out corrective measures with the

  22    violators.    If the plans are made whole, there's no penalty

  23    imposed.    If our ERISA claims are subordinated, then the tax

  24    claims which ordinarily would be subordinated to the claims

  25    under ERISA if there was corrective action taken, would




                                     A315
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 25 of 247 PageID #: 536
                                                                              25


    1   instead be superior to our ERISA claims.         It's the

    2   Secretary's belief that that simply doesn't make any sense.

    3                Ultimately, what the Third Circuit stated was

    4   that in order to understand the scope of ERISA and the scope

    5   of the claims it covers, one had to examine its -- ERISA's -

    6   - I'm sorry, Section 501(b) legislative history.           And that

    7   history has essentially been universally recognized as

    8   arising from the article by Professors Slain and Kripke

    9   which was used by the Bankruptcy Law Commission and

  10    ultimately by Congress in enacting 501(b).

  11                 Slain and Kripke and Congress recognized there

  12    were two critical corrections that made subordination under

  13    501(b) required.     First, they didn't want to see the equity

  14    cushion provided by investors eroded by having the

  15    investor's claims becoming claims of creditors because that

  16    equity cushion was supposed to be there to protect

  17    creditors.    That protection would be eliminated if those

  18    investors then could darn the cloaks of creditors.           But as

  19    the Court is aware, that's not what happened in the leverage

  20    stock transaction of the Tribune.        The equity cushion was

  21    virtually wiped out by the buyback of shareholder stock and

  22    instead as was evident from the examiner's report, what the

  23    creditors in the leverage buyout were relying upon was not

  24    any equity cushion that might be provided by the ESOP, but

  25    instead, the tax advantages that would be derived from the -




                                     A316
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 26 of 247 PageID #: 537
                                                                              26


    1   - having an ESOP structure for the Tribune.          So

    2   subordinating the Secretary's claims to protect any equity

    3   cushion is simply not a rational in this case.

    4                 Similarly, the other major purpose of

    5   subordinating claims was belief by Congress that investors

    6   had assumed the risk of corporate insolvency rather than

    7   creditors.    And thus it would be unfair to impose upon

    8   creditors that risk that investors had chosen to take.

    9   However, in this case, it is clear that the lenders knew --

  10    were very well aware of the risks that were involved with

  11    the potential insolvency.

  12                  I mean, that's really the crux of the debate

  13    going on between the noteholder plan and the DCL plan as the

  14    extent to which those claims should be settled.           In

  15    contrast, the workers were given no choice.          The ESOP was

  16    imposed upon them as opposed to the 401K plan which they

  17    previously provided retirement benefits for them.           So that

  18    alternative reason for providing or subordinating claims

  19    under 501(b) also is irrelevant with respect to the facts in

  20    this case.

  21                  In addition, as the Court is aware, 501(b) is

  22    directed at claims arising from the purchase and sale of

  23    securities.    There was -- as everyone involved in this case

  24    knows, this -- the ESOP leverage transaction was viewed as a

  25    two step process.     As part of the first step, the ESOP




                                     A317
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 27 of 247 PageID #: 538
                                                                             27


    1   purchased the Tribune's shares.        The second step involved a

    2   merger of a wholly owned ESOP subsidiary and the Tribune.

    3   That Great Banc, the Tribune's trustee could have decided

    4   not to go forward with that merger independent of the

    5   purchase of stock that had been made.         The ESOP transaction

    6   still would have involved some kind of loss for the ESOP

    7   because the stock they purchased obviously wasn't worth $250

    8   million, but the value of that stock was greatly diminished

    9   by going through with the merger transaction.          And of which

  10    ultimately led to the insolvency of the debtors.

  11                 So -- and the Tribune appointed Great Banc as the

  12    ESOP's trustee.     Because of that appointment, it too, was --

  13    Tribune also was a fiduciary to the ESOP.         As a fiduciary,

  14    it had an obligation to disclose to the -- to Great Banc any

  15    information that was relevant to the decisions that Great

  16    Banc might make in connection with its duty as trustee.            As

  17    the Court is aware from the examiner's report, offices of

  18    the Tribune failed to disclose critical information about

  19    the likely insolvency of the Tribune if Step 2 went forward.

  20    As far as the secretary is aware, that information also was

  21    not imparted to Great Banc.         And under the law, the

  22    knowledge of a company's offices are inputted to the

  23    corporation.

  24                 So by failing to disclose that critical

  25    information to Great Banc and failing to take any action to




                                     A318
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 28 of 247 PageID #: 539
                                                                             28


    1   prevent Great Banc from going through with the merger, the

    2   Tribune violated its obligations under Section 404 of the --

    3   of ERISA for acting with prudence, loyalty, and also its

    4   obligations under Section 405 of ERISA to seek to remedy any

    5   violations of a co-fiduciary that it becomes aware.

    6                In addition to subordinating the Secretary's

    7   claims against the Tribune, the DCL plan also seeks to

    8   subordinate the Secretary's claims against the Tribune

    9   subsidiaries.    They don't even attempt to argue that Section

  10    501(b) is applicable to that subordination which it is

  11    clearly not even if 501(b) applied in this case,

  12    appropriately applied in this case to the Secretary's claims

  13    which we don't believe is the case.        With respect to our

  14    claims against the subsidiary, it would only subordinate

  15    those claims to the claims of other creditors of the

  16    subsidiary, not to claims against the parent company.

  17                 501(b) also requires that if a claim is

  18    subordinated under 501(b), the subordination go no further

  19    than treating claims of common stock, claims of equity

  20    interests and the subordinated claims on par.          That's not

  21    what the DCL plan does.      It leaves equity interest in the

  22    subsidiaries unimpaired while it pays nothing on the

  23    Secretary's ERISA claims.

  24                 In their responsive papers, the debtors have

  25    argued that it's okay to leave the equity interests




                                     A319
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 29 of 247 PageID #: 540
                                                                             29


    1   unimpaired while paying nothing on the claims against -- the

    2   Secretary's claims against the subsidiaries because those

    3   would be "extra costs that would be incurred unnecessarily."

    4   But the fact that additional costs might be incurred is no

    5   basis to override Congress' explicit direction in 501(b)

    6   that subordinated claims and claims of equity holders be

    7   treated on par.

    8                The case that the DCL proponents rely upon Ian

    9   Media involved an objector who is described by the Court as

  10    simply an obstructionist and not even a party of interest, a

  11    characterization that certainly can't be applied to the

  12    Secretary's claims.      More importantly, the Court in Ian

  13    Media also stated that to the extent that any value was

  14    being allocated to the equity interests as a result of

  15    causing them -- leaving them unimpaired, that that was

  16    appropriate under the gift doctrine.         As the Court is aware,

  17    the gift doctrine allows secured creditors to if they

  18    choose, to give some of the distributions they would

  19    otherwise be entitled to lower priority creditors

  20    essentially in order to get a plan confirmed.

  21                 THE COURT:    Maybe not in the Second Circuit

  22    anymore.

  23                 MR. GERSON:    I haven't read that case, Your

  24    Honor.

  25                 THE COURT:    We'll see how it falls out.




                                     A320
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 30 of 247 PageID #: 541
                                                                              30


    1                MR. GERSON:    But what's critical in this case is

    2   that the senior lenders are giving some of the distributions

    3   that otherwise might be entitled to not -- their allocating

    4   it to other classes not as a gift, but in order to get some

    5   real relief.    They're getting a release.       That's what the

    6   DCL plan is all about.      So the gift doctrine is inapplicable

    7   to this case.

    8                It's -- the fact that value is being allocated is

    9   also reflected in the fact that with respect to the non-

  10    guarantor subsidiary debtors, there are cash payments being

  11    made by the senior lenders to those non-debtors.           If there

  12    was no value being allocated, there would be no reason to

  13    pay -- make any payments to those non-guarantor debtors.

  14                 In addition, the definition of securities

  15    litigation claims in the debtors -- in the DCL plan is not

  16    limited to claims subordinated under 501(b), but it includes

  17    -- the definition includes any claims under ERISA.           That's

  18    not a legal basis for subordinating a claim under the

  19    Bankruptcy Code.     I don't know if the DCL proponents have

  20    any basis to subordinate any claims other than Section

  21    501(b), but they haven't stated that.         And the definition of

  22    securities litigation claims needs to be amended to reflect

  23    the fact that it's limited to claims under Section 501(b)

  24    which the Secretary understands is the issue before the

  25    Court, but not simply claims under ERISA.         And the




                                     A321
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 31 of 247 PageID #: 542
                                                                             31


    1   definition has additional breath that, you know, is not

    2   particularly decipherable.

    3                The Secretary objected to the exculpation

    4   provision in the DCL plan.       The DCL plan proponents have

    5   modified the exculpation provision to limit it to post-

    6   petition actions rather than encompassing the pre-petition

    7   actions as their initial plan provided.         But there are

    8   significant defects that remain.

    9                First, the exculpation provision covers not only

  10    officers of the -- not only covers people involved in the

  11    formulation of the plan, the debtors and their

  12    professionals, or the committee and its professionals, it

  13    covers related persons whose broad definition includes

  14    present or former employees, and similarly broad scope

  15    including people not in -- I know of no ruling that allows

  16    the definition of, you know, of an exculpation provision to

  17    include non-debtor parties to that extent who haven't been

  18    involved in the formulation of the plan.

  19                 And that's a second significant problem with the

  20    exculpation provision.      It's not limited to actions taken in

  21    the formulating of a plan, it extends to all post-petition

  22    operations of the debtors.       That's not the appropriate scope

  23    of an exculpation provision.        Exculpation provisions are

  24    supposed to protect individuals involved in the formulation

  25    of Chapter 11 plans so they don't have to worry about being




                                     A322
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 32 of 247 PageID #: 543
                                                                             32


    1   sued sometime later.      And so they can have -- they're free

    2   to exercise their judgment to the best extent possible.

    3                Another essential objection we had to the

    4   exculpation provision was that it violates ERISA because it

    5   eliminates -- it would free from liability actions for

    6   negligence or any other claims that didn't arise from either

    7   gross negligence or willful misconduct.         I guess the major

    8   support for the exculpation provision in the DCL plan was

    9   the Third Circuit's PWS opinion.        But in PWS, that was

  10    before 2005 when the Bankruptcy Code was enacted -- I'm

  11    sorry, was amended.

  12                 THE COURT:    I knew what you meant.

  13                 MR. GERSON:    Thank you, Your Honor.

  14                 THE COURT:    I was there at enactment, I remember.

  15    (Laughter)

  16                 MR. GERSON:    To specifically provide that Chapter

  17    11 debtors, trustees, would they have the obligation for

  18    administering ERISA plans.       The opinion in PWS was premised

  19    on the fact that the freedom of liability -- the limitations

  20    in liability it was providing was no greater than what was

  21    ordinarily provided to creditor's committees under 1103.

  22    But it didn't have the opportunity to consider the effect of

  23    ERISA with respect to that exculpation provision because

  24    that then was not an obligation of the debtors and Chapter 7

  25    trustees.




                                     A323
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 33 of 247 PageID #: 544
                                                                             33


    1                THE COURT:    Well let me ask you this.       How would

    2   you describe the interplay between ERISA and the Bankruptcy

    3   Code?   Is there merely tension?       Is there conflict?     Is

    4   there ambiguity in the Bankruptcy Code's language?           How

    5   would you articulate that dynamic?

    6                MR. GERSON:    Generally or just with respect to

    7   the Secretary's claims in this case?

    8                THE COURT:    I would say the latter.

    9   (Laughter)

  10                 MR. GERSON:    Well I think by requiring a Court to

  11    look to the legislative history in order to determine the

  12    scope of 501(b), it -- there's -- you know, there's a

  13    recognition that the language in 501(b) is not crystal

  14    clear, but --

  15                 THE COURT:    Well, typically, Courts look to

  16    legislative history when they determine -- well they do it

  17    in two instances.     One, when they determine the language of

  18    the statute may not be clear.       And/or to support a view that

  19    they've reached that the language is clear and here's why.

  20    So despite admonitions that Courts in cases in which the

  21    statute is clear shouldn't delve too deeply into legislative

  22    history, it seems they do so anyway.

  23                 MR. GERSON:    That's -- I think that's a correct

  24    observation, Your Honor.      I guess the problem that the

  25    tension that arises, the difficulty is a difficulty that




                                     A324
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 34 of 247 PageID #: 545
                                                                             34


    1   arises in frequently in non-bankruptcy situations where a

    2   Court is -- where there's an overlapping of facts and the

    3   Court's are required to distinguish well, what's a violation

    4   of ERISA.    And what's the violation of the shareholder's

    5   rights?    And when the shareholders are -- is an ERISA plan,

    6   the -- you know, the analysis can sometimes get complicated.

    7                So and that's why -- but I think there's a clear

    8   way of looking at it by determining well what actions were

    9   corporate actions to which the ESOP might have suffered

  10    because there were shareholders and what did they suffer?

  11    What -- because of violations of ESOP fiduciaries which

  12    include the Tribune.      But in this case, I don't think when

  13    the claims get -- if, in fact, we get over the hurdle of the

  14    plan and we analyze the claims, they become disputed claims,

  15    then the Court will be in a position where it's going to

  16    have to make that distinction as to what was a claim for

  17    fiduciary breach and what was simply a claim for corporate

  18    mismanagement that the ESOP suffered.         But the blanket

  19    provision in the DCL plan which simply subordinates all

  20    ERISA claims to 501(b), doesn't provide -- doesn't allow for

  21    the necessary analysis.

  22                 THE COURT:    All right, Mr. Gerson, you need to

  23    wrap up.

  24                 MR. GERSON:    That's a wrap, Your Honor, thank

  25    you.




                                     A325
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 35 of 247 PageID #: 546
                                                                              35


    1                THE COURT:    All right, thank you.

    2                MR. KRAKAUER:    Good morning, Your Honor.       Bryan

    3   Krakauer on behalf of the debtors.        I'll be addressing the

    4   objection to the -- of the Department of Labor.

    5                Let me start out by saying the issues raised by

    6   the DOL are pertinent to both the DCL plan and the

    7   noteholder plan.     Although the objection to the noteholder

    8   plan has now been resolved, they've resolved it by pushing

    9   the issue of subordination to a later date if the noteholder

  10    plan is confirmed, but it's still very much an issue in both

  11    plans as to the proper treatment of the DCL claim.           The DCL

  12    has asserted unliquidated claims against both the Tribune

  13    parent and the subsidiaries.        And although the claims are

  14    unliquidated in their face, they indicate in discussions

  15    that they may assert very large claims of potentially

  16    hundreds of millions of dollars.

  17                 All these claims arise by their own admission

  18    from the Tribune's ESOP and what they assert are purported

  19    violations of ERISA.      The claims themselves if it was ever

  20    got to the merits are very much disputed, but today is not

  21    the time to talk about that.        The issue is in our plan is

  22    even if they were determined to be allowed claims, whether

  23    they're properly subordinated under 501.

  24                 Both plans classify ERISA claims relating to the

  25    ESOP as securities claims which are subordinated pursuant to




                                     A326
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 36 of 247 PageID #: 547
                                                                             36


    1   501(b).   The DCL plan defines securities litigation claims

    2   and then provides that securities litigation claims are

    3   extinguished are -- because they're subordinated, there was

    4   nothing there for them and, therefore, they're extinguished.

    5   The noteholder plan also contains a definition of

    6   subordinated securities claims which defines to include

    7   ERISA claims.    And provides that if a claim is found to be a

    8   subordinated securities claim, that it does receive nothing.

    9   The one difference is the DCL plan specifically refers to

  10    the Department of Labor claim, whereas the noteholder plan

  11    just refers to claims based on ERISA.

  12                 The DCL plan does provide that the claims are

  13    extinguished.    The purpose is so that the debtor can emerge

  14    without the overhang of this claim.        Pursuant to the DCL

  15    plan, claims at the parent are paid north of 30 cents on the

  16    dollar and claims against the subs are essentially paid in

  17    full.   So having a large unliquidated claim that's still to

  18    be litigated is a significant overhang.

  19                 And as far as what the Department of Labor claims

  20    consist of, they all arise from the Tribune common stock

  21    acquired by the ESOP in the leverage ESOP transaction.            The

  22    Tribune stock is the only asset of the ESOP.          The ESOP

  23    acquired the stock by issuing a non-recourse note to Tribune

  24    which was payable through yearly contributions by Tribune to

  25    the ESOP which are applied against the note balance.           The




                                     A327
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 37 of 247 PageID #: 548
                                                                             37


    1   DOL asserts that the ESOP's acquisition of that stock

    2   violated ERISA.     The DCL also asserts that various other

    3   actions or inactions including as they've said the

    4   consummation of Step 2 of the leverage ESOP transaction

    5   reduced the value of that ESOP stock and also violated

    6   ERISA.

    7                But the common nexus for the DOL claims are

    8   they're all based upon the stock, the Tribune stock.

    9   They're all based upon either the acquisition of that stock

  10    or on losses relating to that stock.         And essentially what

  11    the DOL is trying to do is assert a claim to recover for

  12    losses related to that stock or claims based on the

  13    acquisition of that stock.

  14                 501(b) provides for the subordination of claims

  15    among other things, arising from the purchase or sale of the

  16    security of the debtor.      The debtor here, the Tribune or an

  17    affiliate of the debtor.      So it would apply to claims

  18    against the subs because the Tribune is an affiliate of

  19    those debtors as well.      And the remedy under 501(b) is that

  20    such claims shall be treated as subordinated.          And in the

  21    case of common stock like we have here, they're at the same

  22    priority as the common stock of Tribune.         So they're treated

  23    as at the end of the priority chain.         And there's nothing

  24    here for common stock of the Tribune in this plan.

  25                 The Third Circuit's decision in Telegroup is the




                                     A328
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 38 of 247 PageID #: 549
                                                                             38


    1   leading decision quite obviously in this circuit.           And it

    2   rejected the theory advocated by the DOL here that 501(b) is

    3   narrowly limited to claims arising solely from securities

    4   laws or other illegality in connection with the stocks

    5   issuance and not anything after issuance.         The Third Circuit

    6   found that the claims subject to 501(b) extend to claims

    7   which have a nexus with a debtors' common stock that arise

    8   either connection with the acquisition of the stock or which

    9   afterwards arise in connection with actions or inactions

  10    after the acquisition of the stock.        And particularly, the

  11    Court noted that 501(b) subordinates claims due to a decline

  12    in the value of that stock that occurs after acquisition.

  13    And the nexus test under 501(b) according to Telegroup is

  14    whether the claims would exist but for the claimant's

  15    purchase of the stock.      The claimant here being the ESOP.

  16                  The view that 501 must be applied broadly to

  17    claims based on asserted debtor wrong which resulted in a --

  18    any claims based on asserted debtor wrong which is based --

  19    resulted in diminution, excuse me, diminished equity value

  20    is not also limited at the Third Circuit.         It's been

  21    followed consistently by every Court of Appeals that's

  22    looked at this issue.      The Second Circuit in Med Diversified

  23    has a case.    The Fifth Circuit in Seaquist has a case.          The

  24    Tenth Circuit in Geneva Steel has a case.         And the Ninth

  25    Circuit has addressed the issue and come to the same




                                     A329
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 39 of 247 PageID #: 550
                                                                             39


    1   conclusion in Beta Comp.

    2                There is no Court of Appeals which has agreed

    3   with the DOL in terms of the limitation that they're arguing

    4   for under 501.     And the Telegroup standard is clearly

    5   satisfied here.     All of the claims relate to the ESOP

    6   Tribune stock acquisition and actions after that acquisition

    7   that had some effect on the stock.        That's what is at issue

    8   in connection with the DOL claims.

    9                The DOL's argument that ERISA claims are

  10    different and are not subject to subordination under 501 is

  11    simply wrong.    There is no case out there that has held or

  12    even suggested that.      Telegroup --

  13                 THE COURT:    Is there any case out there that

  14    subordinated a government claim?

  15                 MR. KRAKAUER:    Yes.   There's a case called

  16    Lantico which is at cited in our brief at 116BR 141 Eastern

  17    District of Missouri.      Specifically, the DOL was a party to

  18    that case.    It came in and asserted an ERISA claim based on

  19    a violation, an ERISA violation of an ESOP and the Court

  20    found that its claim was subordinated.         It's directly on

  21    point.

  22                 You also have in addition to the general finding

  23    of Telegroup, you have cases like Enron which dealt with

  24    KERP's and 401k's and found that those claims were all

  25    subordinated, as well as, stock options for employees.            You




                                     A330
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 40 of 247 PageID #: 551
                                                                             40


    1   have Med Diversified which found with respect to employee

    2   compensation agreement claims which is essentially what

    3   we're also talking about here that those were subordinated.

    4                THE COURT:    In a decision that I rendered in

    5   Touch America, I discussed both Telegroup and Enron.           Is

    6   there anything in my decision that would weigh against the

    7   debtors' position here?

    8                MR. KRAKAUER:    I haven't found anything in your

    9   decision which weighs against our position.          I found there

  10    are certainly things in your decision which are directly

  11    pertinent, I believe, and weigh against the DOL position.

  12    Among other things, in Touch America, you found that 501 is

  13    not limited by who is holding the claim.         And the issue

  14    there, if you recall, was the claimant's argued that 501 was

  15    limited to shareholders asserting claims.         And that was also

  16    a -- these were claims that were asserted for

  17    indemnification and contribution.        And they were based on

  18    ERISA violations in connection with an ESOP.          And the D's

  19    and O's came in said we're not shareholders, we're not

  20    covered by 501.

  21                 And this Court looked at Telegroup and the

  22    principles of Telegroup.      I remember you looked Enron as

  23    well and said that's not the way the statute is intended.

  24    That's not what other Courts have found.         And that, indeed,

  25    you looked to the nature of the claim whether it arises from




                                     A331
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 41 of 247 PageID #: 552
                                                                               41


    1   stock and in essence whether it's an attempt to recover for

    2   lost value of the stock or for some impropriety based on the

    3   acquisition of the stock.       And if it is, then it's covered

    4   by 501.   That's what you indicated was the proper result in

    5   Touch America and I think it's exactly right.          It's

    6   consistent with all the other cases out there.

    7                 Your Honor, the point about subsidiaries I also

    8   want to address is that subordination and extinguishment of

    9   the claims against the subsidiaries in this case is also

  10    absolutely required.      Mr. Gerson from the DOL was wrong when

  11    he said that we don't -- haven't argued that 501(b) is

  12    applicable.    501(b) is applicable.      And as I recited at the

  13    beginning of this argument, 501(b) applies to claims based

  14    on the stock of an affiliate.       And here any claims that the

  15    DOL has against subsidiaries apart from the other reasons

  16    why we would dispute them, we would say even if they had

  17    claims, they're based again on ESOP's dealings, ESOP's

  18    acquisition and ownership of the Tribune stock and that's

  19    the stock of an affiliate.

  20                  And what 501(b) then says is if you have a claim

  21    based on that security and the damages associated with that

  22    security, then that claim is subordinated to the same level

  23    as such security here, the common stock of the parent.            So

  24    under 501, you have a very straightforward reading the test,

  25    of the text of the statute which says that those claims are




                                     A332
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 42 of 247 PageID #: 553
                                                                             42


    1   simply subordinated to the same level as common stock of the

    2   parent company.

    3                The one case they cite and I'll -- I'm going to

    4   probably butcher the name, but Lesby and Hauck [ph] -- let

    5   me look it up, L&H.

    6                MR. GERSON:    Lerner and Hasbith [ph].

    7                MR. KRAKAUER:    Lerner and Hasbith, thank you.

    8   Which dealt with an issue of claims against a subsidiary and

    9   whether they were, in fact, subordinated to those -- the

  10    parent claims.     It was very different.      There the party had

  11    independent dealings with the subsidiary.         Alleged that the

  12    subsidiary independent of any issue related to the stock or

  13    damage to the stock had damaged it.        And the Court simply

  14    found that those independent claims didn't follow the stock.

  15    That's not the situation here.       Here, the whole nexus is

  16    what the ESOP did at the parent and what happened with the

  17    stock.   So that does not apply.

  18                 Second, the issue, the next issue is how do you

  19    treat -- even if you didn't have 501(b) which is dispositive

  20    is there any issue with respect to keeping the equity of the

  21    subs owned by the parent in this situation?          Does that

  22    somehow violate some absolute priority rule?          And the case

  23    law is that it does not.      Ian Media which is a case we cited

  24    is right on point.     It doesn't depend upon the gifting

  25    argument.    There is a footnote where Judge Pack in Ian Media




                                     A333
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 43 of 247 PageID #: 554
                                                                             43


    1   says by the way, I could if I wanted also to justify this on

    2   gifted.   And as you point out with the recent Second Circuit

    3   ruling, at least in the Second Circuit that's more of an

    4   issue, but that's not the basis of his holding. That was

    5   just an alternative saying that he could find that on that

    6   basis as well.

    7                The basis of his holding as he says you look at

    8   whether or not you have a creditor who is recovering

    9   something additional by virtue of keeping the equity in

  10    place.    And if you're using the stock of the subs to provide

  11    something to a creditor that is violative of the absolute

  12    priority rule, that's one thing.        But if you're keeping the

  13    stock in place because your purpose is that it reduces cost,

  14    it avoids the unnecessary cost and hassle frankly of

  15    reorganizing and starting with all new entities and doing a

  16    mirror structure with, you know, spending all the lawyer

  17    time and I think we've had enough lawyer time in this case

  18    trying to recreate the debtor subsidiary structure and

  19    you're doing it as a matter of convenience to keep an

  20    existing structure in place because it's an efficient one,

  21    that is perfectly fine and that not a violative of the

  22    absolute priority rule.

  23                 And here, that's all that's happening.         You have

  24    merely a situation where the administrative structure of the

  25    various entities is being kept in place because it's an




                                     A334
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 44 of 247 PageID #: 555
                                                                             44


    1   efficient structure.      It's not to provide additional value

    2   to any other -- to any peer core party.         It's just to keep

    3   these entities in place rather than going to the cost of

    4   creating new ones and mirroring it.        What you could do is

    5   just be very -- is just an additional cost and expense to do

    6   it.   So when you look to the purpose of it, Ian Media makes

    7   clear that that -- you are not violating the absolute

    8   priority rule.

    9                And then finally, this can also be justified

  10    based on simply new value.       I mean, there is money coming

  11    out of the Tribune parent that's going off that's going to

  12    pay for claims against subsidiaries.         There's also value

  13    coming from the senior lenders that's going to creditors of

  14    the subsidiaries and that's all new value and it's perfectly

  15    standard and appropriate.       It doesn't have anything to do

  16    with gifting to provide that in return for that new value

  17    given, that the stock is kept by the parent.

  18                 So I don't believe there's any issue with regard

  19    on three different points with regard to keeping those

  20    equity interests in place.       And it's not violative of

  21    anything and it's perfectly appropriate to subordinate the

  22    claims against the subs as well.

  23                 Then I should I also point out that 501(b) is not

  24    a discretionary statute.      If it applies, then the

  25    subordination is mandatory.         And there's a number of cases




                                     A335
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 45 of 247 PageID #: 556
                                                                             45


    1   that said that. There's one that came out as recently as

    2   January 19 of this year called Deep Marine which is a

    3   decision by the Bankruptcy Court in Texas and it says

    4   exactly that, if 501(b) applies, it has to be applied.

    5                  So in sum, this is a clear case under a whole

    6   range of rulings that these claims must be subordinated and

    7   they're -- and they are entitled to subordination under

    8   501(b).   And there's really no case law out there to the

    9   contrary.    All the cases are consistent.       All the Circuit

  10    Courts including the Third Circuit have viewed 501(b) very

  11    expansively.    And when you get to what all those cases say

  12    in terms of its purpose is this a situation where somebody

  13    is trying to in essence get a recovery on account of the

  14    diminished value of stock?       That is what this is about and

  15    there's no real dispute about that and 501(b) applies and

  16    subordination is appropriate.

  17                 Then the final point is with regard to

  18    exculpation.    The provision as Mr. Gerson has pointed out,

  19    we did make clear as was originally intended, but we now

  20    make absolutely clear, it's only intended to apply to post-

  21    petition conduct.     The provision with regard to estate

  22    fiduciaries which is what the DOL is looking at in terms of

  23    officers and employees of the debtor which is where they're

  24    focused on is consistent with what we've done.          Is

  25    consistent with what the Court found appropriate in PWS.




                                     A336
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 46 of 247 PageID #: 557
                                                                              46


    1   That's what we based on this provision on.

    2                And Mr. Gerson is incorrect in saying that PWS

    3   only dealt with the proposal -- proposing a plan.           The

    4   language in -- that was approved in PWS said it was

    5   appropriate to have an exculpation that was relating to and

    6   arising out of the Chapter 11 cases.         For basically all

    7   conduct relating to and arising out of the Chapter 11 cases

    8   by estate fiduciaries.      And that's what the provision we

    9   have here does provide.

  10                 Now Mr. Gerson had said that he believes that

  11    ERISA provides -- it's a different standard in that it is

  12    not legally appropriate or not legally allowed to change

  13    that standard in this exculpation.        We disagree with that,

  14    but what we've done with the exculpation is provide that it

  15    applies only to the extent legally permissible.           So to the

  16    extent that there is an argument is that it is simply

  17    unlawful to change the ERISA standard and the exculpation

  18    can't do that as a matter of law, that's -- the argument's

  19    still there because we're -- we've made the exculpation

  20    subject to it being legally permissible.         So the Court does

  21    not have to find that issue today.

  22                 Your Honor, I think I've tried to keep this short

  23    and to the point just to summarize what our view is.           But

  24    this is an important issue for allowing the debtor under

  25    whatever plan to emerge unencumbered by this claim.           It




                                     A337
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 47 of 247 PageID #: 558
                                                                             47


    1   could be a very substantial claim if it's not subordinated

    2   and it's very important so I wanted to make sure you

    3   addressed it.

    4                THE COURT:    All right, thank you.

    5                MR. KRAKAUER:    Thank you.

    6                THE COURT:    Mr. Gerson, keep your seat.       And the

    7   reason is that I think if we go to rebuttal on these

    8   objections, we will just never get done.

    9                MR. DUBLIN:    Your Honor, if I may just for one

  10    minute.    Phil Dublin, Akin Gump for Aurelius and the other

  11    noteholder plan proponents.

  12                 I'd just like to correct something that Mr.

  13    Krakauer said on the record just so that everybody is clear.

  14    He made the statement that the noteholder plan like the DCL

  15    plan, does not provide for any recovery to subordinated

  16    creditors.    The way our plan operates is that we have trust

  17    interests for creditors that are entitled to receive an

  18    initial distribution like subordinated creditors who have to

  19    turn over anything they would receive or are just not

  20    entitled to receive anything until senior creditors are paid

  21    in full.    So based on the success of the LBO related causes

  22    of action, we would expect that subordinated creditors may

  23    actually receive a recovery in our cases.                  I also

  24    question whether based on the modifications that have been

  25    made to the debtor, committee, lender plan where the now




                                     A338
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 48 of 247 PageID #: 559
                                                                             48


    1   have -- are not releasing the intentional fraud claims or

    2   any claims against the Step 1 shareholders other than

    3   certain small dollar denomination ones, whether now you may

    4   actually come in in their litigation trust causes of action

    5   that would likewise be able to flow to subordinated

    6   creditors.    Thank you, Your Honor.

    7                MR. JOHNSTON:    Your Honor, Jim Johnston of Dewey

    8   & LeBoeuf on behalf of Oaktree and Angelo Gordon.

    9                I just wanted to make one observation based on

  10    something that we heard for the first time this morning.            So

  11    I wasn't able to convey my comments to Mr. Krakauer.           And it

  12    relates to the apparent resolution of the DOL objections to

  13    the noteholder plan.      As I understood what was read into the

  14    record, those objections are resolved by essentially

  15    agreeing to kick down the road the dispute over

  16    subordination of the DOL claim against Tribune Company with

  17    the implication being that all of the claims of the DOL

  18    against the subsidiaries go away.                    I wanted to

  19    point out that that essentially drives home one of the

  20    points that we make which is that there is no their, their

  21    with respect to DOL claims against the subsidiaries.           To the

  22    extent that there's any claim whatsoever that the DOL

  23    asserts, it is subordinated.        But more importantly, it's a

  24    claim against Tribune, the entity with the ESOP.           The entity

  25    whose stock is at issue.      And I think by agreeing to get rid




                                     A339
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 49 of 247 PageID #: 560
                                                                             49


    1   of the claims against the subsidiaries in the context of the

    2   noteholder plan, it really affirms the point that there is

    3   no legitimate claim by the DOL against the Tribune

    4   subsidiaries.    Thank you.

    5                THE COURT:    Thank you.    All right.    Shall we turn

    6   to Great Banc?

    7                MR. GERSON:    Your Honor, may I be heard one

    8   minute?

    9                THE COURT:    I'll tell you what, Mr. Gerson, let's

  10    do this.    Let me -- and I --

  11                 MR. GERSON:    Literally one minute.

  12                 THE COURT:    I may regret this later, but what I

  13    may do is permit the objectors to make post hearing

  14    submissions, okay?     And I'll deal with that at the end of

  15    the day today.     But I really -- I want to be able to get

  16    through these things today.

  17                 MR. GERSON:    Thank you.

  18                 THE COURT:    Okay.

  19                 MR. RICH:    Good morning, Your Honor.       My name is

  20    Jeffrey Rich.    I'm from the firm of K&L Gates and we

  21    represent Great Banc as trustee of the ESOP.

  22                 Your Honor, I'll try and be brief.        You've heard

  23    -- as you know that the plan provides that securities

  24    litigation claims will be extinguished, not subordinated.

  25    That is the words of the plan that the DCL proponents have




                                     A340
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 50 of 247 PageID #: 561
                                                                              50


    1   put forth.

    2                Without conceding whether or not Great Banc has a

    3   securities litigation claim because obviously that is

    4   something for another day, Great Banc's objection

    5   essentially is that if it is a 501(b) claim by virtue of the

    6   statute it has to be subordinated, not extinguished.             It may

    7   be economically the case that it is remote or extremely

    8   remote or maybe even impossible that there will ever be a

    9   distribution to subordinated creditors under the DCL plan,

  10    but that is not a fact as of today.        And 501(b) does not say

  11    these claims are extinguished, it says these claims are

  12    subordinated.    So all that Great Banc is asking is that that

  13    section of the plan be revised to say that instead of these

  14    claims being extinguished, they are subordinated.           And then

  15    that really is the argument, Your Honor.

  16                 THE COURT:    Thank you.

  17                 MR. KRAKAUER:    Your Honor, again, Bryan Krakauer

  18    for the debtors.     I'll make this brief.

  19                 First, I do apologize to Mr. Dublin.         He's

  20    correct about what their plan provides.

  21                 Here, the subordination under the code is to the

  22    same level as common stock.         There's been -- there has been

  23    a lot of testimony in this case about -- presented about

  24    what values are and what values of the claims are.           And in

  25    terms of common stock, what its provided is the common stock




                                     A341
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 51 of 247 PageID #: 562
                                                                             51


    1   is simply extinguished because there's been no showing that

    2   there's any value associated with common stock.           If Great

    3   Banc wanted to come in and show that there was, in fact,

    4   value there, they had an opportunity during the evidence

    5   phase of this case to do that.        They didn't do that.

    6   There's no showing that there's value there.          And why common

    7   stock?    We've simply provided that those are going to be

    8   extinguished.

    9                THE COURT:    Sir, is there any confirmed plan that

  10    supports your view?

  11                 MR. KRAKAUER:    Any confirmed plan?      It's pretty

  12    common in confirmed plans to provide that common stock gets

  13    extinguished when there's no value.

  14                 THE COURT:    No, I'm talking about specifically

  15    with respect to the one remaining objection Great Banc has

  16    and that is that it should say subordinated, but not

  17    extinguished.    It seems to me as a matter of plain statutory

  18    reading that that's a fair objection.

  19                 MR. KRAKAUER:    With respect --

  20                 THE COURT:    And, you know, Great Banc

  21    acknowledges --

  22                 MR. KRAKAUER:    Yeah.

  23                 THE COURT:    -- as a matter of economics, it may

  24    end up being the same thing, but we now don't know that

  25    really.   And, in fact, if what you're suggesting and I think




                                     A342
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 52 of 247 PageID #: 563
                                                                             52


    1   it is that in every case in which a class is proposed to be

    2   subordinated, they've got the burden to come in and give

    3   valuation testimony, I will you tell you, I decline

    4   respectfully to burden myself with that exercise --

    5   (Laughter)

    6                THE COURT:    -- and anyone else who might be

    7   involved.

    8                MR. KRAKAUER:    Your Honor, it is the case in most

    9   reorganizations and this is reorganization, that where you

  10    provide for -- when you try -- you provide for who's going

  11    to get what in terms of the various classes of

  12    consideration, right?      And here, we've done that.

  13            With respect to the Tribune itself, it's emerging and

  14    it's determining what various classes are going to get.            And

  15    if somebody comes in and says that they are entitled to

  16    something, there has to be some evidence in there that

  17    there's some value there and there just -- it just isn't

  18    here.   I do understand your point with regard to the

  19    litigation trust which is I think what you're saying which

  20    is under our plan.     And, you know, that's where end up.

  21                 THE COURT:    Okay.    The objection is sustained.

  22                 MR. KRAKAUER:    Okay, thanks.

  23                 MR. DUBLIN:    Thank you, Your Honor.

  24                 MR. KANSA:    Your Honor, this progresses us to the

  25    next section where we have objections to both plans.           I




                                     A343
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 53 of 247 PageID #: 564
                                                                               53


    1   don't know if you want to break now or progress with the

    2   Zell EGI objections?

    3                 THE COURT:   All right.      We'll take a ten minute

    4   break.

    5   (Recess from 11:23 a.m. to 11:35 a.m.)

    6                 THE CLERK:   All rise.      Be seated, please.

    7                 THE COURT:   Let's press on.

    8                 MR. BRADFORD:    Good morning, Your Honor.       David

    9   Bradford, Jenner & Block on behalf of Mr. Zell and EGI-TRB.

  10

  11                  Your Honor, we occupy the next several topics on

  12    the agenda.    I'm going to address first our objections as to

  13    the pursuit of claims against Mr. Zell not being fair and

  14    equitable to creditors and why it is a waste of their assets

  15    to pursue frivolous claims.          I'm also going to address why

  16    if those claims are permitted as part of either plan, the

  17    exculpation provisions of those plans should be stricken or

  18    modified and the restrictions on indemnification for legal

  19    fees for existing directors and officers should also be

  20    eliminated.    And finally, why if those plans are permitted

  21    to go forward with claims against Mr. Zell, Aurelius, and

  22    the PHONES have conflicts of interest which preclude from

  23    acting as litigation trustees with respect to those specific

  24    claims.

  25                  We also have objections that relate for example




                                      A344
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 54 of 247 PageID #: 565
                                                                               54


    1   in Item B1A to the priority of EGI's claims, an objection to

    2   the bridge settlement, and objections that I think come

    3   later in the agenda under the topics of creditor trust

    4   related to the 346(e) priority issue in the bar order.

    5                It's our understanding that those objections will

    6   be addressed later because they're part of a group of

    7   objections where others will also be appearing, but that I

    8   together with my partner, Cathy Steege who will address the

    9   issue of priority of EGI's claims, will address everything

  10    that is in Items B1 and B2A at this time and then we'll move

  11    further down the agenda if that's agreeable to the Court.

  12                 THE COURT:    That's fine, I just have on request.

  13    You mentioned at the beginning of your statement that you

  14    wanted to address why claims, alleged claims don't have any

  15    merit.   I would say spend no time on that.         And by saying

  16    that, I don't tell you that I think they have merit, I know

  17    we have a hearing scheduled at some time in the future on

  18    the standing issue, but that's not an issue for now as far

  19    as I'm concerned.

  20                 MR. BRADFORD:    If I might just be heard briefly

  21    on why we believe it's an issue for now Your Honor.

  22                 THE COURT:    Certainly.

  23                 MR. BRADFORD:    With respect to the -- both plans,

  24    each of them effectively seek to finance and fund their

  25    plans on the basis of claims that are being asserted.            The




                                     A345
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 55 of 247 PageID #: 566
                                                                              55


    1   claims against Mr. Zell which are the subject of -- there is

    2   no pending standing motion I should say.         We do have a

    3   motion that's coming up in the future where we have

    4   attempted to serve a Rule 11 motion and that's been objected

    5   to on the grounds that the stay precludes even the service

    6   of a Rule 11 motion.       But independent of our effort to at

    7   least effectuate service of a Rule 11 motion, we have

    8   nothing on the horizon that is going to address that claim.

    9                 Your Honor may recall that the issue as it

  10    pertained to standing was addressed by the committee

  11    withdrawing its request for confirmation of standing.            So

  12    they withdrew that motion entirely.        We think that's

  13    indicative of their desire to avoid a resolution of whether

  14    these claims are in the best interest of the estate, whether

  15    they're colorable, and whether they survive Rule 11.           And

  16    that those issues need to be addressed at some point and

  17    that ultimately they go to whether or not it's in the best

  18    interest of creditors, including EGI-TRB which is a

  19    substantial creditor to spend estate money, deplete the

  20    estate insurance policies on claims that the examiner not

  21    only found lacked merit, found highly unlikely to succeed in

  22    critical part, but that as Your Honor heard, Professor Black

  23    opined had no value and no merit --

  24                  THE COURT:    Okay.   Mr. Bradford, stop, please

  25    stop there.




                                     A346
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 56 of 247 PageID #: 567
                                                                             56


    1                 MR. BRADFORD:    Sure.

    2                 THE COURT:   You've come up and your colleague has

    3   come up repeatedly to tell me the same thing.          I do not need

    4   to hear it again.     I know what your position is, believe me.

    5   I was unaware and maybe it could be that in the course I was

    6   asked to sign an order and just don't remember it, that that

    7   issue had gone away in terms of standing.         So that's my

    8   miss, not yours.     But I don't want to get into the merits

    9   again.   Mr. Sottile?

  10                  MR. SOTTILE:    Your Honor, I rise only because the

  11    issue with respect to standing has not gone away as I

  12    understand it.     As the Court will recall, the Court granted

  13    standing to the committee to pursue claims against Mr. Zell

  14    and EGI-TRB back in October.         When the committee filed an

  15    amended complaint as the Court will recall, the committee

  16    also filed a motion to confirm that the claims asserted and

  17    the amended complaint fell within the scope of the original

  18    order.

  19                  THE COURT:   Yeah, and I thought that was

  20    unresolved.

  21                  MR. SOTTILE:    It was resolved without objection

  22    as to all parties other than those represented by Mr.

  23    Bradford.

  24                  THE COURT:   No, that I remember.

  25                  MR. SOTTILE:    And then ultimately, in part in




                                      A347
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 57 of 247 PageID #: 568
                                                                             57


    1   response to the Court's suggestion when -- after the motion

    2   and confirmed standing was filed, we withdrew the motion to

    3   confirm standing without prejudice.        To be absolutely clear,

    4   it's the committee's view that the Court has already granted

    5   standing as to these claims.

    6                THE COURT:    Okay.

    7                MR. SOTTILE:    And that the motion to confirmation

    8   standing was unnecessary.       The Court should not take the

    9   withdraw as anything more than taking something off the

  10    table we did not believe was necessary.

  11                 THE COURT:    No, I was just thinking that I had --

  12    I remember saying that I was not going to consider the issue

  13    before confirmation.      And I think we had set a hearing date

  14    at some point in the future, I just didn't remember when

  15    that was, but thanks for bringing me up to date.

  16                 MR. SOTTILE:    Thank you, Your Honor.

  17                 THE COURT:    Okay.

  18                 MR. BRADFORD:    Yes, Your Honor, just to complete

  19    the record on that.      When we filed our plan objections, that

  20    motion was scheduled for hearing and we incorporated that

  21    motion into our plan objection.        So it was our understanding

  22    that this issue would be taken up at confirmation.           We

  23    understood our objection to confirmation would be the

  24    vehicle for doing that.      We're happy to --

  25                 THE COURT:    I'm not overruling any part of your




                                     A348
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 58 of 247 PageID #: 569
                                                                             58


    1   objection at this point and I'm not suggesting that you need

    2   or should have abandoned it.        All I'm saying is I don't need

    3   to hear oral arguments on it.

    4                MR. BRADFORD:    I understand, Your Honor.

    5                THE COURT:    So that you're clear.      Okay.

    6                MR. BRADFORD:    I understand.     If I might, Your

    7   Honor, then I'm going to turn to specific provisions in the

    8   plan which we think provide inadequate safeguards against

    9   frivolous litigation.      And I'll try to restrain my remarks

  10    insofar as they boil over to the particulars of these

  11    particular claims, but one of the key concerns we have is

  12    the exculpation clause.      The exculpation clause has in it a

  13    provision that essentially as we read it would exculpate

  14    litigation trustees from liability and circumstances where

  15    they have acted in good faith in a reasonable understanding

  16    of their authority.

  17                 We note with respect to Rule 11, that Rule 11

  18    does not turn on the subjective good faith of a

  19    professional, it's an objective standard.         It turns on

  20    whether there is an objective basis for the claims.           We have

  21    and the record reflects that this will before the Court at

  22    the omnibus on the 25th, moved to modify the stay or

  23    objected to the extension of the stay so that we could

  24    proceed on a Rule 11 motion.

  25                 We do think there are Rule 11 violations in




                                     A349
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 59 of 247 PageID #: 570
                                                                             59


    1   certain of the claims that have been asserted against Mr.

    2   Zell and to permit a plan to exculpate professionals from

    3   their Rule 11 liabilities is unprecedented and would not in

    4   any way further the general interests of exculpation in

    5   protecting individuals who have been involved in the

    6   formulation of a plan.      The conduct of the litigation trust

    7   and the conduct of a litigation is a separate animal from

    8   the issue of the litigation of the plan itself.           And

    9   certainly there is no basis to exculpate professionals to

  10    the extent that there have been Rule 11 violations or if in

  11    the future, Rule 11 violations are committed in connected

  12    with the pursuit of these claims.

  13                 As a second and related matter, we object to the

  14    provisions in the plan which effectively provide limitations

  15    on indemnifications of directors and officers with respect

  16    to the LBO claims.     We have cited to the Court in our

  17    objection three cases, two recent cases from Delaware; the

  18    Summit case, the Pamalum [ph] case, and the Crabtree case

  19    from the Southern District of New York holding that articles

  20    of incorporation are executory contracts.

  21                 Here we have articles of incorporation which

  22    provide indemnification for the directors.          And as a

  23    consequence of that under Sharon Steel they must either be

  24    accepted or rejected in whole.       What the debtor can't do or

  25    either plan can't do is essentially pick piecemeal where




                                     A350
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 60 of 247 PageID #: 571
                                                                             60


    1   it's going to provide indemnification for legal fees and

    2   where it is not.     And that's what the plan proposes to do by

    3   providing and recognizing the articles insofar as they

    4   provide indemnification rights for legal fees in all

    5   circumstances but for the LBO claims.

    6                The debtor or DCL plan proponents I should say in

    7   response cite two cases that suggest that articles of

    8   incorporation are not executory.        Neither of them dealt with

    9   Delaware articles of incorporation.        The Baldwin case comes

  10    out of Ohio and involved a circumstance where

  11    indemnification was permissive, not mandatory as it is in

  12    Delaware and where the directors had already done their

  13    service.    Mr. Zell by contrast is still currently a

  14    director.    So he has been induced to continued service and

  15    does continue service in reliance upon the articles of

  16    incorporation.

  17                 Certainly, when someone has completed their

  18    service, someone may make the argument that the situation is

  19    not longer executory insofar as that director can no longer

  20    breach their contract.      But as to a director who continues

  21    their services, there is an executory situation and either

  22    the contract and the bylaws in this case, articles of

  23    incorporation must be accepted in whole or rejected in

  24    whole.   There is no proposal and should be none to reject

  25    them in whole.




                                     A351
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 61 of 247 PageID #: 572
                                                                             61


    1                Similarly, the one other case cited by the DCL

    2   proponents here the THC case is a 1977 Hawaii case where the

    3   directors had already served in the past.         And the Court

    4   there specifically preserved the right to seek

    5   indemnification for legal fees as an administrative claim.

    6   So there should be no basis to limit our right to

    7   indemnification for legal fees, if these claims go forward

    8   to a claim in the context of the unsecured claim

    9   administration. There should be an ongoing right to

  10    indemnification that continues independent of the claim

  11    process.

  12                 And to the extent that litigation is being

  13    brought here and it's frivolous or unsuccessful there is no

  14    reason that a sitting director should be denied their right

  15    to both advancement and payment of legal fees to the extent

  16    not otherwise provided by insurance.         And the insurers are

  17    taking positions such as there's a $25 million deductible

  18    and so forth.    So there can be no reliance completely on DNO

  19    insurance.    And I believe this is ultimately important as

  20    well because it goes to why the estate ultimately could be

  21    injured by the pursuit of claims because ultimately there

  22    should be indemnification costs to the estate from the

  23    continuation of that litigation.

  24                 The final point that I would turn to in terms of

  25    objections to the plans insofar as they pertain to the




                                     A352
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 62 of 247 PageID #: 573
                                                                             62


    1   pursuit of litigation and then I'll ask Ms. Steege to

    2   address the issue of priority and the bridge settlement is

    3   related to the conduct of the litigation trust.           And I

    4   should note, Your Honor, that each of these objections, that

    5   is our specific objection on indemnification exculpation on

    6   the conduct of the litigation trust would be moot if, in

    7   fact, these claims could not go forward.         Whether that would

    8   be for standing or Rule 11 or other reasons.          And so the

    9   Court need not reach any of the issues I'm addressing today

  10    if, in fact, the claims against Mr. Zell are not permitted

  11    to go forward, they would become moot.

  12                 The history of this case illustrates precisely

  13    why neither of the parties and I would focus specifically on

  14    Aurelius or the PHONE, should be in a position of

  15    controlling any litigation trust decisions that relate to

  16    whether or not claims against Mr. Zell specifically should

  17    be allowed to be pursued.

  18                 Your Honor will recall that prior to the

  19    appointment of the examiner in this case, there was an

  20    investigation of claims.      It was done first by debtor and

  21    then by the UCC starting in May of 2009 and including by the

  22    Zuckerman firm starting in August of 2009.          It's been

  23    represented to the Court that there were some 30 witnesses

  24    interviewed, 4.5 million documents reviewed.          And following

  25    that investigation, there was a determination that there was




                                     A353
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 63 of 247 PageID #: 574
                                                                             63


    1   no basis for claims against Mr. Zell as reflected by the

    2   fact that a plan was put forward to this Court that was

    3   accepted by the creditors' committee, accepted by

    4   Centerbridge, accepted by JP Morgan, Angelo Gordon, and Law

    5   Debenture to had a release for Mr. Zell.         And your heard Mr.

    6   Gropper testify, he had no objection to that plan at that

    7   time.

    8                So what happened?      And what happened, I believe

    9   demonstrates why typical safeguards against frivolous

  10    litigation are not sufficient here and why the individuals

  11    who have now elected to include claims against Mr. Zell have

  12    incentives to do so which are unrelated to the best interest

  13    of creditors and should disqualify them from continuing to

  14    serve in that capacity going forward.         And that is as Your

  15    Honor knows and I won't get into the merits.

  16                 The examiner came in and among other things, the

  17    examiner vindicates Mr. Zell.       At the same time, what that

  18    does is change the dynamics of this bankruptcy.           Two things

  19    happen.   Aurelius buys the PHONES position.         And Aurelius

  20    decides that it now has a plan that is going to generally

  21    pursue litigation and it wants to be in a position to attach

  22    any settlement plan put forward by the DCL proponents.

  23                 And as a consequence of its acquisition of the

  24    PHONES position, Aurelius gains an interest in trying to

  25    subordinate the EGI-TRB notes.       That's a direct economic




                                     A354
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 64 of 247 PageID #: 575
                                                                             64


    1   interest that they have.      Ms. Steege will address the issue

    2   of subordination between those two.        But suddenly, Aurelius

    3   has an interest in saying well Mr. Zell must have done

    4   something wrong because that would provide us a basis for

    5   subordinating a competing creditor who is otherwise ahead of

    6   us in the food chain here.       And that coupled with the fact,

    7   they seize on the fact that Mr. Zell's long time advisor,

    8   Mr. Liebentritt whose integrity I would say could not be

    9   challenged by anybody in this courtroom is the general

  10    counsel in Tribune and he becomes the chief restructuring

  11    officer of Tribune.      And so isn't a convenient that if we

  12    can tar Mr. Zell as the architect of some great LBO

  13    conspiracy, we can claim that everybody on the other side of

  14    the courtroom has a conflict of interest.

  15                 And you continue to hear that song played, Your

  16    Honor.   And the fundamental fault with that whole argument

  17    obviously is that there is no viable claim here.           Anybody

  18    independently who looks at it has seen there is no viable

  19    claim.   But Aurelius has demonstrated that for reasons

  20    related solely to the rhetoric and desire to promote its own

  21    plan and advance the economic interest of the PHONES

  22    position that it purchased, it has an incentive to try to

  23    put Mr. Zell into the role of an LBO defendant when there is

  24    no basis to do that.      They cannot make an objective

  25    disinterested determination about whether that's in the best




                                     A355
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 65 of 247 PageID #: 576
                                                                             65


    1   interest of creditors.

    2                 THE COURT:    Let me ask you to pause for a moment.

    3                 MR. BRADFORD:    Sure.

    4                 THE COURT:    Yes, Mr. Golden?

    5                 MR. GOLDEN:    Excuse me, I'm sorry.     Your Honor, I

    6   tried to patient here.      I don't like to be interrupt when

    7   I'm making a speech.       I thought it was very clear based upon

    8   a lot of communications with the Court that today was

    9   reserved for legal objections to be raised by third parties

  10    not including legal objections by the DCL's or the

  11    noteholder plan proponents.          It is equally clear listening

  12    to Mr. Bradford that he is not relying on solely legal

  13    objections.    He is I'm not sure what the evidentiary record

  14    that he's tried to establish is based upon.          I don't believe

  15    it's the testimony that we've heard over the last twelve

  16    trial days, but these are not based on legal objections.

  17                  And so I don't have to keep getting up and

  18    sitting down to make this objection, I was wondering if we

  19    could get some clarification from the Court as to whether we

  20    are -- whether all the parties today are confined to making

  21    legal based objections or are we now expanding that into

  22    some kind of evidentiary basis upon which I don't know what

  23    the basis is.

  24                  THE COURT:    Well, as I understand it, Mr.

  25    Bradford is arguing that a litigation trust controlled by




                                      A356
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 66 of 247 PageID #: 577
                                                                             66


    1   Aurelius and I understand what the dynamics are there

    2   between the advisory board and the trustee and we did get

    3   into that this week, I think.       But arguing that you're

    4   legally ineligible to be an estate fiduciary.          I mean,

    5   that's the essence of it.       So I don't know how else -- Mr.

    6   Bradford, if I'm wrong correct me.

    7                MR. BRADFORD:    That's correct, Your Honor.

    8                THE COURT:    Okay.    I -- so I'll allow you to

    9   continue.

  10                 MR. BRADFORD:    Thank you, Your Honor.

  11                 THE COURT:    But again, as a general proposition,

  12    Mr. Golden is right.      We're here today to talk about

  13    objections which are based on the law, not tied to an

  14    evidentiary record.

  15                 MR. BRADFORD:    And so the record we believe

  16    reflects and this I don't believe gets into evidence, but

  17    the proceedings before this Court even prior to the start of

  18    the confirmation hearing when Your Honor will recall that

  19    what Aurelius proposed to say in its disclosure statement

  20    about its plan and I quoted this to the Court previously,

  21    I'll quote it again.      Aurelius claimed shortly after the

  22    examiner report vindicating Mr. Zell, "The examiner's report

  23    put an end to 20 months of cover up.         It exposed flagrant

  24    wrongdoing within Tribune's executive ranks and identified

  25    billions of dollars of LBO related actions, many of them




                                     A357
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 67 of 247 PageID #: 578
                                                                             67


    1   against Tribune insiders such as Sam Zell who's close

    2   business associate is Tribune's chief restructuring officer

    3   that would have been released for free under the prior

    4   plan."   And clearly, that was a false statement as it was

    5   put forward.    And Your Honor required that they excise that

    6   from the disclosure statement.

    7                But the theme persists which is we have to tar

    8   Mr. Zell as a wrongdoer and bring claims against him

    9   notwithstanding that every independent party who has looked

  10    at this has said there is no basis for doing so, so that we

  11    can contend that there's a conflict of interest on the other

  12    side of the courtroom.

  13                 And then you've heard it throughout this case,

  14    well you happen to know Mr. Zell, that must make you

  15    ineligible to act in good faith.        And I know Your Honor has

  16    seen through many of those aspersions and attacks on

  17    people's good faith and these purported conflicts of

  18    interest, but this is a vestige and surely Aurelius in the

  19    role that it's in with an ownership interest in the PHONES

  20    with a very clearly announced position that this

  21    relationship of anybody to Mr. Zell disqualifies them from

  22    being independent in this case because of their claims

  23    against Mr. Zell give them incentives that are different

  24    than looking out for the best interest of creditors and

  25    should disqualify them from acting in a role of litigation




                                     A358
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 68 of 247 PageID #: 579
                                                                             68


    1   trustees.

    2                THE COURT:    Well some might argue that's exactly

    3   the kind of party you should have chasing such claims for

    4   the very reasons that you described.

    5                MR. BRADFORD:    If, in fact, there motives were

    6   not restricted to getting the PHONES put ahead of for

    7   example EGI-TRB, but there are a whole host of other

    8   creditors ahead of them.      There are a whole host of parties

    9   who depend upon the distributions from this plan.           And there

  10    is nobody before this Court who has other than obviously the

  11    examiner who had no interest in proposing a plan, there's

  12    nobody before the Court who has the best interest of the all

  13    the creditors in mind.                   And if you look at why

  14    are we not hearing from the DCL proponents that it makes no

  15    sense to pursue this litigation, I think you've heard them

  16    through their own expert say they don't believe this

  17    litigation has value.      They don't believe this litigation

  18    has merit, but they don't want to be accused of being soft

  19    on Mr. Zell because they're being accused of having this

  20    conflict.    They're put in the position of responding by

  21    saying well, we'll sue him, too.        Let's have a party and see

  22    who can find more claims to assert against Mr. Zell so we

  23    don't have a conflict of interest either.

  24                 And you, therefore, have this incentive on the

  25    part of Aurelius to triumph the PHONES position over EGI-TRB




                                     A359
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 69 of 247 PageID #: 580
                                                                             69


    1   and to construct a conflict when none exists as a motivation

    2   for bringing claims that otherwise don't meet the best

    3   interest test, don't meet the Rule 11 test, and you have DCL

    4   proponents who are put in the defensive and say we'll do

    5   whatever Aurelius will do by way of suing people so nobody

    6   can accuse of being soft on the LBO claims.

    7                There is nobody who has been an independent

    8   decision maker and that's all we're asking for is an

    9   independent trustee without those kind of specific creditor

  10    oriented incentives, incentives that are unique to

  11    particular creditor positions instead of in the best

  12    interest of all creditors.       And we would submit Professor

  13    Black who was the proponent for the DCL or the expert for

  14    the DCL proponents on the value of the claims, spoke for

  15    them when he testified that there was no value to these

  16    claims and that these claims did not have merit.

  17                 THE COURT:    Well what mechanism would you suggest

  18    to locate and appoint such a person?

  19                 MR. BRADFORD:    I believe Your Honor could appoint

  20    someone as you appointed the examiner.         I also believe that

  21    we could allow the examiner essentially to serve in that

  22    capacity with respect to the issue of what claims should be

  23    permitted and what claims should not be permitted.           And

  24    there should be some threshold determination --

  25                 THE COURT:    So you think it would be a -- the




                                     A360
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 70 of 247 PageID #: 581
                                                                             70


    1   examiner who's determined that claims against your client

    2   have no merit would be a fair arbiter of determining whether

    3   such claims should be pursued?

    4                MR. BRADFORD:    Yes, Your Honor, I absolutely do

    5   and I believe that's why Your Honor appointed the examiner

    6   in the first place.      He came to this proceeding with no

    7   independent -- with no interest to promote any particular

    8   plan with no agenda other than trying to get at the truth.

    9   As Your Honor knows, $12 million of estate money was spent

  10    to get at the truth.      And if somebody can come forward and

  11    rebut what he has shown, that's certainly a determination

  12    for Your Honor to make.      But in the absence of some evidence

  13    as to why the examiner got it wrong, that's a pretty good

  14    starting point for what is in the best interest of the

  15    estate.

  16                 In the Maxwell case, Judge Posner specifically

  17    held that any time you have a litigation by trustee, a

  18    similar situation with a litigation trust, the incentives

  19    are fairly skewed.     Insofar as it's very easy to say this is

  20    a large claim. It may have a fractional change of success,

  21    but what's the harm in pursuing it? And Judge Posner wrote

  22    and other Courts have followed the same reasoning.

  23                 We've cited these opinions that the Court needs

  24    to exercise some gate keeping function over that.           That

  25    specifically those expenses that are not reasonably in the




                                     A361
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 71 of 247 PageID #: 582
                                                                              71


    1   best interest of the estate should not be permitted.           That

    2   Rule 11 should be applied with some vigilance and that was

    3   the same ruling that the Court reached in Adelphia in saying

    4   I'm not going to give releases, but on the other hand, I'm

    5   going to apply Rule 11 in a meaningful sort of way.           Because

    6   the parties don't have the usual incentives that private

    7   parties do in making their decisions about whether to spend

    8   money on litigation or no.       And as a result, there needs to

    9   be some gate keeping mechanism for someone independent of

  10    those trying to persuade creditors that they're going to get

  11    the biggest bank and the largest recovery regardless of how

  12    specious or frivolous the claims to make that decision.

  13                  There needs to be Rule 11 determinations.        We

  14    have tried to T up a Rule 11 motion.         I will be back in two

  15    weeks to try to get that before Your Honor.          We can

  16    certainly try to raise these issues again by way of

  17    standing, but what I'm speaking to today really are the

  18    institutional safeguards against the pursuit of frivolous

  19    litigation.    And one of those safeguards should be a part

  20    that is truly independent and objective of valuating whether

  21    or not these claims are in the best interest of these

  22    estate.

  23                  Ultimately, I believe that's Your Honor's

  24    determination, but to the extent that someone is going to

  25    look at that before Your Honor rules on it, I do think that




                                     A362
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 72 of 247 PageID #: 583
                                                                             72


    1   is a role that the examiner has played.         That was one of the

    2   reasons I believe the examiner was engaged in this case and

    3   that his work should not be discounted.

    4                So to summarize, specifically, we object to the

    5   indemnity provisions that would deny ongoing legal fees in

    6   this circumstance.     We object to the exculpation provision

    7   particularly insofar as it would curtail Rule 11 liability.

    8   And we would ask that as it pertains to the issue of whether

    9   claims against Mr. Zell specifically because I do think his

  10    circumstances are unique by reason of the examiner's

  11    findings and confirmed by Professor Black's testimony,

  12    whether those claims should be pursued, that that is an

  13    issue that should be made by an independent party and

  14    hopefully the Court would address it in the context of

  15    standing on Rule 11 before we got that far.

  16                 THE COURT:    Well he's presently a defendant in

  17    the lawsuit that's currently stayed.         Why shouldn't that be

  18    resolved in connection with the adversary matter?

  19                 MR. BRADFORD:    We don't -- we believe it can be

  20    resolved in connection with the lawsuit by way of an early

  21    Rule 11 motion and that's precisely how we've tried to

  22    address this.    What we don't think is appropriate is to

  23    leave this claim pending for any greater length of time

  24    because there are I believe unfounded allegations that are

  25    reputationally injurious and we have a stay in that lawsuit




                                     A363
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 73 of 247 PageID #: 584
                                                                             73


    1   that essentially allows these allegations and promises of

    2   recovery to made without affording a real chance to respond

    3   to that in the litigation.

    4                 THE COURT:   Well what if the plan were to be

    5   neutral and leave to resolution of those issues to

    6   disposition of the adversary?

    7                 MR. BRADFORD:    First, we again, believe that all

    8   Rule 11 issues should be preserved, indemnity rights

    9   brought, and then we would still submit that the question of

  10    whether or not any estate money should be spent on those

  11    claims is a threshold issue for this Court.          That whatever

  12    cost there is in that motion practice is needless cost.

  13    Whatever waste there is of the DNO policies is needless.

  14                  And I think most importantly, that this Court has

  15    some obligation not to put its imprimatur on lottery ticket

  16    litigation.    And that's what Judge Posner held that it's not

  17    enough to say that will get sorted out somewhere down the

  18    road in litigation.      If it's going to be part of a plan that

  19    this Court approves and sanctions, that there needs to be

  20    some judgment made about whether that's really a fair and

  21    equitable expenditure of funds.        And that at least requires

  22    that the claims not be frivolous, that they meet Rule 11

  23    standards, colorability standards, best interest standards.

  24    And that's a determination that should be made as a gate

  25    keeping function before the litigation is allowed to go




                                      A364
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 74 of 247 PageID #: 585
                                                                             74


    1   forward.    And in that sense, we think it makes more sense

    2   for Your Honor to address those issues early on as we've

    3   sought to do in responding to the standing motion at an

    4   earlier time.

    5                 THE COURT:   So we should have the hearing that we

    6   never had.

    7                 MR. BRADFORD:    That's correct, Your Honor.

    8                 THE COURT:   I tend to disagree with that.       At

    9   least at the confirmation stage, but I -- look, I hear your

  10    concerns.    I've heard them all along.

  11                  MR. BRADFORD:    I appreciate that, Your Honor.

  12                  THE COURT:   And I, you know, I understand your

  13    client's position.     Okay.    Anything further?

  14                  MR. BRADFORD:    Not on these specific aspects of

  15    our objection.     As I mentioned, there are what I would call

  16    more discrete objections which go to the issue of the

  17    priority of treatment of EGI-TRB under the plan, the bridge

  18    settlement.    And then there are some other objections that

  19    will come later in the agenda.       It was my expectation that

  20    Ms. Steege, my partner, would address those other

  21    objections.    I know it's close to the lunch hour and I don't

  22    know how Your Honor would like to proceed.

  23                  THE COURT:   Well let's go a little while longer,

  24    I'm building up a great appetite.

  25    (Laughter)




                                      A365
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 75 of 247 PageID #: 586
                                                                             75


    1                MR. BRADFORD:    Right.    I'm going to ask Ms.

    2   Steege to address those issues.

    3                THE COURT:    Thank you.

    4                MR. BRADFORD:    Thank you, Your Honor.

    5                MS. STEEGE:    Good morning, Your Honor.       Catherine

    6   Steege on behalf of the EGI-TRB.

    7                And the first issue I am going to address is the

    8   question of the priority of the EGI-TRB notes.          EGI-TRB

    9   holds approximately $300 million in notes against the

  10    Tribune.    We have -- the class, the EGI-TRB class has voted

  11    no on the plan triggering the cram down provisions of

  12    Section 1129(b) which require that the plan satisfy the

  13    absolute priority rule.      We would submit that neither the

  14    DCL plan nor the noteholder plan satisfies that rule because

  15    neither plan makes it clear that the EGI-TRB notes are

  16    senior to the PHONES securities.

  17                 In response to this objection, the DCL plan

  18    proponents state in the chart that they filed last week that

  19    they really don't think that the issue needs to be resolved

  20    today.   They point to a statement made in their confirmation

  21    memo filed before the hearing begin which states that if and

  22    when there are funds available to distribute to either of

  23    these two classes, then the issue of who's entitled to those

  24    funds can be determined at that point in time.

  25                 The problem with that resolution, well that




                                     A366
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 76 of 247 PageID #: 587
                                                                              76


    1   resolution might be acceptable, the problem is is that Your

    2   Honor's not going to be confirming their confirmation brief.

    3   What Your Honor is going to be confirming is a plan or

    4   reorganization and entering a confirmation order.           And the

    5   plan itself is not clear in this respect.         It does not

    6   reserve the issue.     It doesn't really address the issue,

    7   right on its face, one would read that the two sets of the

    8   notes and the PHONE securities are being treated as if they

    9   are equal claims and equal priority.

  10                 THE COURT:    Or some other Court of competent

  11    jurisdiction --

  12                 MS. STEEGE:    Or you resolve it.

  13                 THE COURT:    -- could decide that issue, too.

  14                 MS. STEEGE:    Right.   But another Court of

  15    competent jurisdiction is going to want to see that it's

  16    clearly been expressively preserved in a confirmation order

  17    and in a plan, not in a brief that's filed prior to

  18    confirmation that doesn't really -- doesn't itself get

  19    approved by the Court.      So that is our position with regard

  20    to the subordination, absolute priority rule objection.

  21    With regard to the objection that we've made, we've made an

  22    objection, a narrow objection, to the provisions of Section

  23    9.12 of the DCL plan.      And when the bridge lenders withdrew

  24    their plan and came on board with the DCL plan, changes were

  25    made to the plan which provided that the bridge lenders




                                     A367
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 77 of 247 PageID #: 588
                                                                             77


    1   would be reimbursed for their fees and expenses up to I

    2   believe under the current amendments it's $7 million, but

    3   they only get those payments if they support the DCL plan

    4   and take no positions inconsistent with confirmation of the

    5   plan.   In short we think that this is an inappropriate, not

    6   to be pejorative, but it's basically a bride.          There's no

    7   basis in the bankruptcy code to allow the bridge lenders

    8   reimbursement for their fees and expenses.          They're not a

    9   secured creditor that's over-secured that's entitled to

  10    collect that under Section 506(b), simply because they

  11    withdrew a plan.     That's not a substantial contribution.         No

  12    one is suggesting it is under Section 503(b).          In their

  13    chart of objections they say well, they've resolved one

  14    objection by making Your Honor have approval of the

  15    reasonableness of those fees.       That's a start, but there's

  16    no legal basis to be giving them fees in the first place.

  17    And we would submit that that particular provision of the

  18    plan is inappropriate and that this allowance of fees for a

  19    creditor who is not entitled to it should not be confirmed.

  20                 THE COURT:    Well, let me ask the question as

  21    carefully as I can articulate it.        What makes this proposal

  22    different from what I find is a common dynamic in bankruptcy

  23    proceedings and that is a party who wants something,

  24    bargaining for the other party's acquiescence or

  25    cooperation?    What makes this different?




                                     A368
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 78 of 247 PageID #: 589
                                                                             78


    1                 MS. STEEGE:   What makes it different, Your Honor,

    2   is the creation of a claim for this party that they would

    3   not otherwise be entitled to under the code.          The code

    4   specifically provides for reimbursement of expenses and fees

    5   to certain creditors if they're secured and they're over-

    6   secured under Section 506(b).       It might allow for recovery

    7   of expenses under 503(b) if a party has made a substantial

    8   contribution.    But the case law is pretty clear that

    9   proposing your own plan, withdrawing your own plan, these

  10    are things you're doing for your own benefit, not for the

  11    benefit of the estate as a whole and you don't get a

  12    substantial contribution claim.        There's no basis in the

  13    code to provide this type of claim to induce their

  14    cooperation.    That's different than reaching an agreement

  15    over a claim that the code would allow to be paid under a

  16    plan, agreement you're going to pay a creditor a certain

  17    percentage amount on their claim in exchange for their

  18    support of your plan, you're dealing with a claim the code

  19    recognizes.    Here you're creating something out of whole

  20    cloth simply to get their support to go on board.           They

  21    should support the plan or not, but they shouldn't be doing

  22    it because they're going to get $7 million in fees for doing

  23    so.   Then every single other creditor that the debtor wants

  24    to induce could come in here and say I want my fees paid,

  25    too, and there's no legal basis for that and that's why it's




                                     A369
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 79 of 247 PageID #: 590
                                                                             79


    1   wrong.   Thank you.

    2                THE COURT:    Thank you.

    3                MR. SOTTILE:    Your Honor, James Sottile of

    4   Zuckerman Spaeder, Special Counsel to the Official Committee

    5   of Unsecured Creditors.      Mr. LeMay of Chadbourne will be

    6   addressing the legal points raised by Jenner Block, Counsel

    7   for Mr. Zell and EGI-TRB.

    8                I rise to ask the Court's indulgence to speak for

    9   two or three minutes about those arguments by Mr. Bradford

  10    that I think went a little beyond the legal objections that

  11    he was presenting, in particular arguments about what

  12    happened on standing and when claims should be pursued and

  13    what Determinations were made about the merits of claims.

  14                 THE COURT:    You can do that in two to three

  15    minutes?

  16                 MR. SOTTILE:    I believe that I can, Your Honor.

  17                 THE COURT:    Go ahead.

  18                 MR. SOTTILE:    Your Honor, let me just say what --

  19    where we fundamentally disagree with Mr. Bradford.           There

  20    was no Determination by any of the parties that agreed to

  21    the April settlement that there was no basis for claims

  22    against Mr. Zell or EGI-TRB.        There was simply a settlement

  23    under which for the consideration given at the time and

  24    based on what the parties knew at the time, they were

  25    prepared to release those claims.        Nobody decided there was




                                     A370
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 80 of 247 PageID #: 591
                                                                             80


    1   no basis for them.     Mr. Bradford told the Court that the

    2   examiner vindicated Mr. Zell and suggested that the

    3   examiner's conclusions show that claims against Mr. Zell

    4   have no merit and are frivolous.        None of that can be found

    5   in a fair reading of the examiner's report, Your Honor, as I

    6   know the Court will conclude when it reviews the report in

    7   detail.   The examiner found that various claims were

    8   reasonably unlikely to succeed, somewhat unlikely to

    9   succeed, and so forth with respect to Mr. Zell and EGI-TRB.

  10    I submit, Your Honor, that's the stuff of litigation.

  11    Litigators all the time pursue and win claims that one might

  12    look at at the beginning and say you know less than 50/50,

  13    but you have a real chance of success.         That's all one can

  14    fairly infer from what the examiner found.          It is for some

  15    Court down the road that's hearing the merits of these

  16    claims to determine whether or not those claims will succeed

  17    or not.

  18                 You also heard Mr. Bradford allude to testimony

  19    by Professor Black, an expert speaking on behalf of the DCL

  20    plan proponents about value of the claims against Mr. Zell.

  21    I want to be very clear, Your Honor, that Mr. Black's views,

  22    Professor Black's views about the merits of claims against

  23    Mr. Zell and associated entities are not the view of the

  24    Committee.    The Committee believes that those claims have

  25    substantial merit and should be pursued.




                                     A371
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 81 of 247 PageID #: 592
                                                                             81


    1                Finally, Your Honor, I would submit that the

    2   right way to deal with these issues, this sort of attempt to

    3   pre-litigate in the Bankruptcy Court the merits of claims

    4   that ought to be resolved later on in the adversary

    5   proceeding, to litigate that as part of confirmation

    6   hearings is inappropriate.       The claims have been asserted,

    7   the actions are stayed, they should remain stayed until the

    8   Court concludes these confirmation proceedings, at which

    9   time they're going to end up in some litigation trust.            The

  10    Trustee of that trust can make a Decision as to whether or

  11    not the claim should be pursued.        This Court can review that

  12    Decision and can entertain motions to dismiss and can

  13    ultimately deal with the merits of the claims.          It's not a

  14    confirmation objection.

  15                 THE COURT:    Well, let's assume for the moment,

  16    without deciding, that you then agree that the plan should

  17    be neutral with respect to any rights Mr. Zell or related

  18    entities should be able to assert in the adversary.           Are

  19    there changes that should be made in the proposed plans to

  20    make that clear?

  21                 MR. SOTTILE:    Your Honor, I don't believe that

  22    anything in the plan that the DCL proponents have submitted

  23    to the Court purports to limit in any way Mr. Zell's and

  24    EGI-TRB's ability to litigate fully the merits of claims.

  25    And if Mr. Bradford believes there is something, they should




                                     A372
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 82 of 247 PageID #: 593
                                                                             82


    1   point it out to us because we are not intending to have this

    2   Court in confirming a plan, make a Decision about whether or

    3   not those claims will ultimately succeed or not or whether

    4   or not the litigation trust that will be prosecuting the

    5   claims should pursue them.       We believe they are avowed and

    6   meritorious claims, but ultimately the Decision about

    7   whether to pursue them is one the litigation trust should

    8   make without the plan telling them one way or the other how

    9   they should proceed.

  10                  THE COURT:   All right.    Thank you.

  11                  MR. SOTTILE:   Thank you, Your Honor.

  12                  MR. LEMAY:   Good morning.     Good afternoon, Your

  13    Honor.   David LeMay from Chadbourne and Parke of the

  14    Official Committee of Unsecured Creditors.          The Zell and

  15    EGI-TRB attorneys have given me a number of things that I

  16    guess I should deal with.       With the Court's permission I'm

  17    going to proceed in not exactly the order that they did.            I

  18    think I'll first address the two arguments made by Ms.

  19    Steege with a view of getting in effect clearing out the

  20    underbrush because I don't believe it's any more than

  21    underbrush.    First with respect to the relative priority of

  22    the DCL plan on the one -- I'm sorry -- of the PHONES notes

  23    and the EGI-TRB notes as between each other, at least as it

  24    relates to the DCL plan.      I believe that the DCL plan is

  25    extremely clear that it does not purport in any way to




                                     A373
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 83 of 247 PageID #: 594
                                                                             83


    1   resolve that relative priority dispute.         If you look at the

    2   definitions in Section 1.1.42 and 1.1.43 of the DCL plan,

    3   those define the Class 1L litigation and Class 1L creditors

    4   trust interests, which are the distributions to be received

    5   on the EGI-TRB notes.      And what they say is that essentially

    6   they're going to get these litigation trust distributions

    7   and then it goes on with a proviso to say that until the

    8   holders have allowed senior note claims on the one hand and

    9   there's no dispute as to that and then B, the holders of any

  10    other allowed claims that are entitled to share in the

  11    parent trust -- the parent GUX [ph] trust preference and to

  12    the benefit of the contractual subordination of the EGI-TRB

  13    notes receive payment in full, then the EGI-TRB notes will

  14    not receive any distribution.       So that definition

  15    intentionally and purposefully leaves open the relative

  16    priority as between those subordinated notes and the PHONES

  17    subordinated notes.      I think Your Honor should decline any

  18    invitation to take on that issue now, both because you've

  19    got an awful lot else on your plate, but just because

  20    there's no good reason to do it and indeed I have a strong

  21    suspicion that ultimately it will prove not to be as much of

  22    a dispute as people are suggesting it might be, for the

  23    simple reason that I don't think there's anything there to

  24    fight about.    Your Honor will remember that colloquy that

  25    happened at the January 24 hearing when Mr. Rosenberg, on




                                     A374
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 84 of 247 PageID #: 595
                                                                             84


    1   behalf of the PHONES holders or a subset of the PHONES

    2   holders, very candidly told the Court that he didn't think

    3   that -- he said it is very unlikely the PHONES -- I'm

    4   quoting now -- that the PHONES are going to be able -- are

    5   going to see a significant recovery here, if any recovery at

    6   all.    And of course the indenture trustees counsel for the

    7   PHONES wanted to unsay that and I had some fun with it.            But

    8   I think it is an open secret in this courtroom that the

    9   subordinated classes are probably quarreling about nothing.

  10    So for all those reasons, Your Honor, I would urge the Court

  11    not to reach out and attempt to bite off this unnecessary

  12    issue of the respective priority of these two subordinated

  13    classes.    I think our plan is perfectly clear that it

  14    doesn't purport to prejudge that issue and if people -- if

  15    the Court wants, I should say, for us to make that clearer

  16    in bold print or somewhere else, I don't see any reason we

  17    wouldn't do that.     So I think that's a phony issue in

  18    effect, Your Honor.

  19                 THE COURT:    Well, then if it's so easy to make it

  20    go away, why not just make it go away?

  21                 MR. LEMAY:    We could add a sentence to our plan.

  22                 THE COURT:    All right.

  23                 MR. LEMAY:    I don't see any reason we couldn't do

  24    that.   With respect to the bridge loan settlement, I'm kind

  25    of amused you know.      That is the one aspect of what we've




                                     A375
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 85 of 247 PageID #: 596
                                                                             85


    1   done that the noteholders and Aurelius actually have not

    2   taken us to task on.      If the bridge settlement was such a

    3   rotten deal and was giving away money that ought not to have

    4   been given, I'm quite confident that these gentlemen over

    5   here would have called our attention to it.          They didn't do

    6   that.   In fact, their most recent supplemental filing seems

    7   to suggest that they'd be willing to embrace the bridge

    8   settlement itself.     It's actually a pretty good settlement.

    9   We settled a billion six of potential liability for $64.5

  10    million or approximately four percent of the total.           A

  11    portion of that is in effect stated to be on account of

  12    legal fees, it is stated to be subject to the Court's

  13    approval, so I think we've met the Court approval

  14    requirement that's come out of some of the recent case law

  15    here, but I think the way to look at it is the way that Your

  16    Honor looked at it in your question to Counsel, which is in

  17    effect what we're doing is settling this $1.6 billion claim

  18    for $64.5 million.     A portion of it is allocated under the

  19    settlement to legal fees.       I think that is more of interest

  20    to the bridge proponents than -- I'm sorry -- to the bridge

  21    lenders than to the DCL proponents.        I think the way to look

  22    at it is what did the estate get from this and of course

  23    what the estate did get was that the bridge reserve, the

  24    initial amount of $77 million satisfied that settlement and

  25    left money left over, I think it was about $13 million, I'm




                                     A376
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 86 of 247 PageID #: 597
                                                                             86


    1   subject to correction on that, left money left over to be

    2   distributed to the bondholders and to the parent GUX.            So I

    3   think all in all that was a very good settlement and I think

    4   Your Honor hit the nail on the head when you suggested that

    5   this is just how claims get resolved in the attribution of a

    6   portion of that consideration, subject to your Court -- to

    7   Your Honor's approval to legal fees I think is just not

    8   problematical.     I think that really is more of an internal

    9   kind of scorekeeping mechanism within the bridge community

  10    itself.    So those issues I think, Your Honor, should come

  11    off the table relatively quickly.

  12                  I'm going to turn now to some of the things that

  13    Mr. Bradford talked about.       I was perplexed -- well, first

  14    as to the inadequate safeguards against frivolous

  15    litigation.    I think we've all heard Your Honor pretty

  16    clearly.    Mr. Sottile has made that remark.        You know it's -

  17    - it should not come as a surprise that there is a spotlight

  18    on Mr. Zell, I mean and I'm told that in naval circles when

  19    a ship sinks out from under a captain, there's usually an

  20    inquiry and here, if I may use one of my famous analogies,

  21    Mr. Zell and his colleagues designed and built a ship and

  22    they launched it and they commissioned it and they put a

  23    crew on it and it sailed about 100 yards into Lake Michigan

  24    and sunk to the bottom of the ocean, it is hardly surprising

  25    that they are the subject of attention from lawyers under




                                     A377
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 87 of 247 PageID #: 598
                                                                              87


    1   those circumstances.      Mr. Sottile has explained to you that

    2   I don't think the plan puts any undue levers on that

    3   process.    I'll address exculpation and indemnity in that

    4   context because I think those are the undue levers that Your

    5   Honor may have been questioning about when you asked your

    6   question and I hope I got that right.

    7                So let me turn to the indemnity and exculpation

    8   questions that have been raised by Mr. Bradford.           First as

    9   to the exculpation, I think that's an easy one and it is a -

  10    - it's a textural one.      The relevant text is Section 11.5 of

  11    the DCL plan and it basically sets forth an exculpation

  12    starting with the words to the fullest extent permitted

  13    under applicable law, which is an interesting way to start

  14    because I think it gives the Court and all parties comfort

  15    that in effect it is self-regulating.         If, as Mr. Bradford

  16    suggests, this paragraph otherwise might have been deemed to

  17    somehow write Rule 11 out of the bankruptcy rules and I

  18    don't think it does that at all, I think that savings clause

  19    at the beginning should totally take care of that.           But I

  20    think the real substance of the exculpation makes it very

  21    clear that nothing that's being done by way of exculpation

  22    does the horrible things that are being advertised.

  23                 THE COURT:    Let me --

  24                 MR. LEMAY:    Yes.

  25                 THE COURT:    -- suggest to you how I have from




                                     A378
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 88 of 247 PageID #: 599
                                                                             88


    1   time to time dealt with the exculpation/release issues with

    2   such proposed savings language and it leaves for another

    3   time and probably more often than not for another Court,

    4   just what the extent of that -- of those clauses should be

    5   and I don't know, at least in one case recently I declined

    6   to approve that language because while sometimes it's good

    7   to kick the can down the road, sometimes it's just not the

    8   right thing to do.     Why is it the right thing to do here?

    9                MR. LEMAY:    I think it's the right thing to do

  10    because and this was where I was going to go with this, the

  11    exculpation clause in this plan was intentionally and pretty

  12    narrowly tailored to measure up to Judge Walrath's recent

  13    Decision in the Washington Mutual case.         I think it was no

  14    secret to any of the parties that that would be on

  15    everyone's mind and Your Honor confirmed that yesterday when

  16    you told us to think pretty hard about that.          This

  17    exculpation clause looks quite a bit different from the one

  18    that we filed with the initial plan and that initial plan

  19    was pre Washington Mutual and this is post Washington

  20    Mutual.   We've done our very best to make sure that the

  21    exculpation clause for example only protects, at least as to

  22    the estate fiduciaries, only protects us to post-petition

  23    conduct because that's a Washington Mutual Decision, that

  24    the related parties definition, as you'll hear later, falls

  25    within the ambit of the sorts of exculpations that would be




                                     A379
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 89 of 247 PageID #: 600
                                                                              89


    1   appropriate.    So Your Honor, I totally agree.        If we had

    2   written an exculpation clause that was completely off the

    3   reservation and then said to the fullest extent permitted by

    4   applicable law, then I think that would be a very, very

    5   valid criticism from the bench.        Why should I have to do

    6   this?   But I think here and I know you've asked the parties

    7   to address this tomorrow, the exculpation clauses really

    8   weren't just sort of you know thrown down the field.           They

    9   were really written with a view of passing muster and we

  10    think they do.     I don't myself see anything in this

  11    exculpation clause to bring it back to the argument that's

  12    in front of the Court right now.        I don't see anything in

  13    here that says litigation trustees are going to be

  14    exculpated from Rule 11 violations.

  15                 MR. GOLDEN:    Your Honor, I might save some time

  16    just by clarifying the scope of our objection.          Thank you.

  17    Our objection is not to 11.5 which is being referred to, but

  18    we're referring specifically to 13.3.7, which deals with

  19    exculpation of the litigation trustee and those responsible

  20    for the litigation and I apologize if I caused any confusion

  21    about the scope of the objection.

  22                 THE COURT:    All right.    Thank you.

  23                 MR. LEMAY:    Actually don't know that that's an

  24    exculpation clause, Your Honor.        I think that's an

  25    indemnification from the litigation trust in favor of the




                                     A380
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 90 of 247 PageID #: 601
                                                                             90


    1   litigation, the litigation trustee and to the extent that

    2   the litigation trust as opposed to the Chapter 11 estate is

    3   indemnifying and to the extent that there isn't a Court-

    4   ordered exculpation, I think that's a pretty different

    5   creature.    Basically what this is just saying is that the

    6   litigation trust will indemnify the litigation trustee.

    7   That just doesn't seem like a very remarkable proposition to

    8   me.   If the litigation trust wastes its assets by violating

    9   Rule 11, then what that means is the litigation trust and

  10    the creditors who empowered that litigation trust are going

  11    to have to eat their own cooking.        So I'm not sure that that

  12    -- I'm not sure that one makes any sense.         I think there'd

  13    be a more cogent objection if either A, you were being asked

  14    to use your judicial powers to craft an exculpation or B,

  15    the debtor or its reorganized estate were being put on the

  16    hook for that.     So I'm not sure that's a well-taken point.

  17    I think I've beaten that one to death, Your Honor.           I'll

  18    keep going.

  19                  I think the last thing I need to talk about,

  20    unless I've got my notes wrong, is indemnity.          And I guess

  21    the argument that's being made is that Mr. Zell has been

  22    induced post-petition to remain as a director and that

  23    because he's been induced it is wrong to treat his pre-

  24    petition indemnity claims as pre-petition indemnity claims.

  25    And some cases were cited that purport to stand for that.            I




                                     A381
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 91 of 247 PageID #: 602
                                                                             91


    1   have a couple of observations.       I don't think it's quite

    2   right to say that Mr. Zell was induced to remain as a

    3   director.    I suspect that he has remained as a director for

    4   the purpose of exerting, as is perfectly proper, ongoing

    5   control over the reorganizing entity until the time comes

    6   when he'll circle off the board.        But the fact remains, I

    7   think it's beyond per adventure that when acts are committed

    8   by an officer or director pre-petition, those acts give rise

    9   to pre-petition claims.      A case called Summit Metals decided

  10    by Your Honor, makes it very clear.        And this is a decided

  11    case.   This is not just one of the sort of confirmation

  12    orders, which I'll get to in a minute because I think that

  13    was what was adverted to by Mr. Bradford.         In Summit Metals,

  14    in the decided case and it's reported at 379BR40, this Court

  15    has said consistently Courts have held that an

  16    indemnification claim based on pre-petition services or

  17    conduct is not a cost or expense for services rendered after

  18    the commencement of the case.       Putting it a different way,

  19    pre-petition conduct gives rise to pre-petition claim and

  20    gives rise not to an administrative claim because you have

  21    not been dealing with the debtor in possession.           You've been

  22    dealing with the pre-petition debtor and no benefit has been

  23    conferred upon the estate.       The suggestion is made that

  24    however charters and bylaws are executory contracts and must

  25    be assumed or rejected.      I think if the Court looks at our




                                     A382
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 92 of 247 PageID #: 603
                                                                             92


    1   briefing, you'll see that that's just not necessarily the

    2   law and the fact that the holdings that say that that isn't

    3   the law emanate from other jurisdictions, I don't really

    4   think is dispositive.      And so for those reasons I don't

    5   think it can be said in any meaningful way that these are

    6   executory contracts that have to be assumed.          I think that's

    7   contrary to the weight of the law.        And the Baldwin United

    8   and THC cases that Mr. Bradford mentioned I think continue

    9   to be good law.     Mr. Bradford cited three confirmation

  10    orders for the proposition that certificates of

  11    incorporation are executory contracts.         He mentioned

  12    Panolam, Crabtree & Evelyn and then I think he mistakenly

  13    mentioned the Summit Metals case.        I believe he meant to

  14    mention because his papers mention a case instead called NII

  15    Holdings.    And I guess the only observation I have with

  16    respect to those three cases is that they are simply

  17    confirmation orders, they do not appear in any way to have

  18    been the result of a litigated decision, and I think that

  19    they're precedential value for that reason should be limited

  20    or probably discounted entirely.        Excuse me.    Your Honor, if

  21    I could just have a second.         They did cover a lot of topics

  22    and I just want to make sure that I don't repent of yielding

  23    the podium.

  24                  THE COURT:   You may.

  25                  MR. LEMAY:   Thank you.     I know Mr. Dublin wants




                                     A383
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 93 of 247 PageID #: 604
                                                                             93


    1   to have a word or two about some of the observations in

    2   particular that were made with respect to Aurelius as

    3   litigation trustee nominator, so I think I'm done.           Your

    4   Honor, thank you.

    5                THE COURT:    Thank you.

    6                MR. DUBLIN:    Good afternoon again.      For the

    7   record Phil Dublin, Akin Gump on behalf of Aurelius and the

    8   other noteholder plan proponents.        Your Honor, I'll do my

    9   best not to repeat the comments that either Mr. Sottile or

  10    Mr. LeMay have made.      I think Mr. Sottile put it quite

  11    succinctly and accurately as to what the examiner's report

  12    does say and what it doesn't say and that Mr. Bradford I

  13    believe reads that report with rose-colored glasses that I

  14    wish I had in connection with all my matters.

  15                 With respect to the last couple of items that Mr.

  16    LeMay touched on, the indemnity and the exculpation, again I

  17    believe the provisions being referred to in the plan, as

  18    well as in the related draft trust agreements are indemnity

  19    provisions, not exculpation provisions.         With respect to the

  20    trusts under the noteholder plan, those provisions I believe

  21    are consistent with much precedent and applicable law and

  22    they carve out the extent of the indemnity to make sure that

  23    parties can only be indemnified to the extent of applicable

  24    law and likewise provides that there will be no

  25    indemnification upon a finding of fraud, self-dealing,




                                     A384
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 94 of 247 PageID #: 605
                                                                               94


    1   intentional misrepresentation, or willful misconduct.            And

    2   on the heels of that discussion on the indemnity

    3   specifically focused on self-dealing is where I'd like to

    4   move into the attacks on Aurelius.        And I'll do it briefly

    5   because I think that the only reason why Mr. Bradford was

    6   focused on Aurelius is because he knows that they have the

    7   weight of their conviction.         They know that there are valid

    8   claims here with respect to Step 1 and Step 2, as well as

    9   with respect to the preference claims and the like that are

  10    asserted against Mr. Zell and EGI in connection with the

  11    Committee complaint that's on file, which this Court has

  12    already granted standing.       And really it's an attempt by EGI

  13    and Zell to try to get Aurelius to say hey, we really want

  14    to be involved in these causes of action, we want to be on

  15    the board, so we'll drop these claims against you because

  16    we're scared.    That's not the case.      As Professor Rock

  17    testified, these are the exact type of people that you want

  18    to be in charge of your trust, people that are going to

  19    maximize the value of the assets.        And in that regard in

  20    addition to the indemnification provision that's limiting in

  21    the trust agreements, our trust agreements provide that the

  22    members of the trust advisory boards, as well as the

  23    trustees, will have fiduciary obligations to maximize the

  24    value of the assets in the trust, the staten [ph] way, and

  25    with those fiduciary duties in the same manner that a




                                     A385
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 95 of 247 PageID #: 606
                                                                             95


    1   creditors committee has to its constituency.          We do have a

    2   specific carve out because under our plan everybody is going

    3   to get trust interest, that there will be no fiduciary duty

    4   in your capacity as a member of the advisory board or as

    5   trustee against any trust beneficiary in that trust

    6   beneficiary's capacity as a defendant.         Obviously that is

    7   what would create the conflict of interest if you had a

    8   fiduciary duty to somebody in their defendant capacity.            Mr.

    9   Bradford goes out of his way also to say that Aurelius is

  10    really just focused on the PHONES and assuming I guess as we

  11    all believe that the senior notes are entitled to a full

  12    recovery, that Aurelius will continue to press the causes of

  13    action once the senior notes are paid in full, but I don't

  14    think he's read our plan.       Once the senior notes are paid in

  15    full, the PHONES notes trustee takes over Aurelius'

  16    position.    Anybody that's been appointed by Aurelius on the

  17    board is gone.     It's the PHONES notes trustee that takes

  18    over at that point.      Aurelius does not have a say after the

  19    senior notes are paid in full as to how that board will

  20    continue to operate.

  21                 THE COURT:    I'm not so sure Mr. Bradford would

  22    consider that an enhancement of his position.

  23    (Laughter)

  24                 MR. DUBLIN:    That is probably true, but it will

  25    no longer be Aurelius that will have a say in the




                                     A386
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 96 of 247 PageID #: 607
                                                                              96


    1   prosecution of those causes of action.         Moving on also to

    2   priority argument with respect to the PHONES and the EGI

    3   notes.   I'll talk about it just for a minute and I think our

    4   plan is quite clear where it says that it's going to be

    5   determined at a later date with respect to whatever allowed

    6   claims there are as to who has priority against the PHONES

    7   and that is in, if you give me one second I'll tell you the

    8   exact -- I think it's in 3.9C.        It's in the treatment

    9   section for the PHONES.      But it's really a red herring.

  10    There are no initial distributions going out under the

  11    noteholder plan to the holders, the PHONES notes, or the

  12    EGI-TRB notes for the specific purpose that we all agree --

  13    they are all subordinated to Step 1, Step 2, the bridge, and

  14    the senior notes at the parent company.         Now if the LBO

  15    causes of action are successful, well, then the EGI-TRB

  16    notes are going to go away.         They're Step 2 debt.    So we're

  17    not going to have to worry about whether the EGI-TRB notes

  18    are senior to the PHONES because they won't be there.            If

  19    the LBO causes of action are unsuccessful, well, then

  20    there's not going to be any value for the PHONES or the EGI-

  21    TRB notes in that circumstance, so we don't have to worry

  22    about it at that point.      So I think it's really a red

  23    herring as to whether the PHONES or the EGI notes are

  24    senior, which is senior to each other or whether even

  25    they're pari passu.      I think that the order of reading if




                                     A387
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 97 of 247 PageID #: 608
                                                                             97


    1   the Court -- if this Court or any Court is eventually going

    2   to determine which is senior, the PHONES or the EGI-TRB

    3   notes to the extent that is ever necessary, which again I

    4   say it is not -- the right order is to read the PHONES

    5   notes, indenture trust -- indenture first, followed by the

    6   subordination agreement for the EGI notes because the

    7   language that Counsel for EGI-Zell read from the PHONES

    8   indenture is strikingly similar to the language that's in

    9   the subordination for the EGI notes, which provides that the

  10    EGI notes will be subordinate to all senior obligations and

  11    senior obligations are all obligations, indebtedness and

  12    other liabilities of the company, meaning Tribune company,

  13    other than any such obligations, indebtedness, or

  14    liabilities that by their express terms rank pari passu or

  15    junior to the company's obligations under the subordinate

  16    notes.   There's nothing in the PHONES notes that say

  17    anything about the EGI notes because the PHONES notes trust

  18    indenture came first and by the fact that this agreement

  19    came second, if they wanted to be senior to the PHONES, they

  20    would have said so, but they didn't, so I think that is the

  21    proper order to read them in.

  22                 I think I may have covered everything that was

  23    necessary here.     I'm just going to take a quick look as

  24    well.    One more second, I believe I have -- that's all I

  25    have.




                                     A388
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 98 of 247 PageID #: 609
                                                                              98


    1                THE COURT:    All right.     Thank you.

    2                MR. SIEGEL:    Martin Siegel of Brown Rudnick on

    3   behalf of Wilmington Trust, the indenture trustee for the

    4   PHONES.   Much of what I was going to say, Your Honor, has

    5   been said.    I incorporate Mr. Dublin's argument.         We don't

    6   believe if you read -- if you were to decide the issue that

    7   you would decide that when in 2007 when the EGI note was

    8   prepared and they said we're only senior basically -- you

    9   have to say that you're going to be subordinated.           They

  10    could have amended the PHONES if they wanted to, they could

  11    have said so in the EGI subordination agreement.           They

  12    didn't.   We think if you ruled on it, you would rule that

  13    the PHONES are not subordinated to the EGI note.           However,

  14    we agree that you do not need to decide the issue now, the

  15    way the plans are written, we're not entitled to a

  16    distribution at the -- right now.

  17                 Now we've heard more than two weeks of testimony

  18    and we disagree with Mr. LeMay's statement that we will

  19    ultimately not get a substantial distribution.          But that's

  20    for a later date.     Your Honor has enough on his plate, so on

  21    behalf of the indenture trustee, we are not insisting that

  22    you resolve this issue now.         When Your Honor enters a ruling

  23    on the other issues that you have before you, we believe

  24    that at that point there will be a need to resolve it

  25    because the PHONES will get a substantial distribution.            But




                                     A389
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 99 of 247 PageID #: 610
                                                                              99


    1   that's not for today.      You have enough to decide.

    2                THE COURT:    Well, as I sit here and listen to the

    3   respective arguments, I recall an argument that was made on

    4   a similar issue and I think it was in Spansion.           And there

    5   the plan changed in its terms with respect to dealing with

    6   the priority issue and one version of the debtors plan said

    7   well, we'll issue stock in accordance with whatever the

    8   priority turns out to be, but we make no position -- take no

    9   position about it now and one party argued therefore I have

  10    no jurisdiction to determine the dispute about who came

  11    first.   Then the plan changed and made a choice about who

  12    came first, so I think I put the issue squarely before me,

  13    which I had to decide.      So I then ruminated about whether

  14    here depending upon the valuation decision, which I have to

  15    make in connection with confirmation, would mean that

  16    depending on the number I would have to decide the issue,

  17    but if it's not high enough I might not have to until later

  18    or another Court might not have to until later, depending

  19    upon the success of the litigation outcomes.          Okay.

  20                 MR. SIEGEL:    Your Honor, if you'd like to decide

  21    another issue, we'd be more than happy to submit whatever

  22    you -- how you want to do it.

  23                 THE COURT:    Yeah.    I've run out of my invitation

  24    stationary, Mr. Siegel.

  25    (Laughter)




                                     A390
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 100 of 247 PageID #: 611
                                                                            100


    1                MR. SIEGEL:     Thank you, Your Honor.

    2                THE COURT:    All right.     Is this an appropriate

    3   time for a break?

    4                MR. SOTTILE:     Yes, Your Honor.

    5                THE COURT:    Okay.     Mr. Sottile?

    6                MR. SOTTILE:     Yes, Your Honor?

    7                THE COURT:    I'd like to ask you to revisit now

    8   your time estimate on getting through these objections and -

    9   -

   10   (Laughter)

   11                THE COURT:    -- whether we're still on track or

   12   whether there might have been a bit of slippage.

   13                MR. SOTTILE:     Actually, Your Honor, I believe

   14   that we are on track.      We had anticipated that this

   15   morning's objections would be rather lengthy and I still

   16   anticipate, although I will look around and make sure that

   17   I'm not going to be corrected by any of my colleagues, I

   18   still anticipate we should complete today.          I think that we

   19   are optimistic, Your Honor, that we can continue and

   20   complete the third party objections today.

   21                THE COURT:    Listen, any time a little optimism

   22   sneaks its way through in this case I'm happy.           In terms of

   23   numbers of hours, what do you think?

   24                MR. SOTTILE:     Your Honor, my best estimate would

   25   be that we need another three to three and a half hours.




                                      A391
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 101 of 247 PageID #: 612
                                                                            101


    1                THE COURT:    Okay.      Anything before we break?

    2   Court will stand in recess until 2:00.

    3   (Recess from 12:49 p.m. to 1:59 p.m.)

    4                THE COURT:    Good afternoon.

    5                MR. BRADFORD:     Your Honor, David Bradford on

    6   behalf of Mr. Zell.      Briefly a point of order before we

    7   leave this last objection.       Over the lunch hour a Bloomberg

    8   Report issued with a headline which read, "Claims against

    9   Tribune Chairman Zell 'have merit' bankruptcy judge says."

   10   Your Honor is then quoted as having found that the claims

   11   against Mr. Zell have merit.         I'm confidant that Your Honor

   12   made no such Determination.          I would ask Your Honor to

   13   clarify for the record that you made no such Determination.

   14                THE COURT:    The record will speak for itself.         I

   15   do not make a habit of responding to press reports for

   16   reasons which I'm sure you understand.

   17                MR. BRADFORD:     Your Honor, I do think -- I will

   18   state for the record and I've consulted with other Counsel

   19   that no such statement was made by the Court, that the issue

   20   of whether these claims have merit was not before the Court

   21   today and that there was no such Determination.           So I think

   22   unfortunately this illustrates why we are trying to get this

   23   issue resolved sooner rather than later because there are

   24   serious reputational consequences to these kinds of

   25   unfounded articles.      Thank you, Your Honor.




                                      A392
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 102 of 247 PageID #: 613
                                                                            102


    1                MR. LANTRY:     Kevin Lantry on behalf of the

    2   Debtors, Your Honor.      This now brings us to the last of the

    3   third party objections to both plans and that has to do with

    4   contentions about the creditor trust structures that are in

    5   both plans and EGI indicated they'd like to fall back a

    6   little bit, so the foundations I believe have the first

    7   objection on this.

    8                THE COURT:    Very well.

    9                MR. RILEY:    Good afternoon, Your Honor.        Richard

   10   Riley from Duane Morris on behalf of the Robert McCormick

   11   Tribune Foundation and the Cantigny Foundation, which I'll

   12   refer to as the foundations.

   13                Your Honor, you heard some of our argument at the

   14   March 22 hearing in connection with the foundations

   15   objection to the noteholders motion for determination that

   16   they retained their state law fraudulent conveyance claims.

   17   This will -- our arguments will amplify a little bit of what

   18   we said at that hearing, Your Honor.         I don't think there's

   19   any dispute among the parties as to what the intent and the

   20   motivation is for the creation of the creditor trust under

   21   both of the plans.      The Committee has already sued the

   22   foundation and other former shareholders for -- to try to

   23   recover shareholder payments made as part of the 2007 LBO

   24   under an intentional fraudulent conveyance theory.            The

   25   Committee intentionally did not sue the foundation and the




                                      A393
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 103 of 247 PageID #: 614
                                                                            103


    1   other shareholders, the other former shareholders, under

    2   constructive fraudulent conveyance theories.          So under both

    3   plans the only thing being assigned or conveyed to this

    4   creditor trust is these state law fraudulent conveyance

    5   actions.    As I'm sure Your Honor is aware, the Third Circuit

    6   has found that you know these shareholder payments like the

    7   payments that the foundations have received, are protected

    8   by 546(e) under -- if they're brought under by a trustee for

    9   constructive fraudulent conveyance.         Given the 546(e)

   10   limitations, the plan proponents have concocted the creditor

   11   trust mechanism under each of the competing plans, simply to

   12   try to evade 546(e) of the Bankruptcy Code.          In doing so,

   13   Your Honor, the foundations assert that the creditor trust

   14   provisions of the competing plans violate 1129(a)(1) and

   15   (a)(3) of the Bankruptcy Code.        We have two main reasons,

   16   Your Honor.     First is somewhat duplicative of what we argued

   17   back on March 22.      By assigning the -- trying to assign the

   18   creditors state law fraudulent conveyance claims to this

   19   creditor trust --

   20                 THE COURT:   Do you mean unsuccessfully argued on

   21   the 22nd?

   22                 MR. RILEY:   Well, Your Honor, I guess -- the

   23   issue I guess -- that's a point of clarification I guess.             I

   24   guess some of us, me included, are unclear of what was

   25   actually ruled on at -- on March 22.




                                      A394
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 104 of 247 PageID #: 615
                                                                            104


    1                THE COURT:    I have to say that ruling from the

    2   bench set a record for confusing others involved.

    3                MR. RILEY:    Yeah.     Because as you know, Your

    4   Honor, there's competing certifications to Counsel, I

    5   believe --

    6                THE COURT:    Oh, I know.

    7                MR. RILEY:    -- based on that ruling.

    8   (Laughter)

    9                MR. RILEY:    What we say is that the creditor

   10   trust mechanism under the plan is trying to confer standing

   11   on the creditor trustee to bring these state law fraudulent

   12   conveyance actions, but Your Honor they've -- the Committee

   13   has already brought an action for -- to recover the payments

   14   under the -- for this LBO under fraudulent conveyance

   15   theories.    And once the Committee brought that action,

   16   that's the action.      The creditors no longer have standing to

   17   bring the state law actions.         And Your Honor, for that

   18   proposition we cite in our objection the National American

   19   Insurance Company v. Rupert Landscaping case.           And in that

   20   case the Court found that a creditor could not bring a

   21   similar cause of action to an action that the trustee was

   22   bringing where the actions had the same similar focus.            And

   23   Your Honor if you think about it, if this creditor trust

   24   mechanism were to be approved and go into effect, you will

   25   have competing causes of action for the same dollars arising




                                      A395
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 105 of 247 PageID #: 616
                                                                            105


    1   out of that LBO transaction.

    2                THE COURT:    You're right.     That was the same

    3   argument that was made and I thought I was clear in that to

    4   the extent that was an objection and I had overruled it as -

    5   - for the reasons that as certain parties argued that's just

    6   something to be sorted out later and Courts have a way of

    7   dealing with that and they do.

    8                MR. RILEY:    Well, Your Honor, then I'll move on

    9   to the -- I guess you're saying that's overruled.           The

   10   second reason we contested --

   11                THE COURT:    Well, you know Mr. Riley if you can

   12   tell me -- you quite properly acknowledged at the outset

   13   that it was like the objection that was made before, which I

   14   thought I'd overruled.       But I see no difference in the

   15   argument here either.

   16                MR. RILEY:    Well, our position is since the

   17   Committee has commenced the action, you're going to have

   18   competing causes of action for the -- for basically the same

   19   dollars.    It's going to be a --

   20                THE COURT:    I acknowledge that that might be a

   21   possibility.

   22                MR. RILEY:    And Your Honor, I do point out that -

   23   - where is it -- in the Klingman [ph] case, which is one of

   24   the cases cited by the noteholders for the proposition that

   25   once the two year statute of limitations under 546 for the




                                      A396
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 106 of 247 PageID #: 617
                                                                            106


    1   trustee expires, that the creditors regain or can assert

    2   these causes of action, but the Klingman Court actually said

    3   -- it's an apt quote.      It says this holding should not be

    4   construed as suggesting that creditors may vie with the

    5   bankruptcy trustee for the right to pursue fraudulent

    6   conveyance actions.      To the contrary, the commencement of a

    7   bankruptcy case gives the trustee the right to pursue

    8   fraudulent conveyed assets to the exclusion of all creditors

    9   and they cite 546(a) and they -- but they say however the

   10   trustee does not retain this exclusive right in perpetuity,

   11   the trustees exclusive right to maintain a fraudulent

   12   conveyance cause of action and the creditors may step in or

   13   resume actions when the trustee no longer has a viable cause

   14   of action.    And in this case the Committee has brought a

   15   viable cause of action for the return of the shareholder

   16   payments.    So our argument would be with that they don't

   17   have standing to bring them and it's going to cause all

   18   sorts of problems after the plan is confirmed.

   19                THE COURT:    Well, I acknowledge that the

   20   potential exists, but as I said and as was argued before

   21   Courts have a way of dealing with that and the noteholders

   22   also had a notion that it might help prompt resolutions and

   23   I tend to think they're right about that.

   24                MR. RILEY:    Your Honor, the other reason we state

   25   that the creditor trust would violate or would not be




                                      A397
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 107 of 247 PageID #: 618
                                                                            107


    1   brought in good faith under 1129(a)(1) or (a)(3) is that our

    2   position is that 546(e) of the Bankruptcy Code preempts the

    3   state law fraudulent conveyance actions and the creditor

    4   trust mechanism is just a clear attempt to sidestep 546(e).

    5   And Your Honor, I would cite to you the Hechinger's Decision

    6   by Judge Walrath, which I'm sure you're aware of, in which

    7   she found that 546(e) preempted an unjust enrichment claim

    8   that sought to recover you know under similar theories as

    9   fraudulent conveyance.

   10                THE COURT:    Well, it came up in a different

   11   context, but the Third Circuit decided recently in Visteon

   12   that the enhanced protections given to employee benefits by

   13   Section 1114 was intended by Congress and it did actually

   14   offer more than arguably was available outside of

   15   bankruptcy, which is somewhat unusual as the interplay

   16   between bankruptcy and non-bankruptcy law typically goes.

   17   Here what in effect is maybe happening is that while there's

   18   the protection in bankruptcy, after bankruptcy maybe it's

   19   not and maybe that's what Congress intended.

   20                MR. RILEY:    But Your Honor --

   21                THE COURT:    Tell me why that's not a fair reading

   22   of the code.

   23                MR. RILEY:    Well, Your Honor, I think Congress

   24   intended to protect the exact kind of transaction that's

   25   trying to be unwound here.       I mean if you look at what




                                      A398
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 108 of 247 PageID #: 619
                                                                             108


    1   Tribune is trying to do, the noteholders or the debtor

    2   committee lender plan is trying to do, they're trying to

    3   unwind billions of dollars of securities transactions that's

    4   going to involve thousands if not ten thousands of

    5   shareholders.     If you look at the Committee complaint as an

    6   example of what will be the state court litigation, I think

    7   the Committee complaint, the caption goes on for at least

    8   two pages and it has a -- close to a 500-page exhibit of

    9   additional plaintiffs.       And Congress in passing 546(e) was

   10   trying to give some certainty to the financial markets that

   11   these types of transactions couldn't be unwound.           So Your

   12   Honor, it's just that this whole mechanism is --

   13                THE COURT:    Or maybe that bankruptcy couldn't be

   14   used to unwind them.

   15                MR. RILEY:    Or once a company decides to file

   16   bankruptcy, they cannot unwind them.         And I don't think it

   17   stops with confirmation.       Once the debtor decides to file

   18   bankruptcy, 546(e) applies.

   19                THE COURT:    Forever.

   20                MR. RILEY:    Yeah.     And Your Honor, I think

   21   there's joinders.

   22                THE COURT:    All right.

   23                MR. RILEY:    I do have one last point, Your Honor.

   24   We do mention in our brief or our objection that these same

   25   arguments were actually raised by the Debtor to the




                                      A399
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 109 of 247 PageID #: 620
                                                                            109


    1   examiner, so they were -- they knew that preemption was an

    2   issue and they knew that this attempted sidestep would be

    3   problematic.

    4                 THE COURT:    Well, it wouldn't be the first time

    5   I've seen a position change during the course of a

    6   bankruptcy.

    7   (Laughter)

    8                 MS. STEEGE:    Good afternoon, Your Honor.

    9   Catherine Steege again on behalf of EGI-TRB and Mr. Zell.

   10   I'd like to answer Your Honor's question with regard to why

   11   this isn't a circumstance where parties ought to be allowed

   12   to proceed outside of bankruptcy and evade some restrictive

   13   provisions of the Bankruptcy Code.         The reason for that,

   14   Your Honor, is because the estate made a Determination to

   15   administer these particular claims.         By making that

   16   Determination, by bringing the actual fraudulent transfer

   17   claims and the other claims that implicate 546(e), they've

   18   administered that particular body of claims.          They've chosen

   19   to proceed in the bankruptcy process and creditors should

   20   not be allowed to then proceed outside of bankruptcy on the

   21   parallel claims.     And I think the problem with how everyone

   22   is focusing on this is they're defining claims by looking at

   23   the legal label that's placed on the claim.          They're saying

   24   if we call it this it's something different than if we call

   25   it that, but that's not how the law works in any other




                                      A400
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 110 of 247 PageID #: 621
                                                                            110


    1   circumstance.     If you were, for example, looking at whether

    2   or not res judicata or issue preclusion would apply, you'd

    3   be looking at the core set of operative facts and the core

    4   set of operative facts with regard to the causes of action

    5   that the estate, through the Committee's complaint has

    6   brought, that same core set of facts, the same ultimate

    7   relief is being attempted to be sought in connection with

    8   these claims that would be assigned to the creditor trust.

    9   As to the question as to why it's appropriate to resolve

   10   that issue now as opposed to letting it be deferred until a

   11   later date, the issue before the Court today isn't whether

   12   or not Aurelius gets relief from the stay to bring causes of

   13   action in its own name.       It's whether the Court enters a

   14   confirmation order that places an imprimatur on creditors

   15   abilities to assign into a creditor trust these particular

   16   claims.    And I'm not suggesting, because I don't think it's

   17   correct, that you can't have a creditor trust in a plan.

   18   You can.    You can have a trust for claims that are assigned

   19   by creditors that they own.          The question here is do

   20   creditors actually own any claims that can be assigned into

   21   that trust and you can only get there if you determine that

   22   the claim depends solely on the legal label placed on that

   23   claim.    If you look at it the way I think it's looked at

   24   every other time when you try to figure out, when you're

   25   amending a claim under Rule 15, you're applying res




                                      A401
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 111 of 247 PageID #: 622
                                                                            111


    1   judicata, you look at the core set of operative facts.            When

    2   you look at it that way, the estate chose to administer

    3   these claims and by administering these claims, creditors

    4   lost the right to individually pursue those claims outside

    5   of bankruptcy.     And that's the reason why this mechanism

    6   doesn't work in this plan.       And if you look at the cases

    7   that both of the plan proponents cite to support this, they

    8   are all instances where the bankruptcy trustee, the estate,

    9   doesn't administer at all the fraudulent conveyance claims,

   10   doesn't do anything with that core set of operative facts.

   11   And after they don't do anything for the two-year period,

   12   creditors then come in, they revert back, they're abandoned

   13   back, and they're allowed to proceed.         But you don't see any

   14   case where anyone is jointly on a parallel track prosecuting

   15   that with a trust that's got the imprimatur of the Court.

   16   And I don't think it's appropriate.         It's one thing in the

   17   stay motion.     It's another thing when you have a

   18   confirmation order to suggest that a Court in some other

   19   jurisdiction is going to be able to raise that issue because

   20   what will be said is the Court confirmed the plan allowing

   21   the assignment of those claim, it made a Determination that

   22   there was something to assign, so the argument that I'm

   23   making today shouldn't be made because the confirmation

   24   order borrows it and it's a collateral attack on the plan.

   25   That's why I think it becomes ripe here where it may not




                                      A402
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 112 of 247 PageID #: 623
                                                                            112


    1   have been a few weeks ago when it was argued in connection

    2   with the stay relief.      Thank you, Your Honor.

    3                THE COURT:    Thank you.

    4                MR. DOUGHERTY:     Good afternoon, Your Honor.       My

    5   name is George Dougherty.       I'm here on behalf of certain

    6   current and former officers and directors of the Tribune.

    7   Mr. Riley covered a lot of what I wanted to cover and EGI's

    8   Counsel also did the same and I certainly heard what you

    9   said.    I do want to point out that at least from our

   10   perspective, 546(e) shows Congress's clear intent that these

   11   types of transactions, those that involve securities

   12   transactions, should be protected.         The plan proponents I

   13   think need to show you why that is not the case in this

   14   situation and I don't think they've made that burden and

   15   it's not what you said a forever thing.          I think the way to

   16   reconcile this issue is to say that the claims that existed

   17   at the time the bankruptcy was filed and these disclaim

   18   state law fraudulent conveyance claims clearly existed at

   19   that time, that they should be subject to the 546(e) issue.

   20   And that you know perhaps there's claims outside of

   21   bankruptcy that may come later.        Maybe we don't get those

   22   protections under 546, but with respect to the things that

   23   could have been brought under -- is it 547 or 548, I forget

   24   which one, those are claims that should be covered by 546

   25   because that's the only way you can fulfill a clear




                                      A403
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 113 of 247 PageID #: 624
                                                                              113


    1   congressional determination that these types of claims

    2   should not be upset under a state law or a constructive

    3   fraudulent conveyance theory and thank you.

    4                 THE COURT:    Thank you.

    5                 MR. DUBLIN:    Good afternoon, Your Honor.       Phil

    6   Dublin, Akin Gump for Aurelius and the Noteholder Plan

    7   Proponents.     I'll be brief because I think Mr. Golden

    8   covered on March 22 substantially all of the issues that

    9   have been addressed by the objecting parties so far this

   10   morning.    I would just like to note that we obviously

   11   disagree with all their positions.         But as far as for one

   12   clarification, EGI-Zell made the point that creditors don't

   13   own these claims and only if they have valid state law

   14   claims can they transfer them to a trust.          That's exactly

   15   what our plan says.      Our plan says that creditors that are

   16   going to get credit or trust interests will only be entitled

   17   to receive creditor trust interests to the extent they have

   18   valid state law avoidance claims that can be transferred to

   19   that trust.     And that -- whether there are valid state law

   20   claims that can be transferred to that trust is something

   21   that will be determined by the state court overseeing the

   22   litigation, that will likely be commenced prior to

   23   confirmation of any plan in these cases as we come up to the

   24   June 4 statute of limitations period for certain states.

   25   And all of the arguments that the objecting parties have




                                      A404
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 114 of 247 PageID #: 625
                                                                             114


    1   raised with respect to 546(e) and standing and the like,

    2   those are defenseless claims.        There's nothing in the plan

    3   that's seeking to prevent those parties, just like there was

    4   no relief being sought on March 22 seeking to prevent those

    5   parties from pursuing those defenses in connection with any

    6   litigation commenced by an individual creditor or by any

    7   causes of action that a creditor trust may pursue on behalf

    8   of creditors that have contributed to that trust the valid

    9   state law avoidance claims that they have.

   10                Other than that any remarks I have will be

   11   repetitive of the hearing that we had on the 22nd and the

   12   rulings that you made.       Obviously we do have competing

   13   orders.    We view that as a fact that we have objecting

   14   parties that are trying to add things into an order that

   15   this Court did not rule, but we'll wait to see the order

   16   that's eventually entered.

   17                THE COURT:    Thank you.

   18                MR. LEMAY:    Your Honor, David LeMay from

   19   Chadbourne and Parke for the Official Committee of Unsecured

   20   Creditors and also for the DCL proponents.          Counsel for the

   21   foundation began his remarks by saying that some of his

   22   arguments had previously been ventilated on the 22nd.            I

   23   don't think that was quite right.         I think all of this was

   24   previously ventilated and what we really have here is the

   25   second pre-motion to dismiss and I think that the correct




                                      A405
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 115 of 247 PageID #: 626
                                                                            115


    1   time to be arguing motions to dismiss is on the motion to

    2   dismiss.

    3                 I will note, just very briefly, that there are

    4   two or three legal authorities that you don't hear too much

    5   about from the other side in this quarrel.          One is the PHP

    6   case, which you did hear about on the 22nd.          You heard about

    7   it from Mr. Golden.      And the PHP case I think makes it very

    8   clear and that's a Delaware case of course, that if the

    9   claim that is being pursued is not being pursued by the

   10   estate or by a successor to the estate, then the 546(e)

   11   defense isn't applicable.       Now I assume there will probably

   12   be an argument sooner or later about whether the 546(e)

   13   defense -- I'm sorry -- whether the claim is being pursued

   14   by the estate or by the -- by a successor to the estate.

   15   Taking a cue perhaps from a couple of the suggestions that

   16   the Court made this morning to first Mr. Krakauer and then

   17   to me, for our part, the Committee's part, we'd be perfectly

   18   happy to add a sentence to the plan that says as such 546(e)

   19   defenses as may exist, if any, are not impaired or are not

   20   prejudiced.     And if that makes this go away, that's maybe a

   21   profitable use of our time.          It is the case that in Lyondell

   22   a trust just like this one was part of a confirmed plan, so

   23   it's not like we're going anything new or extraordinary.

   24   But if putting in that kind of clause would save the day on

   25   this and give us some time to turn to some other things, I'd




                                      A406
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 116 of 247 PageID #: 627
                                                                            116


    1   be happy to do it.      I don't feel, Your Honor, the need to

    2   reargue at any length these issues about what the case means

    3   when it says that the -- when the estate has possession or

    4   control of a claim, that it gets first swing or first crack

    5   and then what happens after it yields that first crack.

    6   We've been down that road.       We all know what the Barone [ph]

    7   case says.    So perhaps I'll let that go.        I guess I'll only

    8   note that at least nobody is using the word Enron this time

    9   and that makes me happy.       Thank you, Your Honor.

   10                THE COURT:    Thank you.     Shall we move on?

   11                MR. LANTRY:     Sir, Your Honor, Kevin Lantry.       That

   12   brings us to the objections to the DCL plan and its bar

   13   order.

   14                MR. MCCAMBRIDGE:        Good afternoon, Your Honor.     My

   15   name is John McCambridge.       I'm here on behalf of certain

   16   DNO's and we're objecting to the DCL plan because its

   17   proposed bar order violates 1129(a).         As Your Honor knows,

   18   the proponents have the burden of demonstrating compliance

   19   and they cannot.     My clients are either current or soon to

   20   be defendants in multiple actions arising out of the LBO or

   21   facing actions by a litigation trust, a creditors trust, and

   22   individual creditors.

   23                Now I want to start with the natural state of

   24   affairs, which is that my clients have claims of

   25   contribution and non-contractual indemnity that they may




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Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 117 of 247 PageID #: 628
                                                                            117


    1   choose to bring against other individuals and entities.             Now

    2   there's well-settled, non-bankruptcy procedures for dealing

    3   with those claims.      We got various state laws, uniform acts,

    4   contribution acts, and those are all out there and that's

    5   what we have today.      Now the DCL plan proposes to upset the

    6   natural currently existing state of affairs, the one that

    7   exists between my clients, who are non-debtors, and these

    8   other individuals and entities, who are also non-debtors.

    9   Now the DCL plan proposes to do this with a bar order that

   10   they've negotiated with each other and without any consent

   11   or participation by us.       Now the background is that the

   12   debtors entered various settlement agreements with non-

   13   debtors.    The appropriateness of those settlement agreements

   14   we understand has been a significant topic in this Court for

   15   at least the last month.       But what we're focused on is one,

   16   apparent feature or product of those settlement agreements

   17   and that's the bar order that's included at paragraph 11.3

   18   of the DCL plan.     And the bar order that they've proposed

   19   would prevent my clients from bringing claims for

   20   contribution or non-contractual indemnity against anybody

   21   that's covered by their settlement agreements.           And that

   22   seems to us as far as we can tell to be a vast array of

   23   individuals and firms, not readily identifiable at all.

   24                Now turning to what that means.        The DCL bar

   25   order is a non-consensual release of our claims, non-




                                      A408
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 118 of 247 PageID #: 629
                                                                            118


    1   debtors, against other non-debtors.         So there's no question

    2   that the bar order, if entered, would release our claims.

    3   There's no question that they're non -- it would be a non-

    4   consensual release.      There's no question that we're non-

    5   debtors and no question that the people being released by

    6   their plan are also non-debtors as well.          So 524(e) and

    7   especially in the Third Circuit, it's very clear that they

    8   require strict special scrutiny of any such purported

    9   release.    There's four factors that are relevant.         Those are

   10   laid out in Continental and in Spansion.          As applied to this

   11   case the four are first, is this non-consensual release

   12   necessary to the success of the reorganization?           In this

   13   instance the non-consensual release, the one being imposed

   14   on us, is attached to some unknown number of settlement

   15   agreements.     So the relevant question on that would be is

   16   each of those settlement agreements necessary to the

   17   reorganization and if so, is the non-consensual release

   18   being imposed on us necessary to those settlement

   19   agreements.     That's factor one.     Factor two, are the

   20   entities that are being released from our claims, are they

   21   providing -- making a critical financial contribution to the

   22   DCL plan?    Factor three, is each of the entities that's

   23   being released on our claims making a financial contribution

   24   that's necessary to make the plan feasible?          Again, these

   25   are embedded in the settlement agreements that exist that




                                      A409
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 119 of 247 PageID #: 630
                                                                            119


    1   they did with the debtor.       Finally, we come to factor four.

    2   If factors 1 to 3 are met, there's a final factor that

    3   focuses on the people in the position of my clients and that

    4   is is the release, the imposed release of our claims fair,

    5   is it fair to us, the non-consenting people or entities and

    6   the issue is are we being fairly compensated for the forced

    7   release of our claims?       That's factor four.     That's the one

    8   we're going to focus on mostly.        Let me just briefly comment

    9   on factors one to three.       Now the issues there in one to

   10   three all regard the financial elements of the various

   11   settlement agreements and presumably those have been

   12   addressed at length during the hearings that have just

   13   concluded.    And we're not here in a position ourselves to

   14   evaluate the showing that was made on those issues over the

   15   last three weeks or month or whatever period of time these

   16   hearings have gone on.       As we note in our written objection,

   17   however, that's been a topic, it is a topic of contention

   18   between the parties in the confirmation hearing and we

   19   understand that the Court will be looking at these issues on

   20   its own in any event.      And all we would note is it's up to

   21   the proponents of this bar order to demonstrate that they

   22   satisfy factors one to three.

   23                Now assuming for purposes of the analysis that

   24   factors one to three are satisfied, that's when factor four

   25   becomes relevant.      Here's the proper analysis on factor




                                      A410
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 120 of 247 PageID #: 631
                                                                            120


    1   four.    We have to ask what consideration is being provided

    2   to us in exchange for being forced, if the order were

    3   entered, to release our claims.        Is the consideration

    4   offered fair?     Now in this instance according to the DCL

    5   proponents, the consideration given is the purported

    6   replacement of our contribution claims and indemnity claims

    7   with something that is supposed to be equivalent.           And what

    8   that is under the proposal is the use in future courts, in

    9   the litigation courts, of a proportionate fault procedure,

   10   specifically that future courts will apply a proportionate

   11   fault proceeding, conduct a proportionate fault proceeding,

   12   so that our clients will be held responsible for only their

   13   portion of any liability.       And that's it.     That's what's

   14   supposedly being offered to us.        And the DCL proponents say

   15   well, that's fair consideration.        You're getting the

   16   equivalent of a contribution claim, the bar order says well,

   17   any court in which you're sued by the litigation trustee,

   18   the creditor trustee, individual creditors, they're already

   19   talking about bringing cases all over the country, as Your

   20   Honor knows.     Any of those future litigation courts will

   21   have to apply the proportionate fault hearing, conduct a

   22   trial, alongside the liability trial for our clients and

   23   make sure that we are, if found liable on anything, required

   24   to pay only our proportionate fault.         Now what's the problem

   25   with this?    As I said, first and foremost according to the




                                      A411
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 121 of 247 PageID #: 632
                                                                            121


    1   DCL plan and recent events, we're allegedly going to face

    2   multiple suits in multiple jurisdictions, state and federal,

    3   around the country.      As I said Plaintiffs including

    4   litigation trustee, creditor trustee, and now individual

    5   creditors.    Without the bar order we have our claims of

    6   contribution and indemnity and the attendant statutory case

    7   law, protections that have developed over the years.            With

    8   the bar order we don't.       Now is it sufficient for the bar

    9   order to say future litigation courts will do this?            That's

   10   essentially what it says.       And what we are concerned about

   11   and what we have raised on February 15 and ever since is

   12   what happens if one of these other courts does not apply the

   13   proportionate fault provisions, does not conduct a

   14   concurrent hearing to be sure that we're entitled and get

   15   the benefit, such as it is, of the bar order, of the

   16   proportionate fault reduction.        Again, remember this is

   17   their plan forced on us.       Our position is that if a court

   18   were not to apply the proportionate fault procedures in

   19   full, that the burden of that failure has to fall on the DCL

   20   proponents and whatever plaintiff has brought that claim.

   21   It cannot be imposed on us.

   22                What does the DCL's proposal do?        It does impose

   23   it on us.    Their written response on this issue says you

   24   know there's a low probability that a court elsewhere would

   25   not fully apply the proportionate fault proceedings, but if




                                      A412
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 122 of 247 PageID #: 633
                                                                              122


    1   that happens, tough luck for you, that it's our problem, we

    2   can come back to this court, but the people who are suing us

    3   are not under and enjoined by the bar order.          And under

    4   their procedures we can well be in Court in any number of

    5   jurisdictions, Oklahoma, Cook County where I'm from, with a

    6   judge that doesn't think that he's going to apply it.            He

    7   doesn't conduct imaginary trials.         He doesn't like the empty

    8   chair.    We've all been there.      Anybody that's been -- that's

    9   tried cases around in different jurisdictions knows that

   10   different judges run their courtroom their way.           So for us

   11   to be exposed to the possibilities and it's crystal clear we

   12   are, that the proportionate fault procedures are not

   13   followed by future courts, means that were are not getting

   14   consideration for the forced release of our claims.            And

   15   that's utterly unacceptable to us.         It's not fair and it's

   16   wrong on multiple levels.       The only consideration or

   17   compensation that we're allegedly getting for these non-

   18   consensual releases is a proportionate fault hearing and

   19   determination.     If we don't get that, the consideration has

   20   failed.    No consideration, no compensation, that's unfair,

   21   it's inequitable and it's a violation of 524(e).

   22                In addition, the way that they've got this

   23   constructed, if you look at the plaintiff's incentives,

   24   according to this the plaintiff does better if the

   25   proportionate fault rule is not applied.          Why is that?




                                      A413
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 123 of 247 PageID #: 634
                                                                            123


    1   Without the proportionate fault rule and without us being

    2   able to bring contribution claims, the possibility is clear

    3   that we could be hit for the full amount of damage, without

    4   use of proportionate fault, and without contribution.            What

    5   does that mean?     Their recovery goes way up and beyond

    6   what's envisioned allegedly by this rule or by this order.

    7   And that's their incentive.          Essentially they've got

    8   opportunities for double recovery.         Can I imagine a

    9   plaintiff somehow looking for a jurisdiction that might not

   10   follow an order from this court?         It's possible.    Now it's

   11   also just not acceptable under the law.          This is their plan.

   12   If the litigation court does not deliver in proportionate

   13   fault, the burden of failure has to rest, would have to rest

   14   on the proponents and whatever plaintiff is trying to take

   15   advantage of the bar order -- of this procedure.           So the

   16   burden of failure has to be on them.         This is their plan,

   17   non-consensual, imposed on us.         That's not what this order

   18   says at all and it's very telling what it doesn’t say.            It

   19   does not put the burden on them of a court not going forward

   20   and applying this.      The only way perhaps that you could deal

   21   with this would be by including in the bar order itself, an

   22   injunction, a set of injunctions directed against the

   23   plaintiffs, the people that the DCL proponents are pushing

   24   forward here and that are going to be the people suing us,

   25   right?    So some of the things that you might have in such an




                                      A414
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 124 of 247 PageID #: 635
                                                                            124


    1   order would be that any plaintiff suing us would be barred

    2   from seeking any amount greater than the proportionate

    3   liability, if any, of the non-settling defendants, us.

    4   That's what was done in the Eichenholtz [ph] case in the

    5   Third Circuit.     In addition, other things that you would

    6   have to have would be if a litigation court were not

    7   following through on applying the full protections of

    8   proportionate fault.      The plaintiff in the order entered by

    9   this court, the plaintiff should be subject to injunction,

   10   being adjoined immediately, that they cannot proceed in that

   11   other court.     Stop.   Full stop.    In addition, issues about

   12   prohibiting a plaintiff once again in any order entered by

   13   this Court, asserting jurisdiction over that Plaintiff in

   14   this order saying you can't take any steps to have any

   15   judgment that's entered -- any judgment against us entered,

   16   enforced, collected, etc.       If the proportionate fault rules

   17   are not applied, you're enjoined.         And these are -- granted

   18   these are potentially complicated issues to get the

   19   injunction right.      It's not even attempted here, not even

   20   attempted.

   21                Additionally there would be jurisdictional issues

   22   that are also not addressed here.         For example, this court

   23   certainly has jurisdiction over the litigation trustee and

   24   it would be easy to add that entity or person in.           And the

   25   DCL plan itself does provide for continuing jurisdiction by




                                      A415
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 125 of 247 PageID #: 636
                                                                            125


    1   this Court, I understand over the litigation trustee.            The

    2   creditors trustee, though, a creature of this court created

    3   by this court, also somebody that could be subject to an

    4   injunction in this order to make sure that things are done

    5   properly.    I understand the DCL position to be there's no

    6   jurisdiction of this court over the creditors trustee in the

    7   future.

    8                As for individual creditors, you've already dealt

    9   with the fact that these lawsuits are apparently coming and

   10   any individual creditor who is operating as a plaintiff, the

   11   same thing would have to apply.        There would have to be a

   12   method by this court in this order to enjoin any other

   13   plaintiff, anybody that's suing us from avoiding the

   14   proportionate fault rules and then stopping the litigation

   15   if it's not applied.

   16                So in our view the DCL plan does not measure up

   17   at all for this critical issue in terms of factor four,

   18   under Continental and Spansion.        The way it's structured we

   19   are not being given appropriate fair and actual

   20   consideration in exchange for the loss of these claims.            And

   21   for that reason it fails 524(e).

   22                Now there are other problems with the DCL bar

   23   order, so that even if the burden of failure issue and the

   24   injunction issue were resolved as to all of the potential

   25   plaintiffs, there would be other issues.          One, you've got to




                                      A416
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 126 of 247 PageID #: 637
                                                                            126


    1   be practical I think with regard to the drafting of one of

    2   these bar orders.      The notion is that you'd be bringing this

    3   to another court that's not a bankruptcy court, maybe a

    4   state court, with little experience in a lot of these

    5   issues.    If you read the bar order that's proposed, it ought

    6   to be self-contained and intelligible to other courts.            This

    7   one is not.     You read it and it would require all kinds of

    8   reference back into the plan and it really -- I bring this

    9   up in part because the unintelligibility of the bar order as

   10   proposed really only heightens, increases the chances that a

   11   state court judge would either ignore it or get it wrong.

   12   So that's an additional problem that's intertwined with the

   13   first part of the argument.          In addition, the -- to be

   14   equivalent to a contribution claim and I'm not saying it's

   15   identical, but in terms of even rough equivalency the

   16   proportionate fault issue would have to be determined by the

   17   same trier of fact that's determining our liability, if any.

   18   So it would have to run together if it's going to be like

   19   that.    That's not provided for.       And again if you go to the

   20   Eichenholtz case, it's not a bankruptcy case, but it

   21   addresses these issues directly and exactly.          The plaintiff

   22   can't seek anything more than a proportionate fault judgment

   23   and the trial has to proceed together so that if you're

   24   going to take it away you've got to provide the equivalent,

   25   roughly equivalent benefits.         This plan doesn't do it.




                                      A417
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 127 of 247 PageID #: 638
                                                                            127


    1                I referenced the perversity of the plaintiffs

    2   bringing these claims that have been constructed or assigned

    3   into various buckets by the DCL people.           And again I

    4   emphasize the plaintiffs then do better if the proportionate

    5   fault plan is not used by the litigation court.           They do

    6   better.    That's a perverse incentive.       In addition, the

    7   entities that are protected from our contribution claims,

    8   not only will they be protected, but they'd be sharing --

    9   they'd be protected against claims from us and they'd be

   10   sharing in any recoveries by the litigation trustee or the

   11   creditors trustee any recoveries that are made against our

   12   group.    So as a couple of courts have pointed out in

   13   arguments, et cetera, those people then they're protected

   14   and they have now an incentive to trash the transaction in

   15   which they have -- in which they may have played an integral

   16   part.

   17                So for all those reasons this bar order does not

   18   work and it renders under 524(e), it can't be approved and

   19   as I said none of the things that we would have needed are

   20   there.    There's not an injunction against the plaintiffs.

   21   There's not retained jurisdiction over all the plaintiffs

   22   and any other entities suing us.        So for all those reasons,

   23   Your Honor, we object to the plan because the bar order does

   24   not work and cannot be used.         Thank you.

   25                THE COURT:    Thank you.




                                      A418
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 128 of 247 PageID #: 639
                                                                             128


    1                MS. STEEGE:     Good afternoon again, Catherine

    2   Steege.    We simply join in the argument that was made by the

    3   directors and officers.

    4                THE COURT:    Thank you.

    5                MR. PACHULSKI:     Excuse me, Your Honor.

    6                THE COURT:    Yes.

    7                MR. PACHULSKI:     Hi.   This is Isaac Pachulski of

    8   Stutman, Treister, and Glatt for Brigade Capital Management

    9   and I'm -- I've been following with the agenda and I think

   10   Brigade is next, but I'm not sure.         I apologize.    I don't

   11   intend to preempt anybody else, but if I am next I just

   12   wanted you to know I'm here sort of.

   13   (Laughter)

   14                THE COURT:    Thank you, Mr. Pachulski.       Hold on

   15   just one moment.

   16                MR. HANNAFAN:     Good day, Your Honor.      Blake

   17   Hannafan of Hannafan & Hannafan on behalf of Timothy Knight.

   18   We had joined in the objection of the certain officers and

   19   directors and we again, Your Honor, just join and adopt the

   20   arguments of Mr. McCambridge.

   21                THE COURT:    Thank you.

   22                MR. HANNAFAN:     Thank you.

   23                THE COURT:    All right.     I think we now are ready

   24   for Brigade.

   25                MR. RILEY:    No, Your Honor.




                                      A419
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 129 of 247 PageID #: 640
                                                                            129


    1                THE COURT:    Oh, I'm sorry.

    2                MR. PACHULSKI:     Thank you, Your Honor.      Again for

    3   the record Isaac Pachulski --

    4                THE COURT:    No, Mr. Pachulski --

    5                MR. PACHULSKI:     -- of Stutman, Treister, and

    6   Glatt professional corporation.

    7                THE COURT:    I'm sorry.     There is one more.

    8   Please pause for another moment.        Forgive me.

    9                MR. PACHULSKI:     Happy to.

   10                MR. RILEY:    Your Honor, Richard Riley from Duane

   11   Morris on behalf of the foundations.         Your Honor, with me

   12   today is David Bohan from the Katten Muchin firm.           And I

   13   don't know if we have filed pro-hoc papers, but I'd ask that

   14   he'd be heard today and I'll follow up with pro-hoc papers.

   15                THE COURT:    Very well.     Thank you.

   16                MR. BOHAN:    Thank you for hearing me, Your Honor.

   17   I'm here this afternoon on behalf of the Robert McCormick

   18   Foundation and the Cantigny Foundation.          Your Honor, we have

   19   joined in the objections to the DCL plan that have been

   20   filed by certain officers and directors and I also adopt the

   21   comments that were made this afternoon by Mr. McCambridge.

   22   We agree that the bar order is over broad and that in

   23   exchange for -- that the conferring on the non-settling

   24   defendants of a speculative, hypothetical, and potentially

   25   unenforceable judgment reduction provision sometime in the




                                      A420
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 130 of 247 PageID #: 641
                                                                            130


    1   future is not fair and adequate compensation for the

    2   certainty and the immediacy of the forced taking of our

    3   contribution and indemnity rights by virtue of the

    4   confirmation of this plan.

    5                Your Honor, I won't repeat everything that's been

    6   said, but I do note that the contribution bar order has been

    7   defended on the grounds that it's necessary to bring about a

    8   final peace, the certainty that the settling defendants will

    9   know what their maximum liability has been.          In the DCL plan

   10   memorandum, for example, the plan proponents state that

   11   settling defendants are entitled to the benefit of their

   12   bargain, namely that they cannot be held liable on account

   13   of the settled claims beyond the consideration that was

   14   already paid pursuant to the settlement.          That's all well

   15   and good, Your Honor, but the bar order in this case goes

   16   far, far beyond that and is completely unnecessary.            It is a

   17   difficult document to parse, but if I understand it

   18   correctly, Your Honor, it would preclude -- it would not

   19   preclude, for example, released parties from initiating

   20   contribution claims of their own against other than released

   21   parties.    In other words, the beneficiaries of the bar order

   22   themselves I believe have preserved their own rights to

   23   bring contribution claims against parties like my clients,

   24   the foundations.     And that's completely unnecessary.         Unless

   25   the Court has any questions --




                                      A421
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 131 of 247 PageID #: 642
                                                                            131


    1                THE COURT:    I do not.

    2                MR. BOHAN:    All right.     Thank you, Your Honor.

    3                MR. PACHULSKI:     May I proceed, Your Honor?

    4                THE COURT:    Not yet.

    5   (Laughter)

    6                MR. PACHULSKI:     Thank you.

    7                MR. LOIZIDES:     Your Honor, Chris Loizides.       I'm

    8   just here as local counsel with Mr. Pachulski, who's on the

    9   telephone.

   10                THE COURT:    Oh, okay.

   11                MR. LOIZIDES:     Thank you.

   12                THE COURT:    All right.     Mr. Pachulski, you may

   13   proceed.

   14                MR. PACHULSKI:     Thank you, Your Honor.      For the

   15   record, Isaac Pachulski of Stutman, Treister & Glatt

   16   appearing for Brigade Capital Management.

   17                Our objection to the bar order is very limited

   18   and it's very different from what Your Honor's heard thus

   19   far.   Our objection is to that portion of the judgment

   20   reduction provision which is the second paragraph of the

   21   proposed order that would purport to apply judgment

   22   reduction to claims that the estate does not own and has

   23   admitted that it does not own and that the estate cannot

   24   release and that the estate has admitted it can't release,

   25   namely the individual creditors state law fraudulent




                                      A422
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 132 of 247 PageID #: 643
                                                                             132


    1   conveyance, constructive fraudulent conveyance claims that

    2   Your Honor has heard so much about.         And the fact is there

    3   is simply no precedent, no reported decision that permits

    4   the imposition of involuntary judgment reduction on anyone

    5   other than a settling plaintiff.

    6                Now I'd like to put this argument in context with

    7   a couple of preliminary observations, Your Honor.           First,

    8   from the time that we filed our objection where we spent a

    9   great deal of time talking about these individual creditor

   10   claims, we've had two concerns.        One is that the distinction

   11   between the estate claims and the individual creditor claims

   12   be recognized and that they not be conflated.           And second,

   13   that the plan not advertently or inadvertently release the

   14   individual plans that the estate doesn't own.           And between

   15   the time of the objection and today there have been prior

   16   iterations of the plan.       And we've actually corresponded

   17   with the debtors on this.       And with the exception of this

   18   issue, they management to resolve our other concerns on this

   19   point of avoiding the conflation and avoiding the relief,

   20   but this issue remains outstanding.

   21                The second point that I think is critical to

   22   understand and is contrary to what you've heard thus far is

   23   that if you didn't have the second paragraph, you didn't

   24   have the judgment reduction, there is already a judgment

   25   reduction resulting from this settlement.




                                      A423
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 133 of 247 PageID #: 644
                                                                            133


    1                Now this settlement if it's approved by the Court

    2   and if the Court finds that it's fair and equitable, will

    3   result in a dollar for dollar judgment reduction because at

    4   least in the context of a fraudulent conveyance claim and I

    5   can't speak to other types of tort claims, if for example,

    6   somebody with a $100 claim gets a $30 distribution as a

    7   result of a settlement, there's already a judgment reduction

    8   because inter fraudulent conveyance claim, you can't seek

    9   more than your claim.

   10                So to the extent that there are distributions

   11   resulting from this settlement, that will automatically

   12   reduce without anything and this will true in any Court

   13   whoever decides fraudulent conveyance, there will be a

   14   dollar for dollar reduction for what the case law refers to

   15   as the pro tanto reduction.

   16                The issue here is here is different because the

   17   proposal goes beyond that and would impose what's called a

   18   proportionate reduction.       So that would mean that if a Court

   19   decides that the settling banks were liable to the selling

   20   stockholders, then it would take the judgment that the

   21   senior noteholders would have gotten, multiply that by the

   22   bank's proportionate liability, and reduce the judgment by

   23   that amount.

   24                As applied in this case to parties who are not

   25   settling plaintiffs, this has two perverse and in at least




                                      A424
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 134 of 247 PageID #: 645
                                                                            134


    1   one case, bizarre results.       The first is that the reduction

    2   in our judgment, the senior noteholders judgment, could far

    3   exceed anything we get under the settlement.          For example,

    4   and this is just a hypothetical, it's not in the evidence,

    5   if there's a $1.5 billion judgment against selling stock --

    6   against to Step 2 selling stockholders and a Court

    7   subsequently finds that actually the banks were also at

    8   fault, the banks were really liable and that their share is

    9   50 percent, out judgment goes down $750 million. And no

   10   matter how you slice the numbers, we're not getting $750

   11   million out of the settlement.        But beyond that, it places

   12   us in an impossible position.        We're going to have to -- to

   13   protect our judgment against selling stockholders, we're

   14   going to have to argue that the banks weren't liable.

   15                Now I'd ask the Court to consider how bizarre

   16   that is in light of what you've heard for months in this

   17   case, including over twelve days of trial.          After having

   18   argued vociferously that the banks were liable because we

   19   think the banks are liable, we're now going to have to say

   20   no, we were only kidding, they're really not liable and it's

   21   all your fault.

   22                But whether or not those are fair or appropriate

   23   results, they're illegal results because the application of

   24   judgment reduction to someone who's not a settling plaintiff

   25   and not a debtor as distinguished from the estate claims




                                      A425
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 135 of 247 PageID #: 646
                                                                             135


    1   which are not the subject of this argument which raise

    2   different issues is an illegal third party release.            And

    3   although the debtors, the plan proponents cite various bar

    4   order and judgment reduction cases at Pages 111 through 117

    5   of their brief, there is not a single case, they cite not a

    6   single reported case where judgment reduction has been

    7   involuntarily imposed on anyone other than a plaintiff.

    8   What happens is if a plaintiff wants the settlement and the

    9   plaintiff wants to bar order, the plaintiff who wants the

   10   settlement has to subject himself to judgment reduction.

   11                Now the debtors and the plan proponents have

   12   asked this Court to consider the confirmation order in

   13   Lyondell where judgment reduction was apparently applied to

   14   a creditor trust.      And here I'd actually like to echo

   15   something that one of the counsel for the plan proponents

   16   pointed out early on in arguing about the indemnities with

   17   respect to Zell.     Counsel pointed that a confirmation order

   18   which is not the result of any reported opinion and which

   19   had -- does not explain the reasoning for the decision,

   20   should be discounted.      In fact, I agree, except it shouldn't

   21   be considered at all.      It's a confirmation order.       We don't

   22   know if anybody objected.       While there is a vague reference

   23   in this confirmation order to any objections being

   24   overruled, that's boilerplate language.          We don't know who

   25   objected or why.     So the fact that in some other Court where




                                      A426
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 136 of 247 PageID #: 647
                                                                            136


    1   the issue was not litigated might have decided this was

    2   appropriate is meaningless.

    3                I would also add that if you were going to assess

    4   the Lyondell decision, while they did have a creditors'

    5   trust, from what little I've seen, it appears that they kind

    6   of conflated the estate claims and creditor claims and they

    7   treated this as an abandonment and a reversion which with

    8   all due respect is analytically incorrect.          These aren't

    9   estate claims and shouldn't have been treated as such.

   10                So that there really is no authority for what

   11   they proposed to do.      And I'd like the Court to consider the

   12   following hypothetical so the Court will understand they

   13   couldn't even do this outside the Bankruptcy Court.            Suppose

   14   you have two plaintiffs and they were both injured in the

   15   same car accident and they're each suing two defendants.

   16   And one of the plaintiffs decides they want to settle with

   17   one of the defendants.       So the settling plaintiff settles

   18   with on defendant and wants to get a bar order.           No case

   19   that holds that the, excuse me, that the non-settling

   20   plaintiff can be forced to undergo a judgment reduction so

   21   that the settling plaintiff can get the bar order.            But

   22   that's exactly what they're trying to do here.

   23                Beyond that, Your Honor, if you were to decide

   24   that on some basis that you can impose a judgment reduction

   25   on the individual creditors, they should be limited to a




                                      A427
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 137 of 247 PageID #: 648
                                                                            137


    1   dollar for dollar pro tanto reduction.         To begin with, there

    2   is precedent for such a limited reduction in one of the

    3   cases that the DCL plan proponents cite.          It's the Munford

    4   case out of the Eleventh Circuit.         And in that case, over

    5   the objection of non-settling defendants, the Court affirmed

    6   a judgment reduction that was limited to dollar for dollar.

    7                But beyond that, there are two important reasons

    8   that that limitation is appropriate here.          First, you're not

    9   dealing with a settling plaintiff.         Second, to approve the

   10   settlement at all, the Court is going to have to decide that

   11   it's fair and equitable and that the banks are paying a

   12   reasonable amount.      And third, and this is a point that's

   13   indicated in the Eichenholtz case out of the Third Circuit

   14   which was actually cited by someone else in a different

   15   context.    The Court there explained that when you apply

   16   apportionate judgment reduction to a plaintiff, the risk of

   17   a bad settlement falls with the plaintiff.          In other words,

   18   if the plaintiff settles a $100 case against one defendant

   19   for $30 and the proportionate liability of that defendant

   20   was really $50, the burden of that settlement falls on the

   21   plaintiff who settled and that makes sense where a plaintiff

   22   decides to settle.      But by definition, we haven't decided to

   23   settle and so that construct is wholly inappropriate.

   24                And again, this is a fallback, Your Honor.          With

   25   respect, I don't think there's any basis to impose judgment




                                      A428
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 138 of 247 PageID #: 649
                                                                            138


    1   reduction on plaintiff, but if you do, it should be limited

    2   to what is already going to happen anyway by operation of

    3   law which is the judgment reduction should be limited to the

    4   amount of the settlement proceeds that are applied to the

    5   payment of the debt that's the subject of any fraudulent

    6   conveyance action.      And with that, I'd conclude my remarks

    7   on this point.

    8                THE COURT:    Thank you.

    9                MR. GOLDEN:     Good afternoon, Your Honor.       Daniel

   10   Golden, Akin, Gump, Strauss, Hauer & Feld, counsel for the

   11   Aurelius and the noteholder plan proponents.

   12                Your Honor, I don't rise to lodge an objection in

   13   general to the bar order.       We do, in fact, object globally

   14   to the bar order as set forth in our confirmation objection.

   15   But understanding the rules of the game, because much of the

   16   global nature of the bar order will be dependent upon Your

   17   Honor's ultimate determination as to the reasonableness of

   18   the settlement, we have determined that we're not going to

   19   press the global nature of our objection to the bar order

   20   until closing arguments because it will involve getting into

   21   the evidence.

   22                With respect to the specific point and just so

   23   that Your Honor knows, I have informed the other side that

   24   we were going to wait to the closing arguments to object to

   25   the global nature of the bar order, but did indicate that we




                                      A429
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 139 of 247 PageID #: 650
                                                                            139


    1   were going to object and it will be our turn tomorrow.            But

    2   we rise to -- our objection will be limited to the

    3   application of the bar order as it relates to disclaim state

    4   law fraudulent conveyance claims, the issue that Mr.

    5   Pachulski just discussed with the Court.          So really this is

    6   just an indication that our turn on that issue will come

    7   tomorrow.    I thought Mr. Pachulski handled it exceedingly

    8   well.    We may have very little to add to that point, but I

    9   didn't want to -- I wanted the Court to know what the

   10   noteholder plan proponents' position was with respect to

   11   these issues.

   12                THE COURT:    It's the noteholders' placeholder.

   13   (Laughter)

   14                THE COURT:    Thank you, Mr. Golden.

   15                MR. MOSKOWITZ:     Your Honor, good afternoon.

   16   Elliot Moskowitz representing JP Morgan Chase.

   17                I actually just have a minor objection to Mr.

   18   Golden's placeholder.      I think that if the arguments that

   19   he's going to raise tomorrow are going to be I think as he

   20   conceded essentially duplicative of Mr. Pachulski's

   21   arguments or certainly deeply related to Mr. Pachulski's

   22   arguments with respect to the disclaim state law avoidance

   23   claims, why doesn't he do that -- why doesn't he put those

   24   arguments out right now and this way we can in an organized

   25   way respond to all of the legal arguments with respect to




                                      A430
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 140 of 247 PageID #: 651
                                                                            140


    1   the bar order in one shot.       I think it makes for not the

    2   greatest presentation for these arguments to have been made

    3   by others and by Mr. Pachulski and then us to respond and

    4   then tomorrow Mr. Golden makes the same, essentially the

    5   same argument, perhaps exactly the same argument that Mr.

    6   Pachulski made and then we have to respond again or respond

    7   differently.     I just don't think that makes good sense.

    8                THE COURT:    Okay.     Before my head explodes, I'll

    9   just say no.

   10   (Laughter)

   11                MR. MOSKOWITZ:     Very well, Your Honor.

   12                THE COURT:    Thank you.

   13   (Laughter)

   14                MR. MOSKOWITZ:     So, Your Honor, I do rise to

   15   respond to the arguments that have been made today in

   16   connection with the bar order or the contribution bar that's

   17   contained in the DCL plan.       I think the most helpful way for

   18   me to organize my remarks at the Court's discretion is to

   19   first address the arguments that have been made by I guess

   20   the directors and officers which I think go to the bar order

   21   generally and to bar orders generally.         Then to spend a

   22   little bit of time going through the more specific comments

   23   they had about the bar order that don't challenge bar orders

   24   generally, but challenge some of the specific provisions of

   25   this particular bar order.       And then to conclude by




                                      A431
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 141 of 247 PageID #: 652
                                                                             141


    1   addressing some of the comments that Mr. Pachulski made with

    2   respect to the disclaim state law causes of action in

    3   particular which I understood to be the core of his argument

    4   and objection with respect to the bar order.

    5                The director and officer defendants and all of

    6   those joining their arguments, but apparently not Brigade,

    7   appear to argue that a bar order is essentially in all cases

    8   inappropriate.     And we think that is simply wrong.         Case

    9   after case, including the Third Circuit itself in the

   10   Eichenholtz decision, but also in the bankruptcy context

   11   including a decision by Judge Shannon just a few months ago

   12   in in re: Semcrude, a decision that you've heard nobody talk

   13   about so far and that is featured in none of the papers

   14   except for our papers.       Those cases have fully endorsed the

   15   concept of a contribution bar just like the one that we have

   16   over here.    And as I'll describe more fully in a couple of

   17   minutes, I want to be very clear about something because

   18   there's been I think a lot of confusion today about this.

   19                A bar order is not a third party release, it is

   20   something different than that.        It is a tool the Courts have

   21   endorsed to encourage a settlement in multiparty cases to

   22   ensure that a settling defendant doesn't have to pay twice

   23   for the same liability, first by paying consideration in the

   24   settlement and then again for contribution joint liability

   25   in respect of that same liability.




                                      A432
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 142 of 247 PageID #: 653
                                                                            142


    1                Let me begin with the case law itself because I

    2   think it's important to study the leading cases, especially

    3   the two most leading ones from this jurisdiction.           The

    4   leading case on this topic in this circuit and hopefully

    5   there's no debate about this is the Eichenholtz case, 52

    6   F.3rd 478, Third Circuit 1995.

    7                In Eichenholtz, the plaintiff reached a

    8   settlement of a securities class action lawsuit with some,

    9   but not all of the defendants.        The settlement agreement

   10   included a bar order which barred the non-settling

   11   defendants from asserting a contribution claim against the

   12   settling defendants just like the contribution bar does

   13   here.    This provision was challenged by the plaintiff.

   14                The District Court approved the bar order and

   15   then the Third Circuit approved the bar order as well.            The

   16   Court reasoned that bar orders are necessary tools to

   17   facilitate partial settlements in cases with multiple

   18   defendants and they should be endorsed.          And that's worth

   19   quoting from the Third Circuit's own words and I'll just do

   20   that briefly.     And I'm quoting from the Eichenholtz decision

   21   at Page 486.     "In general, the settlement of complex

   22   litigation before trial is favored by the Federal Courts.

   23   However, in multiparty litigation, settlement may be

   24   difficult.    Defendants who are willing to settle by little

   25   peace through settlement unless they are assured that they




                                      A433
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 143 of 247 PageID #: 654
                                                                            143


    1   will be protected against co-defendants efforts to shift

    2   their losses through cross claims for indemnity,

    3   contribution, and other causes related to the underlying

    4   litigation.     Therefore, in cases involving multiple

    5   defendants, a right to contribution inhibits partial

    6   settlement.     Therefore, in order to encourage settlement in

    7   these cases, modern settlements increasingly incorporate

    8   settlement bar orders into partial settlements."

    9                 And the Third Circuit went on to say that the bar

   10   order must include a judgment reduction component so that

   11   the non-settling defendant is not prejudice by being barred

   12   from bringing the contribution claim that that defendant

   13   would ordinarily have.

   14                 In other words, instead of bringing the

   15   contribution claim, the non-settling defendant gets the same

   16   benefit by getting its judgment reduced by the amount that

   17   it would have received had it asserted a contribution claim.

   18   And the Third Circuit in Eichenholtz again, expressly agreed

   19   that "Proportionate judgment reduction is the fairest method

   20   and the non-settling defendants will not be prejudiced by a

   21   proportionate fault reduction."        And that's at Pages 486 and

   22   487.

   23                 And just to go slightly out of order, Mr.

   24   Pachulski criticized the proportionate fault reduction

   25   formula that is set forth in the bar order in our case.            I




                                      A434
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 144 of 247 PageID #: 655
                                                                            144


    1   don't particularly have a dog in that fight other than to

    2   say that we are in the Third Circuit and we have clear Third

    3   Circuit case law saying that among the different ways you

    4   can calculate the reduction, the proportionate fault is the

    5   best way -- is the most fair way to do it quoting from the

    6   Third Circuit directly.

    7                And so, Your Honor, that is, in fact, what we

    8   have in this case, a partial settlement of a litigation with

    9   multiple defendants with some defendants are settling, some

   10   defendants are not settling, and a bar order that prevents

   11   those non-settling defendants from suing for contribution,

   12   but at the same time granting them judgment reduction

   13   through a proportionate fault formula as was the case in

   14   Eichenholtz.     But let me not stop with Eichenholtz.         This is

   15   true also in the bankruptcy context.         And I think that the

   16   most important precedent or an extremely precedent is Judge

   17   Shannon's recent, very recent decision in in re: Semcrude,

   18   210 Banker Lexus 4160, Bankruptcy Court, District of

   19   Delaware, November 19, 2010 which nobody has discussed.

   20                In Semcrude, a settlement was reached by the

   21   parties and was conditioned in part on the entry of a

   22   contribution bar discharging individual defendants "from all

   23   liability to any other person for contribution or indemnity

   24   relating to the released claims."         The settlement also

   25   contained a provision preserving judgment reduction rights




                                      A435
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 145 of 247 PageID #: 656
                                                                              145


    1   of the non-settling defendants as well.

    2                A non-settling party objected to the settlement

    3   on the grounds that the contribution bar didn't comport with

    4   that individual's due process rights.         Similar in some

    5   respects to the objections that are being lodged by the

    6   director and officer defendants here.         Judge Shannon soundly

    7   rejected this objection and approved the bar order at issue.

    8   He held among other things, that the bar order was not

    9   prejudicial to the non-settling party because that party was

   10   still permitted to take the judgment credit corresponding to

   11   what that party would have gotten though the contribution

   12   claim.    And in the process, Judge Shannon cited approvingly

   13   to the Eichenholtz decision and stated that "Courts in

   14   similar proceedings routinely approve contribution bars."

   15   And again, as I said, quoted approvingly from Eichenholtz.

   16                I'm not going to go through a whole laundry list

   17   of cases.    The other cases are set forth in our brief.          I

   18   will make passing reference to the Third Circuit's decision

   19   in Nutraquest as well which is supportive of a bar order and

   20   that, too, was also in the Third Circuit sitting in appeal

   21   on the Bankruptcy Court's ruling below 434 F.3rd 639.

   22                And let me conclude this portion of my argument

   23   by saying that it's not just a matter of judicial invention,

   24   there are many states that have similar provisions, both

   25   Illinois and Delaware also have judgment reduction




                                      A436
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 146 of 247 PageID #: 657
                                                                             146


    1   provisions, contribution bars that come with judgment

    2   reduction provisions as well, although in the Eichenholtz

    3   decision -- I guess in response to some of the comments that

    4   were made as to why don't you just -- why don't we just

    5   forget about this whole thing and just rely on whatever

    6   rights people may have under state law, Eichenholtz counsels

    7   against that and says that it is desirable to fashion a

    8   federal doctrine with respect to contribution bars and not

    9   simply to revert to whatever state law people have because

   10   that would encourage possibly foreign shopping.

   11                So I think that these cases are important.          I

   12   think they sort of set out the lay of the land with respect

   13   to the use of contribution bars in complex cases involving

   14   partial settlement.

   15                Now to respond to the points that have been made

   16   repeatedly about the contribution bar constituting a third

   17   party release and we've heard quotations from Spansion of

   18   course and we've heard quotations from Continental.            I want

   19   to be very clear about this.         The parties have gotten -- the

   20   parties that are least calling the entirety of the bar order

   21   as third party release, have gotten it wrong.           And the fact

   22   that they've tried to analyze the bar order under the

   23   factors that you typically would use to analyze a non-

   24   consensual third party release are not appropriate for

   25   purposes of this analysis.




                                      A437
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 147 of 247 PageID #: 658
                                                                            147


    1   (Telephone recording interruption)

    2   (Laughter)

    3                MR. PACHULSKI:     Hello?

    4                MR. MOSKOWITZ:     There's plenty of activity.

    5   (Laughter)

    6                THE COURT:    Is the Court Call Operator on the

    7   line?

    8                COURT CALL OPERATOR:      Yes, Your Honor, I'm here.

    9                THE COURT:    All right.     Have we fixed the problem

   10   with that one line?

   11                COURT CALL OPERATOR:      I did.    I fixed the

   12   problem.

   13                THE COURT:    Thank you.

   14                COURT CALL OPERATOR:      You're welcome.

   15                THE COURT:    You may proceed.

   16                MR. MOSKOWITZ:     Thank you, Your Honor.      To be

   17   very clear about this, the bar order only prevents non-

   18   settling defendants, non-released parties from bringing

   19   contribution and indemnity claims against released parties

   20   for barred claims.      And we've amended the bar order in

   21   response to the objections that have been filed to make it

   22   crystal clear that it has nothing to do with third party

   23   claims.    And I'm quoting now, quote -- this is a quote from

   24   the bar order, "Order that nothing herein shall prejudice or

   25   operate to preclude the rights of any barred person to




                                      A438
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 148 of 247 PageID #: 659
                                                                            148


    1   assert any claims or causes of action, including without

    2   limitation any direct or personal claims or causes of

    3   actions other than claims for non-contractual indemnity or

    4   contribution against any released party as set forth above."

    5                We've tried to make it crystal clear that all we

    6   are talking about here is liability for contribution claims

    7   so that we don't pay twice; one in the settlement and then

    8   once again in respect of that same liability if a Court

    9   finds that we're jointly liable with a non-settling

   10   defendant.

   11                Let me move now to the what I will call the

   12   procedural fairness arguments that have been made,

   13   principally by the director and officer defendants.            I think

   14   their main concern that they articulated to you, Your Honor

   15   is that the bar -- there's a concern, I guess that down the

   16   line there will be another Court out there that will

   17   disregard the injunctions of -- the rulings of this Court

   18   and will simply fail to apply the bar order.          Or I guess a

   19   corollary concern, the parties in that case will fail to

   20   adhere to this Court's instructions with respect to the bar

   21   order.    And the question is, you know, what happens then?

   22                I think the first thing I'd like to say is that I

   23   mean bar orders happen all the time and this concern

   24   probably is relates to not just this bar order, but it would

   25   relate to any bar order.       And the truth is that there's I




                                      A439
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 149 of 247 PageID #: 660
                                                                              149


    1   think -- and frankly, even outside the bar order context,

    2   there should be presumption that other Court in the United

    3   States will follow the directives of a properly issued order

    4   of another Court, full faith in credit, et cetera.

    5                So I think that, you know, the concern about

    6   another Court not following the order of this Court is

    7   probably a remote proposition.        But for the avoidance of all

    8   doubt, the amended bar order clarifies that the Bankruptcy

    9   Court retains continuing jurisdiction with respect to all

   10   matters concerning the bar order, expressly including

   11   matters related to the enforcement of the bar order.

   12                And I think that it's not controversial

   13   proposition to say that a Bankruptcy Court can retain

   14   jurisdiction with respect to all manner of orders, but even

   15   with respect specifically to a bar order, that has been done

   16   time and time again.      Judge Shannon did it in the in re:

   17   Semcrude case.     It was done in Lyondell.       Judge Gerber

   18   retained jurisdiction there as well in case there were any

   19   issues down the line with respect to the bar order.            It's

   20   done -- it was done in the MTC Technologies shareholder

   21   litigation in the Eastern District of New York in 2005.

   22   Done in that bar order.       It was done in the Enron case.

   23   Courts routinely retain jurisdiction of -- over all manner

   24   of orders, but also including specifically over a bar order.

   25                I submit that that is a pretty substantial




                                      A440
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 150 of 247 PageID #: 661
                                                                             150


    1   protection that is available to the non-settling defendants

    2   should something go wrong.       And I would also say that what I

    3   will just call the penalty provisions that the director and

    4   officer defendants wanted to add to the bar order, while I

    5   may not have a dog in that fight, that seems to be a

    6   provision that you would -- provisions that were suggested

    7   are not found in any bar order and I think it would be

    8   offensive to whoever is pursuing those claims going forward.

    9                THE COURT:    You would agree though, would you

   10   not, that a provision that -- well a retention of

   11   jurisdiction provision in an order doesn't necessarily mean

   12   that a Bankruptcy Court at any given point in time post

   13   confirmation, in fact, would have jurisdiction, does it?

   14                MR. MOSKOWITZ:     I agree with that.      Obviously,

   15   the Court can only retain jurisdiction as to matters for

   16   which it can retain jurisdiction.

   17                THE COURT:    Well, my point is, you know, at the

   18   point of confirmation, the Court may have jurisdiction.            Two

   19   months after it may have jurisdiction.         And a year later it

   20   may not, depending upon the circumstances.

   21                MR. MOSKOWITZ:     Understood, Your Honor, but

   22   specifically in response to that point, I would refer Your

   23   Honor to the Travelers Indemnity Company v. Pearlie Bailey

   24   case coming out of the Supreme Court in 2009, 129 S Court

   25   2195, 2009, in which the Supreme Court approved the




                                      A441
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 151 of 247 PageID #: 662
                                                                            151


    1   Bankruptcy Court's decision to enjoin State Court lawsuits

    2   filed ten years after the approval of a plan of

    3   reorganization in light of settlement orders that were

    4   issued years prior.

    5                And the Court, the Supreme Court there stated

    6   "The Bankruptcy Court plainly had jurisdiction to interpret

    7   and enforce its own prior orders.         What is more when the

    8   Bankruptcy Court issued its prior order, it explicitly

    9   retained jurisdiction to enforce it."         That doesn't sway

   10   entirely Your Honor's concerns, but all I'm saying is that

   11   it is standard for Bankruptcy Courts to retain jurisdiction

   12   going on quite a ways into the future.

   13                THE COURT:    Oh, I know.

   14   (Laughter)

   15                MR. MOSKOWITZ:     Okay.    Moving on, Your Honor, to

   16   some of the points that Mr. Pachulski made.          I guess I sort

   17   of -- there was a dissonance between Mr. Pachulski's initial

   18   remark and frankly, my conversations with him privately and

   19   what he presented to the Court.         I mean, I think it is the

   20   case that he has an issue with the bar order with respect to

   21   one particular point of it and that's with respect to the

   22   treatment of the disclaimed state law avoidance claims.            He

   23   mentioned a few other things in the course of his

   24   presentation, but I think at its core, and he's filed no

   25   pleading on this.      Certainly though at its core in our




                                      A442
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 152 of 247 PageID #: 663
                                                                            152


    1   discussions and I think it's not, probably not disputed that

    2   on the whole, other than the evidentiary objections that the

    3   noteholders will present in closing, that Mr. Pachulski's

    4   issue with the bar order is limited to the treatment if

    5   disclaimed state law avoidance claims under the bar order.

    6                So let me just talk about that for just a minute

    7   or two.    Consistent with other changes in the DCL plan, the

    8   bar order has been amended to reflect the fact that state

    9   law constructive fraud claims versus shareholders which we

   10   call the disclaim state law avoidance claims are not

   11   released by the DCL plan.       Accordingly, the bar order now

   12   expressly states "Bar claims shall not include any claim for

   13   non-contractual indemnity or contribution against any

   14   released party solely in its capacity, if any, as a selling

   15   shareholder."

   16                So just to be clear about what this means.          If a

   17   selling stockholder gets sued and then wants to sue another

   18   stockholder for contribution in that parties capacity as a

   19   stockholder, the selling stockholder can do that under our

   20   bar order.    It does not -- that action, that claim for

   21   contribution is not restrained even for released parties who

   22   have settled all other claims against them.

   23                But I think what Mr. Pachulski and perhaps others

   24   are arguing is that this is not enough.          This carve out, if

   25   you will, is not enough.       In their view, in Mr. Pachulski's




                                      A443
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 153 of 247 PageID #: 664
                                                                            153


    1   view, the bar order should not apply in an action asserting

    2   a disclaim state law avoidance claim under any

    3   circumstances.

    4                In other words, they're arguing that if they

    5   bring a constructive fraud claim against a shareholder, than

    6   that shareholder should be able to claim over against a

    7   release party for contribution not only in that parties

    8   capacity as a selling stockholder for which liability has

    9   not been released and we concede that such a lawsuit is not

   10   precluded by the bar order, but even on account of liability

   11   for which the released party already paid to settle under

   12   the plan and we disagree with that view and let me just

   13   flesh it out for another moment.

   14                By failing to assert a very narrow universe of

   15   claims, in other words, the state law constructive fraud

   16   claims against the shareholders, that's the only thing

   17   that's been disclaimed under the plan, those narrow claims

   18   reverted to or are in the hands of, use whatever term, to

   19   individual creditors.      But only those claims are in the

   20   hands of individual creditors, nothing more than that.

   21   State law constructive fraud claims against the lenders in

   22   their lender capacities were asserted by the estate under

   23   544(b) on behalf of all creditors and are proposed to be

   24   released under this plan in exchange for the consideration

   25   that we're providing under the settlement.




                                      A444
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 154 of 247 PageID #: 665
                                                                            154


    1                And obviously, it's hotly debated as to whether

    2   that consideration is enough, is adequate for the claims

    3   that are being released.       But the bottom line is the estate

    4   had the authority to assert those claims and it exercised

    5   that authority with respect to our lender capacity and those

    6   claims are proposed to be settled under the DCL plan for the

    7   settlement consideration that's being paid.

    8                Brigade would have no right to bring those

    9   settled claims directly against the released parties.            And,

   10   therefore, should have no right to recover indirectly on

   11   account of any contribution claims in respect of that same

   12   form of liability.      In other words, what I think that

   13   Brigade is arguing and they may not be doing this

   14   intentionally, but what I think Brigade is arguing is that

   15   they should have the right to do indirectly what they cannot

   16   do directly.     They want to be able to sue a shareholder and

   17   then allow that shareholder to sue a lender in its capacity

   18   as a lender for contribution even though that lender has

   19   already paid for a release in respect of its lender

   20   liability on state law avoidance claims against -- that were

   21   asserted against the lenders.        And that we would suggest

   22   would permit a classic double recovery for Brigade or for

   23   anyone asserting those claims.        They would be recovering

   24   once on the part of the settlement.

   25                Let's not forget that Brigade is getting recovery




                                      A445
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 155 of 247 PageID #: 666
                                                                             155


    1   as part of our settlement.       They debate that it's enough,

    2   but they are getting a recovery under our settlement.            And

    3   then we would pay them again in our capacity as a lender

    4   through the exercise of the contribution claims.           We would

    5   pay the defendant who is asserting the contribution claim

    6   against us and then those funds would be used to satisfy the

    7   judgment against that non-settling defendant.           And so we

    8   believe it would be two recoveries and that and only that is

    9   the aim that the DCL plan and the bar order in it is trying

   10   to frustrate.

   11                 Again, we have amended the DCL plan to make clear

   12   that the bar order does not protect a release party in the

   13   event a contribution claim is brought against it solely in

   14   its capacity as a selling stockholder.         And that is because

   15   seeing shareholders were not released under the plan.            So to

   16   the extent we're also a selling shareholder, we didn't pay

   17   for a release in that capacity and we're not entitled to the

   18   protections of the bar order in that capacity.           But where

   19   we've paid for a release such as JP Morgan in connection

   20   with its lender capacity, we should not continue to face

   21   exposure in our lender capacity of those state law claims

   22   when they were held by the estate were settled for a

   23   consideration and that -- then the adequacy of which is

   24   before the Court, but that is part of the proposed

   25   settlement.




                                      A446
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 156 of 247 PageID #: 667
                                                                            156


    1                MR. PACHULSKI:     Your Honor?

    2                THE COURT:    Mr. Pachulski, if you've been

    3   listening, what I've been doing is not hearing rebuttals but

    4   --

    5                MR. PACHULSKI:     It's just -- I want to clarify

    6   something because most of this argument was responding to an

    7   argument that I didn't make.         And so my position hasn't -- I

    8   don't intend to go through a full rebuttal.          All I'd like to

    9   do is clarify my position because it seems to have been

   10   misunderstood.

   11                THE COURT:    Well let's wait until Mr. Moskowitz

   12   is done.

   13                MR. PACHULSKI:     Okay.    I'm sorry, I thought he

   14   was done.

   15                THE COURT:    He was just taking a breath.

   16   (Laughter)

   17                MR. MOSKOWITZ:     I'm nearly done, Your Honor,

   18   actually.    Let me just review my notes, but while I review

   19   my notes, I would suggest that an exception not be made with

   20   respect to Mr. Pachulski and -- because if you're going to

   21   allow rebuttals in one case, we should allow them in all.

   22                MR. PACHULSKI:     So if someone misstates my

   23   position, I can't respond?

   24                THE COURT:    Just wait a minute, Mr. Pachulski.

   25                MR. PACHULSKI:     All right.




                                      A447
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 157 of 247 PageID #: 668
                                                                            157


    1                 THE COURT:   Until Mr. Moskowitz tells me he's

    2   done.

    3                 MR. MOSKOWITZ:    Okay.    That's all I have for now,

    4   Your Honor.

    5                 THE COURT:   All right, thank you.      Mr. Pachulski,

    6   you may have two minutes.

    7                 MR. PACHULSKI:    Just to clarify, we have never

    8   taken the position that as one way or the other as to

    9   whether a bar order can or cannot be entered between

   10   settling defendants and non-settling defendants.           We don't

   11   have a dog in that fight.       Our position was -- simply had to

   12   do with the application of the judgment reduction provisions

   13   to our claims as plaintiffs.         So as far as whether one -- a

   14   settling defendant can sue a non-settling defendant or not,

   15   we've never -- we don't have a position one way or the other

   16   on that.    And our sole objection is limited to the

   17   application of the judgment reduction provisions, not the

   18   bar order, but the judgment reduction provisions to the

   19   claims that are not owned by the estate.          That's it.

   20                 THE COURT:   Thank you.

   21                 MR. STEEN:   Good afternoon, Your Honor.         Jeffrey

   22   Steen, Sidley Austin on behalf of the debtors.

   23                 And the let the record reflect that the fact that

   24   I had to practically climb over three or four of my

   25   colleagues to take the podium says nothing about the




                                      A448
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 158 of 247 PageID #: 669
                                                                            158


    1   popularity of this provision.        But in light of the vigor of

    2   the objections --

    3                THE COURT:    I'm sure the fee applications will

    4   reflect that as well.

    5   (Laughter)

    6                MR. STEEN:    Thank you, Your Honor.       In light of

    7   the vigor of some the objections that have been raised to

    8   the bar order today, and in particular, the focus of

    9   Brigade's objection, we thought it would be useful to the

   10   Court to briefly supplement the remarks of Mr. Moskowitz to

   11   flesh out the debtors' perspective on this provision.

   12                And, Your Honor, what I'd like to do is direct

   13   the Court's attention to the third decretial paragraph of

   14   Section 11.3.     And it's actually on Page 88 of the second

   15   modified DCL plan that was lodged with the Court on April 5.

   16   And that provision, Your Honor, that paragraph is very

   17   brief, but that basically contains a number of restrictions

   18   and limitations that we think are very important and we

   19   think have a direct bearing, if not dispositive bearing on

   20   the objection raised by Brigade and others.          Does Your Honor

   21   have a copy of that plan?

   22                THE COURT:    I do.

   23                MR. STEEN:    Oh, thank you very much.       In

   24   particular, Judge, we think that the exclusions in the third

   25   decretial paragraph of Section 11.3 protect any individual




                                      A449
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 159 of 247 PageID #: 670
                                                                            159


    1   creditors who may bring any disclaimed state law

    2   constructive fraudulent transfer claims or any selling

    3   shareholders that may be defendants in any of those disclaim

    4   causes of action.      And we'd like to briefly highlight two

    5   points.

    6                First, by its terms, Section 11.3 and Mr.

    7   Moskowitz actually made this clear, but if we take a look at

    8   the first sentence of the third decretial paragraph on Page

    9   88 of the plan, Section 11.3 applies by its terms only to

   10   claims of contribution or non-contractual indemnity.            And so

   11   to use a specific example, if any non-settling defendant

   12   such as a selling Step 1 or Step 2 shareholder is sued on

   13   account of the pre-petition leveraged buyout and that

   14   defendant has any claim over against any released party that

   15   is a direct claim or that is a non-derivative claim or that

   16   is a personal cause of action that does not sound in

   17   contribution or non-contractual indemnity, than that claim

   18   is preserved and it's not subject to the provisions of the

   19   bar order and it's not subject to the judgment reduction

   20   provisions in that bar order.

   21                And so specifically, it's our view, Your Honor,

   22   the company's view, that with respect to state law

   23   constructive fraudulent conveyance claims of the type that

   24   are the basis of Brigade's objection, the law is pretty

   25   clear that those claims do not give rise to contribution




                                      A450
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 160 of 247 PageID #: 671
                                                                              160


    1   claims.    And there are several cases that hold this, Your

    2   Honor.    I'm just going to mention a couple.        The leading

    3   case is out of Tribune's neck of the woods, out of the

    4   Northern District of Illinois, it's the Wiebolt's opinion

    5   which is reported at 111 Bankruptcy Reporter 162.           That's a

    6   decision by the Judge, District Judge Holderman in 1990.

    7   And more recently, Judge Shannon in 2009 issued a similar

    8   holding in the Amp'd Mobile decision which is reported at

    9   404 Bankruptcy Reporter 118.

   10                 And those decisions are well reasoned and they

   11   make sense.     And they hold that in contrast to tort claims,

   12   the legislative theory animating fraudulent transfer law is

   13   cancellation or avoidance of the challenged transfer.            In

   14   other words, the nature of the relief sought is

   15   recessionary.     It's not the imposition of liability for

   16   money damages based upon the consequences of a wrongful act

   17   or tort which as we know is the basis of tort law.            And so

   18   those cases and many cases cited by those decisions in law

   19   review articles conclude that constructive fraudulent

   20   transfer claims brought under the UFTA, the UFCA, or state

   21   law do not give rise to contribution or non-contractual

   22   indemnity.

   23                 And so our view, Your Honor, on behalf of the

   24   company is that even if this Court has jurisdiction to enter

   25   the bar order with respect to disclaimed state law




                                      A451
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 161 of 247 PageID #: 672
                                                                             161


    1   constructive fraudulent transfer claims, that as a practical

    2   matter, the terms of this bar order would not apply to those

    3   claims and would not prejudice the rights of either the

    4   plaintiffs, the individual creditors asserting those claims,

    5   or any of the selling shareholder defendants under those

    6   claims.

    7                I have one more point, Your Honor.         If we look

    8   back at this third decretial paragraph, Clause 2 in the

    9   second sentence makes clear that the bar order by its terms

   10   does not apply to any claim or any cross claim or any third

   11   party claim for which there's no joint liability as between

   12   the non-settling defendant on the one hand and the release

   13   party on the other hand.       Now as I said, this exclusion is

   14   made clear in Clause 2 of the third decretial paragraph of

   15   Section 11.3 in that provision and that exclusion has been

   16   in the bar order since last October.

   17                Now we do not believe, Your Honor, for the same

   18   reason I just discussed with respect to the first point

   19   about contribution claims that under applicable non-

   20   bankruptcy law, any of the disclaimed state law constructive

   21   transfer claims would give rise to joint liability as

   22   between the selling shareholders, the selling Step 1 or Step

   23   2 shareholders on the one hand and any of the parties that

   24   paid considerable consideration to settle their claims under

   25   the DCL plan.     And those claims simply do not sound in tort.




                                      A452
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 162 of 247 PageID #: 673
                                                                            162


    1   They do not give rise to money damages for which multiple

    2   tort-feasers can be found jointly liable.          And, therefore,

    3   it our view that under the four corners of the bar order as

    4   proposed in the DCL plan, the judgment reduction provisions

    5   in that order would not apply to those kinds of claims.

    6                Our analysis, Your Honor, of the counts, the

    7   multiple counts and causes of actions, the avoidance claims

    8   that were actually brought by the committee on behalf of the

    9   estate in December of last year before the expiry of the

   10   statute of limitations, we would apply a similar analysis

   11   and focus on whether those claims would give rise to

   12   contribution claims under non-bankruptcy law and whether

   13   those types of claims would give rise to joint liability.

   14   And without going through the litany of all those claims and

   15   causes of action, we can tell Your Honor that on behalf of

   16   the company, it's our conclusion that many, if not most of

   17   the counts and claims in the community complaint for similar

   18   reasons would fall within one of these exclusions, the joint

   19   liability or non-contribution and non-indemnity exclusion in

   20   Section 11.3.

   21                And, Your Honor, unless you have any additional

   22   questions, I'm glad to yield the podium.

   23                THE COURT:    I do not.

   24                MR. STEEN:    Thank you.

   25                THE COURT:    Are we ready to move on to Wilmington




                                      A453
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 163 of 247 PageID #: 674
                                                                            163


    1   Trust?

    2                MR. STARK:    Your Honor, I'm bringing my bottle of

    3   water, but I know Your Honor's rule about that if I --

    4                THE COURT:    The only rule is don't spill it.

    5   (Laughter)

    6                MR. STARK:    If I spill it, I buy you a new

    7   podium.    I think we've had this colloquy before.         Give me a

    8   minute.

    9                For the record, Robert Stark from Brown Rudnick

   10   on behalf of Wilmington Trust, the successor indenture

   11   trustee for the PHONES.

   12                Now, Your Honor, this is the time to talk about

   13   PHONES' specific legal issues.        And I appreciate this

   14   opportunity.     Your Honor's tired, you've heard a lot and I'm

   15   not going to abuse it.       Also, we do fold in with the Akin

   16   Gump team and the co-plan proponents and their leadership in

   17   the collective arguments and I'm not going to be reiterating

   18   or advance previewing any of them for you.          I'm sensitive to

   19   Your Honor's needs in that regard.

   20                Furthermore, the DCL plaintiffs and, excuse me,

   21   the DCL plan proponents in their amendments obviated one of

   22   my issues.    They've clarified that Wilmington Trust's claims

   23   for its own fees and professional costs is not apparent --

   24   is now a parent level general unsecured claim and not a

   25   subordinated PHONES claim so we have one issue left to talk




                                      A454
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 164 of 247 PageID #: 675
                                                                            164


    1   about.

    2                And two of the other objections that were raised

    3   or points that were raised in my objection are indeed

    4   factual in nature and acknowledge it as such and should be a

    5   closing when we talk about evidence.         And that's whether

    6   depending upon the valuation, enterprise valuation, trade is

    7   receiving an appropriately better treatment than the PHONES

    8   holders. It does invoke contractual subordination issues,

    9   but it's really a valuation issue.

   10                And second, whether the banks can enjoy

   11   contractual subordination under the terms of our indenture

   12   when evidence shows a lack of good faith in the transactions

   13   that they hereby assert in their claims.          So we'll defer

   14   those arguments again for another day.         That leaves us with

   15   two arguments, Your Honor.       And sadly, they are meaty ones

   16   and they're a little involved, but I'll try to be engaging

   17   as I can.

   18                THE COURT:    Oh, you’re always engaging, Mr.

   19   Stark.

   20                MR. STARK:    Good.     I’m glad to hear that.     Thank

   21   you, Your Honor.

   22                The first is does the DCL plan architecture

   23   properly invoke the contractual subordination provisions of

   24   the PHONES indenture and to walk through that contractual

   25   subordination.     And the second, does the DCL plan




                                      A455
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 165 of 247 PageID #: 676
                                                                            165


    1   inappropriately infringe upon our legal rights, Wilmington

    2   Trust’s legal rights, on behalf of the PHONES noteholders,

    3   as a private litigant against non-debtor third parties.            And

    4   we’ve heard a little bit about the bar date order.            I won’t

    5   touch upon that too much, but we have some other issues.

    6   Let me take each of them in turn.

    7                 First, contractual subordination.       So what does

    8   the plan provide?      We do not receive any of the 431 million.

    9   The settlement funds that’s being reserved exclusively for

   10   the senior noteholders, we get exclusively subordinated

   11   rights to litigation recoveries through a trust vehicle.

   12   There’s a fair amount of stacked definitions that ultimately

   13   gets you to what the distribution rights are.

   14                 I’m happy to walk Your Honor through it, but I

   15   think we probably all can -- know what it is and can cut

   16   through it.     So if you’ll allow me to paraphrase it, I’ll do

   17   my best.

   18                 As I see, for the stacked definitions, all the

   19   LBO causes of action are put in a trust.          Unsecureds get, I

   20   believe, the first net 90 million, and then they get 65

   21   percent of the next -- net proceeds thereafter.           The banks

   22   get the 35 percent net proceeds.        The PHONES get a pro rata

   23   slice -- pro rata allocation of the unsecured part.            But of

   24   course, we don’t get to keep it.

   25                 Section 1.1.44 on page 7, that’s the definition




                                      A456
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 166 of 247 PageID #: 677
                                                                              166


    1   of Class 1J trust interests.         It provides -- and again, I’ll

    2   paraphrase, but we can go through whatever language issues

    3   you’d like, Your Honor.       The PHONES turn over all such

    4   rights of distribution to senior noteholders and anyone else

    5   claiming contractual seniority, meaning the banks.            And this

    6   marries, I guess, with Section 7.15, which states that the

    7   DCL plan proponents, it’s their intention to honor

    8   contractual subordination against the PHONES to the fullest

    9   extent possible.

   10                Okay.   We understand their deal.       But is it

   11   right?    We don’t think so.     We don’t so absent consent.

   12   We’ve certainly consented to certain treatments in our own

   13   plan.    That may be somewhat prejudicial in terms of what the

   14   arguments are, but it’s our plan.         And they impose upon us,

   15   cram-down-wise, under 1129(b), a form of contractual

   16   subordination that we think is inconsistent with our

   17   document.    We don’t think they can.

   18                I ask Your Honor to turn, respectfully, to the

   19   indenture itself.      It’s the exhibit to our objection.        If

   20   Your Honor doesn’t have a copy handy, I’d be happy to give

   21   you one.

   22                THE COURT:    Well, I’m sure it’s up here

   23   somewhere, but it would be handier if you could give one to

   24   me and to my law clerk.

   25                MR. STARK:    Okay.     May I approach?




                                      A457
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 167 of 247 PageID #: 678
                                                                              167


    1                THE COURT:    You may.      Thank you.

    2                MR. STARK:    Now, subordination has its own

    3   article.    It’s Article 14, and the principle provision is

    4   1402, and that’s on page 62.

    5                THE COURT:    Go ahead.

    6                MR. STARK:    Okay.      Now, I’ll paraphrase it,

    7   because it is lengthy.       Again, we can read it into the

    8   record, but upon distribution of assets of the company in a

    9   bankruptcy, a wind-up, or assignment for the benefit of

   10   creditors under state law, we have an A and a B.           A is

   11   senior indebtedness is entitled to full payment before

   12   PHONES receive repayment that they’re entitled to under

   13   Section 3.10 of the indenture, the company’s repayment

   14   obligations, and B, any distribution “of assets of the

   15   company”, shall be turned over to holders of senior

   16   indebtedness.

   17                The following sections of Article 14 sort of

   18   reiterate and follow the same philosophical conceptual

   19   architecture.     Contractual subordination, and thus

   20   distribution turnover, pertains exclusively to distributions

   21   of “assets of the company”.          The company, by the way, is

   22   defined on page 1.      And on page 1, we see that the company

   23   is Tribune Company.      It’s not its bankruptcy state.        It’s

   24   certainly not its bankruptcy state as it may be augmented by

   25   Chapter 5 causes of action or strong-arm rights taken from




                                      A458
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 168 of 247 PageID #: 679
                                                                            168


    1   creditors and bestowed upon the debtor-in-possession.            And

    2   that’s even though Article 14, all over the place, talks

    3   about, extensively, what’s supposed to happen in a

    4   bankruptcy scenario.

    5                And tellingly, the indenture also contemplates

    6   third-party recoveries.       If Your Honor will look, please at

    7   5.10 of the indenture.       That’s on page 32.     This is the

    8   cumulative remedies provision.        And the cumulative remedies

    9   provision, like all indenture of cumulative remedy

   10   provisions, says, “The indentured trustee, on behalf of the

   11   PHONES noteholders, have rights under this indenture.            They

   12   may be asserted.     They may be asserted in bankruptcy.         They

   13   may be asserted in any sort of non-bankruptcy forum.”

   14                THE COURT:    Mr. Stark, I’d ask you to pause,

   15   because I’m --

   16                MR. STARK:    You’re not finding it?

   17                THE COURT:    I’ve got page 32.

   18                MR. STARK:    Page 34.    Excuse me.

   19                THE COURT:    I’m sorry.     Okay.

   20                MR. STARK:    I may have misspoken.

   21                THE COURT:    All right.     Thank you.

   22                MR. STARK:    Okay.     “And the indenture trustee has

   23   any other rights that may exist in the law or in equity.”

   24   And that’s anyone.      So clearly, this contract contemplates

   25   trustee recoveries from third parties, but explicitly




                                      A459
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 169 of 247 PageID #: 680
                                                                            169


    1   provides only for turnover of company assets distributed in

    2   a liquidation scenario but not third-party recoveries.            Now,

    3   if the DCL proponents would concede that the parent level

    4   unsecureds are the fulcrum class, and so we’re really here

    5   discussing about a distribution of enterprise value -- sort

    6   of in the form of cash, debt, stock, et cetera -- I’d have

    7   little to argue.     These are clearly assets of the company,

    8   and I’d have to turn them over.

    9                But all the proponents claim -- all the DCL

   10   proponents claim is that the banks are the fulcrum, that

   11   they are guaranteed claims at the subsidiary, soak up all

   12   the value, and if there’s nothing really for parent company

   13   creditors, but for their settlement that they’re willing to

   14   give up.    And it’s settlement with all of the creditor

   15   constituencies and the creditors committee and the

   16   settlement of their claim exposure.         Now, the claims that

   17   have been -- that we talk about, some of them may be “assets

   18   of the company” but probably not the strong ones, because of

   19   in pari delicto and other defenses, the powerful claims, so

   20   says Mr. Klee [ph], of the creditor claims -- those arising

   21   under state law, those that were strong-armed to the debtor,

   22   those that now have been reverted back to -- at least in

   23   constructive fraudulent conveyance terms -- these pre-LBO

   24   creditors, like Wilmington Trust on behalf of the holders.

   25   Or they arise under Chapter 5 avoidance theories.




                                      A460
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 170 of 247 PageID #: 681
                                                                             170


    1                 The long -- the law has long held, and Mr. Klee

    2   expanded on, at great length in his report, and the 3rd

    3   Circuit confirmed in Cybergenics cited in our brief, that

    4   strong-arm and Chapter 5 claims do not belong to the

    5   company.    They belong to creditors.       The debtors, and here

    6   the official committee, only is given standing to assert

    7   them in a trustee capacity on behalf of others, other

    8   creditors, but they are not assets of the company.            So, some

    9   unknown, unquantifiable -- at least by me -- portion of the

   10   431 million that’s being given up to senior noteholders on

   11   account of the strong Chapter 5 -- the strong strong-arm

   12   claims that the estates are asserting but belong to me, some

   13   portion of that 431 million does belong to the PHONES

   14   noteholders.     They’re assertable by the trustee, absent a

   15   bankruptcy case.     And under applicable law, they belong to

   16   the creditors.     And they’re not to be turned over, under my

   17   indenture.    They are to be delivered to the PHONES

   18   noteholders.     Again, if we were to consent to a different

   19   mechanic, as we have done in our plan, that would be a

   20   different story.     But it can’t be imposed upon us.

   21                 Besides the 431 million, the plan architecture is

   22   all wrong.    Our slice of litigation recoveries are not to be

   23   turned over to senior indebtedness.         These are third-party

   24   recoveries.     We are to share in them pari passu.        So this

   25   plan violates our claim rights.        It overextends contractual




                                      A461
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 171 of 247 PageID #: 682
                                                                            171


    1   subordination beyond what the document provides for.            I

    2   think the rule of explicitness still applies in connection

    3   with subordination issues, so it violates our rights under

    4   502(a).    It overextends beyond the limitations of 510(a),

    5   and thus, the plan violates 1129(a)(1).          If the plan

    6   violates other provisions of the bankruptcy code, it can’t

    7   be proposed in good faith.       It has to be violative of A(3).

    8   Certainly, it violates the best interest test if it takes

    9   away my entitlement.      And most assuredly, under 1129(b),

   10   it’s not fair and equitable.

   11                I think that takes me to my second major

   12   objection point, Your Honor, and that’s does the DCL plan

   13   inappropriately infringe on our legal rights as a private

   14   litigant against non-debtor third parties.          And we think so.

   15   There are two lawsuits at issue here.         We have our

   16   constructive fraudulent conveyance claims against the

   17   stockholders, and that’s the bar order discussion we had

   18   earlier.    And we have our separate adversary proceeding

   19   against the banks, and we’ll talk about them in turn very,

   20   very quickly.

   21                I don’t want to belabor the point on the bar

   22   order, but to the extent we sue shareholders, they sued

   23   JPMorgan for contribution indemnity, I fail to see -- and I

   24   can’t believe I listened to all this conversation but nobody

   25   ever addressed it -- how Your Honor has jurisdiction to




                                      A462
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 172 of 247 PageID #: 683
                                                                              172


    1   impose that kind of fee-sharing arrangement between the

    2   shareholder defendants in my litigation versus JPMorgan.

    3   They may claim unfairness all over the place.           They chose

    4   not to settle with us.       That’s their choice, but Your Honor

    5   has marathon limitations.       Those don’t enable you to enter

    6   the bar date that they ask for.

    7                And one further point on that.        You can’t just

    8   sort of call it a settlement and violate the law.           The 2nd

    9   Circuit dealt with that in Iridium.          The law is the law.

   10   Calling something a settlement doesn’t get you out of it.

   11   And if you’re going to call it a settlement, I didn’t get

   12   anything in the settlement.          The senior noteholders got all

   13   the funding, so for Mr. Moskowitz to come up and say, we

   14   bought peace, not with me.

   15                Let me take -- let’s take a quick turn to the

   16   second lawsuit, Your Honor.          Our adversary proceeding

   17   against Citicorp and the banks was filed here on March 4,

   18   2010.    It’s been around for quite a while, and as sort of

   19   dropping a footnote for calendar observation purposes, in

   20   eight days, Your Honor, it will be the one-year anniversary

   21   of Your Honor’s order appointing Mr. Klee as examiner.            We

   22   seem to have learned so much and so little at the same time.

   23                Our lawsuit against Citicorp emanates from the

   24   LBO, but it is particular to the PHONES noteholders.            It

   25   hasn’t been before Your Honor in quite a while, not by our




                                      A463
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 173 of 247 PageID #: 684
                                                                            173


    1   choice, so let me just give you a really quick summation of

    2   what it is.

    3                 In 2007, Citicorp was the PHONES indenture

    4   trustee.    In 2007, at the same time it was our indenture

    5   trustee, it was a primary advisor to Tribune on the

    6   structuring and the architecture of the leverage buyout.

    7   The complaint alleges that Citicorp violated duties to the

    8   PHONES holders, including especially the duty of loyalty,

    9   and that the other banks knew all about this.           In fact, it

   10   was -- it’s all in the report itself.         And they aided and

   11   abetted that violation.       And we sought in that complaint,

   12   among other forms of relief, claims disallowance under

   13   Section 502(a), and the theory for that was unclean hands,

   14   under applicable federal law, and also equitable

   15   subordination at the parent company level, pursuant to

   16   510(c).

   17                 And I’ve long wanted to litigate this cause of

   18   action.    In fact, Your Honor may recall.        You and I had a --

   19   kind of a fun colloquy, I was trying to find it just

   20   preceding the hearing, where I said, Judge, I really want to

   21   litigate this.     And you said, nobody ever doubted your

   22   eagerness, Mr. Stark.      And I also said at that hearing,

   23   there’ll be a day of reckoning by the decision on this side

   24   of aisle for not letting me litigate that.

   25                 The 5th Amendment’s a pesky thing, Your Honor.




                                      A464
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 174 of 247 PageID #: 685
                                                                              174


    1   I’m entitled to due process.         I’m entitled to due process,

    2   even if it’s inconvenient for their plan constructs.            The

    3   Court cannot, consistent with the Constitution, confirm a

    4   plan that whisks away my lawsuit, as if it didn’t happen,

    5   without affording me my day in Court.         You cannot do that.

    6   And I think that’s true, even if they don’t think all that

    7   much of my lawsuit.

    8                Frankly, I think, going back, again, a year ago,

    9   they then didn’t think an awful lot about the fraudulent

   10   conveyance claim against step two.         I expect the usual

   11   retort: “Judge, you can’t hold up the plan over this

   12   lawsuit.    It’s been sitting.”      I answer you can, and you

   13   must.    And frankly, we do it all the time.

   14                Let me tell you what I mean by that.         Let’s think

   15   of a basic, plain vanilla, widget manufacturing debtor.            It

   16   files for bankruptcy.      It files a plan of reorganization,

   17   and it’s going to convert the unsecured debt into a stock.

   18   Simple.    Debtor’s books and records reflect a $1 billion

   19   unsecured aggregate liability amount, but unsecured

   20   creditors have filed claims totaling 3 billion.           We don’t

   21   delay confirmation until the claim’s disputes are resolved.

   22   We don’t do claims reconciliation to completion for

   23   confirmation and consummation.        We exit bankruptcy and we do

   24   it in the usual way.      We distribute one-third of the stock

   25   to the 1 billion in allowed claims, and we reserve two-




                                      A465
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 175 of 247 PageID #: 686
                                                                            175


    1   thirds of the stock pending litigation outcome or

    2   settlement.     That’s what we do.     Everyone gets due process.

    3   If the creditors, who have asserted the 2 billion in excess

    4   over the books and records, if they don’t settle, they get

    5   their day in Court.      The same for the debtor.

    6                 The DCL plan takes this right away from me,

    7   because the claims are allowed in a stipulated amount, and

    8   the distributions are made for the claims allowance without

    9   affording me the opportunity to litigate, notwithstanding

   10   the fact that I virtually begged to allow to litigate it.

   11                 Your Honor, their plan is inconsistent with the

   12   law.   It’s inconsistent with what we do in bankruptcy.           But

   13   there’s another plan before you that is consistent with the

   14   law, and that widget manufacturer’s traditional plan of

   15   reorganization.     That’s our plan.      Their plan can’t be

   16   confirmed, Your Honor.

   17                 I don’t know if you have any questions for me.

   18                 THE COURT:   I do not.    Thank you, Mr. Stark.

   19                 MR. JOHNSTON:    Your Honor, I’d like to ask for a

   20   five-minute recess.      Mr. Stark articulated his primary

   21   argument, which is nowhere to be found in his brief, and I’d

   22   just like to organize my thoughts for a few minutes.

   23                 THE COURT:   Well, it’s about time anyway.        We’ll

   24   take a five-minute break.

   25                 MR. JOHNSTON:    Thank you.




                                      A466
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 176 of 247 PageID #: 687
                                                                             176


    1   (Recess at 3:57 p.m. to 4:09 p.m.)

    2                THE CLERK:    All rise.

    3                MR. JOHNSTON:     Thank you, Your Honor.      For the

    4   record, again, Jim Johnston of Dewey & LeBoeuf on behalf of

    5   Oaktree and Angelo Gordon as proponents or co-proponents of

    6   the DCL plan.     I appreciate the break, Your Honor, because

    7   it allowed me to confirm specifically what I had suspected

    8   when I was hearing Mr. Stark’s argument, and that is, in

    9   fact, that the first argument he laid out for you is nowhere

   10   in his brief and, in fact, is a brand-new argument.

   11                The objection by Wilmington Trust is filed at

   12   docket 7996, and it lays out four arguments to confirmation

   13   of the DCL plan.     The second argument previewed in the

   14   preliminary statement at paragraph one says that the DCL

   15   plan provides the PHONES with a lower recovery than it would

   16   receive in a Chapter 7 liquidation by A, subordinating the

   17   PHONES to trade indebtedness and retiree claims against

   18   Tribune Company and inter-company claims of Tribune

   19   subsidiaries.     I think we heard Mr. Stark reserve that

   20   argument for later advancement.        And B, wrongly assuming

   21   that the PHONES are subordinated for the purpose of

   22   allocating distributions from the creditors trust contained

   23   in that plan when the purported payment subordination of the

   24   PHONES does not extend to payments from entities other than

   25   Tribune Company.




                                      A467
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 177 of 247 PageID #: 688
                                                                             177


    1                Now, that is related to what Mr. Stark argued

    2   today, but it is an argument that was strictly limited to

    3   payments from the creditors trust under the DCL plan, which

    4   Mr. Stark argued in his objection are not subject to the

    5   PHONES subordination provisions.        This argument is laid out

    6   in section 2 of the brief, starting at paragraph 7, and in

    7   particular, paragraphs 11 through 17.         The argument

    8   concludes, driving home the point that it is strictly

    9   limited to distributions from the creditors trust at

   10   paragraph 16, where Wilmington Trust concludes: “According,

   11   the subordination provisions in the DCL creditors trust

   12   agreement does not apply to those holders of the PHONES who

   13   purportedly contributed their individual claims to the DCL

   14   creditors trust and are entitled to receive their

   15   unencumbered pro rata share of the DCL creditors trust along

   16   with other creditors holdings, state law, constructive

   17   fraudulent conveyance claims who contribute claims to the

   18   DCL creditors trust with no pay-over obligation.”           And it

   19   continues in paragraph 17: “Since the DCL plan proposes to

   20   enforce contractual subordination of the PHONES,

   21   notwithstanding the fact that distributions from the DCL

   22   creditors trust are effectively a return of proceeds of

   23   direct litigation on behalf of PHONES, it fails the best

   24   interest of creditors test by providing the PHONES with less

   25   than they would receive in a Chapter 7 liquidation.”




                                      A468
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 178 of 247 PageID #: 689
                                                                            178


    1                We took that objection to heart.        As a matter of

    2   fact, we thought that our plan the first time around did not

    3   provide for the PHONES to be subordinated to creditor stress

    4   recoveries if that’s not what the PHONES indenture provided,

    5   but we wanted to make it crystal clear.          So in the chart

    6   that we filed last Friday, at document 8607, listing the

    7   objections or outstanding objections to the plan, we

    8   discussed the Wilmington Trust objection -- let me find the

    9   page here -- on page 14.       And with respect to this

   10   objection, we noted that Wilmington Trust objects to the

   11   application of contractual subordination to the creditors

   12   trust proceeds, payable to holders of Class 1J creditors

   13   trusts.    And we said that we were going to amend Class 1J --

   14   amend the plan to provide that the Class 1J creditors trust

   15   interests are not subject to PHONES subordination, to the

   16   extent that they -- that the indenture does not so provide.

   17   And we noted that we believe that this resolved the

   18   Wilmington Trust objection.          And there’s language appended

   19   to that document that has proposed plan resolutions.            And we

   20   also pointed out in our brief that it was never our

   21   intention to subordinate PHONES -- creditors trust

   22   recoveries to the PHONES to the extent that the indenture

   23   did not so provide.

   24                Apparently, having resolved that objection,

   25   Wilmington Trust decided that it needed to raise a new one,




                                      A469
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 179 of 247 PageID #: 690
                                                                            179


    1   which is what you heard today, which has never been

    2   articulated before.      The argument you heard today, as best I

    3   understand it, was that somehow the settlement of estate

    4   causes of action embodied in the DCL plan contained a

    5   component of state law fraudulent conveyance claims and that

    6   that component of recoveries in the settlement is not

    7   subject to the PHONES subordination provisions.

    8                 Your Honor, I’d love to address that argument.

    9   I’m not prepared to address it today, because it’s never

   10   before been articulated, other than to know that it’s wrong.

   11   It’s wrong under the terms of the indenture, and it’s wrong

   12   under the bankruptcy law.       The recoveries or the state

   13   causes of action that are settled under the DCL plan clearly

   14   are estate property, and by virtue of them being estate

   15   property, they are subject to the PHONES subordination

   16   provisions.     The PHONES indenture could not be clearer.         It

   17   says they -- the subordination provisions apply to any

   18   distribution of assets of the company, and then it goes on

   19   at some length to describe how and why and the ways and the

   20   extent to which the PHONES are subordinated.

   21                 It’s crystal clear that proceeds of avoidance

   22   actions in a bankruptcy case are assets of the debtor, and

   23   those assets of the debtor are then subject to contractual

   24   subordination agreements.       I would venture to guess, and I

   25   know that none was cited in the brief and no authority was




                                      A470
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 180 of 247 PageID #: 691
                                                                              180


    1   cited by Mr. Stark today, that there’s not a single case out

    2   there that provides that avoidance actions or proceeds of

    3   avoidance actions recovered by a debtor in a bankruptcy case

    4   are not somehow property of the estate and assets of the

    5   company.    So, I’m handicapped by the inability to respond to

    6   an argument that had not been articulated before.           I think

    7   I’ll leave it at that for now.

    8                With respect to the last argument that there are

    9   due-process concerns that Wilmington Trust filed a complaint

   10   against certain lenders, against Citibank back on March 4,

   11   2010, and that this plan harms that complaint in some way,

   12   there’s just no issue here, and we made this clear in our

   13   brief as well.     From the beginning, we’ve stated that the

   14   DCL plan only settles and resolves estate causes of action.

   15   To the extent that the Wilmington Trust complaint has --

   16   asserts or alleges personal causes of action, causes of

   17   action that do not belong to these bankruptcy estates,

   18   Wilmington Trust will remain free to assert them, no matter

   19   how frivolous they may be.       The only claims settled under

   20   the DCL plan are estate plans and causes of action.            With

   21   that, all of Mr. Stark’s due-process concerns, procedural

   22   concerns fall away.      Confirmation of our plan will not

   23   impact any of the causes of action asserted in that

   24   complaint to the extent that they are personal.

   25                THE COURT:    Thank you.




                                      A471
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 181 of 247 PageID #: 692
                                                                            181


    1                MR. JOHNSTON:     And I believe Mr. Moskowitz has

    2   something to say about the new arguments raised by Mr. Stark

    3   on the bar order.      Otherwise, that’s all that I have.

    4                THE COURT:    All right.

    5                MR. STARK:    Your Honor, I know there’s no

    6   rebuttals, but I have just been attacked for making stuff

    7   up, and it’s all clear.       I’m happy to walk through it in the

    8   brief, and Your Honor can read the objection, but I don’t

    9   think that’s --

   10                MR. JOHNSTON:     Your Honor, I would invite you to

   11   read the objection; it’s not there in the brief at all.

   12                THE COURT:    Well, let me hear from Mr. Moskowitz.

   13                MR. MOSKOWITZ:     Good afternoon, Your Honor.

   14   Elliot Moskowitz for JPMorgan.        I will be exceedingly brief.

   15                Mr. Stark levied a glancing blow at the bar order

   16   in his argument, and I’m just going to levy a glancing

   17   response.

   18                First of all, his argument with respect to the

   19   bar order also was absent from        his brief, except for one

   20   line that carries over from pages 13 to 14, nor was it the

   21   subject of any other pleading that’s been submitted to the

   22   Court.

   23                Having said that, I just want to correct one

   24   thing for the record, or amplify it.         Mr. Stark complains

   25   that we did not settle with him, we did not settle with the




                                      A472
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 182 of 247 PageID #: 693
                                                                            182


    1   PHONES, and he’s receiving nothing under the settlement.             I

    2   think it’s probably more accurate to say, and it’s helpful

    3   to the analysis, that we did settle with him in the sense

    4   that we have a settlement of the estate causes of action

    5   that the estate has brought that is being -- that is before

    6   the Court.    And we’ve settled those causes of action,

    7   including state law avoidance claims.         In our capacity as a

    8   lender, the money will flow into the estate or money would -

    9   - is remaining in the estate as a result of those causes of

   10   action.    He may not get those monies ultimately because of a

   11   separate contractual document that provides for him being

   12   subordinated to the notes, but it’s not a fair

   13   characterization, I think, to say that there’s no settlement

   14   with his causes of action as part of the DCL plan.

   15                 That’s all I have to say, Your Honor.

   16                 THE COURT:   Thank you.     Mr. Stark, I’ll give you

   17   a minute.

   18                 MR. STARK:   Cybergenics is cited on page 14.        The

   19   -- it acknowledged the fact that there was mention in the

   20   brief about the implications of the DCL plan in our separate

   21   litigation.     In fact, it’s a whole section.       I’m sorry that

   22   my advocacy didn’t marry up specifically to what they

   23   intended to say on rebuttal.         It’s just how I argue.     Your

   24   Honor, yes, in fact, we were focused on the creditors trust,

   25   but the mechanic is the same.        And in fact, we never




                                      A473
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 183 of 247 PageID #: 694
                                                                            183


    1   actually gave to the creditors trust when we ultimately

    2   delivered, but the theory and the arguments all are the same

    3   respective the litigation trust versus the creditors trust.

    4   It’s a C versus an L situation.

    5                THE COURT:    Thank you.     Okay.   Are we ready to

    6   move onto the PHONES?

    7                MR. SIEGEL:     Martin Siegel of Brown Rudnick on

    8   behalf of Wilmington Trust as successor indentured trustee

    9   for the PHONES.

   10                I rise, Your Honor, because this is our motion

   11   for estimation and classification of certain of the PHONES

   12   claims.    And I’ll be brief, because counsel for certain of

   13   the noteholders will argue their respective positions.            what

   14   I want to sort of walk the Court through are what I call the

   15   undisputed facts, because we think this can and should be

   16   decided as a matter of law.

   17                It’s undisputed that the size of the PHONES

   18   claims is either 760 million or a million one something.

   19   The difference, approximately $403 million, arises from the

   20   fact that the PHONES had a provision where certain -- they

   21   could be redeemed under certain circumstances for cash.

   22                THE COURT:    I remember.

   23                MR. SIEGEL:     And prior to the bankruptcy, $403

   24   million worth of PHONES were redeemed, or at least submitted

   25   for redemption to the then-indentured trustee, Deutsch Bank.




                                      A474
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 184 of 247 PageID #: 695
                                                                             184


    1   Deutsch, through a certain mechanism, canceled those

    2   certificates, but then Tribune didn’t pay.          The bankruptcy

    3   interrupted the different timing issues.          Some were

    4   submitted that day.      Some were submitted a week before, some

    5   a month before, but it wasn’t paid.         Deutsch sent a letter

    6   to Tribune, saying that, in light of the non-payment, we

    7   want to withdraw, at least on behalf of certain holders.

    8   Tribune wrote back and said, no; as far as we’re concerned,

    9   it was irrevocable.      That was their election.       So the way

   10   the 760 comes up that’s in the debtor plan is, I believe,

   11   $703 million worth of face amounts of unredeemed PHONES plus

   12   the $56 million that they should have paid but didn’t pay

   13   for the exchange.

   14                As indenture trustee, we have an issue between

   15   our holders, so Wilmington Trust takes no position on the

   16   merits of the motion.      There are representatives of redeemed

   17   holders here and representatives of people who did not

   18   redeem, so I’d like to just turn it over to them.           As I

   19   said, I think the facts that give rise to the dispute are

   20   relatively undisputed.       Nobody has raised any issues with

   21   those facts, so we think that Your Honor, once it hears from

   22   the various holders, can and should decide this as a matter

   23   of law.    Thank you.

   24                MS. STAFFORD:     Your Honor, Sarah Stafford,

   25   Benesch Friedlander.      Speaking on behalf of Barclays and




                                      A475
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 185 of 247 PageID #: 696
                                                                              185


    1   Waterstone is Jason Sanjana from Latham & Watkins, admitted

    2   pro hoc.

    3                MR. SANJANA:     Your Honor, Jason Sanjana on behalf

    4   of Barclays and Waterstone.

    5                Mr. Rosenberg was here in January, and we went

    6   through our arguments pretty carefully, and we briefed them,

    7   so I won’t belabor the point.

    8                Two things to respond to just now.         One, Deutsch

    9   Bank was clear at the time that they did not cancel their

   10   notes, and that would be consistent with the exchange notice

   11   provisions that we cited to you, whereby the holders would

   12   tender for redemption; the trustee would hold the notes --

   13   withdraw them, but would only cancel them once the

   14   transaction was consummated.

   15                That’s really the crux of our argument.          We --

   16   there was never any consideration paid.          There was never

   17   consummation of the transaction, so there was no exchange,

   18   and these are just withdrawn, pending reissuance or whatever

   19   other remedy is right.       But there’s really nothing in the

   20   documents of the indenture or the note that says that the

   21   act of simply submitting them changes their value

   22   permanently.

   23                One factual clarification from our response to

   24   the motion, we had said that all of the notes held by

   25   Barclays and Waterstone were tendered on the petition date.




                                      A476
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 186 of 247 PageID #: 697
                                                                            186


    1   A very small number, five percent, were actually tendered on

    2   December 2.     That’s still within the 10 days that the

    3   exchange notice speaks to, which is the time before --

    4   within which the company can pay.

    5                 But in any case, at least clearly for the notes

    6   tendered on the petition date, it would be impossible for

    7   the company to pay.      There’s an impossibility that would be

    8   a bar to consideration in the transaction.

    9                 And the result that we are seeking, that these

   10   notes would be valued at their full value, is consistent

   11   with the indenture documents, especially the exchange

   12   notice, which was specifically crafted to provide for this

   13   sort of situation.      And it’s also consistent with Wilmington

   14   Trust’s filed proof of claim.        So I don’t want to go through

   15   the arguments again.      I think our arguments on subordination

   16   were clear.     There’s really a fundamental difference between

   17   subordinating a claim for payment under a note with

   18   subordinating a claim based on the sale of a note.            And if

   19   you look at the cases they cited, one was a stock exchange

   20   that was going to be payment for an employment contract.

   21   The stock exchange never happened.         The other one was a

   22   breach of a merger contract -- merger agreement.           These are

   23   the cases cited by Sutton Brook.        And I think it’s just not

   24   consistent with the cases we cited that say if you were to

   25   apply 510(b) subordination to payments under clear




                                      A477
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 187 of 247 PageID #: 698
                                                                            187


    1   provisions of a note, that would make any claim under a bond

    2   based on default or in bankruptcy, really, a 510(b)

    3   subordinated claim.

    4                With that, I guess -- unless you have any

    5   questions.

    6                THE COURT:    I don’t.    Thank you.

    7                MR. GELBER:     Good afternoon, Your Honor.

    8   Lawrence Gelber of Schulte Roth & Zabel for Suttonbrook

    9   Capital Management.

   10                I agree: we shouldn’t rehash everything that we

   11   went over in January.      But one point that Your Honor raised

   12   in January I did want to address.         You seemed to frame this

   13   as a classification issue, which I don’t think any of us had

   14   really framed it as.      I think our expectation -- and I think

   15   I understand what you’re saying is that if the exchanging

   16   noteholders claims were to be subordinated, you would have

   17   disparate treatment of -- you would have senior and

   18   subordinated within the same class.

   19                I think our expectation or our anticipation would

   20   have been that had Your Honor -- or if Your Honor is to rule

   21   that way, the plans could be modified accordingly to set

   22   out, you know, a subordinated class for the exchanging --

   23   could make a provision for the exchanging PHONES

   24   noteholders.

   25                More importantly, though, I think if the Court




                                      A478
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 188 of 247 PageID #: 699
                                                                            188


    1   determines that the appropriate amount of those claims is

    2   $56 million, you don’t even need to get to the

    3   classification issue, all right, because then you would just

    4   have an additional -- as the debtors say, you would have

    5   $759 million in that single class: 703 of non-redeeming and

    6   56 of redeeming.     I think, just to remind the Court -- and I

    7   think this is where the Court’s primary focus should be, to

    8   remind the Court, as we pointed out last time, it’s our view

    9   that the exchanging PHONES holders did everything that they

   10   needed to do.     They tendered.     They signed and delivered the

   11   exchange notices.      The notes were DWAC’d out of DTC.        That’s

   12   deposit/withdraw at custodian.        Once they were DWAC’d out of

   13   DTC, the trustee takes possession, and the debtor’s books

   14   are credited as if those notes are no longer in existence.

   15   So the debtor’s books would reflect that those notes are no

   16   longer outstanding.

   17                The exchanging holders did that with the

   18   expectation of receiving $56 million in exchange.           They

   19   bargained away the risk of non-payment under the PHONES

   20   notes for certainty of a payment.         Obviously, the bankruptcy

   21   intervened, and they didn’t receive that payment; yet, the

   22   risk/reward analysis that they undertook was it was better

   23   for them to exchange and seek the $56 million than risk

   24   continued payment under the PHONES at some point in the

   25   future.




                                      A479
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 189 of 247 PageID #: 700
                                                                            189


    1                THE COURT:    But timing is everything, isn’t it?

    2                MR. GELBER:     It certainly is.     Having eliminated

    3   the risk, it seems to us that it’s inequitable that they

    4   would still get to reap the reward, although perhaps in this

    5   case I don’t know how much of a reward it will ultimately

    6   be, but there is hope that there will be a substantial

    7   distribution to the PHONES noteholders after the litigations

    8   are resolved.

    9                So at the point of the exchange, where they have

   10   done everything that they needed to do, they have bargained

   11   away that risk, and they shouldn’t be entitled to that

   12   reward.    Just because the transaction was not completed,

   13   that the consideration was not paid, doesn’t mean that the

   14   transaction is void.      It means that they sold to -- their

   15   security to the debtor, the debtor didn’t pay for it, and

   16   now they have a claim for the amount that they were due to

   17   be paid on the sale of that security of the debtor, and

   18   that’s the $56 million, not the face amount of those claims.

   19                And unless Your Honor has any questions, I have

   20   nothing further.

   21                THE COURT:    I don’t.    Thank you.    Do either of

   22   the plan proponents care to address?         Okay.

   23                MR. SANJANA:     Not the DCL plan proponents, Your

   24   Honor.

   25




                                      A480
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 190 of 247 PageID #: 701
                                                                            190


    1                THE COURT:    Okay.     Does that bring us back to

    2   Brigade?

    3                MR. PACHULSKI:     Thank you, Your Honor.      Again for

    4   the record, Isaac Pachulski of Stutman, Treister & Glatt,

    5   for Brigade Capital Management.        To make this hopefully

    6   shorter than it might otherwise be, I’m not going to repeat

    7   the various objections with the same detail as in our -- the

    8   opening argument that we made, it was like about a month

    9   ago, and I’ll just incorporate that by reference.           So my

   10   silence on a point shouldn’t be deemed a waiver, but there

   11   are only -- there are two specific issues I would like to

   12   address; namely, the plans violation of the requirement the

   13   plan not discriminate unfairly, and the overpayment of the

   14   swap claim in connection with converting Oaktree from a plan

   15   opponent to a plan proponent.        And again I will repeat what

   16   I said in opening argument only to the extent necessary to

   17   create context because there’s some additional points I’d

   18   like to establish for the Court regarding these two issues.

   19                First with respect to the requirement that a plan

   20   not discriminate unfairly, we pointed out and cited the

   21   Court to legislative history, which has subsequently been

   22   provided that insofar as the plan gives equivalent treatment

   23   to two classes; namely, the senior noteholders, and the

   24   other parent claims that have unequal rights under the PHONE

   25   subordination.     Namely, we have those rights, and the other




                                      A481
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 191 of 247 PageID #: 702
                                                                            191


    1   parent claims do not.      The plan clearly violates the

    2   requirement that it not discriminate unfairly because the

    3   relative entitlements under subordination provisions has to

    4   be reflected in the relative priorities in the relative

    5   distributions.     In fact, that’s the only illustration, the

    6   only illustration of not-discriminate-unfairly principle

    7   that one finds in the legislative history.          Now originally

    8   at the time I first argued this, there was only one argument

    9   that the debtors had offered, or the plan proponents had

   10   offered to justify this treatment.         And to summarize, it was

   11   basically this is how the settling LBO lenders want to

   12   distribute their consideration.        And just so that it’s clear

   13   that I’m not putting words in anyone’s mouth, this is how

   14   the DCL plan proponents described their arguments in their

   15   brief at page 172 of the Confirmation Memorandum.           They

   16   said, “most importantly” -- “most importantly, the senior

   17   lenders have determined that it is in their best interest,

   18   as consideration for the settlement of LBO related causes of

   19   action to provide for the recovery of Tribune’s trade claims

   20   and retiree claims as other parent claims.”          Well as I

   21   pointed out then, you can’t -- you can’t get around the

   22   absolute priority rule by making gifts, nor can you get

   23   around the requirement of the plan not to discriminate

   24   unfairly when you’re not even making a gift, but basically

   25   these are estate causes of action.         They’re not causes of




                                      A482
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 192 of 247 PageID #: 703
                                                                             192


    1   action of the retirees.       They’re not causes of action of

    2   trade creditors.     They’re estate causes of action, and

    3   someone who settles an estate cause of action is supposed to

    4   give the consideration to the estate, and then the

    5   consideration gets distributed in accordance with the

    6   parties bankruptcy entitlement.

    7                Now -- and just to put this in perspective, under

    8   their theory, Your Honor, if the senior lenders had said,

    9   you know, we want the other parent claims to get a hundred

   10   cents on the dollar plus post deficient interest.           And you

   11   can give the senior noteholders whatever is left.           Under

   12   their theory, they can do that, and that’s simply a

   13   violation of the law.      It’s flagrant.     They can’t do it that

   14   way, and they can’t do it in a lesser way either.           Now at

   15   the conclusion of the hearing on -- of the opening argument,

   16   following my remarks, Counsel for Oaktree came up with a new

   17   theory to justify this.       And according to counsel for

   18   Oaktree, at least some of the claims that are classified as

   19   other parent claims, including assertively the swap claim,

   20   actually do have the benefit of the contractual PHONE

   21   subordination.     Now preliminarily, Your Honor, I would note

   22   that if -- and he didn’t say all.         He said some.    Well, if

   23   some other parent claims are entitled to the benefit of that

   24   subordination, and some aren’t, you have a huge problem of

   25   misclassification because you can’t classify claims that are




                                      A483
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 193 of 247 PageID #: 704
                                                                             193


    1   the beneficiaries of subordination with claims that aren’t

    2   and treat them all the same.         So if Counsel is right, you’d

    3   have to go plan by plan and figure out which one belongs

    4   where, but happily for everyone, we don’t have to go through

    5   that brain numbing exercise because the fact is that none of

    6   the other parent claims, including the swap claim are

    7   entitled to the benefit of the contractual subordination.

    8   Now the -- preliminarily the indenture is in evidence, and I

    9   don’t think this is an evidentiary objection.           It’s

   10   construing and unambiguous document without evidence, and I

   11   think that’s an issue of law.        And I believe someone else

   12   actually gave the Court a copy of the indenture.           It’s an

   13   exhibit, 0963, but I think the Court has the PHONES

   14   indenture.

   15                THE COURT:    I have it.

   16                MR. PACHULSKI:     And if -- okay.     And if the court

   17   will turn -- and I’m not sure if the pagination that I have

   18   is right, but the definition of senior indebtedness is on

   19   page 62, at least in my copy, and it should be around page

   20   62 in the Court’s copy.       And there’s a defined term, senior

   21   indebtedness.     Okay.   Now to be senior indebtedness, you

   22   have to be Indebtedness with a capital I.          So we have to ask

   23   ourselves is the swap claim indebtedness.          And now here I’m

   24   going to paraphrase.      There are four things to qualify as

   25   Indebtedness with a capital I.        The first is all obligations




                                      A484
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 194 of 247 PageID #: 705
                                                                            194


    1   represented by notes, bonds, indentures, or similar evidence

    2   of indebtedness.     The second is all indebtedness for

    3   borrowed money or for the deferred purchase price other than

    4   on normal trade terms -- and I’m paragraphing --

    5   paraphrasing -- the third is parental payments under a

    6   capital lease, and the fourth is for a guarantee of any of

    7   the first three items.

    8                Now Your Honor, a swap claim isn’t any of these.

    9   It’s not a claim for borrowed money.         If you look at the

   10   swap agreement which is actually another exhibit, it’s

   11   Exhibit 2300, it was filed as part of a proof of claim.            It

   12   doesn’t look anything like a note, a debenture, a bond, or

   13   any similar instrument.       It’s clearly not a rental payment

   14   under a capital interest under a capital interest

   15   [indiscernible].     And in fact, to confirm what I just said,

   16   I think the best thing to do is look at how the DCL

   17   proponents, including Oaktree, characterize the swap claim

   18   at page 145 of the Confirmation Memorandum.          According to

   19   them, a fundamental characteristic of an interest rate swap

   20   is that the counterparties never actually loan or advance

   21   the notional amount.      Well, there goes the borrowed money

   22   argument.    The swap involves an exchange of periodic

   23   payments calculated by reference to interest rates and a

   24   hypothetical notional amount.        Well, that explains why you

   25   don’t have a note, because you don’t even know who’s going




                                      A485
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 195 of 247 PageID #: 706
                                                                            195


    1   to owe who money when or what the amount will be.           So that’s

    2   why you have this convoluted swap agreement and not a simple

    3   debenture or bond.

    4                 And finally, they say the senior loan claims, on

    5   the other hand, are for money loaned.         By implication, the

    6   swap claims are not for money loaned.         So given all of those

    7   facts, clearly the swap claims are not entitled to the

    8   benefit of the contractual subordination.          Now briefly, as

    9   to trade payables, the definition of senior indebtedness

   10   makes it clear that even if a trade payable is represented

   11   by a note, it’s still not Indebtedness because a specific

   12   carve-out for trade payables in part C of the definition of

   13   senior indebtedness.       And similarly, retiree claims don’t

   14   fall into any of these categories.         So it’s clear that other

   15   parent claims were properly classified separately from

   16   senior note claims because of none of them is entitled to

   17   the benefit of subordination.        What was improper is giving

   18   them the same treatment.

   19                 Now this discussion of the swap claim is a good

   20   segue to our second point, which is that -- which has to do

   21   with the overpayment of the swap claims.          In the opening

   22   argument --

   23                 MR. JOHNSTON:    Your Honor --

   24                 MR. PACHULSKI:    -- we pointed out that --

   25                 THE COURT:    Mr. Pachulski, let me ask you to




                                      A486
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 196 of 247 PageID #: 707
                                                                             196


    1   pause for one moment.      Yes, Mr. Johnston.

    2                MR. JOHNSTON:     Your Honor, I apologize for

    3   interrupting, but this is another bait and switch.            This

    4   argument regarding the swap claim that Mr. Pachulski’s about

    5   to unveil, again, was never argued or even mentioned in

    6   Brigade’s confirmation objection.         And I think more

    7   importantly, it was argued extensively at length in the

    8   noteholders’ confirmation objection, and is on the list of

    9   issues that the noteholders intend to argue tomorrow.            I

   10   just don’t want to be put in a position, Your Honor, of

   11   having to respond to this argument twice.          This is not

   12   something that is in the Brigade brief.          It’s more properly

   13   considered tomorrow.

   14                MR. PACHULSKI:     Your Honor, in the course of --

   15   well, first of all, just so we’re clear, on the chart that I

   16   was served with that listed our objections, and I don’t have

   17   handy, but this argument is on the chart as a Brigade

   18   objection.    So --

   19                MR. JOHNSTON:     As a Brigade objection raised in

   20   oral argument -- or opening argument, not in the brief.

   21                MR. PACHULSKI:     Well, the chart did not

   22   distinguish between arguments made orally and in the brief,

   23   and at the opening argument, I made it clear that we were

   24   joining in the -- we were joining in the noteholder

   25   objection on this point, and I amplified the point to




                                      A487
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 197 of 247 PageID #: 708
                                                                            197


    1   provide legislative history that was not provided.            And

    2   beyond that, at the close of that argument, Mr. Bennett

    3   specifically raised the issue of subordination.           Well (a) I

    4   couldn’t reply at that time, and (b) I thought it would be a

    5   good idea to actually read the provision before I responded.

    6   So given the fact that Mr. Bennett himself raised the

    7   argument claiming that the swap claims were entitled to this

    8   subordination, I was entitled to assume that somebody had

    9   actually read the subordination provision before they made

   10   the argument.     Now personally, Your Honor, I don’t care if

   11   this argument is made today or tomorrow, but I -- but as to

   12   the subordination issue of the swap, it was squarely placed

   13   at issue by Mr. Bennett at that hearing, and the terms of

   14   the subordination agreement -- I’m not asking the Court to

   15   consider evidence, and given the fact that the chart assumed

   16   that this was an argument I had made, I had assumed it was

   17   an argument I would be able to present today.           And in fact

   18   looking at a copy of today’s agenda, one of the specific

   19   items under Brigade, and maybe this was handwritten in by

   20   someone, I thought was swap.

   21                THE COURT:    Well --

   22                MR. PACHULSKI:     So if I’m not supposed to make

   23   this argument today, I’m sorry, but based on everything I

   24   read, I assumed I was.

   25                THE COURT:    Well let me ask you to pause for a




                                      A488
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 198 of 247 PageID #: 709
                                                                            198


    1   moment.    I remember at the opening I suggested to you that

    2   you supplement your objection to memorialize what you had

    3   argued.    Did you do that?

    4                 MR. PACHULSKI:    Excuse me, Your Honor, actually

    5   that’s -- that’s not quite what happened.          I asked for

    6   permission to supplement my presentation on the not-

    7   discriminate-unfairly requirement because it was legislative

    8   history that no one had cited.        And here I’m paraphrasing.

    9   I’m sorry.    I don’t have the transcript, but you basically

   10   said that I could submit a supplement that was simply

   11   limited to providing that legislative history because I

   12   believe you indicated you didn’t want to encourage people to

   13   start filing additional briefs at that time.          And so I made

   14   it clear to the Court, respecting the Court’s desire to

   15   limit the flood of papers, that I would provide a copy of

   16   the legislative history without argument, and that’s exactly

   17   what I did.     I would have been happy to argue in that

   18   pleading but my impression was that the Court didn’t want me

   19   to do it.

   20                 THE COURT:   Well I fall back into a -- just a

   21   principle of how Courts consider arguments, and that is they

   22   consider them based upon positions taken on pleadings.            And

   23   what I hear from Mr. Johnston is that this argument that

   24   you’re making is not embodied in a pleading of yours.            Now

   25   you did say, but I haven’t read it.         You did say you joined




                                      A489
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 199 of 247 PageID #: 710
                                                                            199


    1   in a pre-existing objection that made this objection.

    2                MR. PACHULSKI:     At the time oral -- at the time

    3   of opening argument, Your Honor, without objection by

    4   anybody, I indicated that in the noteholders’ memorandum,

    5   and it’s towards the end, they had discussed -- and they

    6   cited a number of statutory provisions including 1129(b).             I

    7   pointed out that they had noted that the plan distributions

    8   were violative of the waterfall resulting from the

    9   subordination provision, and among the provisions they

   10   quoted was 1129(b) and I amplified on that.          I also argued

   11   separately, and this was in -- I argued separately, and this

   12   is also something that they had pointed out, that the swap

   13   claims were being overpaid; that what had basically

   14   happened, and they’ve chronicled this chronology.           I wasn’t

   15   aware of this chronology until I read it in their paper;

   16   that in April of -- April, I think it was 2010, Oaktree

   17   opposed a compromise that was then reached.          Around June or

   18   so, they bought the swap claim.        At the time they bought the

   19   swap claim, the debtors were going to treat it like any

   20   other senior loan claim.       It would have received like one

   21   and a half cents at the parent level.         I then pointed out

   22   again, based on what was in the noteholder brief that as

   23   part of the settlement in September, in the course of

   24   getting Oaktree to become a plan proponent, all of a sudden

   25   the swap claim went from being treated as a senior lender




                                      A490
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 200 of 247 PageID #: 711
                                                                            200


    1   claim to being treated as another parent claim on a parody

    2   with all other parent claims and on a parody with our claim.

    3   Nobody objected at the time, and it was all based on facts

    4   in the noteholder brief.       The only thing I’ve been doing now

    5   so far, other than what I said at oral argument, is

    6   responding to a specific argument that mischaracterized the

    7   terms of the subordination agreement.

    8                MR. JOHNSTON:     Your Honor, the key point there

    9   was this is all coming straight from the noteholder brief,

   10   and presumably we’re going to hear it all again tomorrow.

   11   We should do this once.

   12                THE COURT:    Well --

   13                MR. GOLDEN:     Can I be heard one --

   14                THE COURT:    Yes, Mr. Golden.

   15                MR. GOLDEN:     Thank you.    Your Honor, look, I

   16   don’t -- I resent the notion that this is bait and switch.

   17   I had -- we had a personal phone call with Mr. Sottile and

   18   Mr. Lantry late last week where we went over in excruciating

   19   detail what would be agenda for today’s hearing.           Mr.

   20   Sottile and Mr. Lantry certainly knew that Mr. Pachulski

   21   intended to raise the swap argument and the unfair

   22   discrimination argument.       Whether they failed to communicate

   23   that to Mr. Johnston, I don’t know, but we’re now talking

   24   about two of the four DCL plan proponents.          So this isn’t a

   25   question of surprise, and I don’t want Mr. Pachulski to be




                                      A491
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 201 of 247 PageID #: 712
                                                                            201


    1   put in a position that he is doing something inappropriate.

    2   If the Court would like, and we want to adjourn this

    3   discussion on the swap until after I present it initially,

    4   and then allow Mr. Pachulski to weigh in as the joinder,

    5   that’s fine, too.      But I don’t think the Court should be

    6   left with the misimpression that somehow there was a bait

    7   and switch occurring here.

    8                 THE COURT:   Well I don’t want to be drawn....

    9                 THE COURT:   Well, and I don't want to be drawn

   10   into which -- into which I have been drawn --

   11   (Laughter)

   12                 THE COURT:   -- an argument about the argument.

   13   You know I mean the parties here have been given and will be

   14   given, you know, multiple opportunities to make their points

   15   you know evidentiary, legal, and both.         Well, let me put it

   16   this way, Mr. Johnston.       You don't have to answer today.

   17   How's that?     Does that solve your problem?

   18                 MR. JOHNSTON:    If that's the way Your Honor wants

   19   to proceed, obviously I have no choice, so --

   20                 THE COURT:   You don't want to argue it twice and

   21   I don't want to hear it twice.        I -- you know we're on the

   22   same plane there.

   23                 MR. JOHNSTON:    All right.

   24   (Laughter)

   25                 MR. JOHNSTON:    I'll hear what Mr. Pachulski has




                                      A492
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 202 of 247 PageID #: 713
                                                                            202


    1   to say and make a decision then.        Thank you.

    2                THE COURT:    All right.     Mr. Pachulski, you may

    3   conclude.

    4                MR. PACHULSKI:     And I apologize, I just have to

    5   tell you when I read page 15 of their chart of unresolved

    6   objections and they said swap claim and they said unfair

    7   discrimination, I must have misunderstood something and I

    8   didn't mean to create much of a ruckus.          I thought my

    9   participation in this would take a couple of minutes.

   10                Anyway, let me just get back on my train of

   11   thought.    All right.    So basically with respect to the swap

   12   claim, I think we've beaten the unfair discrimination issue

   13   to death, but there was also another concern we had raised

   14   and I believe the noteholders also raised, which is that the

   15   swap claim is being treated as if there were no defenses to

   16   the swap claim.     It's basically a complete surrender and the

   17   theory is that even though the swap claim was an integral

   18   part of the LBO transaction, in fact it was required by the

   19   credit agreement, that it is subject to other potential

   20   defenses that might not be available to the senior lenders.

   21   Well, the fact that it might be subject to other defenses

   22   might be a grounds for some sort of a settlement, but this

   23   wasn't a settlement.      It was a complete surrender by the

   24   debtors on the point.      And I'd like to quote from -- and

   25   this will brief, from one part of their brief as to sort of




                                      A493
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 203 of 247 PageID #: 714
                                                                            203


    1   their theory.     At page 147, they point to the fact that the

    2   examiner found that it is reasonably likely that a Court

    3   would find that the obligations arising from the termination

    4   of the swap documents are not avoidable.          Now reasonably

    5   likely.    Now you'll recall earlier in this case when Mr.

    6   Sottile was talking about similar language in the context of

    7   Mr. Zell's issues.      Mr. Sottile stated and I'm quoting here,

    8   that is the stuff of litigation.        And we agree.     We actually

    9   agree with Mr. Sottile on this.        The problem is it's not

   10   right to say that that is the stuff of litigation against

   11   Mr. Zell because he opposes the plan and that is the stuff

   12   of a complete surrender, which is what happened with Oaktree

   13   on the swap claim.

   14                And so the point that I'd like to leave the Court

   15   with and now I'm kind of coming full circle, is that there

   16   is no justification for what they did with the swap claim,

   17   either in terms of treating it on a parody with our claims

   18   or in terms of treating it as there were no defenses.            They

   19   gave the swap claim another $50 million in value at the same

   20   time that they coincidentally reduced the distribution to

   21   senior noteholders between the April proposal and the

   22   October proposal, so this didn't cost the bank anything and

   23   this whole history puts us back into the world of

   24   Featherworks, which I cited in opening arguments without

   25   objection, which is basically we have a situation where the




                                      A494
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 204 of 247 PageID #: 715
                                                                            204


    1   swap claims were being overpaid, beyond their legal

    2   entitlement, simply as a basis to get them to switch from

    3   becoming a plan opponent to a plan proponent.           And with that

    4   I will conclude and thank the Court for its indulgence.

    5                THE COURT:    Thank you.

    6                MR. JOHNSTON:     Your Honor, I think I'd like to

    7   take you up on your invitation and respond to these

    8   arguments once I've heard them all with respect to the swap

    9   claim, so I'll do it tomorrow.

   10                THE COURT:    Very well.

   11                MR. JOHNSTON:     Thank you.

   12                THE COURT:    All right.     Anyone else?    Okay.

   13                MR. LEMAY:    Your Honor, David LeMay from

   14   Chadbourne and Parke for the Creditors Committee.           I've been

   15   tasked with the unfair discrimination prong of this and it

   16   would be convenient for me to deal with all of the unfair

   17   discrimination claims, both those raised by the noteholders

   18   and those raised by Mr. Pachulski all at once, but I'm

   19   perfectly happy to just talk a little bit about Mr.

   20   Pachulski's objection since he's lodged it.          But I have a

   21   different sort of procedural model and that's this, I

   22   understand that the ground rule here is that we are here

   23   today to talk about legal arguments and non-evidentiary

   24   matters.    And Mr. Pachulski has made an argument about

   25   unfair discrimination and I believe has pitched it as a




                                      A495
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 205 of 247 PageID #: 716
                                                                             205


    1   purely legal matter.      I guess my model, Your Honor, is that

    2   it seems to me that the question of unfair discrimination in

    3   the Third Circuit involves a threshold inquiry about whether

    4   the discrimination is material.        And why do I say that?        I

    5   say that that's that -- I say that because that's what the

    6   District Court in Armstrong, later affirmed by the Third

    7   Circuit, tells us.      So Mr. Pachulski's legislative history

    8   is good, but I think Armstrong, Third Circuit Law, is better

    9   and that Third Circuit Law sends us into a fact question.

   10   And the fact question turns out to have been answered by Mr.

   11   Whitman in his testimony.       I'm not sure and I don't want

   12   people yelling at me, whether I'm supposed to talk about

   13   that.    But there's no way that I can meaningfully address

   14   the Armstrong materially test without adverting to the

   15   evidence.    And so I thought I'd pause for a moment and ask

   16   Your Honor what you'd like me to do.

   17                THE COURT:    I can't imagine anyone would yell at

   18   you, Mr. LeMay.

   19   (Laughter)

   20                THE COURT:    But you may proceed.

   21                MR. LEMAY:    Thank you, Your Honor.       I and so the

   22   question of unfair discrimination that's been raised by Mr.

   23   Pachulski is not simply a pure application of statutory law

   24   in the way that absolute priority on cram down is.            It's

   25   become very clear and I believe Mr. Pachulski has perhaps




                                      A496
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 206 of 247 PageID #: 717
                                                                            206


    1   inadvertently conflated a couple of different threads in the

    2   law, but it's become very clear in the light of recent

    3   jurisprudence that testing unfair discrimination as between

    4   two equal classes is a different exercise than testing for

    5   absolute priority when something goes to a junior class over

    6   an intervening dissenting class.        Here there is no

    7   intervening dissenting class, there's no junior class.            Mr.

    8   Pachulski's problem is he says that the parent general

    9   unsecured creditors have gotten more than they ought to have

   10   at the expense of the bondholders.         And I think it's pretty

   11   clear under modern law that that does not involve the

   12   application of the very strict kind of rules that pop up

   13   when you're dealing with absolute priority, but rather a

   14   more subtle test which grew out of a publication by a

   15   Professor Markell that was published -- I'm sorry -- that

   16   was picked up by a number of Courts, including the Armstrong

   17   Court, which looks at unfair discrimination in the context

   18   of two parallel classes from the point of view first of all

   19   of is there discrimination and is it material?           And in that

   20   context the progeny of the cases under that four part test

   21   make it very clear that in viewing unfair discrimination,

   22   the level of discrimination or the level of change has to be

   23   grossly disproportionate.       There's a case called Great Bay

   24   which says that Courts that have rejected confirmation on

   25   the basis of unfair discrimination have confronted plans




                                      A497
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 207 of 247 PageID #: 718
                                                                            207


    1   proposing grossly disparate treatment, 50 percent or more,

    2   to similarly situated creditors.        And there are other cases

    3   along the same line.      What all those cases tell you, Your

    4   Honor, is that before you even need to engage meaningfully

    5   on this issue, you've got to find that there is A,

    6   discrimination and B, that it's meaningful.

    7                THE COURT:    Well --

    8                MR. LEMAY:    Now --

    9                THE COURT:    -- let me ask you to pause there.

   10   This is the Markell I guess proposal, who was then a

   11   professor at the time and then I think I discussed in Exide,

   12   but didn't adopt.      I don't know that the circuit here has

   13   adopted it yet, now Judge Markell.

   14                MR. LEMAY:    Well, it was I think adopted by the

   15   District Court in Armstrong and of course that was affirmed.

   16   The District Court in Armstrong sets forth the standard,

   17   cites to the article, and then the District Court says,

   18   having set forth that article, if there is an allegation of

   19   a materially lower percentage recovery, the presumption can

   20   be rebutted by showing that and then it goes on to show how

   21   you rebut the presumption.       But I take it from the District

   22   Court and its opinion that since it engaged in the

   23   materiality analysis, that it must have adopted the

   24   reasoning behind that test and the need for materiality,

   25   because they wouldn't have done the exercise that they did.




                                      A498
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 208 of 247 PageID #: 719
                                                                             208


    1                THE COURT:    Okay.     And what you're telling me is

    2   that it's a persuasive Decision, but not a controlling

    3   Decision on this Court.

    4                MR. LEMAY:    I'd say that's true, yes.       I didn't

    5   mean to suggest that it was --

    6                THE COURT:    No, because it was not the focus of

    7   the appeal of the Appellate --

    8                MR. LEMAY:    That's absolutely right, Your Honor.

    9                THE COURT:    Okay.

   10                MR. LEMAY:    No.   And I certainly wouldn't mean to

   11   oversell the case, but I do think it's the right way to go

   12   and I think it's the way that the modern trend in these

   13   unfair discrimination cases has gone, to distinguish on the

   14   one hand between a very strict rule on gifting in the

   15   absolute priority context and a somewhat different unfair

   16   discrimination thing.      So I didn't mean to oversell it and

   17   I'm not suggesting that it's binding Third Circuit Law.            I

   18   do think that it is the best way of thinking about these

   19   issues.

   20                At any rate, Your Honor, that then brings us to

   21   the factual issue.      Your Honor will remember that Mr.

   22   Whitman testified.      His testimony was unrebutted.       I don't

   23   think there's any other testimony in the record.           And Mr.

   24   Whitman's testimony on direct examination was that the -- in

   25   effect the net harm suffered by the senior noteholders was




                                      A499
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 209 of 247 PageID #: 720
                                                                            209


    1   in the vicinity of $40,000.          There was on cross examination

    2   and I can give page cites if that's helpful.          There was on

    3   cross examination a little bit of an attempt to sort of have

    4   at him on that, but I believe his testimony is quite

    5   consistent that the harm to the bondholders that's being

    6   complained of as a factual matter is in the range of $30,000

    7   to $40,000.     As I say, that testimony I believe is the only

    8   testimony on the record in the issue.         And so if that's the

    9   case, I think we are infinite worlds away from the kind of

   10   material harm or gross disproportionality that the cases

   11   talk about and that therefore this is much ado about

   12   nothing.

   13                 The other thing I would point out is I guess that

   14   to the extent that the Court later finds that the settlement

   15   is a reasonable settlement and that the economic

   16   justification for the settlement makes sense, then it is

   17   going to be correct to say that what happened and Mr.

   18   Pachulski disputes this, that what in effect happened here

   19   is that the senior lenders parted with a piece of their

   20   recovery to bring the parent general unsecured creditors up

   21   to the same level as the bondholders.         Now to be sure, if

   22   the Court later finds that the settlement itself doesn't

   23   pass muster, then that won't work.         But at that point we all

   24   have much larger problems and so I think it's a -- I think

   25   it's actually a footnote.       So for all those reasons, Your




                                      A500
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 210 of 247 PageID #: 721
                                                                             210


    1   Honor, I think that this can be disposed of relatively

    2   easily, this issue of unfair discrimination, by simply

    3   focusing on issues of materiality and the size of the

    4   amounts involved.      So that's my pitch on unfair

    5   discrimination.     As to the Brigade objection, I guess you

    6   might hear a somewhat similar theme from me tomorrow, but I

    7   won't repeat myself.

    8                THE COURT:    Thank you.     Anyone else?    Okay.   Have

    9   we reached the end of the third party objections?

   10                MR. SOTTILE:     We have, Your Honor.

   11                THE COURT:    Well, of the argument anyway.        Okay.

   12   Is there any further business for today?

   13                MR. SOTTILE:     Not on the side of the DCL plan

   14   proponents, Your Honor.

   15                MR. GOLDEN:     None here, Your Honor.      Just what

   16   time are we -- I'd like to know what time we are planning to

   17   restart tomorrow.

   18                THE COURT:    I'm glad you asked that question.

   19   10:00.    I have a matter that I heard -- that I scheduled on

   20   short notice for 9:30 tomorrow morning and because it's on

   21   short notice, objections are not due until the time of

   22   hearing, although I'm supposing given the nature of the

   23   relief that's been requested that objections are unlikely,

   24   but it's been a contested case, so I won't promise you

   25   anything.    I just ask that when we're going through that




                                      A501
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 211 of 247 PageID #: 722
                                                                             211


    1   proceeding as parties move in and out of the courtroom to

    2   get ready for 10:00 that they do so with consideration for

    3   those before the Court.

    4                 Okay.   Let me just give you -- cover some other

    5   things.    I've received and reviewed both of the letters and

    6   I'm perfectly okay with what's been proposed with respect to

    7   I guess I'll call them the afternoon arguments, although we

    8   can start in the morning if we get you know -- get that far.

    9   (Laughter)

   10                 THE COURT:   But each side has proposed.        I have

   11   nothing to add to that.       I think I am going to allow short,

   12   maybe in letter form, post-hearing submissions by other

   13   objectors whose objections I did not resolve from the bench

   14   today.    So I haven't decided anything other than what I've

   15   just told you, so the parties can think about that overnight

   16   and if someone wants to comment on that tomorrow they're

   17   welcome to.

   18                 I also -- well, again something for the parties

   19   to think about, but I'd like to find a way somehow to get

   20   everything teed up in such a way that I have all of the

   21   written submissions prior to the commencement of closing

   22   argument and we'll talk about a date in a minute.           And by

   23   that I mean I think I am going to ask for submission of

   24   proposed findings and conclusions.         And given the timeframe

   25   which will exist between the end of the day tomorrow and the




                                      A502
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 212 of 247 PageID #: 723
                                                                            212


    1   briefing schedule and closing arguments, I also assume

    2   and/or encourage final amendments to the proposals to the

    3   extent certain of the objections that were not resolved

    4   today can be resolved by language changes to the respective

    5   plans and find a way to get them to the Court early enough

    6   that I can have a full understanding of exactly where

    7   everyone is because at some point you know we're going to

    8   have to freeze time and the other reason for that is obvious

    9   I'm sure.

   10                Finally, let me just throw out a couple of

   11   suggestions for dates.       The briefing proposal has the last

   12   submission May 27.      I will tell you the next available time

   13   beyond June 3, which I think is way too close to the

   14   submissions, is the week of June 13.         And I would propose to

   15   make, assuming closing can be had in a day, either the 14th

   16   or 15th of June available for that.         I do have something

   17   scheduled for those days now and I've yet to inform the soon

   18   to be unhappy parties that they're not trying their case

   19   that week.    But I felt in balancing the respective urgencies

   20   I wanted to clear some time for closing here.           So think

   21   about those dates and see if the parties can agree upon one.

   22   And if for any reason they are not suitable, we'll try

   23   something else.     All right.       Are there any questions?    All

   24   right.    Thank you all very much.       That concludes today's

   25   session.    Court will stand adjourned.




                                      A503
Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 213 of 247 PageID #: 724
                                                                                     213


    1

    2    (Whereupon, at 5:03 p.m., the hearing was adjourned.)

    3

    4                                               CERTIFICATION

    5                 I certify that the foregoing is a correct

    6   transcript from the electronic sound recording of the

    7   proceedings in the above-entitled matter.

    8

    9                     Digitally signed by Traci Calaman
                          DN: cn=Traci Calaman, c=US,


   10
         Traci Calaman    o=DiazDataServices, ou=DiazDataServices,
                          email=info@diazdata.com
                                                                     14 April 2011
                          Date: 2011.04.14 14:16:10 -04'00'




   11   Transcriber                                                      Date




                                                       A504
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 214 of 247 PageID #: 725
                                         TRIBUNE.4.13.11.DOC
Word                        Page:Line     Word                           Page:Line      Word                            Page:Line     Word                         Page:Line
08-13141(kjc(1) 1:5                       action(54) 23:4 24:25 27:25 47:22 48:4 adverted(1) 91:13                                    all(172) 14:4 14:7 14:17 15:3 17:11 18:14
1129(a)(1(3) 103:14 107:1 171:5           94:14 95:13 96:1 96:15 96:19 104:13           advertently(1) 132:13                         20:7 21:12 21:20 30:6 31:21 34:19 34:22
379br40(1) 91:14                          104:15 104:16 104:21 104:21 104:25            adverting(1) 205:14                           35:1 35:17 36:20 37:8 37:9 39:5 39:24
401k's(1) 39:24                           105:17 105:18 106:2 106:12 106:14 106:15advertised(1) 87:22                                 41:6 43:15 43:16 43:23 44:14 45:9 45:9
500-page(1) 108:8                          110:4 110:13 114:7 138:6 141:2 142:8 advisor(2) 64:7 173:5                                 45:11 46:6 47:4 48:17 49:5 50:12 53:3
a(3(1) 171:7                              148:1 152:20 153:1 159:4 159:16 162:15 advisory(3) 66:2 94:22 95:4                          53:6 56:22 58:2 60:4 65:20 68:12 69:8
a)(3(2) 103:15 107:1                      165:19 167:25 173:18 179:4 179:13 180:14advocacy(1) 182:22                                  69:12 73:7 74:10 80:11 80:13 82:10 84:6
a.m(4) 1:15 14:1 53:5 53:5                 180:16 180:17 180:20 180:23 182:4 182:6advocated(1) 38:2                                   84:10 84:22 86:3 86:3 86:15 87:14 87:18
abandoned(2) 58:2 111:12                  182:10 182:14 191:19 191:25 192:1 192:1 affairs(2) 116:24 117:6                             89:22 93:14 95:11 96:12 96:13 97:10
abandonment(1) 136:7                      192:2 192:3                                   affiliate(4) 37:17 37:18 41:14 41:19          97:11 97:24 98:1 100:2 106:8 106:17
abetted(1) 173:11                                                                       affirmed(3) 137:5 205:6 207:15                108:22 111:8 111:9 113:8 113:11 113:25
                                          actions(28) 23:2 23:9 23:21 31:6 31:7                                                       114:23 116:6 117:4 117:23 119:10 119:20
abid(1) 5:13                                                                            affirms(1) 49:2
                                          31:20 32:5 34:8 34:9 37:3 38:9 39:6                                                         120:19 122:8 123:18 125:17 125:24 126:7
abilities(1) 110:15                                                                     affording(3) 73:2 174:5 175:9
                                          66:25 81:7 103:5 104:12 104:17 104:22                                                       127:17 127:21 127:22 128:23 130:14 131:2
ability(1) 81:24                                                                        after(19) 20:20 38:5 38:10 38:12 39:6
                                          106:6 106:13 107:3 116:20 116:21 148:3                                                       131:12 134:21 135:21 136:8 137:10
able(11) 15:15 48:5 48:11 49:15 81:18                                                   57:1 66:21 91:17 95:18 106:18 107:18
                                          162:7 179:22 180:2 180:3                                                                    139:25 141:5 141:7 142:9 144:22 147:9
84:4 111:19 123:2 153:6 154:16 197:17                                                   111:11 116:5 134:17 141:9 150:19 151:2
                                                                                                                                      148:5 148:23 149:7 149:9 149:14 149:23
                                                                                        189:7 201:3
                                          activity(1) 147:4                                                                           151:10 152:22 153:23 156:8 156:21 156:25
about(106) 15:1 15:22 16:18 27:18 30:6                                                  afternoon(17)   82:12   93:6 101:4 102:9       157:3 157:5 162:14 165:15 165:18 166:3
                                          acts(4) 91:7 91:8 117:3 117:4                 109:8 112:4 113:5 116:14 128:1 129:17 168:2 168:9 168:21 169:9 169:9 169:11
31:25 35:21 40:3 41:7 45:14 45:15 50:20
50:23 50:23 51:14 64:25 66:12 66:20 71:7  actual(2)  109:16  125:19                     129:21 138:9 139:15 157:21 181:13 187:7 169:14 170:22 171:24 172:3 172:12 173:9
73:20 79:9 79:11 79:13 80:20 80:22 82:2 actually(31) 47:23 48:4 85:1 85:8 89:23 211:7                                                 173:10 174:6 174:13 176:2 180:21 181:3
82:6 83:24 84:9 85:25 86:13 86:23 87:5 100:13 103:25 106:2 107:13 108:25 110:20afterwards(1) 38:9                                     181:4 181:7 181:11 181:18 182:15 183:2
88:16 89:21 90:19 93:1 96:3 96:17 96:22    132:16   134:7  135:14  137:14  139:17
                                                                                        again(42) 41:17 50:17 56:4 56:9 66:11         185:24 188:3 192:22 193:2 193:25 194:2
97:17 99:9 99:10 99:11 99:13 102:4        156:18   158:14   159:7 162:8  183:1  186:1   66:21 71:16 73:7 93:6 93:16 97:3 109:9 195:6 196:15 199:24 200:2 200:3 200:9
104:23 106:23 115:5 115:6 115:6 115:12 192:20 193:12 194:10 194:20 197:5 197:9 118:24 121:16 124:12 126:19 127:3 128:1 200:10 201:23 202:2 202:11 204:8 204:12
116:2 120:19 121:10 124:11 130:7 132:2 198:4 203:8 209:25                               128:19 129:2 137:24 140:6 141:24 143:18 204:16 204:18 206:18 207:3 209:23 209:25
132:9 135:16 140:23 141:13 141:17 141:18                                                145:15 148:8 149:16 155:3 155:11 164:14 211:20 212:23 212:23 212:24
 142:5 146:5 146:16 146:19 147:17 148:6   adam(1)   4:7                                 166:1 167:7 170:18 174:8 176:4 186:15
149:5 152:6 152:16 157:25 161:19 163:3 add(8) 84:21 114:14 115:18 124:24 136:3 190:3 190:15 196:5 199:22 200:10 211:18
                                          139:8 150:4 211:11                                                                          allegation(1) 207:18
163:12 164:1 164:5 165:4 168:3 169:5
                                                                                                                                      allegations(2) 72:24 73:1
169:17 171:19 173:9 174:9 175:23 181:2                                                  against(101) 21:5 23:5 28:7 28:8 28:14        alleged(3) 19:14 42:11 54:14
182:20 190:8 196:4 200:24 201:12 203:6 added(1) 20:23                                   28:16 29:1 29:2 35:12 36:16 36:25 37:18
204:19 204:23 204:24 205:3 205:12 208:18addition(13) 15:4 15:10 18:6 26:21 28:6 40:6 40:9 40:11 41:9 41:15 42:8 44:12 allegedly(3) 121:1 122:17 123:6
 209:11 209:11 211:15 211:19 211:22       30:14 39:22 94:20 122:22 124:5 124:11 44:22 48:2 48:16 48:18 48:21 48:24 49:1 alleges(2) 173:7 180:16
212:21                                    126:13 127:6                                  49:3 53:13 53:21 55:1 56:13 58:8 59:1 allen(1) 6:40
                                                                                        62:10 62:16 63:1 63:9 63:11 67:1 67:8 allinson(1) 3:35
above(1) 148:4                            additional(13) 14:10 17:16 29:4 31:1 43:9 67:23 68:22 70:1 71:18 72:9 75:9 79:22 allocated(4) 29:14 30:8 30:12 85:18
aboveentitled (1) 213:7                   44:1 44:5 108:9 126:12 162:21 188:4           80:3 80:20 80:22 86:14 94:10 94:15 95:5 allocating(2) 30:3 176:22
absence(2) 19:2 70:12                     190:17 198:13                                 96:6 101:8 101:11 117:1 117:20 118:1          allocation(1) 165:23
absent(3) 166:11 170:14 181:19                                                          123:22 124:15 127:9 127:11 127:20 130:20allow(14) 21:11 34:20 66:8 69:21 77:7
absolute(11) 42:22 43:11 43:22 44:7 75:13 additionally(1) 124:21                         130:23 134:5 134:6 134:13 137:18 142:1178:6 78:15 154:17 156:21 156:21 165:16
 76:20 191:22 205:24 206:5 206:13 208:15address(28) 16:16 18:19 41:8 53:12 53:15 143:1 146:7 147:19 148:4 152:13 152:22 175:10 201:4 211:11
                                          54:8 54:9 54:14 55:8 62:2 64:1 72:14          153:5 153:6 153:16 153:21 154:9 154:20
absolutely(5) 41:10 45:20 57:3 70:4 208:8 72:22 74:2 74:20 75:2 75:7 76:6 82:18 154:21 155:6 155:7 155:13 159:14 165:3 allowance(3) 19:14 77:18 175:8
abuse(1) 163:15                           87:3 89:7 140:19 179:8 179:9 187:12           166:8 171:14 171:16 171:19 172:17 172:23allowed(14) 21:13 35:22 46:12 62:17
                                          189:22 190:12 205:13                           174:10 176:17 180:10 180:10 203:10           73:25 83:8 83:10 96:5 109:11 109:20
acceptable(2) 76:1 123:11
                                                                                                                                      111:13 174:25 175:7 176:7
accepted(5) 59:24 60:23 63:3 63:3 63:4
                                          addressed(10) 16:11 38:25 47:3 54:6           agenda(10) 15:20 17:5 53:12 54:3 54:11
accident(1) 136:15
                                          55:10 55:16 113:9 119:12 124:22 171:25 70:8 74:19 128:9 197:18 200:19                       allowing(2) 46:24 111:20
accordance(2) 99:7 192:5
                                                                                                                                      allows(3) 29:17 31:15 73:1
according(6) 38:13 120:4 120:25 122:24
                                          addresses(1) 126:21                           aggregate(1) 174:19                           allude(1) 80:18
192:17 194:18
                                          addressing(4) 35:3 62:9 79:6 141:1            ago(4) 112:1 141:11 174:8 190:9               along(3) 74:10 177:15 207:3
                                          adelphia(1) 71:3                              agree(12)  81:16   89:1  96:12 98:14  129:22  alongside(1) 120:22
accordingly(2) 152:11  187:21
                                          adequacy(1) 155:23                            135:20 150:9 150:14 187:10 203:8 203:9 already(14) 57:4 60:12 61:3 94:12 102:21
account(7) 45:13 85:11 130:12 153:10
154:11 159:13 170:11                      adequate(2) 130:1 154:2                       212:21                                        104:13 120:18 125:8 130:14 132:24 133:7
                                          adhere(1) 148:20                              agreeable(1) 54:11                            138:2 153:11 154:19
accurate(1) 182:2                         adjoined(1)   124:10                          agreed(7)   20:22  20:23  21:8 21:9  39:2
accurately(1) 93:11                       adjourn(1) 201:2                              79:20 143:18                                  also(68) 19:20 23:2 24:4 24:8 24:16 26:19
                                          adjourned(2) 212:25 213:2                                                                    27:13 27:20 28:3 28:7 28:17 29:13 30:9
accuse(1) 69:6
                                          administer(3)   109:15  111:2 111:9           agreeing(2)   48:15  48:25                    36:5 37:2 37:5 38:20 39:22 40:3 40:15
accused(2) 68:18 68:19
                                          administered(1) 109:18                        agreement(16) 11:35 20:17 40:2 78:14          41:7 41:9 43:1 44:9 44:12 44:23 47:23
acknowledge(3) 105:20 106:19 164:4                                                                                                    53:15 53:19 53:25 54:7 56:16 69:20 80:18
acknowledged(2) 105:12 182:19             administering(2) 32:18 111:3                  78:16 97:6 97:18 98:11 142:9 177:12
                                          administration(1)   61:9                      186:22   194:10   195:2  197:14  200:7 202:19 95:9 96:1 106:22 112:8 114:20 117:8
acknowledges(1) 51:21                                                                                                                 118:6 123:11 124:22 125:3 129:20 134:7
acquiescence(1) 77:24                     administrative(7)   15:14 15:23  16:17  19:21
                                           43:24 61:5 91:20                             agreements(13) 93:18 94:21 94:21 117:12 136:3 141:10 144:15 144:24 145:20 145:25
acquired(2) 36:21 36:23                                                                                                                149:24 150:2 155:16 163:15 168:5 173:14
                                                                                        117:13 117:16 117:21 118:15 118:16
acquisition(11) 37:1 37:9 37:13 38:8 38:10                                                                                            173:22 178:20 181:19 186:13 199:10
                                          admission(1)   35:17                          118:19 118:25 119:11 179:24
 38:12 39:6 39:6 41:3 41:18 63:23                                                                                                     199:12 202:13 202:14 211:18 212:1
                                          admitted(4) 16:4 131:23 131:24 185:1
                                          admonitions(1)   33:20                        agudelo(1) 10:37
act(3) 67:15 160:16 185:21
                                          ado(1) 209:11                                 ahead(7) 16:16 21:1 64:5 68:6 68:8 79:17 alternative(4) 11:4 11:5 26:18 43:5
acted(1) 58:15                                                                                                                        although(10) 18:7 19:8 35:7 35:13 100:16
                                          adopt(3)   128:19  129:20  207:12             167:5
acting(3) 28:3 53:23 67:25                                                                                                            135:3 146:2 189:4 210:22 211:7
                                          adopted(3) 207:13 207:14 207:23
                                          advance(4) 18:11 64:21 163:18 194:20          aided(1) 173:10
                                                                                        aim(1) 155:9                                  alvarez(1) 12:19
                                          advancement(2) 61:15 176:20
                                                                                        aisle(1) 173:24                               always(2) 14:20 164:18
                                          advantage(1) 123:15
                                          advantages(1) 25:25                           akin(7) 5:10 9:39 47:10 93:7 113:6 138:10ambiguity(1) 33:4
                                                                                         163:15                                       ambit(1) 88:25
                                          adventure(1) 91:7
                                                                                                                                      amend(2) 178:13 178:14
                                          adversary(6) 72:18 73:6 81:4 81:18 A505
                                          171:18 172:16

Page : 1                                                                                                                                                      04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 215 of 247 PageID #: 726
                                        TRIBUNE.4.13.11.DOC
Word                      Page:Line     Word                       Page:Line    Word                       Page:Line    Word                        Page:Line
amended(9) 30:22 32:11 56:15 56:17      and(301) 70:22 71:2 71:8 71:11 71:19    and(301) 123:4 123:5 123:7 123:14 123:18and(249) 172:13 172:17 172:18 172:22
98:10 147:20 149:8 152:8 155:11         71:20 72:2 72:8 72:11 72:13 72:21 72:25 123:20 123:24 124:17 124:23 124:24      173:6 173:9 173:10 173:10 173:11 173:13
                                        73:1 73:5 73:9 73:14 73:16 73:19 73:20 125:9 125:14 125:18 125:19 125:20 125:23173:14 173:17 173:18 173:21 173:22 174:6
amending(1) 110:25                      73:21 73:24 74:1 74:12 74:18 74:21 75:7 126:6 126:7 126:8 126:14 126:19 126:21 174:12 174:13 174:17 174:18 174:23
amendments(3) 77:2 163:21 212:2         75:21 76:4 76:4 76:8 76:9 76:17 76:23 126:23 127:3 127:9 127:14 127:18 127:18 174:23 174:25 175:4 175:7 175:14 175:21
amendment’s(1) 173:25                   76:24 77:1 77:4 77:8 77:17 77:18 77:23 127:22 127:24 128:3 128:8 128:9 128:9 176:5 176:8 176:10 176:12 176:17 176:18
america(5) 7:38 7:42 40:5 40:12 41:5    78:4 78:5 78:11 78:24 78:25 78:25 79:7 128:18 128:19 128:19 129:5 129:12 129:14176:20 177:6 177:14 177:18 178:9 178:13
american(1) 104:18                      79:12 79:12 79:23 80:2 80:4 80:9 80:9    129:18 129:20 129:20 129:22 129:24     178:17 178:18 178:19 179:5 179:11 179:14
americas(1) 2:31                        80:11 80:12 80:23 80:25 81:12 81:12     130:1 130:2 130:3 130:15 130:16 130:24 179:18 179:19 179:19 179:19 179:22
amit(1) 10:17                           81:23 81:25 82:5 82:13 82:14 82:23 83:2 131:18 131:22 131:23 131:24 132:2 132:11179:24 179:25 180:4 180:11 180:12 180:14
among(8) 37:15 40:12 63:16 102:19 144:3 83:3 83:5 83:7 83:8 83:9 83:11 83:15     132:12 132:12 132:14 132:15 132:16      180:20 181:1 181:7 181:8 181:16 182:1
145:8 173:12 199:9                      83:16 83:20 84:6 84:7 84:11 84:14 85:1 132:17 132:19 132:22 133:2 133:2 133:4 182:2 182:6 182:25 183:2 183:11 183:12
                                        85:3 85:22 85:24 86:2 86:3 86:18 86:20 133:12 133:17 133:22 133:25 134:4 134:6 183:15 183:23 184:8 184:17 184:22 184:25
amount(21) 15:11 16:21 21:7 21:13 78:17 86:21 86:21 86:21 86:22 86:22 86:23     134:8 134:9 134:20 134:25 135:2 135:4 185:4 185:5 185:6 185:10 185:18 185:25
85:24 123:3 124:2 133:23 137:12 138:4 86:24 87:3 87:6 87:7 87:9 87:11 87:14 135:8 135:11 135:14 135:18 136:6 136:6 186:9 186:13 186:18 186:23 187:14 187:17
143:16 165:12 174:19 175:7 188:1 189:16 87:17 88:2 88:3 88:5 88:10 88:11 88:15 136:7 136:9 136:11 136:14 136:15 136:16 188:5 188:6 188:10 188:13 188:21 188:23
189:18 194:21 194:24 195:1              88:18 88:19 89:3 89:6 89:9 89:19 89:20 136:18 137:4 137:11 137:11 137:12 137:12189:11 189:15 189:17 189:19 190:9 190:13
                                        90:1 90:3 90:9 90:20 90:22 90:25 91:10 137:19 137:21 137:23 137:24 138:6         190:15 190:20 190:23 190:25 191:10
amounts(2) 184:11 210:4                 91:14 91:19 91:22 91:24 91:24 92:2 92:4 138:11 138:22 139:1 139:24 140:3 140:3 191:12 191:20 192:2 192:4 192:7 192:10
                                        92:7 92:8 92:12 92:15 92:18 92:22 93:7 140:3 140:6 140:20 140:21 140:25 141:4 192:12 192:14 192:17 192:22 192:24 193:2
amp'd(1) 160:8
                                        93:11 93:12 93:12 93:16 93:21 93:21     141:5 141:5 141:8 141:13 141:16 141:24 193:3 193:8 193:10 193:10 193:11 193:16
amplified(2) 196:25 199:10
                                        93:24 94:1 94:4 94:8 94:9 94:10 94:12 142:4 142:14 142:18 142:18 142:19 142:20193:16 193:17 193:19 193:20 193:23 194:4
amplify(2) 102:17 181:24
                                        94:13 94:19 94:24 95:10 96:2 96:3 96:7 143:3 143:9 143:18 143:20 143:21 143:21 194:6 194:15 194:23 195:2 195:4 195:13
amused(1) 84:25                         96:13 97:10 97:11 97:18 98:8 98:18 99:2 143:23 144:2 144:7 144:10 144:15 144:21 196:3 196:6 196:8 196:16 196:22 196:23
amy(1) 11:17                            99:4 99:4 99:6 99:9 99:11 100:8 100:15 145:6 145:7 145:12 145:13 145:15 145:19 196:25 197:1 197:4 197:13 197:15 197:17
analogies(1) 86:20                      100:16 100:19 100:25 101:18 101:21 102:3145:22 145:25 146:5 146:7 146:8 146:17 197:19 198:8 198:13 198:16 198:21 198:22
analysis(10) 34:6 34:21 119:23 119:25    102:5 102:11 102:19 102:22 102:25      146:18 146:21 147:19 147:20 147:23 148:7199:5 199:5 199:9 199:10 199:11 199:11
146:25 162:6 162:10 182:3 188:22 207:23 103:14 104:15 104:17 104:19 104:22       148:13 148:18 148:21 148:23 148:25     199:14 199:21 200:2 200:3 200:10 200:16
                                        104:24 105:3 105:4 105:6 105:7 105:22 149:1 149:12 149:16 150:2 150:3 150:7 200:17 200:20 200:21 200:25 201:2 201:4
analytically(1) 136:8                   106:9 106:9 106:12 106:14 106:17 106:20 150:19 151:5 151:7 151:18 151:18 151:21 201:7 201:9 201:13 201:15 201:20 202:1
analyze(3) 34:14 146:22 146:23          106:21 106:22 107:3 107:5 107:13 107:16 151:24 152:1 152:17 152:23 153:9 153:12 202:4 202:6 202:6 202:7 202:14 202:16
and(301) 14:9 14:11 14:16 15:1 15:10    107:19 108:8 108:9 108:16 108:20 109:2 153:12 153:23 154:1 154:4 154:5 154:9 202:24 202:24 203:7 203:8 203:11 203:14
15:23 16:17 16:25 17:4 17:15 17:22 17:23109:9 109:12 109:17 109:19 109:21 110:3 154:13 154:16 154:21 155:2 155:6 155:7 203:15 203:21 203:22 204:3 204:4 204:7
18:8 18:9 18:12 19:9 20:11 20:18 20:20 110:16 110:21 111:3 111:5 111:6 111:11 155:8 155:8 155:9 155:14 155:17 155:23 204:14 204:15 204:18 204:21 204:23
21:7 22:7 22:13 22:20 23:3 23:5 23:13 111:13 111:16 111:24 112:6 112:6 112:7 156:7 156:20 157:10 157:16 157:23 158:8 204:24 204:25 205:4 205:9 205:10 205:11
23:22 24:2 24:7 25:4 25:6 25:8 25:9     112:8 112:14 112:14 112:17 112:20 113:3 158:12 158:14 158:16 158:18 158:18      205:15 205:15 205:21 205:25 206:10
25:11 25:11 25:21 26:7 26:13 26:22 27:2 113:6 113:13 113:19 113:25 114:1 114:1 158:20 159:4 159:6 159:10 159:13 159:18 206:19 206:19 207:2 207:6 207:11 207:15
27:9 27:11 27:21 27:25 28:3 28:20 29:6 114:11 114:19 114:20 114:24 114:25 115:7159:19 159:21 160:1 160:7 160:10 160:10 207:17 207:20 207:22 207:24 208:1 208:10
29:10 30:21 30:25 31:11 31:12 31:14      115:8 115:16 115:20 115:25 116:5 116:9 160:11 160:17 160:18 160:23 161:3 161:12208:12 208:15 208:16 208:23 209:2 209:8
31:19 32:1 32:24 33:2 33:19 34:2 34:4 116:12 116:16 116:19 116:21 116:25 117:1161:15 161:23 161:25 162:2 162:7 162:11209:11 209:15 209:17 209:24 210:3 210:20
34:5 34:7 34:10 34:14 34:17 35:6 35:13 117:4 117:4 117:7 117:8 117:10 117:17 162:12 162:14 162:14 162:17 162:19          211:1 211:5 211:5 211:16 211:22 211:22
35:13 35:18 36:2 36:4 36:7 36:16 36:19 117:18 117:21 117:23 118:5 118:6 118:10 162:21 163:13 163:14 163:16 163:16       211:24 211:24 211:25 212:1 212:5 212:8
37:5 37:10 37:19 37:20 37:23 38:1 38:5 118:17 119:3 119:5 119:11 119:13 119:18 163:17 163:20 163:23 163:24 164:2 164:4 212:14 212:17 212:21 212:22
38:10 38:13 38:24 38:25 39:4 39:6 39:10 119:20 120:6 120:7 120:13 120:14 120:22 164:4 164:5 164:10 164:15 164:16 164:24
39:18 39:19 39:24 39:24 40:5 40:11 40:13120:25 121:1 121:2 121:4 121:6 121:6    164:25 165:3 165:15 165:20 166:1 166:4
40:15 40:17 40:17 40:18 40:19 40:21     121:10 121:11 121:11 121:14 121:20 122:3166:5 166:14 166:24 167:3 167:4 167:10
40:21 40:23 40:24 41:1 41:3 41:5 41:8    122:3 122:11 122:14 122:15 122:18      167:14 167:18 167:19 167:22 168:1 168:1 and/or(2) 33:18 212:2
41:12 41:14 41:18 41:18 41:20 41:21 42:3122:21 123:1                            168:5 168:8 168:24 169:4 169:8 169:12 anderson(1) 2:20
42:4 42:6 42:7 42:8 42:13 42:16 42:22                                           169:14 169:15 169:15 169:19 170:1 170:2 andrew(8) 4:18 4:26 8:15 8:17 8:36 8:38
43:2 43:10 43:14 43:15 43:15 43:17 43:18                                        170:4 170:5 170:15 170:16 171:5 171:9 11:33 11:44
43:21 43:23 44:4 44:5 44:9 44:14 44:14                                          171:10 171:12 171:14 171:17 171:18
44:15 44:20 44:21 44:25 45:3 45:6 45:7                                          171:19 171:23 172:7 172:8 172:11        angeles(1) 2:17
45:8 45:11 45:14 45:15 45:15 45:23 46:2                                                                                 angelo(5) 2:4 11:36 48:8 63:4 176:5
46:5 46:7 46:8 46:17 46:23 47:2 47:6
                                                                                                                        animal(1) 59:7
47:10 48:8 48:11 48:25 49:10 49:14 49:20
                                                                                                                        animating(1) 160:12
49:22 50:10 50:14 50:24 50:24 51:3 51:6
                                                                                                                        anna(2) 9:4 9:4
51:16 51:20 51:25 51:25 52:2 52:6 52:9
52:12 52:13 52:14 52:15 52:17 52:20 53:9                                                                                anniversary(1) 172:20
53:13 53:14 53:18 53:19 53:20 53:21 54:2                                                                                announced(1) 67:20
54:10 54:10 54:15 54:24 55:4 55:15 55:15                                                                                another(23) 32:3 50:4 76:14 88:2 88:3
55:16 55:23 56:2 56:5 56:6 56:14 56:16                                                                                  99:18 99:21 100:25 111:17 126:3 129:8
56:19 56:25 57:2 57:7 57:13 57:20 58:1                                                                                  148:16 149:4 149:6 152:17 153:13 164:14
58:9 58:14 58:21 59:2 59:3 59:7 59:8                                                                                    175:13 194:10 196:3 200:1 202:13 203:19
59:13 59:15 59:18 59:22 60:1 60:2 60:3
60:10 60:12 60:14 60:21 60:22 60:24 61:3                                                                               answer(3) 109:10 174:12 201:16
61:12 61:13 61:15 61:16 61:18 61:19 62:1                                                                               answered(2) 17:4 205:10
62:2 62:3 62:8 62:13 62:20 62:21 62:24                                                                                 anthony(1) 7:5
63:4 63:5 63:8 63:10 63:13 63:14 63:15                                                                                 anticipate(2) 100:16 100:18
63:16 63:19 63:21 63:23 64:6 64:10 64:11                                                                               anticipated(1) 100:14
64:15 64:16 64:20 64:21 65:17 65:17 66:1                                                                               anticipation(1) 187:19
66:2 66:2 66:15 66:16 66:20 66:24 67:4
67:5 67:8 67:13 67:15 67:16 67:17 67:18
67:24 68:9 68:13 68:21 68:24 69:1 69:3
69:4 69:8 69:12 69:16 69:18 69:23 69:23
70:5 70:10 70:10 70:21




                                                                           A506

Page : 2                                                                                                                                        04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 216 of 247 PageID #: 727
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                          Page:Line  Word                         Page:Line      Word                         Page:Line
any(153) 19:25 21:14 21:14 22:5 25:2    apply(23) 37:17 42:17 45:20 71:5 110:2 are(291) 15:5 17:17 18:24 20:20 22:4          arguments(41) 58:3 79:9 79:11 82:18 99:3
25:24 26:2 27:14 27:25 28:4 29:13 30:13 120:10 120:21 121:12 121:18 121:25 122:622:23 23:23 24:1 24:22 24:23 27:22 30:2 102:17 108:25 113:25 114:22 127:13
30:17 30:20 30:20 32:6 38:18 39:13 41:14 125:11 131:21 137:15 148:18 153:1 161:230:10 31:7 31:23 34:3 34:5 35:6 35:13 128:20 138:20 138:24 139:18 139:21
42:12 42:20 44:2 44:2 44:18 47:15 48:2 161:10 162:5 162:10 177:12 179:17 186:2535:18 35:20 35:25 36:2 36:3 36:12 36:15 139:22 139:24 139:25 140:2 140:15 140:19
48:22 51:2 51:9 51:11 54:14 57:25 59:4                                           36:16 36:25 37:7 39:9 39:10 40:10 40:10 141:6 148:12 163:17 164:14 164:15
62:9 62:15 63:22 70:7 70:17 72:23 73:10 applying(3) 110:25 123:20 124:7          41:25 44:7 45:7 45:9 47:17 47:19 47:20 166:14 176:12 181:2 183:2 185:6 186:15
79:20 81:17 81:23 82:20 82:25 83:9 83:14appoint(2) 69:18 69:19                   48:1 48:14 50:11 50:11 50:14 50:24 50:24186:15 191:14 196:22 198:21 203:24 204:8
83:17 84:5 84:16 84:23 87:2 88:14 89:20 appointed(5) 22:13 27:11 69:20 70:5 95:1651:7 52:14 52:15 53:16 53:20 54:25 55:1 204:23 211:7 212:1
90:12 92:5 92:17 95:5 96:20 97:1 97:13 appointing(1) 172:21                      55:14 58:25 59:11 59:20 60:8 61:16 62:10
100:17 100:21 102:19 109:25 110:20      appointment(2) 27:12 62:19               63:10 63:12 65:16 65:20 65:20 65:21 66:1arise(7) 22:12 32:6 35:17 36:20 38:7 38:9
111:13 113:23 114:5 114:6 114:10 115:19 apportionate(1) 137:16                   66:13 67:23 68:7 68:8 68:14 69:4 69:10 169:25
116:2 117:10 118:8 119:20 120:13 120:17 appreciate(3) 74:11 163:13 176:6         70:19 70:25 71:17 71:21 72:10 72:24
120:20 122:4 124:1 124:2 124:3 124:12 approach(2) 14:10 166:25                   72:24 74:15 74:18 75:15 75:22 76:8 76:9 arises(5) 22:20 33:25 34:1 40:25 183:19
124:14 124:14 124:15 125:10 125:12      appropriate(19) 29:16 31:22 44:15 44:21 78:10 80:4 80:23 81:7 81:18 82:1 82:5 arising(11) 22:25 25:8 26:22 37:15 38:3
126:17 127:10 127:11 127:22 130:25      45:16 45:25 46:5 46:12 72:22 89:1 100:2 83:4 83:10 83:22 84:4 84:4 84:9 86:25 46:6 46:7 104:25 116:20 169:20 203:3
133:12 135:18 135:23 137:25 138:5 144:23110:9 111:16 125:19 134:22 136:2 137:8 87:4 87:22 89:13 90:10 91:7 91:24 92:5
 147:25 148:1 148:2 148:4 148:25 149:18 146:24 188:1                             92:11 92:16 93:18 93:21 94:7 94:9 94:17 armstrong(6) 205:6 205:8 205:14 206:16
150:7 150:12 152:12 152:13 152:14 153:2                                          94:18 95:11 95:13 95:14 95:19 96:6 96:10207:15 207:16
154:11 158:25 159:1 159:2 159:3 159:11 appropriately(2) 28:12 164:7              96:13 96:15 96:16 96:18 96:19 96:23
159:14 159:14 161:5 161:10 161:10 161:10                                         97:11 98:13 98:15 98:21 100:14 100:19 around(9) 100:16 121:3 122:9 172:18
                                        appropriateness(1) 117:13
 161:20 161:23 162:21 163:18 165:8                                               101:22 101:23 102:4 103:7 103:24 110:18 178:2 191:21 191:23 193:19 199:17
                                        approval(5) 77:14 85:13 85:13 86:7 151:2
167:14 168:13 168:23 175:17 179:17                                               111:8 112:24 113:15 113:19 114:2 114:14
                                        approve(3) 88:6 137:9 145:14
180:23 181:21 184:20 185:16 186:5 187:1                                          115:3 115:19 115:19 116:19 117:4 117:7 arps(1) 9:29
187:4 187:13 189:19 194:6 194:8 194:13 approved(9) 46:4 76:19 104:24 127:18      117:8 118:6 118:9 118:9 118:11 118:19 arrangement(1) 172:1
195:14 199:19 208:20 208:23 210:12      133:1 142:14 142:15 145:7 150:25         118:20 118:20 118:25 119:2 119:6 119:24 array(1) 117:22
212:22 212:23                                                                    120:23 121:10 122:2 122:3 122:12 122:12 arthur(1) 11:21
                                        approves(1) 73:19                        122:13 123:23 123:24 124:17 124:17
                                        approvingly(2) 145:12 145:15                                                         article(8) 19:15 25:8 167:3 167:3 167:17
anybody(10) 64:9 64:17 67:21 95:16                                               124:18 124:22 125:4 125:9 125:19 125:22 168:2 207:17 207:18
117:20 122:8 125:13 128:11 135:22 199:4 approximately(3)   75:9 85:10  183:19    127:7 127:11 127:19 128:23 130:11 133:10
                                        april(8) 1:14 14:1 79:21 158:15 199:16    133:24 134:19 134:22 135:1 137:7 137:11
                                        199:16 203:21 213:10                                                                 articles(9) 59:19 59:21 60:3 60:7 60:9
anymore(1) 29:22                                                                 138:4 139:19 142:16 142:24 142:25 144:2 60:15 60:22 101:25 160:19
anyone(12) 18:3 20:4 52:6 111:14 132:4                                           144:9 144:10 145:5 145:17 145:24 146:11
135:7 154:23 166:4 168:24 204:12 205:17 apt(1) 106:3                             146:20 146:24 148:6 150:7 152:10 152:24
                                                                                                                             articulate(5) 17:11 17:21 19:1 33:5 77:21
210:8                                   arbiter(1) 70:2                          153:18 153:19 153:23 154:3 154:6 155:2
                                        architect(1) 64:12                                                                   articulated(6) 18:12 148:14 175:20 179:2
anyone’s(1) 191:13                                                               157:19  158:18  159:24 160:1  160:10  162:25
                                        architecture(4) 164:22  167:19  170:21                                               179:10 180:6
anything(29) 15:2 21:2 38:5 40:6 40:8                                             164:3 164:15 165:13 165:19 166:14 169:4
44:15 44:21 47:19 47:20 57:9 74:13 81:22                                         169:7 169:10 169:11 170:8 170:12 170:17
83:23 89:10 89:12 97:17 101:1 111:10                                             170:22 170:23 170:24 171:15 174:21 175:7articulates(1) 19:10
111:11 115:23 120:23 126:22 133:12 134:3                                          175:8 176:21 177:4 177:14 177:22 178:15articulating(1) 18:9
                                                                                 179:13 179:14 179:15 179:20 179:22          articulation(1) 19:24
 172:12 194:12 203:22 210:25 211:14
                                                                                 179:23 180:4 180:8 180:20 180:24 183:2 ashby(1) 5:18
anyway(5) 33:22 138:2 175:23 202:10                                              183:5 183:14 184:16 184:19 185:18 186:9 ashley(1) 4:19
210:11                                                                           186:22 188:14 188:14 188:15 189:8 190:11ask(30) 16:4 17:10 18:17 18:23 18:25
                                                                                  190:11 191:25 192:18 192:23 192:25         19:23 20:1 33:1 62:1 65:2 72:8 75:1
                                                                                 193:6  193:24  195:5 195:6  195:7 203:4     77:20 79:8 100:7 101:12 120:1 129:13
apart(1) 41:15
                                                                                 204:22  207:2  209:9 210:16  210:16  210:21 134:15 166:18 168:14 172:6 175:19 193:22
apologize(6) 16:9 50:19 89:20 128:10                                                                                          195:25 197:25 205:15 207:9 210:25
196:2 202:4                                                                      210:23 212:22 212:23
                                                                                                                             211:23
                                                                                                                           asked(8) 15:16 56:6 87:5 89:6 90:13
apparent(3) 48:12 117:16 163:23                                                                                            135:12 198:5 210:18
apparently(4) 125:9 135:13 141:6 178:24                                           aren't(1) 136:8
appeal(4) 19:18 21:14 145:20 208:7                                                aren’t(2) 192:24 193:1
                                                                                  arguably(2) 23:24 107:14                asking(3) 50:12 69:8 197:14
appeals(2) 38:21 39:2                                                                                                     aspect(1) 84:25
appear(2) 92:17 141:7                                                             argue(10) 28:9 68:2 134:14 141:7 169:7
                                                                                  182:23 183:13 196:9 198:17 201:20       aspects(1) 74:14
appearances(7) 7:31 8:1 9:1 10:1 11:1                                                                                     aspersions(1) 67:16
12:2 13:1
                                                                                  argued(19) 24:2 28:25 40:14 41:11 99:9 assert(13) 35:15 35:18 37:11 68:22 81:18
appearing(3) 20:14 54:7 131:16                                                    103:16 103:20 105:5 106:20 112:1 134:18 103:13 106:1 148:1 153:14 154:4 164:13
                                                                                  177:1 177:4 191:8 196:5 196:7 198:3     170:6 180:18
appears(1) 136:5
                                                                                  199:10 199:11
appellate(1) 208:7                                                                                                        assertable(1) 170:14
appended(1) 178:18
                                                                                  arguing(9) 39:3 65:25 66:3 115:1 135:16 asserted(18) 35:12 38:17 38:18 39:18
appetite(1) 74:24                                                                                                         40:16 54:25 56:16 59:1 81:6 94:10 143:17
                                                                                  152:24 153:4 154:13 154:14
applicable(13) 14:25 23:23 28:10 41:12                                                                                    153:22 154:21 168:12 168:12 168:13 175:3
41:12 87:13 89:4 93:21 93:23 115:11                                                                                        180:23
                                                                                  argument(75) 39:9 41:13 42:25 46:16
161:19 170:15 173:14
                                                                                  50:15 60:18 64:16 89:11 90:21 96:2 98:5
                                                                                  99:3 102:13 105:3 105:15 106:16 111:22 asserting(8) 40:15 124:13 142:11 153:1
application(7) 134:23 139:3 157:12 157:17                                         115:12 126:13 128:2 132:6 135:1 140:5 154:23 155:5 161:4 170:12
 178:11 205:23 206:12                                                             140:5 141:3 145:22 156:6 156:7 175:21
                                                                                  176:8 176:9 176:10 176:13 176:20 177:2 assertively(1) 192:19
applications(1) 158:3                                                             177:5 177:7 179:2 179:8 180:6 180:8     asserts(4) 37:1 37:2 48:23 180:16
applied(14) 28:11 28:12 29:11 36:25 38:16                                         181:16 181:18 185:15 190:8 190:16 191:8 assess(1) 136:3
 45:4 71:2 118:10 122:25 124:17 125:15                                            192:15 194:22 195:22 196:4 196:11 196:17asset(3) 13:23 13:24 36:22
133:24 135:13 138:4                                                                196:20 196:20 196:23 197:2 197:7 197:10assets(14) 53:14 90:8 94:19 94:24 106:8
                                                                                  197:11 197:16 197:17 197:23 198:16      167:8 167:14 169:1 169:7 170:8 179:18
applies(8) 41:13 44:24 45:4 45:15 46:15                                           198:23 199:3 200:5 200:6 200:21 200:22 179:22 179:23 180:4
108:18 159:9 171:2                                                                201:12 201:12 204:24 210:11 211:22
                                                                                                                          assign(3) 103:17 110:15 111:22
                                                                                  argument's(1) 46:18                     assigned(5) 103:3 110:8 110:18 110:20
                                                                                                                          127:2
                                                                              A507
                                                                                                                           assigning(1) 103:17
Page : 3                                                                                                                                              04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 217 of 247 PageID #: 728
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                       Page:Line      Word                        Page:Line    Word                       Page:Line
assignment(2) 111:21 167:9              balance(1) 36:25                          basis(30) 19:22 19:25 29:5 30:18 30:20   being(62) 21:25 23:13 29:14 30:8 30:10
assisted(1) 23:3                        balancing(1) 212:19                       43:4 43:6 43:7 54:25 58:20 59:9 61:6     30:12 31:25 38:15 43:25 46:20 48:17
associate(1) 67:2                       baldwin(2) 60:9 92:7                      63:1 64:4 64:24 65:22 65:23 67:10 77:7   50:14 51:24 53:13 54:25 61:12 67:22
associated(3) 41:21 51:2 80:23          bale(1) 7:35                              77:16 78:12 78:25 79:21 80:1 136:24      68:18 68:19 69:6 76:8 87:21 87:22 89:17
assume(4) 81:15 115:11 197:8 212:1      banc(18) 4:32 11:24 22:14 22:22 27:3      137:25 159:24 160:17 204:2 206:25        90:13 90:15 90:21 93:17 103:3 110:7
assumed(6) 26:6 91:25 92:6 197:15 197:1627:11 27:14 27:16 27:21 27:25 28:1 49:6                                            114:4 115:9 115:9 115:13 118:5 118:13
 197:24                                 49:21 50:2 50:12 51:3 51:15 51:20          bay(1) 206:23                           118:18 118:20 118:23 119:6 120:1 120:2
                                                                                   bear(1) 7:7                             120:14 123:1 124:10 125:19 135:23 143:11
assuming(4) 95:10 119:23 176:20 212:15 banc's(1) 50:4                              bearing(2) 158:19 158:19                 145:5 154:3 154:7 165:9 170:10 179:14
assured(1) 142:25                       bank(9) 7:38 7:42 10:8 10:12 13:41 71:11 beaten(2) 90:17 202:12                    182:5 182:11 199:13 199:25 200:1 202:15
assuredly(1) 171:9                       183:25 185:9 203:22                       because(107) 15:18 23:10 23:14 24:3     204:1 209:5
asylum(1) 3:31                                                                     25:15 27:7 27:12 29:2 32:4 32:23 34:10
atamian(1) 10:19                        bank's(1) 133:22                           34:11 36:3 37:18 43:13 43:20 43:25 46:19belabor(2) 171:21 185:7
attach(1) 63:21                         banker(1) 144:18                           50:3 51:1 54:6 56:10 61:20 61:21 64:4 belief(2) 25:2 26:5
attached(1) 118:14                      bankruptcy(74)   1:1 1:19 22:8 24:9  24:13 67:22 68:19 71:5 72:9 72:24 75:14 77:10 believe(54) 23:22 28:13 40:11 44:18 54:21
attack(1) 111:24                        25:9 30:19 32:10 33:2 33:4 45:3 63:18 78:22 82:1 82:20 83:18 83:19 87:4 87:14 56:4 57:10 61:19 63:8 65:14 66:15 66:16
attacked(1) 181:6                       77:7 77:22 81:3 87:17 101:9 103:12         88:6 88:10 88:23 90:23 91:12 91:20 92:1468:16 68:17 69:19 69:20 70:5 71:23 72:2
attacks(2) 67:16 94:4                   103:15  106:5  106:7  107:2 107:15  107:16 94:5 94:6 94:15 95:2 96:18 97:6 97:17 72:19 72:24 73:7 77:2 79:16 81:21 82:5
                                        107:18  107:18  108:13  108:16 108:18      98:25 101:23 104:3 109:14 110:16 111:19 82:20 82:24 92:13 93:13 93:17 93:20
                                                                               109:6
attempt(7) 28:9 41:1 81:2 84:11 94:12
107:4 209:3                              109:12 109:13 109:19 109:20 111:5 111:8111:23 112:25 113:7 116:16 126:9 127:23 95:11 97:24 98:6 98:23 100:13 102:6
                                        112:17 112:21 126:3 126:20 136:13 141:10133:3 133:8 133:16 134:18 134:23 138:15 104:5 130:22 155:8 161:17 165:20 171:24
                                         144:15 144:18 145:21 149:8 149:13         138:20 141:17 142:1 145:9 146:9 155:14 178:17 181:1 184:10 193:11 198:12 202:14
attempted(5) 55:4 109:2 110:7 124:19
                                        150:12  151:1  151:6  151:8 151:11  160:5  156:6 156:9 156:20 167:7 168:15 169:18 204:25 205:25 209:4 209:7
124:20
                                        160:9 161:20 167:9 167:23 167:24 168:4 175:7 176:6 179:9 182:10 183:10 183:12
attendant(1) 121:6                      168:12 170:15 171:6 174:16 174:23 175:12183:15 188:3 189:12 190:17 191:2 192:25 believes(4) 15:13 46:10 80:24 81:25
attention(3) 85:5 86:25 158:13           179:12 179:22 180:3 180:17 183:23 184:2193:5 194:25 195:11 195:16 198:7 198:11 belong(6) 170:4 170:5 170:12 170:13
                                        187:2 188:20 192:6                         203:11 205:5 207:25 208:6 210:20 212:7 170:15 180:17
attorneys(1) 82:15
attribution(1) 86:5                                                                become(6) 19:19 34:14 62:11 199:24       belongs(1) 193:3
                                        banks(14) 133:19 134:7 134:8 134:14
audible(2) 18:4 20:6
                                        134:18 134:19 137:11 164:10 165:21 166:5205:25 206:2                                below(1) 145:21
augmented(1) 167:24                                                                                                         ben(1) 10:23
                                         169:10 171:19 172:17 173:9
august(1) 62:22                                                                    becomes(4) 28:5 64:10 111:25 119:25      bench(3) 89:5 104:2 211:13
aurelius(32) 5:10 9:34 9:35 47:10 53:21 bar(117) 17:19 54:4 116:12 116:17 117:9 becoming(3) 21:16 25:15 204:3               beneficiaries(2) 130:21 193:1
62:14 63:19 63:19 63:24 64:2 64:19 66:1 117:17 117:18 117:24 118:2 119:21 120:16been(103) 14:9 14:16 14:16 14:19 14:23
                                                                                                                            beneficiary(1) 95:5
66:19 66:21 67:18 68:25 69:5 85:1 93:2 121:5 121:8 121:8 121:15 122:3 123:15 15:7 15:13 16:4 16:16 17:4 19:8 19:13
                                                                                                                            beneficiary's(1) 95:6
93:7 94:4 94:6 94:13 95:9 95:12 95:15 123:21 125:22 126:2 126:5 126:9 127:17 19:18 20:17 25:7 27:5 31:17 35:8 38:20
                                                                                                                            benefit(13) 78:10 78:11 83:12 91:22
95:16 95:18 95:25 110:12 113:6 138:11 127:23 129:22 130:6 130:15 130:21 131:1747:24 50:22 50:22 51:1 55:4 59:1 59:5
                                                                                                                            121:15 130:11 143:16 167:9 192:20 192:23
                                         135:3 135:9 136:18 136:21 138:13 138:1459:10 60:14 62:22 67:3 69:7 76:16 81:6 193:7 195:8 195:17
austin(4) 1:23 9:7 19:5 157:22          138:16 138:19 138:25 139:3 140:1 140:16 85:4 87:5 87:8 87:16 90:21 90:23 91:21
authorities(1) 115:4                    140:16 140:20 140:21 140:23 140:23         91:21 91:22 92:18 95:16 98:5 100:12      benefits(3) 26:17 107:12 126:25
authority(5) 58:16 136:10 154:4 154:5   140:25 141:4 141:7 141:15 141:19 142:10 112:1 112:23 113:9 114:22 116:6 117:14 benesch(1) 184:25
179:25                                  142:12 142:14 142:15 142:16 143:8 143:9 119:11 119:17 122:8 122:8 127:2 128:9 bennett(3) 197:2 197:6 197:13
                                        143:25 144:10 144:22 145:3 145:7 145:8 129:19 130:5 130:6 130:9 132:15 135:6 benson(1) 12:29
automatically(1) 133:11                 145:19 146:16 146:20 146:22 147:17         136:9 140:2 140:15 140:19 141:18 146:15 besides(1) 170:21
available(6) 75:22 107:14 150:1 202:20  147:20 147:24 148:15 148:18 148:20         147:21 148:12 149:15 152:8 153:9 153:17 best(24) 32:2 55:14 55:17 63:12 64:25
212:12 212:16                           148:23 148:24 148:25 149:1 149:8 149:10 156:2 156:3 156:9 158:7 161:15 169:17 67:24 68:12 69:2 69:11 70:14 71:1 71:21
                                        149:11 149:15 149:19 149:22 149:24 150:4169:22 172:18 172:25 174:12 179:1 179:1073:23 88:20 93:9 100:24 144:5 165:17
ave(4) 1:35 2:16 5:27 6:21               150:7 151:20 152:4 152:5 152:8 152:11 180:6 181:6 181:21 187:20 190:21 198:17171:8 177:23 179:2 191:17 194:16 208:18
avenue(8) 2:31 2:38 3:16 4:34 4:40 5:20 152:12 152:20 153:1 153:10 155:9 155:12 200:4 201:10 201:13 204:14 205:10 205:22
5:33 6:6                                155:18 157:9 157:18 158:8 159:19 159:20 210:23 210:24 211:6                         bestowed(1) 168:1
                                        160:25 161:2 161:9 161:16 162:3 165:4                                               beta(1) 39:1
avoid(1) 55:13                          171:17 171:21 172:6 181:3 181:15 181:19 before(42) 1:18 15:20 24:19 30:24 32:10
                                                                                                                            better(7) 17:20 122:24 127:4 127:6 164:7
avoidable(1) 203:4                      186:8                                      57:13 58:21 66:17 68:10 68:12 71:15
                                                                                                                            188:22 205:8
avoidance(16) 113:18 114:9 139:22 149:7                                            71:25 72:15 73:25 75:21 98:23 99:12
151:22 152:5 152:10 153:2 154:20 160:13 barclays(6) 2:29 2:35 10:16 184:25 185:4 101:1 101:6 101:20 105:13 106:20 110:11
                                                                                                                            between(26) 20:17 22:7 22:19 26:13 33:2
162:7 169:25 179:21 180:2 180:3 182:7 185:25                                       140:8 142:22 155:24 162:9 163:7 167:11
                                                                                                                            64:2 66:2 82:23 83:16 107:16 117:7
                                                                                   172:25 175:13 179:2 179:10 180:6 182:5
                                                                                                                            119:18 132:11 132:14 151:17 157:9 161:11
avoiding(3) 125:13 132:19 132:19        bargain(1) 130:12                          184:4 184:5 186:3 197:5 197:9 207:4
                                                                                                                             161:22 172:1 184:14 186:16 196:22
avoids(1) 43:14                         bargained(2) 188:19 189:10                 211:3
                                                                                                                            203:21 206:3 208:14 211:25
avowed(1) 82:5                          bargaining(1) 77:24                        began(1) 114:21
aware(11) 22:9 25:19 26:10 26:21 27:17 barone(1) 116:6                             begged(1) 175:10
                                                                                                                            beyond(14) 79:10 91:7 123:5 130:13
27:20 28:5 29:16 103:5 107:6 199:15     barred(5) 124:1 142:10 143:11 147:20       begin(3) 75:21 137:1 142:1               130:16 133:17 134:11 136:23 137:7 171:1
                                        147:25                                     beginning(6) 20:16 41:13 54:13 80:12     171:4 197:2 204:1 212:13
away(16) 48:18 56:7 56:11 84:20 84:20                                              87:19 180:13
85:3 96:16 115:20 126:24 171:9 174:4    bars(4) 145:14 146:1 146:8 146:13                                                   bigelow(1) 12:8
175:6 180:22 188:19 189:11 209:9        based(35) 16:21 22:15 36:11 37:8 37:9      behalf(39) 14:6 16:2 18:9 19:5 35:3 48:8 biggest(1) 71:11
                                        37:12 38:17 38:18 38:18 39:18 40:17 41:253:9 75:6 80:19 84:1 93:7 98:3 98:21        billion(7) 85:9 85:17 134:5 174:18 174:20
awful(2) 83:19 174:9                    41:13 41:17 41:21 44:10 46:1 47:21 47:24101:6 102:1 102:10 109:9 112:5 114:7        174:25 175:3
b1a(1)  54:1                            48:9 65:7 65:14 65:16 65:21 66:13 79:24    116:15  128:17  129:11 129:17 153:23
b2a(1) 54:10                            91:16 104:7 160:16 186:18 187:2 197:23 157:22 160:23 162:8 162:15 163:10 165:2 billions(2) 66:25 108:3
back(21) 16:9 16:20 17:5 56:14 71:14    198:22 199:22 200:3                        168:10 169:24 170:7 176:4 177:23 183:8
                                                                                   184:7 184:25 185:3                       binding(1) 208:17
89:11 102:5 103:17 111:12 111:13 122:2
                                                                                                                            bit(8) 88:17 100:12 102:6 102:17 140:22
126:8 161:8 169:22 174:8 180:10 184:8 basic(1) 174:15                                                                       165:4 204:19 209:3
190:1 198:20 202:10 203:23              basically(15) 23:1 46:6 77:6 87:11 90:5 behind(1) 207:24
                                        98:8 105:18 158:17 191:11 191:24 198:9                                              bite(1) 84:11
background(1) 117:11                    199:13 202:11 202:16 203:25
                                                                                                                            bizarre(2) 134:1 134:15
bad(1) 137:17
                                                                                                                            blabey(1) 11:10
baiera(1) 11:37
                                                                                                                            black(3) 55:22 69:13 80:19
bailey(1) 150:23                                                               A508                                         black's(3) 72:11 80:21 80:22
bait(3) 196:3 200:16 201:6
                                                                                                                            blake(3) 2:6 7:11 128:16
Page : 4                                                                                                                                             04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 218 of 247 PageID #: 729
                                         TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                            Page:Line      Word                           Page:Line    Word                        Page:Line
blanket(1) 34:18                        bringing(12) 57:15 69:2 104:22 109:16          called(7) 39:15 45:2 85:5 91:9 92:14        case(124) 1:5 12:25 16:4 23:8 23:23 24:17
block(4) 6:31 11:32 53:9 79:6           117:19 120:19 126:2 127:2 143:12 143:14 133:17 206:23                                       26:3 26:9 26:20 26:23 28:11 28:12 28:13
bloomberg(1) 101:7                      147:18 163:2                                                                               29:8 29:23 30:1 30:7 33:7 34:12 37:21
blow(1) 181:15                                                                         calling(2) 146:20 172:10                    38:23 38:23 38:24 39:11 39:13 39:15
board(9) 9:28 66:2 76:24 78:20 91:6     brings(3) 102:2 116:12 208:20                  came(12) 39:18 40:19 45:1 63:16 70:6        39:18 41:9 42:3 42:22 42:23 43:17 45:5
94:15 95:4 95:17 95:19                  broad(3) 31:13 31:14 129:22                    76:24 97:18 97:19 99:10 99:12 107:10        45:8 50:7 50:23 51:5 52:1 52:8 59:18
                                        broadly(2) 24:3 38:16                          192:16                                      59:18 59:18 60:9 60:22 61:1 61:2 61:2
boards(1) 94:22                         brockius(1) 11:24                              campanario(1) 9:31                          62:12 62:19 67:13 67:22 70:16 72:2 78:8
bockius(1) 13:41                        brook(1) 186:23                                can(81) 32:1 34:6 36:13 44:9 60:19 61:18 85:14 88:5 88:13 91:9 91:11 91:14 91:18
body(1) 109:18                          brought(16) 23:4 23:13 61:13 73:9 103:8 64:12 64:13 67:11 68:22 69:6 70:10 71:1592:13 92:14 94:16 100:22 104:19 104:20
bohan(4) 6:26 129:12 129:16 131:2       104:13 104:15 106:14 107:1 110:6 112:23 72:19 75:24 77:21 79:14 79:16 80:4 80:13105:23 106:7 106:14 111:14 112:13 115:6
boil(1) 58:10                           121:20 155:13 160:20 162:8 182:5               81:10 81:11 81:12 81:12 88:7 92:5 93:23 115:7 115:8 115:21 116:2 116:7 118:11
boilerplate(1) 135:24                                                                  100:19 105:11 106:1 110:18 110:18 110:20121:6 124:4 126:20 126:20 130:15 133:14
                                        brown(5) 3:28 10:16 98:2 163:9 183:7            110:21 112:25 113:14 113:18 113:20         133:24 134:1 134:17 135:5 135:6 136:18
bold(1) 84:16
                                        bryan(3)  1:25  35:2  50:17                    117:22  122:2   122:4  123:8 136:20  136:21 137:4 137:4 137:13 137:18 141:8 141:9
bond(3) 187:1 194:12 195:3
                                                                                       136:24  139:24   144:4  149:13  150:15      142:1 142:4 142:5 143:25 144:3 144:8
                                                                                                                              150:16
bondholders(4) 86:2 206:10 209:5 209:21 bryant(1) 5:14
bonds(1) 194:1                          buckets(1) 127:3                                152:19 157:9 157:14 162:2 162:15 164:10144:13 148:19 149:17 149:18 149:22
                                        building(3) 2:8 7:26 74:24                     164:17 165:15 165:15 166:2 166:17 167:7 150:24 151:20 156:21 160:3 170:15 179:22
books(4) 174:18 175:4 188:13 188:15
                                        built(1) 86:21                                 174:12 181:8 183:15 184:22 186:4 191:22 180:1 180:3 186:5 189:5 203:5 206:23
borrowed(3) 194:3 194:9 194:21
                                        burden(10) 52:2 52:4 112:14 116:18             192:11 192:12 200:13 205:13 207:19 209:2208:11 209:9 210:24 212:18
borrows(1) 111:24
                                        121:19   123:13  123:16  123:19   125:23        210:1 211:8 211:15 212:4 212:6 212:15
both(24) 14:14 15:8 15:12 15:12 19:9                                                   212:21                                      cases(45) 23:25 33:20 39:23 41:6 44:25
35:6 35:10 35:12 35:24 40:5 52:25 54:23 137:20
                                                                                                                                   45:9 45:11 46:6 46:7 47:23 59:17 59:17
61:15 83:18 102:3 102:5 102:21 103:2    burns(1) 11:6
                                                                                       can't(13) 29:11 46:18 59:24 59:25 110:17 60:7 90:25 92:8 92:16 105:24 111:6
111:7 136:14 145:24 201:15 204:17 211:5 bush(1) 8:14
                                                                                       124:14 126:22 127:18 131:24 133:5 133:8 113:23 120:19 122:9 135:4 137:3 141:7
                                        business(2) 67:2 210:12                                                                    141:14 141:21 142:2 142:17 143:4 143:7
                                                                                       156:23 205:17
bottle(1) 163:2                         but(230) 15:16 15:19 17:25 18:11 18:15                                                     145:17 145:17 146:11 146:13 160:1 160:18
bottom(2) 86:24 154:3                   22:5 22:19 23:25 24:3 24:14 24:19 25:18                                                     160:18 186:19 186:23 186:24 206:20
                                        25:24  27:8  29:4  30:1  30:4  30:16  30:21    cancel(2) 185:9 185:13
bought(3) 172:14 199:18 199:18                                                         canceled(1)  184:1                          207:2 207:3 208:13 209:10
bove(1) 7:24                            30:25 31:7 32:9 32:22 33:14 34:7 34:12
bowden(1) 5:19                          34:18 35:10 35:20 37:7 38:14 42:4 43:4 cancellation(1) 160:13                              cash(3) 30:10 169:6 183:21
                                                                                       candidly(1) 84:2
bradford(46) 6:32 53:8 53:9 54:20 54:23 43:12 45:19 46:14 46:23 48:23 49:12            cannot(12) 64:24 108:16 116:19 121:21 cashman(2) 13:28 13:28
55:24 56:1 56:23 57:18 58:4 58:6 65:3   49:15  50:10   51:16  51:24  54:7  54:18  55:6
                                                                                       124:10 127:24 130:12 131:23 154:15 157:9categories(1) 195:14
65:12 65:25 66:6 66:7 66:10 66:15 68:5 55:22 56:8 57:15 58:11 60:5 60:20 64:2 174:3 174:5                                          catherine(3) 75:5 109:9 128:1
69:19 70:4 72:19 73:7 74:7 74:11 74:14 64:19 65:16 66:3 66:11 66:16 67:7 67:18                                                     cathy(2) 6:33 54:8
75:1 75:4 79:9 79:19 80:1 80:18 81:25   68:7  68:18  70:12   70:21  71:4  71:17  71:24
                                        74:9  76:14  77:2  77:6  77:15   78:8 78:21    cantigny(3) 13:10 102:11 129:18             cause(8) 104:21 106:12 106:13 106:15
86:13 87:8 87:15 91:13 92:8 92:9 93:12                                                                                             106:17 159:16 173:17 192:3
                                        80:13 82:6 83:19 84:7 85:15 87:19 89:6         cantiguy(1)  6:19
94:5 95:9 95:21 101:5 101:5 101:17
                                        89:17 91:6 95:13 95:24 96:9 97:20 98:19 canyon(2) 12:42 12:42
                                        98:25 99:8 99:17 104:12 105:14 106:2           can’t(11) 170:20 171:6 171:24 172:7         caused(1) 89:20
brady(1) 2:7                                                                                                                       causes(38) 47:21 48:4 94:14 95:12 96:1
                                        106:9  106:20   107:11  107:20   109:25  111:13174:11 175:15 191:21 191:21 192:13
brain(1) 193:5                                                                                                                     96:15 96:19 104:25 105:18 106:2 110:4
                                         112:22 113:11 114:15 115:24 117:15            192:14 192:25
brand-new(1) 176:10                                                                                                                110:12 114:7 141:2 143:3 148:1 148:2
                                        121:25   122:2  126:15  126:20   127:8  128:10 capacities(1) 153:22
brandywine(1) 2:8
                                        128:11 129:13 130:6 130:15 130:17 132:20capacity(18) 63:14 69:22 95:4 95:6 95:8 159:4 162:7 162:15 165:19 167:25 179:4
branzburg(2) 5:38 16:1
                                         134:11 134:22 136:21 137:7 137:22 138:1152:14 152:18 153:8 154:5 154:17 155:3 179:13 180:14 180:16 180:16 180:20
breach(3) 34:17 60:20 186:22
                                        138:15 138:25 139:1 139:8 140:24 141:6 155:14 155:17 155:18 155:20 155:21 170:7180:23 182:4 182:6 182:9 182:14 191:18
breaches(1) 24:18                       141:10 142:9 144:12 144:14 148:24 149:7 182:7                                              191:25 191:25 192:1 192:2
break(7) 15:1 53:1 53:4 100:3 101:1     149:14 149:24 150:21 151:10 151:24
175:24 176:6                            152:23 153:10 153:19 154:3 154:14 155:2 capital(29) 2:36 5:30 6:10 7:33 7:33 8:24 causing(1) 29:15
                                        155:18 155:24 156:3 156:18 157:18 158:1 8:25 9:34 9:35 11:5 11:5 12:37 12:38               centerbridge(1) 63:4
breath(2) 31:1 156:15                   158:17 159:7 163:3 164:9 164:16 165:5 13:14 13:14 13:18 13:19 13:32 13:33 16:2cents(3) 36:15 192:10 199:21
brett(1) 9:13                           165:14 165:23 166:2 166:10 166:14 166:23128:8 131:16 187:9 190:5 193:22 193:25 certain(20) 7:16 48:3 59:1 78:5 78:16
brian(1) 12:22                           167:8 168:25 169:2 169:9 169:13 169:18 194:6 194:14 194:14                                105:5 112:5 113:24 116:15 128:18 129:20
bride(1) 77:6                           170:8 170:12 170:20 171:22 171:24 172:4                                                    166:12 180:10 183:11 183:12 183:20
bridge(14) 54:2 62:2 74:17 76:23 76:25 172:24 174:19 175:12 177:2 178:5 181:6 captain(1) 86:19                                     183:21 184:1 184:7 212:3
77:7 84:24 85:2 85:7 85:20 85:20 85:23 181:8 182:12 182:25 183:2 184:2 184:5 caption(1) 108:7
86:9 96:13                              184:12 185:13 185:19 186:5 187:11 189:1 car(1) 136:15                                      certainly(17) 29:11 40:10 54:22 59:9
brief(32) 39:16 49:22 50:18 76:2 76:17  189:6 190:10 191:24 193:4 193:13 193:18 care(4) 15:15 87:19 189:22 197:10                  60:17 70:11 71:16 112:8 124:23 139:21
108:24 113:7 135:5 145:17 158:17 170:3 196:3 196:17 197:11 197:11 197:23 198:9 careful(1) 22:23                                    151:25 166:12 167:24 171:8 189:2 200:20
175:21 176:10 177:6 178:20 179:25 180:13198:18 198:25 200:23 201:5 202:13 202:22carefully(2) 77:21 185:6                           208:10
 181:8 181:11 181:14 181:19 182:20       204:18 204:20 205:8 205:13 205:20 206:2carey(1) 1:18                                      certainty(4) 108:10 130:2 130:8 188:20
183:12 191:15 196:12 196:20 196:22      206:13 207:12 207:21 208:2 208:11 209:4 carickhoff(1) 6:34                                 certificates(2) 92:10 184:2
199:22 200:4 200:9 202:25 202:25        209:23 210:6 210:24 211:10 211:19 212:19caridas(1) 8:17                                    certification(1) 213:4
                                                                                       carlyle(1) 4:32                             certifications(1) 104:4
briefed(1) 185:6                                                                                                                   certify(1) 213:5
                                                                                       carol(1) 7:35
briefing(4) 21:9 92:1 212:1 212:11      butcher(1) 42:4                                                                            cetera(3) 127:13 149:4 169:6
                                                                                       carries(1) 181:20
briefly(11) 15:24 19:1 54:20 94:4 101:6 buy(1) 163:6                                                                               chadbourne(6) 4:12 8:5 79:5 82:13 114:19
115:3 119:8 142:20 158:10 159:4 195:8 buyback(1) 25:21                                 carroon(1)  2:20
                                                                                       carve(3) 93:22 95:2 152:24                   204:14
                                        buyout(3) 25:23 159:13 173:6                   carve-out(1) 195:12
briefs(1) 198:13                        buys(1) 63:19                                                                              chain(2) 37:23 64:6
brigade(21) 6:10 8:24 8:25 128:8 128:10 bylaws(2) 60:22 91:24                                                                      chair(1) 122:8
128:24 131:16 141:6 154:8 154:13 154:14 bynum(1) 12:14                                                                             chairman(1) 101:9
154:22 154:25 158:20 190:2 190:5 196:12 calculate(1) 144:4                                                                         challenge(2) 140:23 140:24
196:17 196:19 197:19 210:5              calculated(1) 194:23                                                                       challenged(3) 64:9 142:13 160:13
                                        calendar(1) 172:19                                                                         chance(3) 14:21 73:2 80:13
brigade's(2) 158:9 159:24               call(15) 74:15 109:24 109:24 147:6 147:8                                                   chances(1) 126:10
brigade’s(1) 196:6                      147:11 147:14 148:11 150:3 152:10 172:8                                                    chandler(1) 12:8
bring(17) 67:8 89:11 104:11 104:17      172:11 183:14 200:17 211:7                                                                 chaney(1) 12:43
104:20 106:17 110:12 117:1 123:2 126:8                                                                                             change(6) 46:12 46:17 63:18 70:20 109:5
130:7 130:23 153:5 154:8 159:1 190:1                                              A509                                             206:22
209:20

Page : 5                                                                                                                                                   04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 219 of 247 PageID #: 730
                                        TRIBUNE.4.13.11.DOC
Word                       Page:Line     Word                         Page:Line    Word                           Page:Line    Word                        Page:Line
changed(2) 99:5 99:11                    claim(132) 19:15 21:4 21:5 21:6 21:10     claims(69) 160:11 160:20 161:1 161:3        code(19) 22:8 24:9 24:13 30:19 32:10
changes(8) 14:10 15:5 15:9 76:24 81:19   21:12 21:14 21:15 22:1 22:20 28:17 30:18161:4 161:6 161:19 161:21 161:24 161:25 33:3 50:21 77:7 78:3 78:3 78:13 78:15
152:7 185:21 212:4                       34:16 34:17 35:11 36:7 36:8 36:10 36:14 162:5 162:7 162:11 162:12 162:13 162:14 78:18 103:12 103:15 107:2 107:22 109:13
                                         36:17 37:11 39:14 39:18 39:20 40:13       162:17 163:22 164:13 169:11 169:16          171:6
chapter(13) 1:8 31:25 32:16 32:24 46:6 40:25 41:20 41:22 46:25 47:1 48:16 48:22169:19 169:20 170:4 170:12 171:16 173:12code's(1) 33:4
46:7 90:2 167:25 169:25 170:4 170:11     48:24 49:3 50:3 50:5 55:8 61:5 61:8 61:8 174:20 174:22 174:25 175:7 175:8 176:17cogent(1) 90:13
176:16 177:25                            61:10 64:13 64:17 64:19 70:20 72:23 78:2176:18 177:13 177:17 177:17 179:5 180:19cognizable(1) 19:10
characteristic(1) 194:19                 78:12 78:13 78:15 78:17 78:18 81:11        182:7 183:12 183:18 187:16 188:1 189:18coincidentally(1) 203:20
characterization(2) 29:11 182:13         85:17 91:16 91:19 91:20 107:7 109:23      190:24 191:1 191:19 191:20 192:9 192:18 cole(1) 1:32
characterize(1) 194:17                   110:22 110:23 110:25 111:21 115:9 115:13192:19 192:23 192:25 193:1 193:6 195:4 collateral(1) 111:24
characterized(1) 15:23                    116:4 120:16 121:20 126:14 133:4 133:6 195:6 195:7 195:13 195:15 195:16 195:21 colleague(1) 56:2
charge(1) 94:18                          133:8 133:9 142:11 143:12 143:15 143:17 197:7 199:13 200:2 203:17 204:1 204:17 colleagues(3) 86:21 100:17 157:25
chart(9) 14:15 75:18 77:13 178:5 196:15 145:12 152:12 152:20 153:2 153:5 153:6                                                 collect(1) 77:10
196:17 196:21 197:15 202:5               155:5 155:13 159:14 159:15 159:15 159:17                                              collected(1) 124:16
                                          161:10 161:10 161:11 163:24 163:25       claims.”(1) 191:20                          collective(1) 163:17
charters(1) 91:24                        169:9 169:10 169:16 170:25 172:3 174:10 claim’s(1) 174:21
                                                                                                                               colleen(1) 9:11
chase(3) 10:8 10:12 139:16               186:14 186:17 186:18 187:1 187:3 189:16 claire(1) 12:10
                                                                                                                               colloquy(3) 83:24 163:7 173:19
                                         190:14  192:19  193:6 193:23  194:8 194:9 clarification(5) 17:8 65:19 103:23 113:12 colorability(1) 73:23
chasing(1) 68:3
                                         194:11 194:17 195:19 196:4 199:18 199:19185:23
chatting(1) 15:14                                                                                                              colorable(1) 55:15
                                          199:20 199:25 200:1 200:1 200:2 202:6
chicago(7) 1:29 6:7 6:28 6:36 6:42 7:13                                                                                        come(22) 18:18 38:25 48:4 51:3 52:2 54:2
                                         202:12 202:15 202:16 202:17 203:13        clarified(1) 163:22
7:21                                                                                                                            56:2 56:3 70:10 74:19 78:24 85:14 86:10
                                         203:16 203:19 204:9                       clarifies(1) 149:8                          86:17 111:12 112:21 113:23 119:1 122:2
chief(2) 64:10 67:2                                                                clarify(4) 101:13 156:5 156:9 157:7         139:6 146:1 172:13
                                         claimant(1) 38:15                         clarifying(1) 89:16
choice(5) 26:15 99:11 172:4 173:1 201:19
                                         claimant's(2) 38:14 40:14                 clark(2) 6:35 6:41
choose(2) 29:18 117:1                                                                                                          comes(4) 52:15 60:9 91:5 184:10
                                         claimed(1) 66:21                          class(18) 52:1 75:10 75:10 83:3 83:3
chose(2) 111:2 172:3                                                                                                           comfort(1) 87:14
                                         claiming(2) 166:5 197:7                   142:8   166:1  169:4  178:12  178:13 178:14
chosen(2) 26:8 109:18                                                                                                          coming(7) 44:10 44:13 55:3 125:9 150:24
                                         claims(301) 16:21 19:16 19:19 20:19       187:18 187:22 188:5 206:5 206:6 206:7 200:9 203:15
chris(2) 6:12 131:7                      20:21 20:21 21:7 21:12 22:2 22:5 22:7 206:7
christine(1) 12:33                       22:7 22:12 22:15 22:18 22:24 22:24 23:12classes(9) 30:4 52:11 52:14 75:23 84:9
chronicled(1) 199:14                     23:13 23:14 23:15 23:17 24:17 24:23                                                   commenced(3) 105:17 113:22 114:6
                                                                                   84:13 190:23 206:4 206:18                   commencement(3) 91:18 106:6 211:21
chronology(2) 199:14 199:15              24:24 24:24 25:1 25:5 25:15 25:15 26:2
chung(1) 7:43                            26:5 26:14 26:18 26:22 28:7 28:8 28:12 classic(1) 154:22                              comment(2) 119:8 211:16
circle(2) 91:6 203:15                    28:14 28:15 28:15 28:16 28:19 28:19                                                   comments(6) 48:11 93:9 129:21 140:22
                                                                                   classification(3) 183:11 187:13 188:3       141:1 146:3
circles(1) 86:18                         28:20 28:23 29:1 29:2 29:6 29:6 29:12 classified(2) 192:18 195:15
circuit(41) 23:7 23:18 23:22 24:1 25:3   30:15 30:16 30:17 30:20 30:22 30:23
29:21 38:1 38:5 38:20 38:22 38:23 38:24 30:25 32:6 33:7 34:13 34:14 34:14 34:20 classify(2) 35:24 192:25                       commission(1) 25:9
38:25 43:2 43:3 45:9 45:10 103:5 107:11 35:12 35:13 35:15 35:17 35:19 35:22        clause(12) 58:12 58:12 87:18 88:11 88:17 commissioned(1) 86:22
118:7 124:5 137:4 137:13 141:9 142:4                                               88:21 89:2 89:11 89:24 115:24 161:8         committed(2) 59:11 91:7
                                         35:24 35:25 36:1 36:2 36:6 36:7 36:11
142:6 142:15 143:9 143:18 144:2 144:3 36:12 36:15 36:16 36:19 37:7 37:12 37:14161:14                                           committee(31) 4:4 8:4 9:27 19:12 31:12
144:6 145:20 170:3 172:9 205:3 205:7                                               clauses(2)  88:4 89:7                       47:25 55:10 56:13 56:14 56:15 63:3 79:4
                                         37:17 37:20 38:3 38:6 38:6 38:11 38:14
205:8 205:9 207:12 208:17                                                          clear(63) 26:9 33:14 33:18 33:19 33:21 80:24 80:24 82:14 94:11 95:1 102:21
                                         38:17 38:18 39:5 39:8 39:9 39:24 40:2
                                                                                   34:7 44:7 45:5 45:19 45:20 47:13 57:3 102:25 104:12 104:15 105:17 106:14 108:2
                                         40:15 40:16 41:9 41:13 41:14 41:17 41:25
circuit's(4) 32:9 37:25 142:19 145:18                                              58:5 65:7 65:11 75:15 76:5 78:8 80:21        108:5 108:7 114:19 162:8 169:15 170:6
                                         42:8 42:10 42:14 44:12 44:22 45:6 48:1
circulated(1) 14:7                                                                 81:20 82:25 84:13 87:21 91:10 96:4 105:3204:14
                                         48:2 48:17 48:21 49:1 49:24 50:11 50:11
                                                                                   107:4 112:10 112:25 115:8 118:7 122:11
circumstance(5) 60:10 72:6 96:21 109:11 50:14 50:24 53:13 53:15 53:16 53:21
110:1                                                                              123:2 141:17 144:2 146:19 147:17 147:22 committee's(3) 57:4 110:5 115:17
                                         53:24 54:1 54:9 54:14 54:14 54:25 55:1
                                                                                   148:5 152:16 155:11 159:7 159:25 161:9
                                         55:14 55:20 56:13 56:16 57:5 58:11 58:20                                              committees(1) 32:21
                                                                                   161:14 178:5 179:21 180:12 181:7 185:9
circumstances(7) 58:14 60:5 72:10 87:1 59:1 59:12 59:16 60:5 61:7 61:21 62:7                                                   common(17) 28:19 36:20 37:7 37:21 37:22
                                                                                   186:16 186:25 191:12 195:10 195:14
150:20 153:3 183:21                      62:10 62:16 62:20 63:1 63:11 67:8 67:22                                                37:24 38:7 41:23 42:1 50:22 50:25 50:25
                                                                                   196:15 196:23 198:14 205:25 206:2 206:11
                                         68:3 68:22 69:2 69:6 69:14 69:16 69:16                                                51:2 51:6 51:12 51:12 77:22
                                                                                    206:21 212:20
cite(9) 42:3 60:7 104:18 106:9 107:5     69:22 69:23 70:1 70:3 71:12 71:21 72:9
111:7 135:3 135:5 137:3                  72:12 73:11 73:22 76:9 79:12 79:13 79:21                                              communicate(1) 200:22
                                         79:25 80:3 80:7 80:11 80:16 80:16 80:20 clearer(2) 84:15 179:16                       communications(1) 65:8
                                         80:22 80:24 81:3 81:6 81:13 81:24 82:3    clearing(1)  82:19
cited(23) 39:16 42:23 59:16 61:1 70:23                                                                                         community(2) 86:9 162:17
90:25 92:9 105:24 137:14 145:12 160:18 82:5 82:6 83:8 83:10 86:5 90:24 90:24       clearly(14)  28:11 39:4  67:4  67:20 76:16
                                                                                                                               comp(1) 39:1
170:3 179:25 180:1 182:18 185:11 186:19 91:9 94:8 94:9 94:15 96:6 101:8 101:10 86:16 112:18 168:24 169:7 179:13 186:5 company(34) 1:8 6:4 9:20 11:36 12:13
186:23 186:24 190:20 198:8 199:6 203:24 101:20 102:16 103:18 109:15 109:17         191:1   194:13  195:7
                                                                                                                               21:5 23:1 28:16 42:2 48:16 96:14 97:12
                                         109:17 109:18 109:21 109:22 110:8 110:16                                              97:12 104:19 108:15 150:23 160:24 162:16
                                          110:18 110:20 111:3 111:3 111:4 111:9    cleary(1)  2:6
cites(2) 207:17 209:2                                                                                                           167:8 167:21 167:22 167:23 169:1 169:7
citibank(2) 8:33 180:10                  112:16 112:18 112:20 112:24 113:1 113:13clerk(4) 14:2 53:6 166:24 176:2               169:12 170:5 170:8 173:15 176:18 176:25
                                          113:14 113:18 113:20 114:2 114:9 116:24  client(1) 70:1
citicorp(4) 172:17 172:23 173:3 173:7                                                                                          179:18 180:5 186:4 186:7
citigroup(1) 11:15                       117:3 117:19 117:25 118:2 118:20 118:23 client's(1) 74:13
                                         119:4 119:7 120:3 120:6 120:6 121:5       clients(8) 116:19 116:24 117:7 117:19       company's(3) 27:22 97:15 159:22
                                         122:14 123:2 125:20 127:2 127:7 127:9 119:3 120:12 120:22 130:23                      company’s(1) 167:13
                                         130:13 130:20 130:23 131:22 132:1 132:10                                              company”(3) 167:15 167:21 169:18
                                          132:11 132:11 133:5 134:25 136:6 136:6 climb(1) 157:24                               compensated(1) 119:6
                                         136:9 139:4 139:23 143:2 144:24 147:19 cloaks(2) 22:10 25:18                          compensation(4) 40:2 122:17 122:20 130:1
                                         147:20 147:23 148:1 148:2 148:3 148:6 close(5) 67:1 74:21 108:8 197:2 212:13
                                                                                                                               competent(2) 76:10 76:15
                                         150:8 151:22 152:5 152:9 152:10 152:12 closing(8) 138:20 138:24 152:3 164:5
                                                                                                                               competing(7) 64:5 103:11 103:14 104:4
                                         152:22 153:15 153:16 153:17 153:19        211:21 212:1 212:15 212:20
                                                                                                                               104:25 105:18 114:12
                                         153:21 154:2 154:4 154:6 154:9 154:11
                                         154:20 154:23 155:4 155:21 157:13 157:19cloth(1) 78:20
                                                                                                                               complained(1) 209:6
                                          159:2 159:10 159:23 159:25 160:1         co-defendants(1) 143:1
                                                                                                                               complains(1) 181:24
                                                                                   co-fiduciary(1) 28:5
                                                                                                                               complaint(13) 56:15 56:17 94:11 108:5
                                                                                   co-plan(1) 163:16                           108:7 110:5 162:17 173:7 173:11 180:9
                                                                                   co-proponents(1) 176:5                      180:11 180:15 180:24
                                                                                   cobb(2) 4:5 8:20
                                                                              A510                                          complete(7) 17:12 57:18 100:18 100:20
                                                                                                                            202:16 202:23 203:12

Page : 6                                                                                                                                              04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 220 of 247 PageID #: 731
                                         TRIBUNE.4.13.11.DOC
Word                       Page:Line     Word                            Page:Line     Word                           Page:Line      Word                        Page:Line
completed(3) 17:22 60:17 189:12          connection(21) 20:5 22:16 27:16 38:4 38:8contrast(4) 22:12 26:15 60:13 160:11               counsel(19) 18:17 64:10 79:4 79:6 84:6
completely(4) 61:18 89:2 130:16 130:24    38:9 39:8 40:18 72:18 72:20 93:14 94:10 contribute(1) 177:17                               85:16 97:7 101:18 104:4 112:8 114:20
completion(1) 174:22                     99:15 102:14 110:7 112:1 114:5 140:16 contributed(2) 114:8 177:13                           131:8 135:15 135:17 138:10 183:12 192:16
complex(2) 142:21 146:13                 155:19 171:2 190:14                           contribution(59) 40:17 77:11 78:8 78:12 192:17 193:2
compliance(1) 116:18                                                                   116:25 117:4 117:20 118:21 118:23 120:6
complicated(2) 34:6 124:18               connolly(1) 7:24                              120:16 121:6 123:2 123:4 126:14 127:7 counsels(1) 146:6
component(3) 143:10 179:5 179:6          consensual(3) 118:4 122:18 146:24             130:3 130:6 130:20 130:23 140:16 141:15 counterparties(1) 194:20
comport(1) 145:3                         consent(3) 117:10 166:11 170:18               141:24 142:11 142:12 143:3 143:5 143:12 country(2) 120:19 121:3
compromise(1) 199:17                     consented(1) 166:12                           143:15 143:17 144:11 144:22 144:23 145:3counts(3) 162:6 162:7 162:17
conaway(1) 2:4                           consequence(2) 59:23 63:23                     145:11 145:14 146:1 146:8 146:13 146:16county(1) 122:5
concede(2) 153:9 169:3                   consequences(2) 101:24 160:16                 147:19 148:4 148:6 152:13 152:18 152:21 couple(11) 14:13 91:1 93:15 115:15
conceded(1) 139:20                       consider(9) 32:22 57:12 95:22 134:15          153:7 154:11 154:18 155:4 155:5 155:13 127:12 132:7 141:16 160:2 202:9 206:1
conceding(1) 50:2                        135:12 136:11 197:15 198:21 198:22            159:10 159:17 159:25 160:21 161:19            212:10
concept(1) 141:15                                                                      162:12 171:23                                 coupled(1) 64:6
conceptual(1) 167:18                     considerable(1) 161:24                                                                      couri(1) 13:20
concern(7) 24:8 148:14 148:15 148:19     consideration(27) 52:12 79:23 86:6 120:1 contributions(3) 24:11 24:14 36:24                 course(11) 56:5 84:6 85:22 109:5 115:8
148:23 149:5 202:13                      120:3 120:5 120:15 122:14 122:16 122:19 control(2) 91:5 116:4                               146:18 151:23 165:24 196:14 199:23
                                         122:20 125:20 130:13 141:23 153:24 154:2controlled(1) 65:25                                 207:15
concerned(3) 54:19 121:10 184:8           154:7 155:23 161:24 185:16 186:8 189:13controlling(2) 62:15 208:2                          court(301) 1:1 14:3 14:12 15:3 15:22 16:6
concerning(2) 16:15 149:10               191:12 191:18 192:4 192:5 211:2               controversial(1) 149:12                        16:12 16:14 17:2 17:4 18:3 18:5 18:14
concerns(8) 58:11 74:10 132:10 132:18                                                  convenience(1) 43:19                          18:17 18:23 19:3 19:17 19:22 19:23 19:25
151:10 180:9 180:21 180:22               considered(2) 135:21 196:13                   convenient(2) 64:11 204:16                    20:4 20:7 21:1 21:17 21:20 22:9 23:4
                                         consist(1) 36:20                              conversation(1) 171:24                        23:5 23:7 23:18 23:22 25:19 26:21 27:17
conclude(7) 80:6 138:6 140:25 145:22     consistent(13) 41:6 45:9 45:24 45:25          conversations(1) 151:18                       29:9 29:12 29:16 29:21 29:25 30:25 32:12
160:19 202:3 204:4                       93:21 152:7 174:3 175:13 185:10 186:10 convert(1) 174:17                                    32:14 33:1 33:8 33:10 33:15 34:2 34:15
                                         186:13 186:24 209:5                           converting(1) 190:14                          34:22 35:1 38:11 38:21 39:2 39:13 39:19
concluded(1) 119:13                                                                    convey(1) 48:11                               40:4 40:21 42:13 45:3 45:25 46:20 47:4
                                         consistently(2) 38:21   91:15                 conveyance(28)    102:16  102:24 103:2  103:4 47:6 49:5 49:9 49:12 49:18 50:16 51:9
concludes(4) 81:8 177:8 177:10 212:24
conclusion(3) 39:1 162:16 192:15         conspiracy(1) 64:13                            103:9 103:18 104:12 104:14 106:6 106:1251:14 51:20 51:23 52:6 52:21 53:3 53:7
                                         constituencies(1) 169:15                      107:3 107:9 111:9 112:18 113:3 132:1          54:11 54:12 54:22 55:24 56:2 56:12 56:12
conclusions(2) 80:3 211:24
                                         constituency(1)   95:1                        132:1  133:4   133:8  133:13  138:6 139:4     56:15 56:19 56:24 57:4 57:6 57:8 57:11
concocted(1) 103:10                                                                                                                  57:17 57:25 58:5 58:21 59:16 61:3 62:9
concurrent(1) 121:14                     constituting(1)  146:16                       159:23   169:23  171:16  174:10  177:17  179:5
                                         constitution(2) 5:27 174:3                                                                  62:23 63:2 65:2 65:4 65:8 65:19 65:24
conditioned(1) 144:21                                                                                                                66:8 66:11 66:17 66:20 68:2 68:10 68:12
conduct(13) 45:21 46:7 59:6 59:7 62:3    construct(2) 69:1   137:23                    conveyed(2)  103:3   106:8
                                         constructed(2)  122:23   127:2                conviction(1)  94:7                           69:17 69:25 70:23 71:3 72:14 72:16 73:4
62:6 88:23 91:17 91:19 120:11 120:21                                                                                                 73:11 73:14 73:19 74:5 74:8 74:12 74:23
121:13 122:7                             constructive(16) 103:2 103:9 113:2 132:1      convoluted(1)   195:2
                                         152:9  153:5  153:15   153:21   159:2 159:23  cook(1)  122:5                                75:3 76:10 76:10 76:13 76:14 76:19 77:20
confer(1)  104:10                                                                                                                    79:2 79:14 79:17 80:1 80:6 80:15 81:3
conferred(1) 91:23                       160:19  161:1   161:20   169:23  171:16  177:16
                                                                                       cooking(1)  90:11
                                                                                                                                     81:8 81:11 81:15 81:23 82:2 82:10 84:2
conferring(1) 129:23                                                                   cooperation(2)   77:25  78:14
                                                                                                                                     84:10 84:15 84:19 84:22 85:13 86:6 87:14
confidant(1) 101:11                      constructs(1) 174:2                           cooperstown(2) 13:18 13:19
                                                                                                                                     87:23 87:25 88:3 89:12 89:22 90:3 91:14
confident(1) 85:4                        construed(2)  24:3   106:4                    copy(7)  158:21   166:20  193:12 193:19       91:25 92:24 93:5 94:11 95:21 97:1 97:1
confined(1) 65:20                        construing(1)  193:10                         193:20   197:18  198:15                       97:1 98:1 99:2 99:18 99:23 100:2 100:5
confirm(5) 56:16 57:3 174:3 176:7 194:15 consulted(1) 101:18                                                                         100:7 100:11 100:21 101:1 101:2 101:4
confirmation(51) 16:24 16:25 19:7 19:11 consummated(1) 185:14                          core(9) 44:2 110:3 110:3 110:6 111:1          101:14 101:19 101:20 102:8 103:20 104:1
20:2 20:20 20:24 21:4 55:11 57:7 57:13   consummation(3)     37:4  174:23  185:17      111:10   141:3  151:24  151:25                104:6 104:20 105:2 105:11 105:20 106:2
57:22 57:23 66:18 74:9 75:20 76:2 76:4 contained(4) 140:17 144:25 176:22 179:4                                                       106:19 107:10 107:21 108:6 108:13 108:19
76:16 76:18 77:4 81:5 81:8 81:14 91:11 contains(2) 36:5 158:17                         corners(1) 162:3                               108:22 109:4 110:11 110:13 111:15
92:9 92:17 99:15 108:17 110:14 111:18 contemplates(2) 168:5 168:24                     corollary(1) 148:19                           111:18 111:20 112:3 113:4 113:21 114:15
111:23 113:23 119:18 130:4 135:12 135:17contend(1) 67:11                               corporate(6)  23:6  23:10  23:21  26:6 34:9   114:17 115:16 116:10 117:14 119:19
 135:21 135:23 138:14 150:13 150:18      contention(1) 119:17                          34:17                                         120:17 121:17 121:24 122:2 122:4 123:10
174:21 174:23 176:12 180:22 191:15       contentions(1) 102:4                                                                        123:12 123:19 124:6 124:9 124:11 124:13
194:18 196:6 196:8 206:24                contested(2) 105:10 210:24                    corporation(3) 23:11 27:23 129:6              124:22 125:1 125:2 125:3 125:6 125:12
                                         context(17) 16:24 49:1 61:8 72:14 87:4 corporations(1) 23:15                                126:3 126:3 126:4 126:11 127:5 127:25
confirmed(14) 29:20 35:10 51:9 51:11     107:11 132:6 133:4 137:15 141:10 144:15 correct(11) 33:23 47:12 50:20 66:6 66:7 128:4 128:6 128:14 128:21 128:23 129:1
51:12 57:2 72:11 77:19 88:15 106:18      149:1 190:17 203:6 206:17 206:20 208:15 74:7 110:17 114:25 181:23 209:17 213:5 129:4 129:7 129:15 130:25 131:1 131:4
111:20 115:22 170:3 175:16                                                                                                           131:10 131:12 133:1 133:2 133:12 133:18
                                         continental(3) 118:10 125:18 146:18           corrected(1) 100:17                           134:6 134:15 135:12 135:25 136:11 136:12
confirming(3) 76:2 76:3 82:2             continuation(2) 16:20 61:23                   correction(1) 86:1                             136:13 137:5 137:10 137:15 138:8 139:5
conflated(3) 132:12 136:6 206:1          continue(8) 60:15 64:15 66:9 92:8 95:12 corrections(1) 25:12                                139:9 139:12 139:14 140:8 140:12 142:14
conflation(1) 132:19                     95:20 100:19 155:20                           corrective(2) 24:21 24:25                     142:16 144:18 147:6 147:6 147:8 147:9
conflict(7) 33:3 64:14 67:11 68:20 68:23                                               correctly(1) 130:18                           147:11 147:13 147:14 147:15 148:8 148:16
69:1 95:7                                continued(14) 2:2 3:2 4:2 5:2 6:2 7:2 8:2 corresponded(1) 132:16                             148:17 149:2 149:4 149:6 149:6 149:9
                                         9:2 10:2 11:2 12:3 13:2 60:14 188:24          corresponding(1) 145:10                       149:13 150:9 150:12 150:15 150:17 150:18
conflicts(2) 53:22 67:17                                                               cost(8) 43:13 43:14 44:3 44:5 73:12 73:12 150:24 150:24 150:25
confronted(1) 206:25                     continues(3) 60:20 61:10 177:19                91:17 203:22
confusing(1) 104:2                       continuing(3) 63:13 124:25 149:9
confusion(2) 89:20 141:18                contract(5) 60:20 60:22 168:24 186:20         costs(4) 29:3 29:4 61:22 163:23
congress(12) 21:23 24:5 24:8 24:13 25:10 186:22                                        could(34) 15:22 19:25 25:18 27:3 43:1
25:11 26:5 29:5 107:13 107:19 107:23                                                   43:5 44:4 47:1 56:5 58:23 61:20 62:7
108:9                                    contracts(4) 59:20 91:24 92:6 92:11           64:8 65:19 69:19 69:21 76:13 78:24 84:21
congress's(1) 112:10                     contractual(18) 83:12 164:8 164:11 164:23 92:21 98:10 98:10 104:20 112:23 123:3
congressional(1) 113:1                    164:24 165:7 166:5 166:8 166:15 167:19 123:20 125:3 134:2 166:23 179:16 183:21
congruity(1) 24:15                       170:25 177:20 178:11 179:23 182:11            187:21 187:23 198:10
conlan(1) 1:24                           192:20 193:7 195:8
connected(1) 59:11                                                                     couldn't(5) 16:9 84:23 108:11 108:13
                                         contrarian(2) 13:32 13:33                     136:13
                                         contrary(6) 18:3 21:3 45:9 92:7 106:6
                                         132:22                                    A511couldn’t(1) 197:4


Page : 7                                                                                                                                                     04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 221 of 247 PageID #: 732
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                          Page:Line   Word                           Page:Line     Word                        Page:Line
court(103) 151:1 151:5 151:5 151:6 151:8 crew(1) 86:23                             dearborn(1) 1:28                             defined(2) 167:22 193:20
151:13 151:19 155:24 156:2 156:11 156:15crimson(1) 7:6                             death(2) 90:17 202:13                        defines(2) 36:1 36:6
 156:24 157:1 157:5 157:20 158:3 158:10 critical(9) 24:6 25:12 27:18 27:24 30:1    debate(3) 26:12 142:5 155:1                  defining(1) 109:22
158:15 158:22 160:24 162:23 162:25 163:455:22 118:21 125:17 132:21                 debated(1) 154:1                             definition(14) 30:14 30:17 30:21 31:1
 164:18 166:22 167:1 167:5 168:14 168:17                                           debenture(4) 12:29 63:5 194:12 195:3         31:13 31:16 36:5 83:14 88:24 137:22
168:19 168:21 174:3 174:5 175:5 175:18 criticism(1) 89:5                           deborah(1) 11:25                             165:25 193:18 195:9 195:12
175:23 180:25 181:4 181:12 181:22 182:6 criticized(1) 143:24                       debt(4) 96:16 138:5 169:6 174:17
182:16 183:5 183:14 183:22 187:6 187:25 crone(1) 6:39                              debtor(33) 19:11 36:13 37:16 37:16 37:17 definitions(3) 83:2 165:12 165:18
188:6 188:8 189:1 189:21 190:1 190:18 cross(4) 143:2 161:10 209:1 209:3            38:17 38:18 43:18 45:23 46:24 47:25          deiterich(1) 11:17
190:21 193:12 193:13 193:15 193:16       crux(2) 26:12 185:15                      59:24 60:6 62:20 78:23 90:15 91:21 91:22delaware(13) 1:2 1:12 1:35 4:34 5:20
195:25 197:14 197:21 197:25 198:14       crystal(6) 33:13 122:11 147:22 148:5      108:1 108:17 108:25 119:1 134:25 169:21 6:21 14:1 59:17 60:9 60:12 115:8 144:19
198:18 198:20 200:12 200:14 201:2 201:5 178:5 179:21                               174:15 175:5 179:22 179:23 180:3 184:10 145:25
201:8 201:9 201:12 201:20 202:2 203:2                                              189:15 189:15 189:17                         delay(1) 174:21
203:14 204:4 204:5 204:10 204:12 205:6 cue(1) 115:15                                                                            delicto(1) 169:19
205:17 205:20 206:17 207:7 207:9 207:15 cumulative(3) 168:8 168:8 168:9            debtor-in-possession(1) 168:1                deliver(1) 123:12
207:16 207:17 207:22 208:1 208:3 208:6                                             debtors(34) 1:12 1:23 14:6 19:5 27:10        delivered(3) 170:17 183:2 188:10
                                         curious(2) 15:22 16:18
208:9 209:14 209:22 210:8 210:11 210:18                                            28:24 30:10 30:13 30:15 31:11 31:22
                                         current(4) 19:16 77:2 112:6 116:19                                                     delve(1) 33:21
211:3 211:10 212:5 212:25                                                          32:17 32:24 35:3 37:19 38:7 40:7 50:18 demo(1) 9:8
                                         currently(3) 60:13 72:17 117:6
                                         curtail(1) 72:7                           99:6 102:2 117:12 117:13 118:1 118:5         demonstrate(1) 119:21
                                         cushion(5)  25:14  25:16 25:20 25:24 26:3 132:17 135:3 135:11 157:22 158:11 170:5 demonstrated(1) 64:19
court's(13) 23:16 23:19 23:20 34:3 57:1                                            188:4 191:9 199:19 202:24
79:8 82:16 85:12 140:18 145:21 148:20 custodian(1) 188:12                                                                       demonstrates(1) 63:9
151:1 158:13                             cut(1) 165:15                                                                          demonstrating(1) 116:18
                                         cutler(1) 11:40                           debtor’s(3) 174:18 188:13 188:15             denied(3) 20:3 22:5 61:14
                                                                                   december(2) 162:9 186:2                      dennis(1) 9:15
courtroom(9) 1:10 18:22 18:24 64:9 64:14 cybergenics(2) 170:3 182:18               decide(11) 76:13 98:6 98:7 98:14 99:1
 67:12 84:8 122:10 211:1                 d's(1) 40:18                                                                           denomination(1) 48:3
                                         damage(2) 42:13 123:3                     99:13 99:16 99:20 136:23 137:10 184:22 deny(2) 19:23 72:5
courts(26) 22:23 33:15 33:20 40:24 45:10 damaged(2) 23:9 42:13                                                                  department(11) 5:24 5:25 15:6 20:11
                                         damages(3) 41:21 160:16 162:1             decided(11) 27:3 79:25 91:9 91:10 91:14 20:14 20:18 21:5 24:20 35:4 36:10 36:19
70:22 91:15 105:6 106:21 120:8 120:9                                               107:11 136:1 137:22 178:25 183:16 211:14
120:10 120:20 121:9 121:12 122:13 126:6 damien(1) 3:13
127:12 141:20 142:22 145:13 149:23       daniel(4) 4:6  5:11 7:39 138:9                                                         depend(2) 42:24 68:9
                                                                                   decides(7) 63:20 108:15 108:17 133:13        dependent(1) 138:16
151:11 198:21 206:16 206:24              darn(1) 25:18
                                                                                   133:19 136:16 137:22                         dependents(1) 24:7
                                         darning(1) 22:10
court’s(3) 188:7 193:20 198:14           data(1) 1:41                                                                           depending(5) 99:14 99:16 99:18 150:20
                                                                                   deciding(1) 81:16                            164:6
cover(4) 66:23 92:21 112:7 211:4         date(11) 35:9 57:13 57:15 96:5 98:20
                                                                                   decipherable(1) 31:2
covered(7) 40:20 41:3 97:22 112:7 112:24 110:11 165:4 172:6 185:25 186:6 211:22 decision(36) 37:25 38:1 40:4 40:6 40:9
113:8 117:21                                                                                                                    depends(1) 110:22
                                                                                   40:10 45:3 69:8 71:12 81:10 81:12 82:2 deplete(1) 55:19
                                         dates(2) 212:11 212:21
                                                                                   82:6 88:13 88:23 92:18 99:14 107:5 132:3
covers(4) 25:5 31:9 31:10 31:13          dave(1) 9:25                                                                           deposit/withdraw(1) 188:12
                                                                                   135:19 136:4 141:10 141:11 141:12 142:20
crabtree(2) 59:18 92:12                  david(14) 3:5 4:13 6:26 6:32 6:34 9:42                                                 derived(1) 25:25
                                                                                    144:17 145:13 145:18 146:3 151:1 160:6
crack(2) 116:4 116:5                     11:10 12:35 53:8 82:13 101:5 114:18                                                    describe(3) 33:2 141:16 179:19
                                                                                   160:8 173:23 202:1 208:2 208:3
cracks(1) 14:21                          129:12 204:13                                                                          described(3) 29:9 68:4 191:14
                                                                                                                                             86:21
craft(1) 90:14                                                                     decisions(7) 22:20 22:20 27:15 62:15 71:7 designed(1)
crafted(1) 186:12                        davidson(1) 11:25                         160:10 160:18                                desirable(1) 146:7
cram(2) 75:11 205:24                     davis(3) 3:11 8:34 10:8                                                                desire(3) 55:13 64:20 198:14
cram-down-wise(1) 166:15                 day(12) 15:21 49:15 50:4 115:24 128:16 decline(3) 38:11 52:3 83:17                     despite(1) 33:20
create(3) 95:7 190:17 202:8              164:14 173:23 174:5 175:5 184:4 211:25 declined(1) 88:5                                despoiled(1) 23:2
created(1) 125:2                         212:15                                                                                 detail(3) 80:7 190:7 200:19
                                                                                   decretial(5) 158:13 158:25 159:8 161:8
creating(2) 44:4 78:19                   days(5) 65:16 134:17 172:20 186:2 212:17 161:14                                        determination(17) 62:25 64:25 69:24
creation(2) 78:2 102:20                  dbtca(1) 5:4                                                                           70:11 71:24 73:24 79:20 101:12 101:13
creature(2) 90:5 125:2                   dcl(108) 17:14 20:12 21:22 22:1 22:2 22:6deductible(1) 61:17                           101:21 102:15 109:14 109:16 111:21 113:1
credit(5) 11:35 113:16 145:10 149:4       26:13 28:7 28:21 29:8 30:6 30:15 30:19 deemed(4) 21:11 21:13 87:16 190:10              122:19 138:17
credited(1) 188:14                       31:4 31:4 32:8 34:19 35:6 35:11 35:11
                                                                                   deep(1) 45:2
creditor(39) 43:8 43:11 54:3 55:19 64:5 36:1 36:9 36:12 36:14 37:2 47:14 49:25 deeply(2) 33:21 139:21                           determinations(2) 71:13 79:13
69:9 69:11 77:9 77:19 78:16 78:23 102:4 50:9 60:6 61:1 63:22 68:14 69:3 69:13 defamation(1) 19:14                               determine(7) 33:11 33:16 33:17 80:16
102:20 103:4 103:10 103:13 103:19 104:9 69:14 75:14 75:17 76:23 76:24 77:3 80:19default(1) 187:2                                97:2 99:10 110:21
104:11 104:20 104:23 106:25 107:3 110:8 81:22 82:22 82:24 82:24 83:2 85:21 87:11defects(1) 31:8
110:15 110:17 113:17 114:6 114:7 120:18 114:20 116:12 116:16 117:5 117:9 117:18 defendant(19) 64:23 72:16 95:6 95:8             determined(9) 21:7 35:22 70:1 75:24 96:5
121:4 125:10 132:9 132:11 135:14 136:6 117:24 118:22 120:4 120:14 121:1 121:19 136:18 137:18 137:19 141:22 143:11               113:21 126:16 138:18 191:17
169:14 169:20 178:3                      123:23 124:25 125:5 125:16 125:22 127:3
                                         129:19 130:9 137:3 140:17 152:7 152:11    143:12  143:15   148:10  155:5  155:7 157:14
                                                                                                                                determines(1) 188:1
creditor's(1) 32:21                      154:6 155:9 155:11 158:15 161:25 162:4 157:14 159:11 159:14 161:12                     determining(4) 34:8 52:14 70:2 126:17
                                         163:20 163:21 164:22 164:25 166:7 169:3                                                deutsch(5) 4:16 183:25 184:1 184:5 185:8
creditors(100) 4:5 8:5 17:19 25:15 25:17                                           defendants(34)  23:14  23:20  116:20  124:3
25:18 25:23 26:7 26:8 28:15 29:17 29:19 169:9 171:12 175:6 176:6 176:13 176:14 129:24 130:8 130:11 136:15 136:17 137:5 developed(1) 121:7
44:13 47:16 47:17 47:18 47:20 47:22 48:6177:3 177:11 177:13 177:15 177:18 177:19141:5 142:9 142:11 142:12 142:18 142:24 dewey(3) 2:13 48:7 176:4
50:9 53:14 55:18 63:3 63:13 65:1 67:24 177:21 179:4 179:13 180:14 180:20           143:5 143:20 144:9 144:9 144:10 144:11 diamond(1) 10:43
68:8 68:13 69:12 71:10 78:5 79:5 82:14 182:14 182:20 189:23 191:14 194:16          144:22 145:1 145:6 147:18 148:13 150:1 diaz(1) 1:41
83:3 90:10 95:1 103:18 104:16 106:1      200:24 210:13
                                                                                   150:4 157:10 157:10 159:3 161:5 172:2 did(38) 34:10 42:16 45:19 57:10 66:2
106:4 106:8 106:12 109:19 110:14 110:19                                                                                         69:16 82:17 85:22 85:23 92:21 102:25
110:20 111:3 111:12 113:12 113:15 114:8 dcl's(2) 65:10   121:22                                                                 107:13 112:8 114:15 115:6 119:1 136:4
                                                                                   defended(1)   130:7
114:20 116:21 116:22 120:18 121:5 125:2 deal(10) 17:1 49:14 81:2 81:13 82:16 85:3defense(2) 115:11 115:13                       138:25 147:11 149:16 178:2 178:23 181:25
125:6 125:8 127:11 131:25 136:4 136:25 123:20 132:9 166:10 204:16                  defenseless(1) 114:2                          181:25 182:3 184:17 185:9 187:12 188:9
153:19 153:20 153:23 159:1 161:4 167:10                                            defenses(7)  114:5  115:19 169:19  202:15    188:17 196:21 198:3 198:17 198:25 198:25
168:1 169:13 169:15 169:24 170:5 170:8 dealing(9) 78:18 91:21 91:22 99:5 105:7 202:20 202:21 203:18                              203:16 207:25 211:13
170:16 174:20 175:3 176:22 177:3 177:9 106:21 117:2 137:9 206:13
177:11 177:14 177:15 177:16 177:18                                                                                              didn't(24) 16:22 16:25 25:13 32:6 32:22
                                         dealings(2) 41:17 42:11                   defensive(1) 69:4
177:22 177:24 178:11 178:12 178:14                                                                                              42:14 42:19 51:5 57:14 84:2 85:5 97:20
                                                                                   defer(1) 164:13
178:21 182:24 183:1 183:3 192:2 204:14 deals(1) 89:18                                                                           98:12 132:23 132:23 139:9 145:3 155:16
                                                                                   deferred(2) 110:10 194:3
206:9 207:2 209:20                                                              A512
                                         dealt(7) 39:23 42:8 46:3 60:8 88:1 125:8
                                                                                   deficient(1) 192:10
                                                                                                                                156:7 202:8 203:22 207:12 208:4 208:16
                                         172:9
                                                                                   define(1) 83:3
Page : 8                                                                                                                                               04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 222 of 247 PageID #: 733
                                         TRIBUNE.4.13.11.DOC
Word                         Page:Line    Word                           Page:Line    Word                             Page:Line     Word                         Page:Line
didn’t(11) 172:11 174:4 174:9 182:22      disqualify(2) 63:13 67:25                   don't(91) 14:20 15:16 18:21 28:9 28:13 economic(3) 63:25 64:21 209:15
184:2 184:12 188:21 189:15 192:22 198:12disregard(1) 148:17                           30:19 31:25 34:12 41:11 44:18 51:24 53:1economically(1) 50:7
 198:18                                   dissenting(2) 206:6 206:7                   54:14 54:16 56:6 56:8 58:2 65:6 65:14 economics(1) 51:23
difference(5) 22:7 36:9 105:14 183:19     dissonance(1) 151:17                        65:17 65:22 66:5 66:16 68:16 68:17 68:18ecro(1) 1:39
186:16                                    distinction(2) 34:16 132:10                 68:23 69:2 69:3 71:6 72:19 72:22 74:21 edgar(1) 12:39
                                          distinguish(5) 22:24 23:13 34:3 196:22      75:19 78:11 81:21 82:20 83:23 84:16            effect(11) 32:22 39:7 82:19 84:18 85:11
different(31) 18:10 18:13 39:10 42:10     208:13                                      84:23 87:2 87:18 88:5 89:10 89:12 89:23 85:17 87:15 104:24 107:17 208:25 209:18
44:19 46:11 67:23 77:22 77:25 78:1 78:14                                              91:1 92:3 92:4 92:22 95:13 96:21 98:5
88:17 90:4 91:18 107:10 109:24 122:9      distinguished(1) 134:25                     102:18 106:16 108:16 110:16 111:11             effective(1) 21:16
122:10 131:18 133:16 135:2 137:14 141:20distribute(3) 75:22 174:24 191:12             111:13 111:16 112:14 112:21 113:12             effectively(3) 54:24 59:14 177:22
 144:3 170:18 170:20 184:3 204:21 206:1 distributed(4) 14:22 86:2 169:1 192:5         114:23   115:4   116:1  121:8  122:19   128:10 effectuate(1) 55:7
206:4 208:15                              distribution(16) 47:18 50:9 83:14 98:16 129:13 135:21 135:24 137:25 138:12 140:7efficient(3) 17:24 43:20 44:1
differently(1) 140:7                      98:19 98:25 133:6 165:13 166:4 167:8         140:23 144:1 146:4 146:4 148:7 156:8 effort(1) 55:6
difficult(2) 130:17 142:24                167:14 167:20 169:5 179:18 189:7 203:20 157:10 157:15 163:4 201:9 201:16 201:20 efforts(1) 143:1
difficulty(2) 33:25 33:25                                                             201:21 205:11 207:12 208:22
                                                                                                                                     egi(15) 6:31 53:2 94:10 94:12 96:2 96:20
diminished(3) 27:8 38:19 45:14            distributions(14) 29:18 30:2 68:9 83:4                                                     96:23 97:6 97:9 97:10 97:17 98:7 98:11
diminution(1) 38:19                       83:6 96:10 133:10 167:20 175:8 176:22       done(26)   45:24   46:14  47:8  52:12  60:12   98:13 102:5
direct(7) 63:25 148:2 158:12 158:19       177:9 177:21 191:5 199:7                    62:20  64:3   85:1   87:21  88:20  93:3  124:4
159:15 177:23 208:24                                                                  125:4 149:15 149:17 149:20 149:20 149:22
                                                                                                                                     egi's(3) 54:1 54:9 112:7
                                          district(18) 1:2 23:4 23:5 23:16 23:19       149:22 156:12 156:14 156:17 157:2
                                                                                                                                     egi-trb(26) 11:32 53:9 55:18 56:14 63:25
directed(3) 22:9 26:22 123:22             23:20 39:17 59:19 142:14 144:18 149:21      170:19   189:10   207:25
                                                                                                                                     68:7 68:25 74:17 75:6 75:8 75:8 75:10
direction(1) 29:5                         160:4 160:6 205:6 207:15 207:16 207:17                                                     75:15 79:7 79:22 80:9 82:15 82:23 83:5
directives(1) 149:3                       207:21                                      don’t(32) 165:24 166:11 166:11 166:17
                                                                                                                                     83:12 83:13 96:12 96:15 96:17 97:2 109:9
directly(6) 39:20 40:10 126:21 144:6      diversified(2) 38:22 40:1                   171:21 172:5 174:6 174:20 174:22 175:4
154:9 154:16                                                                          175:17   181:8   186:14  187:6   187:13  188:2
                                          divided(2) 18:8 18:12                                                                      egi-trb's(1) 81:24
                                                                                      189:5 189:21 193:4 193:9 194:25 194:25
                                          dla(1) 2:29
                                                                                      195:13 196:10 196:16 197:10 198:9 200:16egi-zell(2) 97:7 113:12
director(12) 60:14 60:19 60:20 61:14      dno(2) 61:18 73:13                                                                         eichenholtz(14) 124:4 126:20 137:13
90:22 91:3 91:3 91:8 141:5 145:6 148:13 dno's(1) 116:16                                200:23 200:25 201:5 201:8
                                                                                                                                     141:10 142:5 142:7 142:20 143:18 144:14
150:3                                     docket(2) 19:18 176:12                                                                     144:14 145:13 145:15 146:2 146:6
                                                                                      dorr(1)  11:41
directors(12) 7:17 9:29 53:19 59:15 59:22 doctrine(4) 29:16 29:17 30:6 146:8
60:12 61:3 112:6 128:3 128:19 129:20                                                  double(2)   123:8   154:22
                                          document(7) 130:17 166:17 171:1 178:6 doubt(1) 149:8                                       eight(1) 172:20
140:20                                    178:19 182:11 193:10                                                                       either(21) 14:18 32:6 37:9 38:8 53:16
disagree(6) 46:13 74:8 79:19 98:18 113:11                                             doubted(1) 173:21
                                                                                                                                     59:23 59:25 60:21 68:23 75:22 90:13 93:9
 153:12                                                                               dougherty(3) 7:19 112:4 112:5
                                          documents(4) 62:24 185:20 186:11 203:4                                                     105:15 116:19 126:11 161:3 183:18 189:21
                                                                                      douglas(1) 4:16                                 192:14 203:17 212:15
                                          does(56) 18:3 20:4 28:21 36:8 36:12 42:17
disallowance(1) 173:12                                                                down(14) 17:18 48:15 54:11 65:18 73:17
                                           42:21 42:23 46:9 46:20 47:15 50:10 58:18
disallowed(2) 19:16 19:21                                                             75:11 80:15 88:7 89:8 116:6 134:9 148:15
                                           60:15 63:18 76:5 82:25 87:18 87:22 93:12                                                  elden(1) 7:17
disallowing(2) 19:19 21:15                                                            149:19 205:24
                                           95:18 106:10 121:12 121:13 121:22                                                         eldersveld(1) 9:25
discharging(1) 144:22                     121:22 122:24 123:5 123:12 123:19 124:25                                                   elected(1) 63:11
disclaim(7) 112:17 139:3 139:22 141:2      125:16 127:17 127:23 131:22 131:23         draft(1) 93:18
                                                                                                                                     election(1) 184:9
152:10 153:2 159:3                        135:19 142:12 150:13 152:20 155:12          drafting(1) 126:1
                                                                                                                                     electronic(2) 1:47 213:6
                                          158:20 159:16 161:10 164:8 164:22 164:25    drawn(2)    201:9   201:10
                                                                                                                                     elements(1) 119:10
disclaimed(6) 151:22 152:5 153:17 159:1 165:7 170:13 171:12 176:24 177:12             drawn..(1) 201:8
                                                                                                                                     eleventh(1) 137:4
160:25 161:20                             178:16 190:1 201:17 206:11                  drew(1) 3:22
                                                                                                                                     eli(1) 3:15
                                                                                      drive(2) 7:6 7:20
                                                                                                                                     eliminated(3) 25:17 53:20 189:2
disclose(3) 27:14 27:18 27:24             doesn't(25) 25:2 34:20 34:20 42:24 44:15 drives(1) 48:19                                   eliminates(1) 32:5
disclosure(3) 19:9 66:19 67:6             76:6 76:18 76:18 84:14 90:7 93:12 111:6 driving(1) 177:8                                   elizabeth(1) 8:42
discounted(3) 72:3 92:20 135:20           111:9 111:10 122:6 122:7 122:7 126:25       drop(1)  94:15
                                                                                                                                     elkins(1) 10:4
discrete(1) 74:16                         132:14 139:23 139:23 141:22 150:11 151:9dropping(1) 172:19                                 ellers(1) 16:2
discretion(1) 140:18                       209:22                                     dtc(2) 188:11    188:13
                                                                                                                                     elliot(3) 3:12 139:16 181:14
discretionary(1) 44:24                                                                duane(3)   6:19  102:10   129:10
                                                                                                                                     else(13) 15:2 20:4 52:6 66:5 83:19 84:16
discriminate(4) 190:13 190:20 191:2       doesn’t(5) 123:18 166:20 172:10 189:13 dublin(11) 5:12 47:9 47:10 50:19 52:23 128:11 137:14 166:4 193:11 204:12 210:8
discriminate-unfairly(1) 198:7            194:12                                      92:25  93:6   93:7   95:24  113:5  113:6
                                                                                                                                     212:23
discrimination(20) 200:22 202:7 202:12                                                                                               elsewhere(1) 121:24
204:15 204:17 204:25 205:2 205:4 205:22 dog(3) 144:1 150:5 157:11                     dublin's(1) 98:5
                                                                                                                                     email(1) 14:18
206:3 206:17 206:19 206:21 206:22 206:25doing(14) 18:2 43:15 43:19 57:24 67:10 due(8) 38:11 136:8 145:4 174:1 174:1                  emanate(1) 92:3
 207:6 208:13 208:16 210:2 210:5          78:10  78:21   78:22  85:17  103:12 154:13  175:2  189:16    210:21
                                                                                                                                     emanates(1) 172:23
                                          156:3 200:4 201:1
                                                                                      due-process(2) 180:9 180:21                    embedded(1) 118:25
discussed(7) 40:5 139:5 144:19 161:18                                                                                                embodied(2) 179:4 198:24
178:8 199:5 207:11                        dol(21)  21:5  21:12  21:15 35:6  37:1 37:7 duplicative(2)   103:16  139:20
                                          37:11 38:2 39:3 39:8 39:17 40:11 41:10 during(4) 14:25 51:4 109:5 119:12                   embrace(1) 85:7
                                          41:15 45:22 48:12 48:16 48:17 48:21         duties(4) 22:14 23:18 94:25 173:7              emerge(2) 36:13 46:25
discussing(1) 169:5                                                                                                                  emerging(1) 52:13
discussion(4) 94:2 171:17 195:19 201:3    48:22 49:3                                  duty(4) 27:16 95:3 95:8 173:8
                                                                                      dwac’d(2)    188:11   188:12                   emphasize(1) 127:4
discussions(2) 35:14 152:1                                                                                                           employee(2) 40:1 107:12
disinterested(1) 64:25                    dol's(1) 39:9                               dynamic(2) 33:5 77:22
                                          dollar(11) 36:16 48:3 133:3 133:3 133:14 dynamics(2) 63:18 66:1                            employees(3) 31:14 39:25 45:23
dismiss(4) 81:12 114:25 115:1 115:2                                                                                                  employers(1) 24:10
disparate(2) 187:17 207:1                 133:14   137:1  137:1  137:6  137:6 192:10  each(14)   17:10   17:20  18:19  54:24  62:4
disposed(1) 210:1                                                                     82:23 96:24 103:11 117:10 118:16 118:22 employment(1) 186:20
                                          dollars(5)  35:16  66:25  104:25 105:19     136:15 165:6 211:10                            empowered(1) 90:10
disposition(1) 73:6
                                          don(1)  6:5                                                                                empty(1) 122:7
dispositive(3) 42:19 92:4 158:19                                                                                                     enable(1) 172:5
disproportionality(1) 209:10                                                          eagerness(1) 173:22
                                                                                      earlier(3)  74:4  171:18   203:5               enacted(1) 32:10
disproportionate(1)  206:23
                                                                                      early(5)  15:15   72:20  74:2  135:16  212:5   enacting(1) 25:10
dispute(9) 41:16 45:15 48:15 83:1 83:9                                                                                               enactment(1) 32:14
83:22 99:10 102:19 184:19                                                             easier(1) 15:1
                                                                                      easily(1) 210:2                                encompassing(1) 31:6
                                                                                      east(4) 3:38   7:12  13:4  13:4                encourage(5) 141:21 143:6 146:10 198:12
disputed(7) 20:21 21:6 21:10 21:12 34:14
                                                                                      eastern(2) 39:16 149:21                        212:2
35:20 152:1
                                                                                   A513
                                                                                      easy(4) 70:19    84:19  87:9  124:24
disputes(2) 174:21 209:18                                                             eat(1) 90:11
disqualifies(1) 67:21                                                                 echo(1) 135:14
Page : 9                                                                                                                                                    04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 223 of 247 PageID #: 734
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line     Word                         Page:Line    Word                         Page:Line   Word                         Page:Line
end(12) 15:21 18:8 21:18 37:23 49:14      especially(4) 118:7 142:2 173:8 186:11    examination(3) 208:24 209:1 209:3        explains(1) 194:24
51:24 52:20 66:23 81:9 199:5 210:9        esq(128) 1:24 1:25 1:26 1:27 1:34 2:6 2:7 examine(1) 25:5                          explicit(1) 29:5
211:25                                     2:14 2:15 2:21 2:22 2:30 2:37 3:5 3:6 examiner(19) 55:20 62:19 63:16 63:17        explicitly(4) 24:5 24:6 151:8 168:25
endorsed(3) 141:14 141:21 142:18          3:12 3:13 3:14 3:15 3:21 3:22 3:29 3:30 66:22 68:11 69:20 69:21 70:1 70:5 70:13 explicitness(1) 171:2
enforce(3) 151:7 151:9 177:20             3:37 4:6 4:7 4:13 4:14 4:15 4:16 4:17     72:1 72:2 80:2 80:7 80:14 109:1 172:21 explodes(1) 140:8
enforced(1) 124:16                        4:18 4:19 4:25 4:26 4:33 4:39 5:5 5:11 203:2                                       exploitation(1) 21:24
enforcement(1) 149:11                     5:12 5:13 5:19 5:26 5:32 5:39 6:5 6:12 examiner's(7) 25:22 27:17 66:22 72:10       exposed(2) 66:23 122:11
engage(1) 207:4                           6:20 6:26 6:32 6:33 6:34 6:40 7:5 7:11 80:3 80:5 93:11                             exposure(2) 155:21 169:16
engaged(2) 72:2 207:22                    7:18 7:19 7:25 7:35 7:39 7:43 8:6 8:8                                              express(1) 97:14
engaging(2) 164:16 164:18                 8:10 8:14 8:15 8:16 8:17 8:21 8:30 8:34 example(13) 17:18 22:25 53:25 68:7 88:21 expressively(1) 76:16
english(1) 5:4                            8:36 8:38 8:40 8:42 9:8 9:10 9:11 9:13 108:6 110:1 124:22 130:10 130:19 133:5 expressly(3) 143:18 149:10 152:12
enhanced(1) 107:12                        9:15 9:17 9:21 9:23 9:25 9:31 9:36 9:40 134:3 159:11                               extend(2) 38:6 176:24
enhancement(1) 95:22                      9:42 10:5 10:9 10:13 10:17 10:19 10:21
                                                                                                                             extends(1) 31:21
enjoin(2) 125:12 151:1                    10:23 10:27 10:31 10:35 10:37 10:39       exceed(1) 134:3                          extension(1) 58:23
                                          10:43 11:6 11:12 11:17 11:21 11:25 11:29exceedingly(2) 139:7 181:14
enjoined(2) 122:3 124:17                                                                                                     extensively(2) 168:3 196:7
                                          11:33 11:37 11:42 11:44 12:6 12:9 12:10 except(3) 135:20 141:14 181:19
enjoy(1) 164:10                                                                                                              extent(39) 17:13 20:2 23:3 23:11 23:16
                                          12:14 12:16 12:22 12:26 12:31 12:33       exception(2) 132:17 156:19
enough(10) 43:17 73:17 98:20 99:1 99:17                                                                                       23:19 26:14 29:13 31:17 32:2 46:15 46:16
                                          12:35 13:11 13:20 13:25 13:29 13:34       excess(1) 175:3
152:24 152:25 154:2 155:1 212:5                                                                                               48:22 59:10 61:12 61:15 71:24 87:12 88:4
                                          13:38 13:42                               exchange(17) 78:17 120:2 125:20 129:23 89:3 90:1 90:3 93:22 93:23 97:3 105:4
enrichment(1) 107:7                                                                 153:24 184:13 185:10 185:17 186:3 186:11113:17 133:10 155:16 166:9 171:22 178:16
                                          essence(3) 41:1 45:13 66:5                 186:19 186:21 188:11 188:18 188:23
enron(5) 39:23 40:5 40:22 116:8 149:22                                                                                         178:22 179:20 180:15 180:24 190:16
                                          essential(1) 32:3                         189:9 194:22
ensure(1) 141:22                                                                                                              209:14 212:3
                                          essentially(19) 20:18 25:7 29:20 36:16
enter(2) 160:24 172:5                     37:10 40:2 48:14 48:19 50:5 58:13 59:25 exchanging(5) 187:15 187:22 187:23 188:9
entered(11) 16:23 19:17 114:16 117:12                                                                                        extinguished(11) 36:3 36:4 36:13 49:24
                                          69:21 73:1 83:5 121:10 123:7 139:20        188:17
118:2 120:3 124:8 124:12 124:15 124:15 140:4 141:7                                                                            50:6 50:11 50:14 51:1 51:8 51:13 51:17
157:9
                                          establish(2) 65:14 190:18                 excise(1) 67:5
entering(1) 76:4                                                                                                             extinguishment(1) 41:8
                                          estate(56) 45:21 46:8 55:14 55:19 55:20 exclusion(4) 106:8 161:13 161:15 162:19
enterprise(2) 164:6 169:5                                                                                                    extra(1) 29:3
                                          61:20 61:22 66:4 70:9 70:15 71:1 71:22 exclusions(2) 158:24 162:18
enters(2) 98:22 110:13                                                                                                       extraordinary(1) 115:23
                                          73:10 78:11 85:22 85:23 88:22 90:2 90:15exclusive(2) 106:10 106:11
entertain(1) 81:12                        91:23 109:14 110:5 111:2 111:8 115:10 exclusively(3) 165:9 165:10 167:20           extremely(3) 50:7 82:25 144:16
entirely(3) 55:12 92:20 151:10            115:10 115:14 115:14 116:3 131:22 131:23                                           f.3rd(2) 142:6 145:21
entirety(1) 146:20                                                                  excruciating(1) 200:18                   face(6) 35:14 76:7 121:1 155:20 184:11
                                           131:24 132:11 132:14 134:25 136:6 136:9
entities(13) 43:15 43:25 44:3 80:23 81:18 153:22 154:3 155:22 157:19 162:9 179:3 exculpate(3) 58:13 59:2 59:9                 189:18
117:1 117:8 118:20 118:22 119:5 127:7 179:14 179:14 180:4 180:14 180:20 182:4 exculpated(1) 89:14
127:22 176:24                             182:5 182:8 182:9 191:25 192:2 192:3      exculpation(40) 31:3 31:5 31:9 31:16     facilitate(1) 142:17
                                          192:4                                     31:20 31:23 31:23 32:4 32:8 32:23 45:18 facing(1) 116:21
entitled(29) 29:19 30:3 45:7 47:17 47:20                                            46:5 46:13 46:14 46:17 46:19 53:17 58:12fact(58) 24:4 24:4 24:5 29:4 30:8 30:9
52:15 75:23 77:9 77:19 78:3 83:10 95:11 estates(2) 170:12 180:17                    58:12 59:4 62:5 72:6 87:3 87:7 87:9       30:23 32:19 34:13 42:9 50:10 51:3 51:25
98:15 113:16 121:14 130:11 155:17 167:11esther(1) 7:43                              87:11 87:20 87:21 88:11 88:17 88:21 89:262:7 62:10 63:2 64:6 64:7 68:5 85:6 91:6
 167:12 174:1 174:1 177:14 189:11 192:23estimate(2) 100:8 100:24                    89:7 89:11 89:19 89:24 90:4 90:14 93:16 92:2 97:18 114:13 125:9 126:17 132:2
193:7 195:7 195:16 197:7 197:8                                                      93:19                                     135:20 135:25 138:13 144:7 146:21 150:13
                                          estimation(2) 16:21 183:11                exculpation/release(1) 88:1                152:8 157:23 173:9 173:18 175:10 176:9
                                          etc(1) 124:16                             exculpations(1) 88:25
entitlement(3) 171:9 192:6 204:2                                                                                              176:10 177:21 178:2 182:19 182:21 182:24
                                          evade(2) 103:12 109:12                    excuse(8) 38:19 65:5 92:20 128:5 136:19 182:25 183:20 191:5 193:5 194:15 197:6
entitlements(1) 191:3                     evaluate(1) 119:14
entity(4) 48:24 48:24 91:5 124:24                                                   163:20 168:18 198:4                       197:15 197:17 202:18 202:21 203:1 205:9
                                          evelyn(1) 92:12                                                                     205:10
entry(1) 144:21                           even(33) 23:7 28:9 28:11 29:10 35:22
envisioned(1) 123:6                                                                 executive(1) 66:24
                                          39:12 41:16 42:19 50:8 55:5 66:17 96:24 executory(7) 59:20 60:8 60:19 60:21
eos(2) 10:30 10:30                                                                                                           factor(9) 118:19 118:19 118:22 119:1
                                          124:19 124:19 125:23 126:15 136:13 149:191:24 92:6 92:11                            119:2 119:7 119:24 119:25 125:17
ephraim(1) 10:43                           149:14 152:21 153:10 154:18 160:24
equal(3) 76:9 76:9 206:4                  168:2 174:2 174:6 188:2 191:24 194:25
equally(1) 65:11                                                                    exercise(7) 32:2 52:4 70:24 155:4 193:5 factors(6) 118:9 119:2 119:9 119:22
                                          195:10 196:5 202:17 207:4                 206:4 207:25
equitable(6) 53:14 73:21 133:2 137:11                                                                                         119:24 146:23
171:10 173:14                             event(2) 119:20 155:13                    exercised(1) 154:4                       facts(12) 26:19 34:2 110:3 110:4 110:6
                                          events(1) 121:1                           exerting(1) 91:4                          111:1 111:10 183:15 184:19 184:21 195:7
equity(14) 25:13 25:16 25:20 25:24 26:2 eventually(2) 97:1 114:16
28:19 28:21 28:25 29:6 29:14 38:19 42:20ever(6) 35:19 50:8 97:3 121:11 171:25       exhibit(5) 108:8 166:19 193:13 194:10     200:3
43:9 44:20                                                                          194:11                                   factual(4) 164:4 185:23 208:21 209:6
                                          173:21
                                                                                                                             fail(3) 148:18 148:19 171:23
equity.”(1) 168:23                                                                  exide(1) 207:11                          failed(3) 27:18 122:20 200:22
                                          every(5) 38:21 52:1 67:9 78:23 110:24     exist(5) 38:14 115:19 118:25 168:23
equivalency(1) 126:15                                                                                                        failing(3) 27:24 27:25 153:14
                                          everybody(3) 47:13 64:13 95:2             existed(2) 112:16 112:18
equivalent(6) 120:7 120:16 126:14 126:24 everyone(8) 14:3 14:19 15:18 26:23                                                  fails(2) 125:21 177:23
126:25 190:22                                                                       existence(1) 188:14                      failure(6) 22:4 22:6 121:19 123:13 123:16
                                          109:21 175:2 193:4 212:7
                                                                                    existing(3) 43:20 53:19 117:6             125:23
erisa(48) 21:25 22:2 22:7 22:15 22:19                                               exists(3) 69:1 106:20 117:7
                                          everyone's(1) 88:15
22:23 22:25 23:6 23:8 23:12 23:13 23:17 everything(9) 54:9 97:22 130:5 187:10       exit(1) 174:23                           failures(1) 24:10
23:21 24:4 24:5 24:8 24:11 24:14 24:15 188:9 189:1 189:10 197:23 211:20             expanded(1) 170:2                        fair(20) 51:18 53:13 70:2 73:20 80:5
24:19 24:23 24:25 25:1 25:4 28:3 28:4                                               expanding(1) 65:21                        107:21 119:4 119:5 120:4 120:15 122:15
28:23 30:17 30:25 32:4 32:18 32:23 33:2 evidence(13) 51:4 52:16 66:16 70:12 134:4expansively(1) 45:11                         125:19 130:1 133:2 134:22 137:11 144:5
34:4 34:5 34:20 35:19 35:24 36:7 36:11 138:21 164:5 164:12 193:8 193:10 194:1 expect(2) 47:22 174:10                          165:12 171:10 182:12
37:2 37:6 39:9 39:18 39:19 40:18 46:11 197:15 205:15                                expectation(4) 74:19 187:14 187:19 188:18
46:17                                                                               expenditure(1) 73:21                     fairest(1) 143:19
erisa's(1) 25:5                                                                     expense(3) 44:5 91:17 206:10             fairly(3) 70:19 80:14 119:6
                                          evident(2) 24:9 25:22
eroded(1) 25:14                                                                     expenses(5)  70:25 77:1 77:8 78:4 78:7   fairness(1) 148:12
                                          evidentiary(6) 65:13 65:22 66:14 152:2
esop(33) 22:16 22:17 23:8 23:9 23:11                                                experience(1)  126:4                     faith(8) 58:15 58:18 67:15 67:17 107:1
                                          193:9 201:15
25:24 26:1 26:15 26:24 26:25 27:2 27:5                                              expert(3) 68:16 69:13 80:19               149:4 164:12 171:7
27:6 27:13 34:9 34:11 34:18 35:18 35:25 exact(3) 94:17 96:8 107:24                  expires(1) 106:1
36:21 36:21 36:22 36:22 36:25 37:4 37:5 exactly(10) 41:5 45:4 68:2 82:17 113:14 expiry(1) 162:9                              fall(6) 102:5 121:19 162:18 180:22 195:14
38:15 39:5 39:19 40:18 42:16 48:24 49:21126:21 136:22 140:5 198:16 212:6 A514       explain(1) 135:19                         198:20
                                                                                    explained(2) 87:1 137:15
esop's(5) 22:21 27:12 37:1 41:17 41:17                                                                                       fallback(1) 137:24
Page : 10                                                                                                                                             04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 224 of 247 PageID #: 735
                                        TRIBUNE.4.13.11.DOC
Word                         Page:Line    Word                        Page:Line    Word                          Page:Line     Word                        Page:Line
fallon(2) 12:16 23:1                      first(54) 15:1 17:15 18:20 19:6 25:13    for(301) 1:2 1:23 2:4 2:20 2:29 2:35 3:4 forman(1) 1:32
falls(4) 29:25 88:24 137:17 137:20        26:25 31:9 48:10 50:19 53:12 62:20 70:6 3:11 3:28 4:4 4:32 5:4 5:10 5:24 5:30 6:4former(5) 9:27 31:14 102:22 103:1 112:6
false(1) 67:4                             73:7 75:7 77:16 82:18 82:21 86:13 87:8 6:10 6:17 6:31 6:39 7:4 7:16 7:33 7:38 forms(1) 173:12
faltas(2) 12:5 12:6                       97:5 97:18 99:11 99:12 102:6 103:16      8:4 8:24 8:33 9:4 9:7 9:27 9:34 10:4 10:8formula(2) 143:25 144:13
famous(1) 86:20                           109:4 115:16 116:4 116:4 116:5 118:11 10:16 10:30 10:34 10:42 11:4 11:8 11:15 formulating(1) 31:21
far(17) 27:20 36:19 54:18 72:15 113:9     120:25 126:13 132:7 134:1 137:8 140:19 11:20 11:24 11:28 11:32 11:35 12:5 12:8 formulation(4) 31:11 31:18 31:24 59:6
113:11 117:22 130:16 130:16 131:19        141:23 148:22 159:6 159:8 161:18 164:22 12:13 12:19 12:25 12:29 12:37 12:42 13:4forth(11) 21:3 50:1 61:18 80:9 87:11
132:22 134:2 141:13 157:13 184:8 200:5 165:7 165:20 176:9 178:2 181:18 190:19 13:8 13:14 13:18 13:23 13:28 13:32 13:37138:14 143:25 145:17 148:4 207:16 207:18
211:8                                     191:8 193:25 194:7 196:15 206:18         13:41 14:23 17:7 17:18 17:20 18:18 18:23
fargo(1) 12:25                                                                     19:1 19:24 20:1 20:14 21:11 22:14 22:25 forum.”(1) 168:13
fashion(1) 146:7                          five(1) 186:1                            23:6 23:21 24:8 24:10 24:14 26:1 26:17 forward(16) 15:7 27:4 27:19 53:21 61:7
fault(28) 64:16 120:9 120:11 120:11       five-minute(2) 175:20 175:24             26:18 27:6 28:3 30:18 32:5 32:8 32:17 62:7 62:11 63:2 63:14 63:22 67:5 70:10
120:21 120:24 121:13 121:16 121:18        fixed(2) 147:9 147:11                    34:16 34:17 34:20 36:4 37:7 37:11 37:14 74:1 123:19 123:24 150:8
121:25 122:12 122:18 122:25 123:1 123:4 flagrant(2) 66:23 192:13                   37:24 38:14 39:4 39:25 40:16 41:1 41:2
123:13 124:8 124:16 125:14 126:16 126:22flesh(2) 153:13 158:11                     44:12 44:16 46:6 46:24 47:9 47:10 47:15 found(28) 15:5 23:5 23:20 36:7 38:6
 127:5 134:8 134:21 143:21 143:24 144:4 flom(1) 9:30                               47:17 48:10 50:4 50:18 52:10 52:10 53:1839:20 39:24 40:1 40:8 40:9 40:12 40:24
144:13                                    flood(1) 198:15                          53:19 53:25 54:18 54:21 55:11 57:15         42:14 45:25 55:21 55:21 80:4 80:7 80:14
favor(1) 89:25                            floor(2) 2:9 2:25                        57:20 57:24 58:20 59:22 60:1 60:4 60:5 101:10 103:6 104:20 107:7 120:23 150:7
favored(1) 142:22                         florsheim(1) 12:9                        61:5  61:7 62:8  63:1  63:5 64:4 64:19 65:2 162:2 175:21 203:2
                                          flow(2) 48:5 182:8                       65:9 67:3 67:10 67:24 68:3 68:6 69:2
fax(1) 14:18
                                                                                   69:8 69:13 69:13 69:14 70:12 70:14 71:9 foundation(12) 6:17 6:18 6:19 13:9 13:10
feasible(1) 118:24                        focus(7) 62:13 104:22 119:8 158:8 162:11
                                          188:7 208:6                              72:23 73:11 74:2 77:1 77:8 77:18 77:24 102:11 102:11 102:22 102:25 114:21
featherworks(1) 203:24
                                                                                   78:2 78:4 78:6 78:10 78:10 78:17 78:22 129:18 129:18
feature(1) 117:16                                                                  78:25 79:7 79:8 79:21 79:23 80:1 80:14
featured(1) 141:13                        focused(6) 45:24 94:3 94:6 95:10 117:15
                                                                                   81:15 83:22 84:6 84:10 84:15 85:9 85:18
february(1) 121:11                        182:24                                                                               foundations(7) 102:6 102:12 102:14 103:7
                                                                                   88:2 88:3 88:21 89:20 90:16 90:25 91:3 103:13 129:11 130:24
federal(4) 121:2 142:22 146:8 173:14                                               91:17 92:4 92:10 92:19 93:6 96:3 96:9
fee(1) 158:3                              focuses(1) 119:3
                                                                                   96:12 96:20 97:6 97:7 97:9 98:3 98:20
fee-sharing(1) 172:1                      focusing(2) 109:22 210:3                                                             four(14) 85:10 118:9 118:11 119:1 119:7
                                                                                   99:1 100:3 101:13 101:14 101:15 101:18
feel(1) 116:1                             fold(1) 163:15                                                                       119:24 120:1 125:17 157:24 162:3 176:12
                                                                                   102:15 102:20 102:22 103:8 104:2 104:13
fees(19) 53:19 60:1 60:4 61:5 61:7 61:15 follow(5) 42:14 123:10 129:14 149:3                                                   193:24 200:24 206:20
                                                                                   104:14 104:17 104:25 105:5 105:18 105:18
72:5 77:1 77:8 77:15 77:16 77:18 78:4 followed(4) 38:21 70:22 97:5 122:13           105:24 105:25 106:5 106:15 108:7 109:13
78:22 78:24 85:12 85:19 86:7 163:23       following(7) 62:24 124:7 128:9 136:12                                                fourth(1) 194:6
                                                                                   110:1 110:18 111:11 113:6 113:11 113:24
                                          149:6 167:17 192:16                      114:19 114:20 114:20 115:17 117:2 117:14fractional(1) 70:20
feld(3) 5:10 9:39 138:10                                                            117:19 119:6 119:23 120:2 120:12 120:22frame(1) 187:12
fell(2) 14:21 56:17                       food(1) 64:6                             121:8 122:1 122:10 122:14 122:17 123:3 framed(1) 187:14
felt(1) 212:19                            footnote(3) 42:25 172:19 209:25          123:8 123:9 124:22 124:25 125:8 125:17 francisco(1) 8:10
few(5) 14:10 112:1 141:11 151:23 175:22                                            125:20 125:21 126:19 127:17 127:22 128:8frank(2) 12:19 12:20
fiduciaries(6) 23:3 23:5 34:11 45:22 46:8                                           128:24 129:2 129:8 129:16 129:23 130:1 frankel(1) 11:9
88:22                                                                              130:10 130:19 131:14 131:16 133:3 133:5 frankly(5) 43:14 149:1 151:18 174:8
                                                                                   133:14 133:14 134:3 134:16 135:15 135:19fraud(7) 23:25 48:1 93:25 152:9 153:5
fiduciary(12) 22:14 22:19 22:21 23:18                                               136:10 137:1 137:2 137:6 137:19 138:10 153:15 153:21
27:13 27:13 34:17 66:4 94:23 94:25 95:3                                            140:1 140:2 140:17 141:14 141:23 141:24
95:8                                                                               143:2 144:11 144:23 146:24 147:20 148:3 fraudulent(34) 102:16 102:24 103:2 103:4
field(1) 89:8                                                                      148:6 149:7 150:15 151:11                   103:9 103:18 104:11 104:14 106:5 106:8
fifth(1) 38:23                                                                                                                 106:11 107:3 107:9 109:16 111:9 112:18
fight(4) 83:24 144:1 150:5 157:11                                                                                              113:3 131:25 132:1 133:4 133:8 133:13
figure(2) 110:24 193:3                                                             for(124) 152:6 152:12 152:18 152:20         138:5 139:4 159:2 159:23 160:12 160:19
file(3) 94:11 108:15 108:17                                                        152:21  153:7  153:8  153:11 153:13  153:24 161:1 169:23 171:16 174:9 177:17 179:5
filed(26) 14:15 19:13 19:20 21:4 56:14                                             154:2 154:6 154:18 154:19 154:22 154:22
56:16 57:2 57:19 75:18 75:21 76:17 88:18                                           155:17 155:19 155:22 157:3 160:15 161:11free(4) 32:1 32:5 67:3 180:18
112:17 129:13 129:20 132:8 147:21 151:2                                             161:17 162:1 162:17 163:9 163:11 163:18freedom(1) 32:19
151:24 172:17 174:20 176:11 178:6 180:9                                            163:23 164:14 165:9 165:18 167:9 169:1 freeze(1) 212:8
186:14 194:11                                                                      169:12 169:13 171:1 171:23 172:6 172:13 frequently(1) 34:1
                                                                                   172:18 172:19 173:13 173:24 174:2 174:16friday(3) 14:15 14:18 178:6
files(2) 174:16 174:16                                                              174:22 175:5 175:8 175:17 175:19 175:22friedlander(1) 184:25
filing(2) 85:6 198:13                                                              176:3 176:9 176:20 176:21 178:3 180:7 friedman(1) 12:30
final(7) 19:19 21:8 45:17 61:24 119:2                                              181:6 181:14 181:19 181:24 182:11 183:9 frivolous(10) 53:15 58:9 61:13 63:9 71:12
130:8 212:2                                                                        183:11 183:12 183:21 183:25 184:13          71:18 73:22 80:4 86:14 180:19
                                                                                   185:12 186:5 186:6 186:12 186:17 186:20
                                                                                   187:8 187:22 187:23 188:20 188:23 189:15
finally(6) 44:9 53:20 81:1 119:1 195:4
212:10                                                                              189:16 190:3 190:5 190:18 191:18 191:19
                                                                                   192:16 192:17 193:4 194:2 194:3 194:6
                                                                                   194:9 195:5 195:6 195:12 196:1 196:2
finance(1) 54:24
                                                                                   197:25 198:5 200:19 202:22 203:16 204:4
financial(4) 108:10 118:21 118:23 119:10
                                                                                   204:14 204:16 205:15 206:4 207:24 209:16
find(10) 43:5 46:21 68:22 77:22 173:19                                              209:25 210:12 210:20 211:2 211:2 211:18
178:8 203:3 207:5 211:19 212:5                                                     211:23 212:8 212:11 212:16 212:17 212:20
                                                                                    212:22
finding(3) 39:22 93:25 168:16
findings(4) 23:17 23:19 72:11 211:24
finds(6) 133:2 134:7 148:9 191:7 209:14                                            forced(6) 119:6 120:2 121:17 122:14
209:22                                                                             130:2 136:20
fine(5) 15:3 18:17 43:21 54:12 201:5                                             foregoing(1) 213:5
finger(1) 3:20                                                                   foreign(1) 146:10
firm(3) 49:20 62:22 129:12                                                       foremost(1) 120:25
firms(1) 117:23                                                                  forever(2) 108:19 112:15
                                                                                 forget(3) 112:23 146:5 154:25
                                                                              A515
                                                                                 forgive(1) 129:8
                                                                                 form(4) 154:12 166:15 169:6 211:12
Page : 11                                                                                                                                             04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 225 of 247 PageID #: 736
                                         TRIBUNE.4.13.11.DOC
Word                        Page:Line     Word                             Page:Line     Word                        Page:Line    Word                       Page:Line
from(128) 15:13 15:14 21:24 22:9 22:12 get(71) 15:19 17:18 17:23 29:20 30:4 34:6good(46) 14:3 14:4 14:5 15:25 16:7 19:4 hannafan(8) 7:10 7:10 7:11 128:16 128:17
22:21 22:24 22:25 25:8 25:22 25:25 26:22 34:13 34:13 45:11 45:13 47:8 48:25 49:1520:13 35:2 49:19 53:8 58:15 58:18 67:15 128:17 128:17 128:22
27:17 28:1 32:5 32:6 35:18 36:20 37:15 52:11 52:14 56:8 63:15 65:19 66:2 70:8 67:17 70:13 75:5 82:12 82:12 83:20 85:8
38:3 40:25 41:10 41:15 44:13 49:20 53:5 70:10 71:10 71:15 73:17 76:18 77:3 78:1186:3 88:6 92:9 93:6 101:4 102:9 107:1 happen(6) 63:19 67:14 138:2 148:23 168:3
53:22 58:14 59:2 59:7 59:17 59:19 61:22 78:20 78:22 83:6 85:22 85:23 86:5 91:12 109:8 112:4 113:5 116:14 128:1 128:16 174:4
63:13 65:19 67:6 67:21 67:25 68:9 68:14 94:13 95:3 98:19 98:25 101:22 110:21             130:15 138:9 139:15 140:7 157:21 164:12
77:22 80:14 82:13 85:22 86:19 86:25       112:21 113:16 121:14 122:19 124:18             164:20 171:7 181:13 187:7 195:19 197:5 happened(12) 25:19 42:16 63:8 63:8 79:12
87:25 88:17 89:5 89:14 89:25 92:3 97:7 126:11 134:3 136:18 136:21 165:10 165:19205:8                                               83:25 186:21 198:5 199:14 203:12 209:17
101:3 102:10 104:1 110:12 112:9 114:5 165:20 165:22 165:22 165:24 172:10                 gordon(6) 2:4 8:36 11:36 48:8 63:4 176:5 209:18
114:18 115:5 115:7 115:15 117:19 118:20 172:11 175:4 182:10 188:2 189:4 191:21 got(16) 35:20 52:2 70:13 72:15 83:19 87:6happening(2) 43:23 107:17
122:5 123:10 124:2 125:13 127:7 127:9 191:22 192:9 202:10 204:2 211:2 211:8 90:20 111:15 117:3 122:22 123:7 125:25 happens(5) 116:5 121:12 122:1 135:8
129:10 129:12 130:19 131:18 132:8 132:25211:8 211:19 212:5                               126:24 168:17 172:12 207:5               148:21
 133:11 134:25 136:5 142:3 142:11 142:19
142:20 143:12 144:5 144:11 144:22 145:15gets(10) 51:12 66:16 110:12 116:4 133:6 gotten(5) 133:21 145:11 146:19 146:21             happily(1) 193:4
 146:17 146:18 147:18 147:23 163:9        143:15 152:17 165:13 175:2 192:5               206:9                                    happy(12) 57:24 99:21 100:22 115:18
167:25 168:25 172:23 175:6 176:22 176:24                                                                                          116:1 116:9 129:9 165:14 166:20 181:7
 177:3 177:9 177:21 180:13 181:12 181:19getting(15) 18:9 30:5 65:17 68:6 82:19           government(1) 39:14                      198:17 204:19
181:20 183:19 184:21 185:1 185:23 190:14100:8 120:15 122:13 122:17 134:10 138:20graem(1) 8:14                                     hard(1) 88:16
 195:15 198:23 199:8 199:25 200:9 202:24 143:16 154:25 155:2 199:24                      grand(1) 2:16                            hardly(1) 86:24
202:25 203:3 204:2 204:13 206:18 207:21                                                  grant(2) 15:17 19:25                     harm(4) 70:21 208:25 209:5 209:10
209:9 210:6 211:13 213:6                  gift(5) 29:16 29:17 30:4 30:6 191:24           granted(4) 56:12 57:4 94:12 124:17       harms(1) 180:11
                                          gifted(1) 43:2                                 granting(1) 144:12                       harrisburg(1) 1:43
front(3) 15:17 15:18 89:12                gifting(3) 42:24 44:16 208:14                  great(26) 4:32 11:24 13:41 14:12 22:14 harrison(2) 5:37 16:1
frustrate(1) 155:10                       gifts(1) 191:22                                22:22 27:3 27:11 27:14 27:15 27:21 27:25hartford(2) 3:32 19:16
fulcrum(2) 169:4 169:10                   give(25) 29:18 52:2 67:23 71:4 91:8 96:7 28:1 49:6 49:21 50:2 50:4 50:12 51:2           harvey(1) 16:1
fulfill(1) 112:25                         108:10 115:25 159:25 160:21 161:21 162:151:15 51:20 64:12 74:24 132:9 170:2             harvy(1) 5:37
full(17) 36:17 47:21 83:13 95:11 95:13     162:11 162:13 163:7 166:20 166:23             206:23                                   has(127) 14:16 14:16 14:23 15:7 16:3
95:15 95:19 121:19 123:3 124:7 124:11 169:14 173:1 182:16 184:19 192:4 192:11 greater(3) 32:20 72:23 124:2                        19:8 19:18 19:19 20:17 24:2 25:7 31:1
149:4 156:8 167:11 186:10 203:15 212:6 209:2 211:4                                       greatest(1) 140:2                        35:8 35:12 38:23 38:23 38:24 38:25 39:2
                                                                                         greatly(1) 27:8                          39:11 41:15 45:4 45:18 50:2 50:6 50:22
fullest(3) 87:12 89:3 166:8               given(19) 26:15 44:17 79:23 82:15 85:4 greg(1) 9:8                                      51:15 52:16 56:2 56:11 57:4 58:12 60:14
fully(4) 81:24 121:25 141:14 141:16       103:9 107:12 120:5 125:19 150:12 170:6 greissman(1) 12:26                               60:17 63:20 64:3 64:14 64:18 64:19 64:22
fun(2) 84:7 173:19                        170:10 195:6 197:6 197:15 201:13 201:14 grew(1) 206:14                                  67:9 67:10 67:15 68:10 68:12 68:17 68:18
function(2) 70:24 73:25                   210:22 211:24                                  grippo(1) 7:17                           69:7 70:11 72:1 73:14 75:10 78:7 86:16
fund(2) 10:4 54:24                                                                       gropper(1) 63:6                          87:1 90:21 91:3 91:15 91:22 94:11 95:1
fundamental(5) 21:25 22:6 64:16 186:16 gives(6) 24:20 87:14 91:19 91:20 106:7 gross(2) 32:7 209:10                                96:6 98:4 98:20 102:3 102:21 103:6
194:19                                    190:22                                                                                  104:13 105:17 106:13 106:14 108:8 110:5
                                                                                         grossly(2) 206:23 207:1
                                                                                         ground(1) 204:22                         116:3 117:14 121:19 121:20 122:19 123:13
fundamentally(1) 79:19                    giving(4) 30:2 77:16 85:3 195:17                                                         123:16 124:23 126:23 130:6 130:9 130:25
                                                                                         grounds(4) 55:5 130:7 145:3 202:22
funding(1) 172:13                         glad(3) 162:22 164:20 210:18                                                            131:22 131:24 132:2 133:25 135:6 135:10
                                                                                         group(2) 54:6 127:12
funds(5) 73:21 75:22 75:24 155:6 165:9 glancing(2) 181:15 181:16                         guarantee(1) 194:6                       144:19 147:22 149:15 151:20 152:8 153:8
further(7) 28:18 54:11 59:4 74:13 172:7 glasses(1) 93:13                                 guaranteed(1)  169:11                    154:18 159:14 160:24 161:15 167:2 168:22
189:20 210:12                             glatt(5) 8:29 128:8 129:6 131:15 190:4                                                   170:1 171:7 171:25 172:5 178:19 179:1
                                                                                         guarantor(1) 30:10
                                          global(4) 12:5 138:16 138:19 138:25                                                     180:15 181:1 182:5 184:20 189:19 190:21
                                                                                         guess(25) 32:7 33:24 82:16 90:20 92:15
furthermore(1) 163:20                     globally(1) 138:13                             95:10 103:22 103:23 103:23 103:24 105:9 191:3 193:13 195:20 201:25 204:24 204:25
future(13) 54:17 55:3 57:14 59:11 120:8 goal(1) 21:25                                    116:7 140:19 146:3 148:15 148:18 151:16 205:25 206:22 207:12 208:13 211:10
120:10 120:20 121:9 122:13 125:7 130:1 goes(14) 22:10 61:20 83:7 95:9 107:16             166:6 179:24 187:4 205:1 207:10 209:13 212:11
151:12 188:25                             108:7 123:5 130:15 133:17 134:9 179:18 210:5 211:7
                                          194:21 206:5 207:20                                                                     hasbith(2) 42:6 42:7
gains(1) 63:24                                                                           gump(7) 5:10 9:39 47:10 93:7 113:6       hasn't(1) 156:7
game(1) 138:15                            going(104) 26:13 27:9 28:1 34:15 42:3          138:10 163:16                            hasn’t(1) 172:25
garrison(1) 11:16                         44:3 44:11 44:11 44:13 51:7 52:10 52:14                                                 hassle(1) 43:14
gary(1) 9:23                              53:12 53:15 55:8 57:12 58:7 60:1 63:14 guon(1) 6:40                                     hauck(1) 42:4
gate(3) 70:24 71:9 73:24                  63:20 71:4 71:5 71:10 71:24 73:18 75:1                                                  hauer(3) 5:10 9:39 138:10
                                                                                         gussis(1) 6:39
gates(2) 4:38 49:20                       75:7 76:2 76:3 76:15 78:16 78:22 81:9
                                                                                         gux(2) 83:11 86:2
gave(4) 21:23 183:1 193:12 203:19         82:17 83:6 84:4 84:5 86:12 88:10 89:13
                                                                                         habit(1) 101:15
gavin(1) 11:37                            90:10 90:18 94:18 95:2 96:4 96:10 96:16
                                          96:17   96:20   97:1  97:23  98:4  98:9 100:17 had(72) 16:10 16:16 16:20 23:7 25:5 26:6
gearson(1) 5:26                                                                          26:8 27:5 27:14 32:3 39:7 41:16 42:10
geddes(1) 5:18                            105:17    105:19   106:17  108:4  111:19  113:16
                                           115:23    119:8  121:1  122:6  123:19  123:24 42:13 43:17 46:10 51:4 55:23 56:7 57:11
gelber(10) 5:32 16:3 16:7 16:8 16:19 17:3
 17:6 187:7 187:8 189:2                   126:18 126:24 134:12 134:14 134:19 136:357:13 60:12 61:3 63:5 63:6 68:11 74:6
                                           137:10 138:2 138:18 138:24 139:1 139:1984:7 89:1 93:14 95:7 99:13 100:14 104:22
general(9) 39:22 59:4 64:9 66:11 138:13   139:19    140:22 145:16 150:8 151:12 156:20105:4 106:22 114:11 114:22 128:18 132:10
142:21 163:24 206:8 209:20                 160:2   162:14   163:15 163:17 172:11 174:8 135:19 140:23 143:17 151:6 154:4 157:11
                                          174:17 178:13 181:16 186:20 190:6 193:24157:24 163:7 171:17 173:18 176:7 180:6
                                           194:25 199:19 200:10 209:17 210:25            183:20 185:24 187:13 187:20 191:9 191:9
generally(6) 17:14 33:6 63:20 140:21                                                     192:8 197:8 197:16 197:16 198:2 198:8
140:21 140:24                             211:11    211:23   212:7
                                                                                         199:5 199:7 199:12 199:13 200:17 200:17
                                                                                         202:13 212:15
geneva(1) 38:24
                                          golden(15) 5:11 65:4 65:5 66:12 89:15
gentlemen(1) 85:4
                                          113:7 115:7 138:9 138:10 139:14 140:4 hale(1) 11:40
george(2) 7:19 112:5                                                                     half(2) 100:25 199:21
                                          200:13 200:14 200:15 210:15
gerber(1) 149:17                                                                         hand(8) 24:12 71:4 83:8 161:12 161:13
gerson(24) 20:13 20:14 21:2 21:18 21:21 golden's(1) 139:18                               161:23 195:5 208:14
29:23 30:1 32:13 32:16 33:6 33:10 33:23
                                          goldfarb(2) 4:26 8:15
34:22 34:24 41:10 42:6 45:18 46:2 46:10                                                  handicapped(1) 180:5
                                          goldis(1) 11:42
47:6 49:7 49:9 49:11 49:17                                                               handier(1) 166:23
                                          goldman(3) 11:44 12:13 12:13
                                          gone(5)   56:7  56:11  95:17  119:16   208:13  handled(1) 139:7
                                                                                     A516hands(3) 153:18 153:20 173:13
                                                                                         handwritten(1) 197:19
                                                                                         handy(2) 166:20 196:17
Page : 12                                                                                                                                                04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 226 of 247 PageID #: 737
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                          Page:Line      Word                         Page:Line    Word                         Page:Line
have(301) 14:7 14:9 14:14 14:19 15:4     heard(34) 16:4 20:4 48:10 49:7 49:22         holds(2) 75:9 136:19                      i'd(23) 20:24 47:12 94:3 100:7 105:14
15:13 15:16 16:11 17:4 17:14 17:14 17:1654:20 55:22 63:5 65:15 67:13 68:15 74:10home(2) 48:19 177:8                             109:10 115:25 129:13 132:6 134:15 135:14
18:1 18:3 18:7 18:8 18:10 18:12 19:13 80:18 86:15 98:17 102:13 112:8 115:6            honor(270) 14:4 14:5 14:7 14:13 15:4       136:11 138:6 148:22 156:8 158:12 202:24
27:3 27:6 28:24 30:19 31:4 31:25 32:1 129:14 131:18 132:2 132:22 134:16 141:1215:10 15:25 16:7 16:22 16:25 17:6 17:7 203:14 204:6 205:15 208:4 210:16 211:19
32:17 32:22 34:9 34:16 37:21 38:7 39:22 146:17 146:18 163:14 165:4 176:19 179:118:6 18:20 18:25 19:4 19:7 20:3 20:9
39:23 40:1 40:24 41:20 41:24 42:19 43:8 179:2 200:13 204:8 210:19                     20:10 20:13 21:19 29:24 32:13 33:24       i'll(31) 35:3 42:3 49:9 49:14 49:22 50:18
43:23 44:15 45:10 46:5 46:9 46:21 47:16                                               34:24 35:2 41:7 46:22 47:9 48:6 48:7      58:9 62:1 66:8 66:21 82:18 87:3 90:17
47:18 47:24 48:1 49:25 52:25 53:22 53:25hearing(32) 15:13 16:20 16:24 16:25           49:7 49:19 49:22 50:15 50:17 52:8 52:23 91:12 93:8 94:4 96:3 96:7 102:11 105:8
54:12 54:14 54:16 54:17 55:2 55:3 55:7 20:17 49:13 54:17 57:13 57:20 66:18            52:24 53:8 53:11 54:21 55:9 55:22 56:10 113:7 116:7 116:7 129:14 140:8 141:16
58:2 58:11 58:15 58:20 59:1 59:5 59:10 68:14 74:5 75:21 80:15 83:25 102:14            57:16 57:18 58:4 58:7 62:4 62:18 63:15 142:19 164:16 201:25 204:9 211:7
59:16 59:21 63:11 63:11 64:1 64:3 65:17 102:18 114:11 119:18 120:21 121:14            64:16 65:5 66:7 66:10 66:18 67:5 67:15
67:3 67:7 68:3 68:21 68:23 68:24 69:3 122:18 129:16 156:3 173:20 173:22 176:8 69:19 70:4 70:5 70:9 70:12 71:15 71:25 i'm(87) 15:17 15:22 16:17 16:19 20:14
69:16 70:2 70:17 70:20 70:22 71:6 71:14 192:15 197:13 200:19 210:22 213:2             74:2 74:7 74:11 74:22 75:4 75:5 76:3      25:6 32:10 42:3 49:20 51:14 53:12 53:15
72:25 74:5 75:10 77:14 80:4 80:13 80:24                                               77:14 78:1 79:3 79:16 79:18 80:5 80:10 54:19 57:25 58:1 58:2 58:7 62:9 65:5
81:6 81:22 82:1 82:15 83:8 83:20 85:1 hearings(3) 81:6 119:12 119:16                  80:21 81:1 81:21 82:11 82:13 83:17 83:2465:7 65:13 66:6 71:4 71:4 71:17 74:24
85:3 85:5 87:5 87:8 87:16 87:25 89:5     hears(1) 184:21                              84:10 84:18 85:16 86:4 86:10 86:15 87:5 75:1 82:16 82:22 84:3 84:24 85:4 85:20
90:11 91:1 91:15 91:20 92:6 92:15 92:17 heart(1) 178:1                                88:15 89:1 89:15 89:24 90:17 91:10 92:2085:25 86:12 86:18 90:11 90:12 90:16 93:3
92:21 93:1 93:10 94:6 94:23 95:1 95:18 hechinger's(1) 107:5                           93:4 93:8 98:4 98:20 98:22 99:20 100:1 95:21 97:23 100:17 100:22 101:11 101:16
95:25 96:17 96:21 97:20 97:22 97:24      heels(1) 94:2                                100:4 100:6 100:13 100:19 100:24 101:5 103:5 107:6 110:16 111:22 112:5 115:13
97:25 98:9 98:10 98:11 98:23 99:1 99:9 heightens(1) 126:10                            101:10 101:11 101:12 101:17 101:25 102:2116:15 122:5 126:14 128:9 128:10 128:12
99:14 99:16 99:17 99:18 100:12 101:9     heilbut(1) 13:25                              102:9 102:13 102:18 103:5 103:13 103:16129:1 129:7 129:17 131:7 142:20 145:16
101:11 101:20 102:6 103:7 103:10 103:15 held(10) 39:11 70:17 73:16 91:15 120:12 103:22 104:4 104:12 104:17 104:23 105:8 147:8 147:23 151:10 156:13 156:17 158:3
104:1 104:16 104:25 105:6 105:17 106:17 130:12 145:8 155:22 170:1 185:24              105:22 106:24 107:5 107:20 107:23 108:12160:2 162:22 163:2 163:14 163:17 163:18
106:21 108:23 110:17 110:18 111:17 112:1                                               108:20 108:23 109:8 109:14 112:2 112:4 203:7 203:15 204:18 205:11 205:12 206:15
 112:23 113:9 113:13 113:17 113:25 114:8hello(1) 147:3                                113:5 114:18 116:1 116:9 116:11 116:14 208:17 210:18 210:22 211:6 212:9
114:9 114:10 114:12 114:13 114:24 116:18                                              116:17 120:20 127:23 128:5 128:16 128:19
                                         help(1) 106:22
 116:24 117:5 119:11 119:12 119:16 120:1                                               128:25 129:2 129:10 129:11 129:16        i've(15) 46:22 74:10 90:17 90:20 99:23
                                         helpful(3) 140:17 182:2 209:2
120:21 121:5 121:7 121:11 123:13 123:25                                               129:18 130:5 130:15 130:18 131:2 131:3 101:18 109:5 128:9 136:5 156:3 204:8
                                         henderson(1) 9:10
124:6 124:6 124:14 125:11 125:11 126:16                                               131:7 131:14 132:2 132:7 136:23 137:24 204:14 211:5 211:14 212:17
126:18 127:2 127:12 127:14 127:15 127:15hercules(1) 2:23                              138:9 138:12 138:23 139:15 140:11 140:14
 127:19 129:13 129:18 129:19 130:22      here(90) 14:20 14:23 15:19 17:2 18:22
                                                                                       144:7 147:8 147:16 148:14 150:21 150:23ian(5) 29:8 29:12 42:23 42:25 44:6
132:15 132:23 132:24 133:21 134:12       20:1 37:16 37:21 37:24 38:2 38:15 39:5
                                                                                      151:15 156:1 156:17 157:4 157:21 158:6 idea(1) 197:5
134:14 134:19 135:11 136:1 136:4 136:9   40:3  40:7 41:14  41:23  42:15  42:15  43:23
                                                                                      158:12 158:16 158:20 159:21 160:2 160:23identical(1) 126:15
136:14 137:10 138:18 138:23 139:8 139:1746:9 50:21 52:12 52:18 59:21 61:2 61:13 161:7 161:17 162:6 162:15 162:21 163:2 identifiable(1) 117:23
 140:2 140:6 140:15 140:19 141:14 141:1563:10 64:6 64:17 65:6 66:12 78:19 78:24 163:12 164:15 164:21 165:14 166:3 166:7 identified(2) 14:19 66:24
141:20 141:22 143:13 143:17 144:1 144:2 84:5 85:5 85:15 86:20 88:8 89:6 89:13 166:18 166:20 168:6 171:12 171:25 172:4 identify(1) 18:18
144:8 145:11 145:24 145:25 146:6 146:9 94:8 97:23 99:2 99:14 105:15 107:17            172:16 172:20 172:25 173:18 173:25        ignore(1) 126:11
146:15 146:19 146:21 147:9 147:21 148:12107:25 110:19 111:25 112:5 114:24 116:15175:11 175:16 175:19 176:3 176:6 179:8
                                                                                                                                ignoring(1) 22:6
 150:5 150:13 150:18 150:19 152:22 154:8 119:13 123:24 124:19 124:22 128:12           181:5 181:8 181:10 181:13 182:15 182:24 illegal(2) 134:23 135:2
154:10 154:15 155:11 156:9 157:3 157:6   129:17  131:8  133:16  133:16  135:14  136:22
                                                                                      183:10 184:21 184:24 185:3 187:7 187:11
                                                                                                                                illegality(1) 38:4
157:7 157:11 157:15 158:7 158:19 158:21 137:8 141:16 142:13 145:6 147:8 148:6 187:20 187:20 189:19 189:24 190:3 192:8
161:7 162:21 163:25 165:5 166:20 167:10  166:22  169:4  170:5  171:15  172:17  178:9                                            illinois(2) 145:25 160:4
                                                                                      192:21 194:8 195:23 196:2 196:10 196:14
168:11 168:20 169:6 169:8 169:17 169:22 180:12 184:17 185:5 193:23 198:8 201:7 197:10 198:4 199:3 200:8 200:15 201:18 illustrates(2) 62:12 101:22
170:19 171:15 171:18 172:22 174:20 175:3201:13 203:7 204:22 204:22 206:6 207:12 204:6 204:13 205:1 205:16 205:21 207:4 illustration(2) 191:5 191:6
 175:17 181:3 181:6 182:4 182:15 184:12 209:18 210:15 212:20                          208:8 208:20 208:21 210:1 210:10 210:14 imaginary(1) 122:7
184:14 187:4 187:16 187:17 187:20 188:4                                               210:15                                    imagine(2) 123:8 205:17
188:4 189:9 189:10 189:16 189:19 190:24 here's(2) 33:19 119:25                                                                  immediacy(1) 130:2
190:25 191:17 192:20 192:24              hereby(1) 164:13                             honor's(10) 71:23 76:2 86:7 109:10        immediately(1) 124:10
                                         herein(1) 147:24                             131:18 138:17 151:10 163:3 163:14 163:19impact(1) 180:23
                                         herring(2) 96:9 96:23                                                                  impaired(1) 115:19
have(37) 193:3 193:4 193:15 193:17       hey(1) 94:13                                 honorable(1) 1:18                         imparted(1) 27:21
193:22 193:22 194:25 195:2 196:16 198:9 he’s(1) 182:1                                 honor’s(1) 172:21                         implicate(1) 109:17
198:17 199:20 201:10 201:13 201:16       high(1) 99:17                                hook(1) 90:16                             implication(2) 48:17 195:5
201:19 202:4 202:7 203:25 204:20 205:10 highlight(1) 159:4                            hope(2) 87:6 189:6                        implications(1) 182:20
206:9 206:9 206:24 206:25 207:23 207:25 highly(1) 55:21                               hopefully(4) 18:10 72:14 142:4 190:5      important(8) 46:24 47:2 61:19 137:7
209:3 209:24 210:8 210:10 210:19 211:10 him(8) 15:14 67:8 68:21 151:18 181:25 horan(1) 4:33                                     142:2 144:16 146:11 158:18
211:20 212:6 212:8 212:16                182:3 182:11 209:4                           horizon(1) 55:8
                                                                                      horrible(1) 87:22                         importantly(6) 29:12 48:23 73:14 187:25
haven't(7) 29:23 30:21 31:17 40:8 41:11 himself(2) 135:10 197:6                       host(2) 68:7 68:8                         191:16 196:7
137:22 211:14                            his(27) 19:2 43:4 43:7 72:3 72:9 86:21       hotly(1) 154:1
                                         90:23 92:14 95:9 95:22 98:20 114:21                                                    importantly”(1) 191:16
                                                                                      hour(2) 74:21 101:7
haven’t(1) 198:25                        114:21 141:3 151:23 170:2 175:20 175:21                                                impose(7) 26:7 121:22 133:17 136:24
                                                                                      hours(2) 100:23 100:25
having(12) 14:22 25:14 26:1 36:17 68:19 176:10 177:4 181:16 181:18 181:19 182:14                                                137:25 166:14 172:1
                                                                                      housekeeping(1)  14:14
101:10 134:17 178:24 181:23 189:2 196:11205:11 208:22 209:4
                                                                                      how(29) 15:22 16:25 29:25 33:1 33:4
 207:18
                                                                                      42:18 66:5 71:11 72:21 74:22 82:8 86:5 imposed(10) 24:20 24:23 26:16 118:13
                                         history(14) 25:6 25:7 33:11 33:16 33:22                                                118:18 119:4 121:21 123:17 135:7 170:20
hawaii(1) 61:2                           62:12 190:21 191:7 197:1 198:8 198:11 87:25 95:19 99:22 109:21 109:25 134:10
                                         198:16 203:23 205:7                          134:15  171:25  179:19 180:19  182:23 189:5
hazeltine(2) 3:35 3:37                                                                 191:11 191:13 194:16 198:21 207:20       imposes(1) 24:18
he'd(1) 129:14                                                                                                                  imposition(2) 132:4 160:15
he'll(1) 91:6                            hit(2) 86:4 123:3                                                                      impossibility(1) 186:7
                                                                                      how's(1) 201:17
he's(11) 18:22 50:19 65:14 72:16 90:23 hoc(2) 16:4 185:2                              howard(1) 4:14                            impossible(3) 50:8 134:12 186:6
95:14 122:6 139:19 151:24 157:1 204:20 hold(5) 128:14 160:1 160:11 174:11 185:12
                                                                                      however(6) 26:9 91:24 98:13 106:9 119:17impression(1) 198:18
                                         holderman(1) 160:6                                                                     imprimatur(3) 73:15 110:14 111:15
                                                                                       142:23
head(3) 18:7 86:4 140:8                  holders(19) 29:6 83:8 83:9 84:1 84:2                                                   improper(1) 195:17
headline(1) 101:8                        96:11 164:8 167:15 169:24 173:8 177:12                                                 impropriety(1) 41:2
                                                                                      huge(1) 192:24
hear(17) 15:24 16:9 18:5 56:4 58:3 64:15 178:12 184:7 184:15 184:17 184:22 185:11hundred(1) 192:9                               inability(1) 180:5
74:9 88:24 115:4 115:6 164:20 181:12      188:9 188:17                                                                          inactions(2) 37:3 38:9
                                                                                      hundreds(1)  35:16
198:23 200:10 201:21 201:25 210:6        holding(6) 40:13 43:4 43:7 59:19 106:3                                                 inadequate(2) 58:8 86:14
                                         160:8                                        hurdle(1) 34:13
                                                                                 A517 hutz(1) 7:24                              inadvertently(2) 132:13 206:1
                                                                                      hypothetical(4) 129:24 134:4  136:12      inapplicable(1) 30:6
                                         holdings(3) 92:2 92:15 177:16
Page : 13                                                                                                                                               04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 227 of 247 PageID #: 738
                                         TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                        Page:Line         Word                         Page:Line   Word                         Page:Line
inappropriate(6) 77:5 77:18 81:6 137:23 individually(1) 111:4                          interruption(1) 147:1                    it's(144) 15:12 15:21 20:2 24:2 24:3 25:1
141:8 201:1                              individuals(6) 31:24 59:5 63:10 117:1         intertwined(1) 126:12                    28:25 30:8 30:23 31:20 34:15 35:10 38:20
                                         117:8 117:23                                  intervened(1) 188:21                     39:20 41:1 41:3 41:5 41:5 43:20 43:25
inappropriately(2) 165:1 171:13                                                        intervening(2) 206:6 206:7               44:1 44:2 44:14 44:20 44:21 45:20 46:11
inc(1) 12:19                             induce(2) 78:13 78:24                         interviewed(1) 62:24                     47:1 47:2 48:23 51:11 52:13 52:14 54:5
incentive(5) 64:22 68:24 123:7 127:6     induced(4) 60:14 90:22 90:23 91:2             into(31) 17:18 20:24 33:21 48:13 56:8    54:21 55:17 57:4 58:19 60:1 61:13 62:22
incentives(7) 63:12 67:23 69:10 69:10    indulgence(2) 79:8 204:4                      57:21 63:15 64:23 65:21 66:3 66:16 86:2365:15 67:19 70:19 73:16 73:18 74:21
70:18 71:6 122:23                        ineligible(2) 66:4 67:15                      94:4 104:24 110:15 110:20 114:14 126:8 76:15 77:2 77:6 78:25 81:13 82:20 84:19
                                         inequitable(2) 122:21 189:3                   127:3 138:20 143:8 151:12 167:7 174:17 85:8 86:16 87:10 88:6 88:7 88:9 91:1
include(6) 31:17 34:12 36:6 63:11 143:10 infer(1) 80:14                                182:8 195:14 198:20 201:10 201:10 203:2391:7 91:14 94:12 95:17 96:4 96:8 96:8
152:12                                   infinite(1) 209:9                              205:9                                   96:9 96:22 99:17 105:19 106:3 106:17
                                         inform(1) 212:17                              invention(1) 145:23                      107:18 108:12 109:24 110:9 110:13 110:16
included(3) 103:24 117:17 142:10         information(4) 27:15 27:18 27:20 27:25        investigation(2) 62:20 62:25              110:23 111:16 111:16 111:17 111:24
includes(3) 30:16 30:17 31:13                                                          investment(2) 22:10 22:20                112:15 115:23 118:7 119:20 122:1 122:11
                                         informed(1) 138:23
including(22) 21:12 31:15 37:3 45:10                                                   investor's(1) 25:15                      122:15 122:15 122:21 122:21 123:10
                                         infringe(2) 165:1 171:13
55:18 62:21 65:10 121:3 123:21 134:17 inhibits(1) 143:5                                investors(7) 12:5 22:8 22:9 25:14 25:18 123:10 123:18 124:19 125:15 125:18
141:9 141:11 148:1 149:10 149:24 173:8 initial(7) 31:7 47:18 85:24 88:18 88:18         26:5 26:8                                126:14 126:18 126:20 130:7 131:18 133:1
182:7 192:19 193:6 194:17 199:6 206:16 96:10 151:17                                                                             133:2 134:4 134:20 135:21 137:3 137:11
                                                                                                                                139:12 142:2 145:23 149:12 149:19 152:1
                                                                                       invitation(3) 83:18 99:23 204:7
inconsistent(4) 77:4 166:16 175:11 175:12 initially(1) 201:3                                                                    154:1 155:1 156:5 158:14 159:18 159:19
                                                                                       invite(1) 181:10
inconvenient(1) 174:2                                                                                                           159:21 160:4 160:15 162:16 164:9 202:16
                                          initiating(1) 130:19                         invoke(2) 164:8 164:23
                                                                                                                                203:9 205:24 206:2 206:10 207:6 208:2
incorporate(3) 98:5 143:7 190:9           injunction(6) 123:22 124:9 124:19 125:4 involuntarily(1)       135:7                  208:11 208:12 208:17 209:24 209:25
incorporated(1) 57:20                     125:24 127:20                                involuntary(1) 132:4                     210:20 210:24
incorporation(7) 59:20 59:21 60:8 60:9                                                 involve(4) 108:4 112:11 138:20 206:11
60:16 60:23 92:11                         injunctions(2) 123:22 148:17                 involved(16) 23:18 26:10 26:23 27:1 27:6 item(1) 54:1
                                          injured(3) 23:11 61:21 136:14                29:9 31:10 31:18 31:24 52:7 59:5 60:10 items(4) 54:10 93:15 194:7 197:19
incorrect(2) 46:2 136:8                   injurious(1) 72:25                           94:14 104:2 164:16 210:4
                                                                                                                                iterations(1) 132:16
increases(1) 126:10                       inputted(1) 27:22                                                                     its(46) 22:21 23:2 24:6 25:5 27:16 28:2
increasingly(1) 143:7                     inquiry(2) 86:20 205:3                       involves(2) 194:22 205:3                 28:3 31:12 39:20 45:12 50:25 55:11 63:23
incurred(2) 29:3 29:4                     insiders(1) 67:1                             involving(4) 23:21 23:25 143:4 146:13    64:20 66:19 66:20 73:15 76:7 90:8 90:15
indebtedness(17) 97:11 97:13 167:11       insisting(1) 98:21                           iridium(1)  172:9                        95:1 99:5 100:22 110:13 116:12 116:16
167:16 170:23 176:17 193:18 193:21        insofar(7) 58:10 60:3 60:19 61:25 70:19 irrelevant(1) 26:19                           119:20 143:16 151:7 151:8 151:24 151:25
193:21 193:22 193:23 193:25 194:2 194:2 72:7 190:22                                    irrevocable(1) 184:9                     152:14 154:17 154:19 155:14 155:20 159:6
195:9 195:11 195:13                                                                    isaac(5) 8:30 128:7 129:3 131:15 190:4    159:9 161:9 163:23 167:2 167:23 167:24
                                          insolvency(4) 26:6 26:11 27:10 27:19         isn't(8) 14:24 52:17 64:11 90:3 92:2     204:4 207:22
indeed(3) 40:24 83:20 164:3               instance(2) 118:13 120:4                     109:11 110:11 115:11
indemnification(15) 40:17 53:18 59:22     instances(2) 33:17 111:8                                                              itself(15) 24:9 52:13 59:8 76:5 76:18 85:8
60:1 60:4 60:11 61:5 61:7 61:10 61:22 instant(1) 19:23                                 isn’t(3) 189:1 194:8 200:24              86:10 101:14 123:21 124:25 141:9 142:1
62:5 89:25 91:16 93:25 94:20              instead(8) 20:21 25:1 25:22 25:25 50:13 issuance(2) 38:5 38:5                         166:19 173:10 209:22
                                          69:11 92:14 143:14                           issue(102) 15:11 16:10 16:15 17:18 20:19
indemnifications(1) 59:15                                                              23:8 30:24 35:9 35:10 35:21 38:22 38:25 it’s(45) 166:7 166:14 166:19 166:22 167:3
indemnified(1) 93:23                      institutional(1) 71:18                       39:7 40:13 42:8 42:12 42:18 42:18 42:20 167:23 167:23 169:14 171:10 172:18
indemnify(1) 90:6                         instructions(1) 148:20                       43:4 44:18 46:21 46:24 48:25 54:4 54:9 173:10 174:2 174:12 174:17 175:12 175:23
indemnifying(1) 90:3                      instrument(1) 194:13                         54:18 54:18 54:21 55:9 56:7 56:11 57:12 179:9 179:10 179:11 179:11 179:21 181:7
indemnities(1) 135:16                     insurance(4) 55:20 61:16 61:19 104:19        57:22 59:8 62:2 64:1 69:22 72:8 72:13 181:11 182:2 182:2 182:12 182:21 182:23
indemnity(26) 72:5 73:8 87:3 87:7 90:20 insurers(1) 61:16                              73:11 74:16 75:7 75:19 75:23 76:6 76:6 183:4 183:17 186:13 186:23 188:8 189:3
90:24 90:24 93:16 93:18 93:22 94:2        integral(2) 127:15 202:17                    76:13 83:18 84:12 84:14 84:17 98:6 98:14191:12 192:13 193:9 193:12 194:9 194:10
116:25 117:20 120:6 121:6 130:3 143:2                                                  98:22 99:4 99:6 99:7 99:12 99:16 99:21 194:13 195:11 195:14 196:12 199:5
                                          integrity(1) 64:8
144:23 147:19 148:3 150:23 152:13 159:10                                               101:19 101:23 103:23 109:2 110:2 110:10
                                          intelligible(1) 126:6
 159:17 160:22 171:23                                                                  110:11 111:19 112:16 112:19 119:6 121:23
                                          intend(3) 128:11 156:8 196:9
                                                                                        125:17 125:23 125:24 126:16 132:18      i’d(9) 166:20 168:14 169:6 169:8 175:19
                                          intended(8) 40:23 45:19 45:20 107:13
indenture(31) 84:6 97:5 97:5 97:8 97:18                                                132:20 133:16 136:1 139:4 139:6 145:7 175:21 179:8 184:18 190:17
                                          107:19 107:24 182:23 200:21
98:3 98:21 163:10 164:11 164:24 166:19                                                 151:20 152:4 163:25 164:9 171:15 180:12
167:13 168:5 168:7 168:9 168:11 168:22                                                 184:14 187:13 188:3 193:11 197:3 197:12 i’ll(7) 165:16 166:1 167:6 180:7 182:16
170:17 173:3 173:4 178:4 178:16 178:22 intending(1) 82:1                               197:13 202:12 207:5 208:21 209:8 210:2 183:12 190:9
179:11 179:16 184:14 185:20 186:11 193:8  intent(2)  102:19  112:10
 193:12 193:14                            intention(2) 166:7 178:21                    issued(5) 101:8 149:3 151:4 151:8 160:7 i’m(22) 164:20 165:14 166:22 168:15
                                          intentional(3) 48:1 94:1 102:24              issues(42) 17:21 18:7 35:5 55:16 62:9    168:19 174:1 174:1 179:9 180:5 181:7
indentured(2) 168:10 183:8                intentionally(4) 83:15 88:11 102:25 154:14 71:16 73:5 73:8 74:2 75:2 81:2 86:10
                                                                                                                                181:16 182:21 190:6 191:13 193:17 193:23
indentures(1) 194:1                       inter(1) 133:8                               88:1 98:23 113:8 116:2 119:9 119:14       194:4 197:14 197:22 197:23 198:8 198:9
independent(14) 27:4 42:11 42:12 42:14    inter-company(1)    176:18                   119:19 124:11 124:18 124:21 125:25 126:5
55:6 61:10 67:9 67:22 69:7 69:9 70:7      interest(37)  28:21  29:10  53:22  55:14      126:21 135:2 139:11 149:19 163:13       i’ve(3) 168:17 173:17 200:4
71:9 71:20 72:13                          55:18 63:12 63:24 64:1 64:3 64:14 64:21 163:22 164:8 165:5 166:2 171:3 184:3
                                                                                                                                james(6) 1:24 2:15 4:15 4:25 8:16 79:3
                                          65:1 67:11 67:18 67:19 67:24 68:11 68:12184:20 190:11 190:18 196:9 203:7 208:19
                                          68:23   69:3  69:12  70:7  70:14  71:1 71:21                                          jane(1) 10:39
independently(1) 64:18                                                                 210:3                                    janet(1) 9:10
indicate(2) 35:14 138:25                  73:23   85:19  95:3  95:7  171:8  177:24     issuing(1) 36:23
                                          191:17 192:10 194:14 194:14 194:19                                                    january(6) 16:20 45:2 83:25 185:5 187:11
indicated(6) 16:14 41:4 102:5 137:13                                                                                            187:12
198:12 199:4                              194:23
                                          interested(1) 11:28
                                          interesting(1) 87:13                                                                  jason(4) 2:37 10:27 185:1 185:3
indicating(1) 14:15                                                                                                             jean-marie(1) 10:19
indication(1) 139:6                       interests(11)  28:20  28:25  29:14  44:20
                                          47:17   59:4  83:4  113:16  113:17  166:1                                             jeffrey(4) 4:39 7:25 49:20 157:21
indicative(1) 55:13                                                                                                             jenner(4) 6:31 11:32 53:9 79:6
                                          178:15
indirectly(2) 154:10 154:15                                                                                                     jennifer(1) 13:38
                                          internal(1)  86:8
indiscernible(1) 194:15                                                                                                         jessica(1) 8:8
                                          interplay(2)  33:2  107:15
individual(20) 17:11 18:19 18:21 114:6                                                                                          jim(2) 48:7 176:4
116:22 120:18 121:4 125:8 125:10 131:25   interposes(1)  22:19
                                                                                                                                john(3) 7:18 13:11 116:15
132:9 132:11 132:14 136:25 144:22 153:19interpret(1) 151:6
                                          interrupt(1)  65:6
 153:20 158:25 161:4 177:13
                                          interrupted(1) 184:3                      A518
individual's(1) 145:4                     interrupting(2) 15:2 196:3
Page : 14                                                                                                                                                04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 228 of 247 PageID #: 739
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                      Page:Line        Word                        Page:Line     Word                         Page:Line
johnston(22) 2:15 48:7 48:7 175:19      kavalis(1) 11:21                           lantry(20) 1:27 14:5 14:6 14:13 15:4      lee(1) 12:39
175:25 176:3 176:4 181:1 181:10 195:23 kaye(2) 10:34 11:12                         16:14 17:7 18:6 18:15 18:20 18:25 19:6 left(7) 85:25 85:25 86:1 86:1 163:25
196:1 196:2 196:19 198:23 200:8 200:23 keep(7) 43:19 44:2 46:22 47:6 65:17         20:10 20:16 102:1 102:1 116:11 116:11 192:11 201:6
201:16 201:18 201:23 201:25 204:6 204:1190:18 165:24                               200:18 200:20
                                                                                   large(4) 14:15 35:15 36:17 70:20          legal(33) 7:4 30:18 53:18 60:1 60:4 61:5
join(2) 128:2 128:19                      keeping(7) 42:20 43:9 43:12 44:19 70:24 largely(1) 14:8                            61:7 61:15 65:9 65:10 65:12 65:16 65:21
joinder(1) 201:4                          71:9 73:25                               larger(1) 209:24                          72:5 77:16 78:25 79:6 79:10 85:12 85:19
joinders(1) 108:21                                                                 largest(1) 71:11                          86:7 109:23 110:22 115:4 139:25 163:13
joined(3) 128:18 129:19 198:25            ken(3) 1:26 19:1 19:4                    larry(1) 16:3                             165:1 165:2 171:13 201:15 204:1 204:23
joining(3) 141:6 196:24 196:24            kenney(2) 6:39 9:11                      last(19) 15:5 19:17 19:22 65:15 75:18     205:1
joint(5) 141:24 161:11 161:21 162:13      kept(2) 43:25 44:17                      90:19 93:15 101:7 102:2 108:23 117:15 legally(5) 46:12 46:12 46:15 46:20 66:4
162:18                                    kerp's(1) 39:24                          119:15 161:16 162:9 178:6 180:8 188:8 legislative(12) 25:6 33:11 33:16 33:21
                                          kevin(7) 1:18 1:27 14:5 18:21 19:7 102:1 200:18 212:11                             160:12 190:21 191:7 197:1 198:7 198:11
jointly(3) 111:14 148:9 162:2             116:11                                   late(1) 200:18                            198:16 205:7
jonathan(1) 10:37                                                                  later(22) 32:1 35:9 49:12 54:3 54:6 74:19
jordan(1) 11:12                           key(2) 58:11 200:8                       81:4 88:24 96:5 98:20 99:17 99:18 101:23legitimate(1) 49:3
joshua(2) 2:14 13:34                      kick(2) 48:15 88:7                       105:6 110:11 112:21 115:12 150:19 176:20lemay(23) 4:13 79:5 82:12 82:13 84:21
jpmorgan(3) 171:23 172:2 181:14           kidding(1) 134:20                         205:6 209:14 209:22                      84:23 87:24 88:9 89:23 92:25 93:10 93:16
jr.,esq(1) 11:10                          kim(1) 10:9                                                                        114:18 114:18 204:13 204:13 205:18
judge(23) 1:18 1:19 42:25 70:16 70:21     kind(14) 27:6 65:22 68:3 69:9 84:24 86:9 latham(3) 2:36 10:26 185:1                205:21 207:8 207:14 208:4 208:8 208:10
73:16 88:12 101:9 107:6 122:6 126:11      107:24 115:24 136:5 172:1 173:19 203:15 latter(1) 33:8
141:11 144:16 145:6 145:12 149:16 149:17206:12 209:9                               laughter(25) 16:13 32:15 33:9 52:5 74:25 lemay's(1) 98:18
 158:24 160:6 160:6 160:7 173:20 207:13                                            95:23 99:25 100:10 104:8 109:7 128:13 lender(14) 19:12 47:25 108:2 153:22
                                          kinds(3) 101:24 126:7 162:5              131:5 139:13 140:10 140:13 147:2 147:5 154:5 154:17 154:18 154:18 154:19 155:3
judges(1) 122:10                          king(5) 3:7 3:24 5:6 6:13 7:6            151:14 156:16 158:5 163:5 201:11 201:24 155:20 155:21 182:8 199:25
judgment(45) 32:2 73:20 124:15 124:15 kira(1) 8:34                                 205:19 211:9
126:22 129:25 131:19 131:21 132:4 132:24klauder(1) 3:5                                                                       lenders(17) 11:36 26:9 30:2 30:11 44:13
 132:24 133:3 133:7 133:20 133:22 134:2 klee(3) 169:20 170:1 172:21                launched(1) 86:22                         76:23 76:25 77:7 85:21 153:21 154:21
134:2 134:5 134:9 134:13 134:24 135:4 klehr(2) 5:37 16:1                           laundry(1) 145:16                         180:10 191:11 191:17 192:8 202:20 209:19
135:6 135:10 135:13 136:20 136:24 137:6 klingman(2) 105:23 106:2                   laurie(1) 2:21
137:16 137:25 138:3 143:10 143:16 143:19knew(7) 26:9 32:12 79:24 109:1 109:2       law(90) 12:29 25:9 27:21 42:23 45:8       length(6) 72:23 116:2 119:12 170:2 179:19
 144:12 144:25 145:10 145:25 146:1 155:7173:9 200:20                               46:18 63:4 66:13 78:8 85:14 87:13 89:4 196:7
157:12 157:17 157:18 159:19 162:4                                                  92:2 92:3 92:7 92:9 93:21 93:24 102:16
                                          knight(2) 7:4 128:17                     103:4 103:18 104:11 104:17 107:3 107:16 lengthy(2) 100:15 167:7
                                                                                                                                         1:33 5:26 20:13
judicata(2) 110:2 111:1                   know(76) 15:16 16:22 16:25 18:7 18:11 109:25 112:18 113:2 113:13 113:18 113:19leonard(3)
judicial(2) 90:14 145:23                  18:15 18:21 30:19 31:1 31:15 31:16 33:12 114:9 121:7 123:11 131:25 133:14 138:3 lerner(2) 42:6 42:7
june(6) 19:17 113:24 199:17 212:13        34:6 43:16 49:23 51:20 51:24 52:20 53:1 139:4 139:22 141:2 142:1 144:3 146:6       lesby(1) 42:4
212:14 212:16                             54:16 56:4 65:22 66:5 67:14 67:15 74:12 146:9 151:22 152:5 152:9 152:10 153:2 less(2) 80:12 177:24
                                          74:21 74:22 80:6 80:12 84:25 86:16 88:5 153:15 153:21 154:20 155:21 159:1 159:22lesser(1) 192:14
junior(3) 97:15 206:5 206:7               89:6 89:8 89:23 92:25 94:7 103:6 104:3 159:24 160:12 160:17 160:18 160:21          let(33) 18:23 33:1 35:5 42:4 49:10 65:2
jurisdiction(26) 76:11 76:15 99:10 111:19 104:6 105:11 107:8 112:20 116:6 121:24 160:25 161:20 161:20 162:12 166:24          77:20 79:18 87:7 87:23 116:7 119:8 142:1
123:9 124:13 124:23 124:25 125:6 127:21 128:12 129:13 130:9 135:22 135:24 139:9 167:10 168:23 169:21 170:1 170:15 172:8 144:14 145:22 148:11 152:6 153:12 156:18
142:3 149:9 149:14 149:18 149:23 150:11 148:21 149:5 150:17 151:13 160:17 163:3 172:9 172:9 173:14 175:12 175:14 177:16 157:23 165:6 172:15 173:1 174:14 178:8
150:13 150:15 150:16 150:18 150:19 151:6165:15 175:17 179:10 179:25 181:5 187:22179:5 179:12 182:7 183:16 184:23 192:13 181:12 195:25 197:25 201:15 202:10 207:9
 151:9 151:11 160:24 171:25                189:5 192:9 194:25 200:23 201:13 201:14193:11 205:8 205:9 205:23 206:2 206:11 211:4 212:10
                                          201:15 201:21 207:12 210:16 211:8 212:7 208:17
jurisdictional(1) 124:21                                                                                                     let's(8) 17:5 49:9 53:7 68:21 74:23 81:15
jurisdictions(4) 92:3 121:2 122:5 122:9                                            lawrence(3) 5:32 16:7 187:8               154:25 156:11
jurisprudence(1) 206:3                    knowledge(1) 27:22                       laws(2) 38:4 117:3
just(121) 14:13 16:25 17:25 18:6 18:11 knows(8) 26:24 63:15 70:9 94:6 116:17 lawsuit(10) 72:17 72:20 72:25 142:8 153:9letter(2) 184:5 211:12
18:17 19:1 20:11 33:6 36:11 43:5 44:2 120:20 122:9 138:23                           172:16 172:23 174:4 174:7 174:12         letters(1) 211:5
44:5 44:5 46:23 47:8 47:9 47:12 47:13                                                                                        letting(2) 110:10 173:24
47:19 48:9 52:17 52:17 54:12 54:20 56:6 korpus(1) 12:31                            lawsuits(3) 125:9 151:1 171:15            let’s(2) 172:15 174:14
57:11 57:14 57:18 79:18 83:19 84:20 86:5krakauer(17) 1:25 35:2 35:3 39:15 40:8 lawyer(2) 43:16 43:17                         level(10) 41:22 42:1 50:22 163:24 169:3
86:7 88:4 88:7 89:8 89:16 90:5 90:7       42:7 47:5 47:13 48:11 50:17 50:17 51:11 lawyers(1) 86:25                           173:15 199:21 206:22 206:22 209:21
91:11 92:1 92:21 92:22 95:10 96:3 97:23 51:19 51:22 52:8 52:22 115:16              lay(1) 146:12
105:5 107:4 108:12 113:10 114:3 115:3                                              lays(1) 176:12                            levels(1) 122:16
115:22 119:8 119:12 123:11 128:11 128:15kramer(2) 11:8 11:8                        layton(1) 3:20                            leverage(6) 25:19 25:23 26:24 36:21 37:4
 128:19 131:8 134:4 138:22 139:5 139:6 kripke(2) 25:8 25:11                        lbo(18) 47:21 59:16 60:5 64:12 64:23      173:6
139:17 140:7 140:9 141:11 141:15 142:12 lh (1) 42:5                                66:25 69:6 96:14 96:19 102:23 104:14
142:19 143:23 145:23 146:4 146:4 146:5 label(2) 109:23 110:22                      105:1 116:20 165:19 172:24 191:11 191:18leveraged(1) 159:13
148:24 150:3 152:6 152:6 152:16 153:12 labor(11) 5:25 5:25 18:12 20:11 20:15        202:18                                   levers(2) 87:2 87:4
156:5 156:15 156:18 156:24 157:7 160:2 21:5 21:23 24:20 35:4 36:10 36:19           leadership(1) 163:16                      levied(1) 181:15
161:18 172:7 173:1 173:19 175:22 180:12                                            leading(5) 38:1 142:2 142:3 142:4 160:2 levin(2) 11:8 11:8
181:6 181:16 181:23 182:23 184:18 185:8 labor's(1) 15:6                            leaning(1) 22:23                          levy(2) 8:38 181:16
185:18 186:23 188:3 188:6 189:12 190:9 labors(1) 18:8                              learned(1) 172:22                         lewis(2) 11:24 13:41
191:12 192:7 194:15 196:10 196:15 198:20                                           lease(1) 194:6                            lexi(1) 12:16
                                          lack(2) 24:15 164:12
 202:4 202:10 204:19 210:15 210:25 211:4                                           least(23) 15:16 15:19 43:3 55:7 73:21     lexington(2) 3:16 4:40
                                          lacked(1) 55:21
211:15 212:10                                                                      74:9 82:23 88:5 88:21 108:7 112:9 116:8 lexus(1) 144:18
                                          laid(3) 118:10 176:9 177:5
                                          lake(1) 86:23                            117:15 133:4 133:25 146:20 169:22 170:9 liabilities(3) 59:3 97:12 97:14
justification(2) 203:16 209:16                                                     183:24 184:7 186:5 192:18 193:19          liability(30) 23:17 32:5 32:19 32:20 58:14
                                          lance(1) 10:5
justified(1) 44:9                                                                                                            72:7 85:9 120:13 120:22 124:3 126:17
                                          land(1) 146:12
justify(3) 43:1 191:10 192:17                                                      leave(6) 28:25 72:23 73:5 101:7 180:7     130:9 133:22 137:19 141:23 141:24 141:25
                                          landis(3) 4:5 4:7 8:20
kl (1) 49:20                                                                       203:14                                     144:23 148:6 148:8 153:8 153:10 154:12
                                          landscaping(1) 104:19
kalenchits(2) 9:4 9:4                                                                                                        154:20 160:15 161:11 161:21 162:13
                                          language(16) 20:22 21:18 33:4 33:13
kansa(6) 1:26 19:1 19:4 19:4 20:9 52:24                                            leaves(4) 28:21 83:15 88:2 164:14         162:19 174:19
                                          33:17 33:19 46:4 88:2 88:6 97:7 97:8
karen(1) 11:29                                                                     leaving(1) 29:15
                                          135:24 166:2 178:18 203:6 212:4
kasowitz(1) 12:29                                                                  lebeouf(1) 2:13
katharine(1) 5:5                                                               A519leboeuf(2) 48:8 176:4
                                          lantico(1) 39:16
katten(3) 6:25 13:10 129:12                                                        led(1) 27:10
Page : 15                                                                                                                                             04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 229 of 247 PageID #: 740
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line     Word                         Page:Line    Word                        Page:Line   Word                        Page:Line
liable(13) 23:6 23:14 23:20 120:23 130:12 locate(1) 69:18                           management(26) 2:36 5:31 6:11 7:34 8:25 means(6) 90:9 116:2 117:24 122:13
133:19 134:8 134:14 134:18 134:19 134:20lodge(2) 7:24 138:12                         8:25 9:35 9:35 10:4 12:38 12:38 13:19 152:16 189:14
 148:9 162:2                              lodged(3) 145:5 158:15 204:20             13:19 13:24 13:24 13:33 13:33 13:37
                                          loizides(5) 6:11 6:12 131:7 131:7 131:11  13:37 16:2 23:2 128:8 131:16 132:18     meant(2) 32:12 92:13
liebentritt(2) 6:5 64:8                   long(5) 19:19 64:7 170:1 170:1 173:17     187:9 190:5                             measure(2) 88:12 125:16
light(6) 134:16 151:3 158:1 158:6 184:6 longer(8) 60:19 60:19 74:23 95:25 104:16                                            measures(1) 24:21
206:2                                     106:13 188:14 188:16                      managers(2) 23:6 23:10                  meaty(1) 164:15
                                                                                    mandatory(2) 44:25 60:11                mechanic(2) 170:19 182:25
like(54) 14:8 20:24 37:21 39:23 47:12      look(29) 33:11 33:15 42:5 43:7 44:6 68:13manner(3) 94:25 149:14 149:23           mechanism(10) 69:17 71:9 86:9 103:11
47:14 47:18 65:6 74:22 90:7 94:3 94:9       71:25 74:9 80:12 83:1 85:15 85:21 97:23 manufacturer’s(1) 175:14                104:10 104:24 107:4 108:12 111:5 184:1
99:20 100:7 102:5 103:6 105:13 109:10 100:16 107:25 108:5 110:23 111:1 111:2 manufacturing(1) 174:15
113:10 114:1 114:3 115:22 115:23 122:7 111:6 122:23 159:7 161:7 168:6 186:19 many(7) 18:8 22:4 66:25 67:16 145:24           med(2) 38:22 40:1
126:18 130:23 132:6 135:14 136:11 141:15194:9 194:12 194:16 200:15                  160:18 162:16                           media(5) 29:9 29:13 42:23 42:25 44:6
 142:12 148:22 156:8 158:12 159:4 166:3                                                                                     meet(3) 69:2 69:3 73:22
168:9 169:24 175:19 175:22 184:18 190:8 looked(7) 38:22 40:21 40:22 40:25 67:9 marathon(1) 172:5                            meisel(1) 1:32
190:11 190:18 194:12 199:19 199:20 201:285:16 110:23                                marc(2) 4:19 8:6                        member(1) 95:4
 202:24 203:14 204:6 205:16 210:16                                                  march(7) 102:14 103:17 103:25 113:8     members(1) 94:22
211:19                                     looking(9) 34:8 45:22 67:24 109:22 110:1 114:4 172:17 180:10                     memo(1) 75:21
likely(4) 27:19 113:22 203:2 203:5         110:3 119:19 123:9 197:18                                                        memorandum(4) 130:10 191:15 194:18
likewise(2) 48:5 93:24                                                              marine(1) 45:2                          199:4
limit(4) 31:5 61:6 81:23 198:15            looks(4) 64:18 88:17 91:25 206:17        marino(1) 2:30
limitation(3) 39:3 137:8 148:2             los(1) 2:17                              markell(3) 206:15 207:10 207:13         memorialize(1) 198:2
limitations(9) 32:19 59:14 103:10 105:25 losquadro(1) 8:26                          market(4) 1:11 2:24 4:8 5:40            menachem(1) 13:42
113:24 158:18 162:10 171:4 172:5           loss(2) 27:6 125:20                      markets(1) 108:10                       mention(5) 92:14 92:14 108:24 160:2
                                           losses(3) 37:10 37:12 143:2              marrero(1) 8:8                          182:19
limited(21) 23:24 30:16 30:23 31:20 38:3 lost(2) 41:2 111:4                         marries(1) 166:6
38:20 40:13 40:15 92:19 131:17 136:25 lot(9) 50:23 65:8 83:19 92:21 112:7 126:4 marry(1) 182:22                             mentioned(7) 54:13 74:15 92:8 92:11
137:2 137:6 138:1 138:3 139:2 152:4        141:18 163:14 174:9                      marsal(1) 12:19                         92:13 151:23 196:5
157:16 177:2 177:9 198:11                                                           martin(4) 3:29 22:25 98:2 183:7
                                           lottery(1) 73:15                         material(3) 205:4 206:19 209:10         merely(2) 33:3 43:24
limiting(1) 94:20                          love(1) 179:8                            materiality(3) 207:23 207:24 210:3      merger(6) 27:2 27:4 27:9 28:1 186:22
limits(1) 24:1                             low(1) 121:24                            materially(2) 205:14 207:19             186:22
line(10) 14:11 15:17 15:18 147:7 147:10 lower(3) 29:19 176:15 207:19                matter(21) 15:15 15:23 16:5 16:17 43:19
148:16 149:19 154:3 181:20 207:3           loyalty(2) 28:3 173:8                    46:18 51:17 51:23 59:13 72:18 134:10    merit(12) 54:15 54:16 55:21 55:23 68:18
                                           ltd(1) 7:10                              145:23 161:2 178:1 180:18 183:16 184:22 69:16 70:2 80:4 80:25 101:9 101:11
liquidation(2) 169:2 176:16                luck(1) 122:1                            205:1 209:6 210:19 213:7                101:20
liquidation.”(1) 177:25                    lugano(1) 1:39                                                                   meritorious(1) 82:6
list(6) 14:23 14:24 15:6 17:18 145:16      lunch(2) 74:21 101:7                     matters(5) 93:14 149:10 149:11 150:15   merits(10) 35:20 56:8 63:15 79:13 80:15
listed(1) 196:16                           lynch(2) 2:20 10:34                      204:24                                  80:22 81:3 81:13 81:24 184:16
listen(2) 99:2 100:21                      lyondell(4) 115:21 135:13 136:4 149:17
listened(1) 171:24                         macquarie(2) 13:14 13:14                 matthew(4) 8:21 9:36 12:19 12:20        merrill(2) 2:20 10:34
listening(2) 65:11 156:3                   made(67) 24:8 24:22 25:12 27:5 30:11     maximize(2) 94:19 94:23                 mester(1) 2:14
listing(1) 178:6                           46:19 47:14 47:25 72:13 73:2 73:20 73:24maximum(1) 130:9                         met(2) 85:13 119:2
litany(1) 162:14                           75:20 76:21 76:21 76:25 78:7 79:13 81:19maxwell(1) 70:16                         metals(3) 91:9 91:13 92:13
literally(1) 49:11                         82:18 86:16 90:21 91:23 93:2 93:10 99:3 may(59) 14:10 15:14 33:18 35:15 47:9     method(2) 125:12 143:19
litigant(2) 165:3 171:14                   99:11 101:12 101:13 101:19 102:23 105:3 47:22 48:3 49:7 49:12 49:13 50:6 51:23 michael(5) 3:14 5:39 9:21 10:21 16:1
litigate(7) 81:5 81:24 173:17 173:21       105:13 109:14 111:21 111:23 112:14       55:9 60:18 62:21 70:20 86:20 87:5 92:24 michelle(2) 2:30 11:42
173:24 175:9 175:10                        113:12 114:12 115:16 119:14 127:11 128:297:22 106:4 106:12 111:25 112:21 114:7 michigan(2) 6:6 86:23
                                            129:21 140:2 140:6 140:15 140:19 141:1 115:19 116:25 127:15 131:3 131:12 139:8 might(30) 15:15 16:18 25:24 27:16 29:4
litigated(3) 36:18 92:18 136:1             146:4 146:15 148:12 151:16 156:19 159:7 142:23 146:6 147:15 150:5 150:18 150:19 30:3 34:9 52:6 54:20 58:6 68:2 76:1 78:6
litigation(86) 30:15 30:22 36:1 36:2 48:4 161:14 175:8 180:12 190:8 196:22 196:23 150:20 154:13 157:6 159:1 159:3 166:13 80:11 83:22 87:16 89:15 99:17 99:18
49:24 50:3 52:19 53:23 58:9 58:14 59:6 197:9 197:11 197:16 198:13 199:1 204:24 166:25 167:1 167:24 168:12 168:12 168:13100:12 105:20 106:22 123:9 123:25 136:1
59:7 59:8 61:12 61:23 62:1 62:3 62:6                                                 168:20 168:23 169:17 172:3 173:18      190:6 202:20 202:21 202:22 210:6
62:15 63:10 63:21 65:25 67:25 68:15        madlyn(1) 10:35                          180:19 182:10 202:2 205:20 212:12
68:17 68:17 70:17 70:18 71:8 71:19 73:3 main(2) 103:15 148:14                                                               mike(1) 10:31
73:16 73:18 73:25 80:10 81:9 82:4 82:7 maintain(1) 106:11                           maybe(12) 29:21 50:8 56:5 107:17 107:18 millen(6) 18:21 18:24 19:7 19:14 19:21
83:3 83:6 86:15 89:13 89:19 89:20 89:25 major(3) 26:4 32:7 171:11                   107:19 108:13 112:21 115:20 126:3 197:1919:24
90:1 90:1 90:2 90:6 90:6 90:8 90:9 90:10 make(50) 24:10 25:2 27:16 30:13 34:16       211:12
93:3 99:19 108:6 113:22 114:6 116:21       45:19 45:20 47:2 48:9 48:20 49:13 50:18                                          millen's(1) 19:2
120:9 120:17 120:20 121:4 121:9 123:12 60:18 64:24 65:18 67:14 70:12 71:12          mayer(2) 5:5 10:16                      million(30) 27:8 61:17 62:24 70:9 75:9
124:6 124:23 125:1 125:14 127:5 127:10 81:10 81:20 82:2 82:8 84:15 84:19 84:20 mccambridge(5) 7:18 116:14 116:15            77:2 78:22 85:10 85:18 85:24 85:25 134:9
142:22 142:23 143:4 144:8 149:21 165:11 88:20 92:22 93:22 99:8 99:15 100:16         128:20 129:21                           134:11 165:8 165:20 170:10 170:13 170:21
170:22 172:2 175:1 177:23 182:21 183:3 101:15 118:24 120:23 125:4 145:18 147:21                                              183:18 183:18 183:19 183:24 184:11
203:8 203:10                                148:5 155:11 156:7 160:11 178:5 187:1 mccarter(1) 5:4                           184:12 188:2 188:5 188:18 188:23 189:18
                                           187:23 190:5 197:22 201:14 202:1 206:21 mccolm(1) 8:42                           203:19
litigations(1) 189:7                       212:15                                   mccormack(1) 4:17
litigators(1) 80:11                                                                 mccormick(4) 6:17 13:8 102:10 129:17    millions(2) 24:7 35:16
little(16) 74:23 79:10 100:21 102:6 102:17 maker(1) 69:8                            mcguire(1) 8:21                         mina(2) 12:5 12:6
 126:4 136:5 139:8 140:22 142:24 164:16 makes(20) 44:6 68:14 74:1 75:15 77:21 mcneill(1) 2:22                               mind(2) 68:13 88:15
165:4 169:7 172:22 204:19 209:3            77:25 78:1 87:20 90:12 91:10 115:7       meagher(1) 9:29                         minkove(1) 10:13
                                           115:20 116:9 137:21 140:1 140:4 140:7 mean(20) 26:12 44:10 66:4 86:18 99:15 minor(1) 139:17
llc(2) 3:36 7:4                            161:9 195:10 209:16                      103:20 107:25 123:5 133:18 148:23 150:11minute(11) 47:10 49:8 49:11 53:3 91:12
llp(25) 1:23 2:20 2:36 4:12 4:38 5:31 5:38                                           151:19 174:14 189:13 201:13 202:8 208:596:3 152:6 156:24 163:8 182:17 211:22
 6:25 7:24 8:5 8:13 8:20 10:4 10:8 10:16 making(12) 65:7 65:20 71:7 77:14 109:15 208:10 208:16 211:23
10:26 10:34 11:9 11:24 11:28 11:32 13:10111:23 118:21 118:23 181:6 191:22 191:24
                                                                                                                            minutes(6) 79:9 79:15 141:17 157:6
13:28 13:28 13:41                           198:24                                  meaning(2) 97:12 166:5                  175:22 202:9
                                                                                    meaningful(3) 71:5 92:5 207:6
loan(4) 84:24 194:20 195:4 199:20
loaned(2) 195:5 195:6                                                           A520meaningfully(2) 205:13 207:4            mirror(1) 43:16
                                                                                    meaningless(1) 136:2                    mirroring(1) 44:4
local(1) 131:8
                                                                                                                            mischaracterized(1) 200:6
Page : 16                                                                                                                                           04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 230 of 247 PageID #: 741
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                        Page:Line    Word                       Page:Line  Word                         Page:Line
misclassification(1) 192:25             multiparty(2) 141:21 142:23              non-bankruptcy(5) 34:1 107:16 117:2   not(301) 14:16 15:12 15:17 17:3 19:24
misconduct(2) 32:7 94:1                 multiple(11) 17:17 116:20 121:2 121:2    162:12 168:13                         23:24 25:19 25:23 26:3 27:4 27:21 28:11
misimpression(1) 201:6                  122:16 142:17 143:4 144:9 162:1 162:7                                          28:16 28:20 29:10 29:21 30:3 30:4 30:15
mismanagement(3) 23:15 23:21 34:18      201:14                                  non-consensual(5) 117:25 118:11 118:13 30:18 30:25 31:1 31:9 31:10 31:15 31:20
misrepresentation(1) 94:1               multiply(1) 133:21                      118:17 123:17                          31:22 32:24 33:13 33:18 35:20 38:5 38:20
misrepresentations(1) 22:16             munford(1) 137:3                                                               39:10 40:13 40:19 40:19 40:23 40:24
miss(1) 56:8                            murphy(1) 12:10                         non-consenting(1) 119:5                42:15 42:17 42:23 43:4 43:8 43:21 44:1
missouri(1) 39:17                       must(11) 38:16 45:6 59:23 60:23 64:3    non-contractual(7) 116:25 117:20 148:3 44:7 44:20 44:23 46:12 46:12 46:21 47:1
misspoken(1) 168:20                     67:14 91:24 143:10 174:13 202:7 207:23  152:13 159:10 159:17 160:21            47:15 47:19 48:1 49:24 50:2 50:6 50:10
misstates(1) 156:22                                                                                                    50:10 51:16 53:13 54:18 55:17 55:20 56:3
mistakenly(1) 92:12                     muster(2) 89:9 209:23                   non-contribution(1) 162:19             56:8 56:11 57:8 57:10 57:12 57:25 58:1
                                        mutual(4) 88:13 88:19 88:20 88:23       non-debtor(3) 31:17 165:3 171:14       58:18 59:3 60:2 60:8 60:11 60:19 61:16
misunderstood(2) 156:10 202:7
mobile(1) 160:8                         myers(1) 7:38                           non-debtors(5) 30:11 117:7 117:8 118:1 62:7 62:9 62:10 62:16 63:10 64:8 65:10
                                        myrick(1) 9:13                          118:6                                  65:12 65:13 65:16 66:13 68:6 68:14 69:16
model(2) 204:21 205:1
                                        myself(3) 52:4 89:10 210:7                                                     69:23 70:25 71:1 71:4 71:21 72:3 73:10
modern(3) 143:7 206:11 208:12                                                                                          73:15 73:16 73:22 74:14 76:2 76:5 76:5
modifications(1) 47:24                  naftalis(1) 11:8                        non-derivative(1) 159:15
                                                                                non-duplicative(1) 17:21               76:17 77:5 77:8 77:11 77:19 77:19 78:3
modified(4) 31:5 53:18 158:15 187:21    nail(1) 86:4
                                                                                                                       78:10 78:21 80:16 80:17 80:23 81:11
modify(1) 58:22                         name(5) 42:4 49:19 110:13 112:5 116:15 non-evidentiary(1) 204:23
                                                                                non-guarantor(1)  30:13                81:13 82:1 82:3 82:3 82:4 82:17 82:25
moment(8) 65:2 81:15 128:15 129:8       namely(6) 19:24 130:12 131:25 190:12                                           83:14 83:21 84:11 84:20 85:1 85:3 86:7
153:13 196:1 198:1 205:15               190:23 190:25                           non-indemnity(1) 162:19
                                                                                                                       86:17 88:3 88:7 89:17 90:11 90:12 90:16
                                                                                non-payment(2) 184:6 188:19
                                                                                                                       91:11 91:17 91:20 91:21 92:1 92:17 93:9
monarch(2) 11:4 11:5                    narrow(3) 76:22 153:14 153:17           non-recourse(1)  36:23
                                                                                                                       93:19 94:16 95:18 95:21 96:17 96:20 97:4
money(18) 44:10 55:19 70:9 71:8 73:10 narrowly(2) 38:3 88:12                    non-redeeming(1) 188:5                 98:13 98:14 98:15 98:19 98:21 99:1 99:17
85:3 85:25 86:1 160:16 162:1 182:8 182:8national(1) 104:18                      non-released(1) 147:18                 99:17 99:18 100:17 101:15 101:20 102:25
194:3 194:9 194:21 195:1 195:5 195:6    natural(2) 116:23 117:6                 non-settling(19) 124:3 129:23 136:19   104:20 106:3 106:10 106:25 107:19 107:21
                                        nature(8) 16:17 40:25 138:16 138:19     137:5 142:10 143:11 143:15 143:20 144:11108:4 109:20 109:25 110:2 110:12 110:16
monies(1) 182:10                        138:25 160:14 164:4 210:22               145:1 145:2 145:9 148:9 150:1 155:7   111:25 112:13 112:15 113:2 114:15 115:9
monroe(1) 6:27                                                                  157:10 157:14 159:11 161:12            115:19 115:19 115:23 117:23 119:13
montenegro(1) 12:33                     naval(1) 86:18                                                                 121:12 121:13 121:18 121:25 122:3 122:12
month(4) 117:15 119:15 184:5 190:8      near(1) 19:12                           none(9) 60:24 69:1 80:4 127:19 141:13   122:13 122:15 122:25 123:9 123:11
months(4) 66:23 134:16 141:11 150:19    nearly(1) 156:17                        179:25 193:5 195:16 210:15             123:12 123:17 123:19 123:19 124:6 124:17
moot(2) 62:6 62:11                      necessarily(2) 92:1 150:11                                                      124:19 124:19 124:22 125:15 125:16
mooted(1) 21:15                         necessary(12) 23:12 34:21 57:10 97:3    nor(3) 75:14 181:20 191:22             125:19 126:3 126:7 126:14 126:19 126:20
more(32) 29:12 43:3 48:23 57:9 68:22    97:23 118:12 118:16 118:18 118:24 130:7 normal(1) 194:4                        127:5 127:8 127:17 127:20 127:21 127:24
74:1 74:16 82:20 85:19 86:8 88:3 90:13 142:16 190:16                            norman(1) 1:34                         128:10 130:1 130:18 131:1 131:4 131:22
97:24 98:17 99:21 107:14 126:22 129:7                                           north(6) 2:24 3:24 6:6 6:35 7:27 36:15 131:23 132:12 132:13 133:24 134:4 134:10
133:9 140:22 141:16 151:7 153:20 160:7 neck(1) 160:3                            northern(1) 160:4                       134:20 134:22 134:24 134:25 135:1 135:5
161:7 182:2 187:25 196:6 196:12 206:9 need(16) 14:20 34:22 55:16 56:3 58:1                                             135:5 135:18 135:19 136:1 137:8 138:18
206:14 207:1                            58:2 62:9 90:19 98:14 98:24 100:25                                             140:1 141:6 141:19 142:9 143:11 143:20
morgan(8) 3:11 10:8 10:12 11:24 13:41 112:13 116:1 188:2 207:4 207:24                                                  144:10 144:14 145:8 145:16 145:23 146:8
63:4 139:16 155:19                                                                                                     146:24 148:24 149:6 149:12 150:5 150:7
                                        needed(4) 127:19 178:25 188:10 189:10                                          150:10 150:20 152:1 152:1 152:10 152:12
morning(17) 14:3 14:4 14:5 15:25 16:7 needless(2) 73:12 73:13                                                          152:20 152:21 152:24 152:25 153:1 153:7
19:4 20:13 35:2 48:10 49:19 53:8 75:5 needs(7) 30:22 70:23 71:8 71:13 73:19                                            153:9 153:9 154:13 154:25 155:12 155:15
82:12 113:10 115:16 210:20 211:8        75:19 163:19                                                                   155:17 155:20 156:3 156:19 157:14 157:17
                                                                                                                        157:19 158:19 159:16 159:18 159:19
morning's(1) 100:15                     negligence(2) 32:6 32:7                                                        159:25 160:15 160:21
morris(3) 6:19 102:10 129:11            negotiated(1) 117:10
moskowitz(21) 3:12 139:15 139:16 140:11 neil(1) 8:26
140:14 147:4 147:16 150:14 150:21 151:15neither(4) 60:8 62:13 75:13 75:15
 156:11 156:17 157:1 157:3 158:10 159:7 nemours(1) 7:26                                                                not(98) 161:2 161:3 161:10 161:17 161:25
172:13 181:1 181:12 181:13 181:14       net(4) 165:20 165:21 165:22 208:25                                             162:1 162:5 162:16 162:23 163:15 163:17
                                        neutral(2) 73:5 81:17                                                          163:23 163:24 165:8 167:23 167:24 168:16
moss(1) 13:29                                                                                                           169:2 169:18 170:4 170:8 170:16 170:22
                                        never(13) 47:8 74:6 157:7 157:15 178:20
most(12) 17:24 18:1 52:8 73:14 85:6     179:1 179:9 182:25 185:16 185:16 186:21                                        171:10 172:4 172:14 172:25 173:24 175:18
140:17 142:3 144:5 144:16 156:6 162:16 194:20 196:5                                                                     176:24 177:4 177:12 178:2 178:4 178:15
171:9                                                                                                                  178:16 178:23 179:6 179:9 179:16 180:1
mostly(1) 119:8                                                                                                        180:4 180:6 180:17 180:22 181:11 181:25
                                        new(19) 2:32 2:39 3:17 4:21 4:41 5:15
                                                                                                                       181:25 182:10 182:12 184:17 185:9 186:23
motion(24) 16:22 55:2 55:3 55:4 55:6    5:34 43:15 44:4 44:10 44:14 44:16 59:19
55:7 55:12 56:16 57:1 57:2 57:7 57:20 115:23 149:21 163:6 178:25 181:2 192:16                                           189:12 189:13 189:18 189:23 190:6
57:21 58:24 71:14 72:21 73:12 74:3                                                                                     190:13 190:20 191:1 191:2 191:13 191:23
102:15 111:17 115:1 183:10 184:16 185:24next(8) 20:10 42:18 52:25 53:11 128:10                                         191:24 191:25 192:1 193:17 194:9 194:13
                                                                                                                       195:2 195:6 195:7 195:11 196:11 196:20
                                        128:11 165:21 212:12
                                                                                                                       196:21 197:1 197:14 197:22 198:5 198:6
motions(2) 81:12 115:1
                                                                                                                       198:24 202:20 203:4 203:9 205:11 205:23
motivation(2) 69:1 102:20               nexus(4) 37:7 38:7 38:13 42:15                                                 206:11 208:2 208:6 208:17 210:13 210:21
motives(1) 68:5                         nicholas(1) 13:25                                                              211:13 212:3 212:18 212:22
mouth(1) 191:13                         nick(1) 9:31
move(9) 15:7  54:10 94:4  105:8 116:10  night(1) 15:5
148:11 162:25 183:6 211:1               nii(1) 92:14                                                                   not-discriminate-unfairly(1) 191:6
                                        ninth(1) 38:24                                                                 note(22) 36:23 36:25 58:17 62:4 83:8 98:7
moved(1) 58:22                          nobody(12) 68:10 68:12 69:5 69:7 79:25                                          98:13 113:10 115:3 116:8 119:16 119:20
moving(2) 96:1 151:15                   116:8 141:12 144:19 171:24 173:21 184:20                                       130:6 185:20 186:17 186:18 187:1 192:21
mtc(1) 149:20                            200:3                                                                         194:12 194:25 195:11 195:16
much(17) 35:10 35:20 83:21 93:21 98:4
115:4 132:2 138:15 158:23 165:5 172:22 nominator(1) 93:3                                                               noted(5) 19:6 38:11 178:10 178:17 199:7
174:7 189:5 202:8 209:11 209:24 212:24 nomura(2) 11:20 11:20
                                        non(10) 30:9 117:12 117:25 118:3 118:3
muchin(3) 6:25 13:10 129:12             118:4 122:17 146:23 147:17 161:19 A521
mulhern(1) 10:5

Page : 17                                                                                                                                       04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 231 of 247 PageID #: 742
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                          Page:Line    Word                        Page:Line    Word                        Page:Line
noteholder(26) 17:15 21:3 21:10 21:16    objection(95) 15:6 15:8 15:12 18:19 18:21 once(16) 17:12 95:13 95:14 104:15 105:25 order(150) 16:23 17:20 19:17 19:19 20:24
26:13 35:7 35:7 35:9 36:5 36:10 47:11     19:1 19:6 19:7 19:8 19:10 19:11 20:2       108:15 108:17 124:12 148:8 154:24       21:4 21:8 21:14 25:4 29:20 30:4 33:11
47:14 48:13 49:2 65:11 75:14 93:8 93:20 20:5 20:7 20:10 20:11 21:21 32:3 35:4 184:21 185:13 188:12 200:11 204:8 204:1854:4 56:6 56:18 76:4 76:16 82:17 96:25
96:11 113:6 138:11 139:10 196:24 199:22 35:7 50:4 51:15 51:18 52:21 54:1 56:21                                               97:4 97:21 101:6 110:14 111:18 111:24
200:4 200:9                              57:21 57:23 58:1 59:17 62:5 63:6 65:18 one(116) 1:28 3:23 5:14 7:12 13:4 13:4 114:14 114:15 116:13 116:17 117:9 117:17
noteholders(31) 15:7 20:18 85:1 102:15 74:15 75:17 76:20 76:21 76:22 76:22          15:8 17:9 24:12 25:5 33:17 36:9 42:3      117:18 117:25 118:2 119:21 120:2 120:16
105:24 106:21 108:1 133:21 134:2 139:12 77:14 81:14 89:16 89:17 89:21 90:13         43:12 43:20 45:1 47:9 48:9 48:19 49:7 121:5 121:8 121:9 121:15 122:3 123:6
152:3 165:2 165:10 166:4 168:11 170:10 101:7 102:7 102:15 104:18 105:4 105:13 49:11 51:15 58:11 61:1 71:19 72:1 76:7 123:10 123:15 123:17 123:21 124:1 124:8
170:14 170:18 172:12 172:24 183:13       108:24 119:16 128:18 131:17 131:19 132:877:12 77:13 80:11 80:13 82:7 82:8 82:22 124:12 124:14 125:4 125:12 125:23 126:5
187:16 187:24 189:7 190:23 192:11 196:9 132:15 137:5 138:12 138:14 138:19 139:283:8 84:25 86:20 87:9 87:10 88:5 88:17 126:9 127:17 127:23 129:22 130:6 130:15
202:14 203:21 204:17 208:25              139:17 141:4 145:7 157:16 158:9 158:20 90:12 90:17 91:11 96:7 97:24 99:6 99:9 130:21 131:17 131:21 135:4 135:9 135:12
                                         159:24 164:3 166:19 171:12 176:11 177:4 105:23 108:23 111:16 112:24 113:11 115:5135:17 135:21 135:23 136:18 136:21
noteholders’(2) 196:8 199:4              178:1 178:8 178:10 178:18 178:24 181:8 115:22 117:6 117:15 118:13 118:19 119:7138:13 138:14 138:16 138:19 138:25 139:3
notes(49) 63:25 75:8 75:9 75:15 76:8     181:11 193:9 196:6 196:8 196:18 196:19 119:9 119:9 119:22 119:24 121:12 125:25 140:1 140:16 140:20 140:23 140:25 141:4
82:22 82:23 83:5 83:13 83:13 83:16 83:17196:25 198:2 199:1 199:1 199:3 203:25 126:1 126:7 128:15 129:7 132:10 134:1 141:7 141:19 142:10 142:14 142:15 143:6
90:20 95:11 95:13 95:14 95:15 95:17      204:20 210:5                               135:15 136:16 136:17 137:2 137:18 140:1 143:10 143:23 143:25 144:10 145:7 145:8
95:19 96:3 96:11 96:12 96:14 96:16 96:17                                            141:15 147:10 148:7 151:21 156:21 157:8 145:19 146:20 146:22 147:17 147:20
96:21 96:23 97:3 97:5 97:6 97:9 97:10 objections(51) 17:12 17:17 17:19 17:19        157:13 157:15 161:7 161:12 161:23 162:18147:24 147:24 148:18 148:21 148:24
97:16 97:16 97:17 97:17 156:18 156:19 47:8 48:12 48:14 52:25 53:2 53:12 53:25 163:21 163:25 166:21 166:23 172:7              148:25 149:1 149:3 149:6 149:8 149:10
182:12 185:10 185:12 185:24 186:5 186:1054:2 54:5 54:7 57:19 61:25 62:4 65:9        176:14 178:25 181:19 181:23 183:18 185:8149:11 149:15 149:19 149:22 149:24 150:4
 188:11 188:14 188:15 188:20 194:1       65:10 65:13 65:16 65:21 66:13 74:16         185:23 186:19 186:21 187:11 191:7 191:8 150:7 150:11 151:8 151:20 152:4 152:5
                                         74:18 74:21 77:13 79:10 100:8 100:15       193:3 196:1 197:18 198:8 199:20 200:13 152:8 152:11 152:20 153:1 153:10 155:9
nothing(21) 22:3 28:22 29:1 36:4 36:8    100:20 102:3 116:12 129:19 135:23 145:5 202:25 208:14 212:21                        155:12 155:18 157:9 157:18 158:8 159:19
37:23 55:8 84:9 87:21 97:16 114:2 147:22147:21 152:2 158:2 158:7 164:2 178:7                                                 159:20 160:25 161:2 161:9 161:16 162:3
147:24 153:20 157:25 169:12 182:1 185:19178:7 190:7 196:16 202:6 210:9 210:21 one-third(1) 174:24                            162:5 165:4 171:17 171:22 172:21 181:3
 189:20 209:12 211:11                    210:23 211:13 212:3                        one-year(1) 172:20                       181:15 181:19
                                                                                    oneal(1) 9:21
notice(5) 185:10 186:3 186:12 210:20     objective(4) 58:19 58:20 64:24 71:20       ones(5) 44:4 48:3 142:3 164:15 169:18    ordered(1) 90:4
210:21                                   objector(1) 29:9                           ongoing(3) 61:9 72:5 91:4                orders(14) 91:12 92:10 92:17 114:13
                                         objectors(7) 14:8 14:18 17:11 17:17 17:21 only(50) 17:9 28:14 31:9 31:10 36:22      126:2 140:21 140:23 142:16 143:8 148:23
notices(2) 14:17 188:11                   49:13 211:13                              45:20 46:3 46:15 55:21 56:10 77:3 88:21 149:14 149:24 151:3 151:7
notion(3) 106:22 126:2 200:16                                                       88:22 92:15 93:23 94:5 98:8 103:3 110:21
notional(2) 194:21 194:24                objects(1) 178:10                          112:25 113:13 113:16 116:7 120:12 120:24ordinarily(3) 24:24 32:21 143:13
notwithstanding(4) 21:2 67:9 175:9 177:21obligation(4) 27:14 32:17 32:24 73:15       122:16 123:20 126:10 127:8 134:20       ordinary(1) 22:8
november(1) 144:19                       obligation.”(1) 177:18                     147:17 150:15 153:7 153:16 153:19 155:8 organize(2) 140:18 175:22
now(90) 15:21 20:11 21:21 35:8 45:19     obligations(11) 28:2 28:4 94:23 97:10      159:9 163:4 169:1 170:6 180:14 180:19 organized(2) 18:1 139:24
46:10 47:25 48:3 51:24 53:1 54:18 54:21 97:11 97:11 97:13 97:15 167:14 193:25 185:13 190:11 190:16 191:5 191:6 191:8 oriented(1) 69:10
63:11 63:20 65:21 83:18 84:4 86:12 89:12203:3                                       200:4 209:7                              original(1) 56:17
96:14 98:14 98:16 98:17 98:22 99:9 100:7observation(4) 33:24 48:9 92:15 172:19                                               originally(2) 45:19 191:7
102:2 110:10 115:11 116:23 117:1 117:5 observations(3) 91:1 93:1 132:7              onto(1) 183:6                            other(131) 17:9 21:6 24:15 26:4 28:15
117:9 117:11 117:24 119:9 119:23 120:4 obstructionist(1) 29:10                      open(2) 83:15 84:8                       30:4 30:20 32:6 37:2 37:15 38:4 40:12
120:24 121:4 121:8 123:10 125:22 127:14 obviated(1) 163:21                          opening(9) 190:8 190:16 192:15 195:21 40:24 41:6 41:15 44:2 47:10 48:2 56:22
128:23 132:6 133:1 134:15 134:19 135:11 obvious(1) 212:8                            196:20 196:23 198:1 199:3 203:24         61:1 62:8 63:16 64:13 67:11 68:7 68:10
139:24 146:15 147:23 148:11 152:11 157:3obviously(12) 27:7 38:1 50:3 64:17 68:10                                             70:8 70:22 71:4 74:18 74:20 76:10 77:24
 161:13 161:17 163:12 163:24 167:2 167:695:6 113:10 114:12 150:14 154:1 188:20 operate(2) 95:20 147:25                       78:23 82:8 82:23 83:10 92:3 93:8 96:24
169:2 169:16 169:22 177:1 180:7 185:8 201:19                                        operates(1) 47:16                        97:12 97:13 98:23 101:18 102:22 103:1
189:16 191:7 192:7 192:14 192:21 193:8 occupy(1) 53:11                              operating(1) 125:10                      103:1 106:24 109:17 109:25 110:24 111:18
193:21 193:23 194:8 195:8 195:19 197:10 occurring(1) 201:7                          operation(1) 138:2                        114:10 115:5 115:25 117:1 117:8 117:10
198:24 200:4 200:23 203:4 203:5 203:15 occurs(1) 38:12                              operations(1) 31:22                      118:1 121:12 124:5 124:11 125:12 125:22
207:8 207:13 209:21 212:17               ocean(1) 86:24                             operative(4) 110:3 110:4 111:1 111:10    125:25 126:6 127:22 130:20 130:21 132:5
                                         october(3) 56:14 161:16 203:22             operator(4) 147:6 147:8 147:11 147:14    132:18 133:5 135:7 135:25 137:17 138:23
nowhere(2) 175:21 176:9                  off(7) 20:18 44:11 57:9 84:11 86:11 89:2   opined(1)  55:23                         143:3 143:14 144:1 144:23 145:8 145:17
number(11) 18:11 19:18 44:25 82:15       91:6                                       opinion(5) 32:9 32:18 135:18 160:4 207:22148:3 149:2 151:23 152:2 152:7 152:22
99:16 118:14 122:4 158:17 186:1 199:6                                               opinions(1) 70:23                        153:4 153:15 154:12 157:8 157:15 160:14
206:16                                                                                                                       161:13 164:2 165:5 168:23 169:19 170:7
                                         offensive(1) 150:8                         opponent(2) 190:15 204:3
numbers(2) 100:23 134:10                                                                                                     171:6 173:9 173:12 176:24 177:16 179:10
                                         offer(1) 107:14                            opportunities(2) 123:8 201:14
numbing(1) 193:5                                                                                                             181:21 185:19 186:21 190:24 190:25
                                         offered(4) 120:4 120:14 191:9 191:10       opportunity(5) 24:21 32:22 51:4 163:14
nutraquest(1) 145:19                                                                                                         191:20 192:9 192:19 192:23 193:6 194:3
                                         officer(7) 64:11 67:2 91:8 141:5 145:6     175:9
o's(1) 40:19                                                                                                                 195:5 195:14 199:20 200:2 200:5 202:19
                                         148:13 150:4                                                                        202:21 207:2 208:23 209:13 211:4 211:12
oaktree(12) 2:4 12:37 12:38 48:8 176:5                                              opposed(4) 26:16 90:2 110:10 199:17
190:14 192:16 192:18 194:17 199:16                                                                                           211:14 212:8
                                         officers(10) 7:16 31:10 45:23 53:19 59:15 opposes(1) 203:11
199:24 203:12                            112:6 128:3 128:18 129:20 140:20           optimism(1) 100:21                       others(6) 54:7 104:2 140:3 152:23 158:20
                                                                                    optimistic(1) 100:19                     170:7
object(7) 59:13 72:4 72:6 127:23 138:13 offices(2) 27:17 27:22                      options(1) 39:25
138:24 139:1                             official(6) 4:4 8:4 79:4 82:14 114:19 170:6oral(4) 58:3 196:20 199:2 200:5          otherwise(11) 14:24 21:8 29:19 30:3 61:16
                                         often(1) 88:3                              orally(1) 196:22                          64:5 69:2 78:3 87:16 181:3 190:6
objected(7) 31:3 55:4 58:23 135:22 135:25ohio(1) 60:10                              orange(1) 7:27
 145:2 200:3                             okay(39) 16:6 17:6 19:3 28:25 49:14        orchestrated(1) 18:10                    ought(5) 81:4 85:3 109:11 126:5 206:9
                                         49:18 52:21 52:22 55:24 57:6 57:17 58:5
objecting(4) 113:9 113:25 114:13 116:16 66:8 74:13 99:19 100:5 101:1 131:10
                                         140:8 151:15 156:13 157:3 166:10 166:25
                                         167:6 168:19 168:22 183:5 189:22 190:1
                                         193:16 193:21 204:12 208:1 208:9 210:8
                                         210:11 211:4 211:6

                                         oklahoma(1) 122:5
                                         omnibus(1) 58:22
                                                                              A522

Page : 18                                                                                                                                             04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 232 of 247 PageID #: 743
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                          Page:Line    Word                           Page:Line     Word                         Page:Line
our(140) 18:8 21:21 22:20 24:23 25:1    p.a(1) 1:33                                parties(55) 15:11 16:15 16:16 18:13 21:8 periodic(1) 194:22
28:13 35:21 39:16 40:9 46:23 47:16 47:23p.m(5) 101:3 101:3 176:1 176:1 213:2       21:10 31:17 56:22 62:13 65:9 65:20 68:8 permanently(1) 185:22
52:20 53:12 54:5 55:6 57:19 57:21 57:21 pachulski(56) 8:30 128:5 128:7 128:7       71:6 71:7 79:20 79:24 87:14 88:14 88:24 permissible(2) 46:15 46:20
57:23 59:16 61:6 62:5 74:15 76:19 84:13 128:14 129:2 129:3 129:4 129:5 129:9       89:6 93:23 102:19 105:5 109:11 113:9         permission(2) 82:16 198:6
84:21 85:5 88:20 89:16 89:17 91:25 94:21131:3 131:6 131:8 131:12 131:14 131:15 113:25 114:3 114:5 114:14 119:18 130:19 permissive(1) 60:11
95:2 95:14 96:3 102:13 102:17 104:18    139:5 139:7 140:3 140:6 141:1 143:24       130:21 130:23 133:24 144:21 146:19           permit(3) 49:13 59:2 154:22
105:16 106:16 107:1 108:24 108:24 112:9 147:3 151:16 152:23 156:1 156:2 156:5 146:20 147:18 147:19 148:19 152:18                permits(1) 132:3
113:15 113:15 115:17 115:21 117:25 118:2156:13 156:20 156:22 156:24 156:25 157:5152:21 153:7 154:9 161:23 165:3 168:25 permitted(9) 53:16 53:20 62:10 69:23
 118:20 118:23 119:4 119:7 119:16 120:3 157:7 190:3 190:4 193:16 195:24 195:25 171:14 192:6 201:13 211:1 211:15 211:18 69:23 71:1 87:12 89:3 145:10
120:6 120:12 120:22 120:24 121:5 121:17 196:14 196:21 197:22 198:4 199:2 200:20 212:18 212:21
122:1 122:14 125:16 126:17 127:7 127:11 200:25 201:4 201:25 202:2 202:4 204:18                                                  pernick(1) 1:34
130:2 131:17 131:19 132:8 132:18 134:2 204:24 205:23 205:25 209:18                 partner(4) 10:4 19:1 54:8 74:20              perpetuity(1) 106:10
134:13 138:14 138:19 139:1 139:2 139:6                                             partners(8) 10:30 10:30 10:42 10:42 12:42perplexed(1) 86:13
141:14 143:25 145:17 151:25 152:19 154:5pachulski's(8) 139:20 139:21 151:17 152:3 12:42 13:4 13:4
                                                                                                                                persists(1) 67:7
 155:1 155:2 155:3 155:21 157:11 157:13 152:25 204:20 205:7 206:8
                                                                                                                                person(4) 69:18 124:24 144:23 147:25
157:16 159:21 160:23 162:3 162:6 162:16                                            party(36) 11:28 14:8 14:17 29:10 39:17 personal(5) 148:2 159:16 180:16 180:24
164:11 165:1 166:12 166:14 166:16 166:19pachulski’s(1) 196:4                       42:10 44:2 67:9 68:3 68:21 72:13 77:23 200:17
 170:3 170:19 170:22 170:25 171:3 171:13pack(1) 42:25                              78:2 78:7 99:9 100:20 102:3 135:2 141:19
171:15 171:18 172:16 172:23 172:25 173:4page(20) 142:21 158:14 159:8 165:25        145:2 145:9 145:9 145:11 146:17 146:21
 175:15 178:2 178:20 178:20 180:12                                                                                              personally(1) 197:10
                                        167:4 167:22 167:22 168:7 168:17 168:18 146:24 147:22 148:4 152:14 153:7 153:11 persons(1) 31:13
180:22 182:7 182:20 183:10 184:15 185:6 178:9 178:9 182:18 191:15 193:19 193:19 155:12 159:14 161:11 161:13 210:9
185:15 185:23 186:15 187:14 187:19                                                                                              perspective(3) 112:10 158:11 192:7
                                        194:18 202:5 203:1 209:2
187:19 188:8 190:7 195:20 196:16 200:2                                                                                          persuade(1) 71:10
                                                                                   party's(1) 77:24
203:17                                                                                                                          persuasive(1) 208:2
                                        pages(4) 108:8 135:4 143:21 181:20         parver(1) 10:39
                                                                                                                                pertain(1) 61:25
                                        pagination(1) 193:17                       pass(1) 209:23
ourselves(2) 119:13 193:23                                                                                                      pertained(1) 55:10
                                        paid(20) 22:3 36:15 36:16 47:20 78:15      passage(1) 24:6
out(81) 14:17 15:19 17:25 24:21 25:21                                                                                           pertains(2) 72:8 167:20
                                        78:24 95:13 95:14 95:19 130:14 153:11 passing(3) 89:9 108:9 145:18
29:25 35:5 39:11 39:13 41:6 43:2 44:11 154:7 154:19 155:19 161:24 184:5 184:12 passu(3) 96:25 97:14 170:24                      pertinent(3) 15:11 35:6 40:11
44:23 45:1 45:8 45:18 46:6 46:7 48:19 185:16 189:13 189:17                                                                      perverse(2) 127:6 133:25
                                                                                   past(1) 61:3
60:10 67:24 73:17 78:19 82:1 82:19 84:11                                                                                        perversity(1) 127:1
                                                                                   pat(1) 3:6
85:14 86:19 87:17 93:22 95:2 95:9 96:10 pamalum(1) 59:18                                                                        pesky(1) 173:25
                                                                                   patient(1) 65:6
99:8 99:23 105:1 105:6 105:22 110:24    panolam(1) 92:12                                                                        peter(1) 10:9
                                                                                   patrick(1) 9:17
112:9 116:20 117:4 118:10 127:12 134:9 paper(1) 199:15                                                                          petition(5) 31:6 45:21 90:24 185:25 186:6
                                                                                   paul(2) 8:33 11:15
134:11 135:16 137:4 137:13 139:24 143:23                                                                                        phase(1) 51:5
                                        papers(7) 28:24 92:14 129:13 129:14        pause(7) 65:2 129:8 168:14 196:1 197:25
 146:12 148:16 150:24 152:24 153:13     141:13 141:14 198:15                                                                    phil(4) 5:12 47:10 93:7 113:5
                                                                                   205:15 207:9
158:11 160:3 160:3 172:10 176:9 176:12                                                                                          philosophical(1) 167:18
177:5 178:20 180:1 187:22 188:8 188:11                                                                                          phone(5) 62:14 76:8 190:24 192:20 200:17
                                        par(2) 28:20 29:7                          pay(14)  30:13  44:12  78:16  120:24  141:22
188:12 190:20 191:21 193:3 195:24 199:7                                                                                         phones(86) 15:10 16:15 16:21 53:22 63:19
                                        paragraph(14) 87:16 117:17 131:20          148:7  155:3   155:5  155:16  184:2  184:12
199:12 199:21 205:10 206:14 209:13 211:1                                                                                         63:24 64:21 67:19 68:6 68:25 75:16 82:22
                                        132:23 158:13 158:16 158:25 159:8 161:8 186:4 186:7 189:15
 212:10                                                                                                                          83:16 84:1 84:1 84:3 84:4 84:7 95:10
                                        161:14 176:14 177:6 177:10 177:19
                                                                                   pay-over(1) 177:18                           95:15  95:17 96:2 96:6 96:9 96:11 96:18
outcome(1) 175:1                                                                                                                96:20 96:23 97:2 97:4 97:7 97:16 97:17
                                        paragraphing(1) 194:4                      payable(3)  36:24  178:12  195:10
outcomes(1) 99:19                                                                                                               97:19 98:4 98:10 98:13 98:25 163:11
                                        paragraphs(1) 177:7                        payables(2) 195:9 195:12
outset(1) 105:12                                                                                                                163:13 163:25 164:7 164:24 165:2 165:22
                                        parallel(3) 109:21 111:14 206:18           paying(3) 29:1 137:11 141:23
outside(7) 107:14 109:12 109:20 111:4                                                                                           166:3 166:8 167:12 168:11 170:13 170:17
                                        paraphrase(4) 165:16 166:2 167:6 193:24 payment(11) 61:15 83:13 138:5 167:11
112:20 136:13 149:1                                                                                                             172:24 173:3 173:8 176:15 176:17 176:21
                                        paraphrasing(2) 194:5 198:8                176:23 186:17 186:20 188:20 188:21           176:24 177:5 177:12 177:20 177:23 177:24
                                        parent(32)  21:6 28:16  35:13  36:15 41:23 188:24  194:13
outstanding(3) 132:20 178:7 188:16                                                                                               178:3 178:4 178:15 178:21 178:22 179:7
                                        42:2 42:10 42:16 42:21 44:11 44:17 83:11                                                179:15 179:16 179:20 182:1 183:6 183:9
over(47) 34:13 47:19 48:15 58:10 65:15
                                        83:11 86:2 96:14 163:24 169:3 169:12       payments(13) 30:10 30:13 77:3 102:23         183:11 183:17 183:20 183:24 184:11
68:25 70:24 78:5 78:15 85:4 85:25 86:1
                                        173:15 190:24 191:1 191:20 192:9 192:19 103:6 103:7 104:13 106:16 176:24 177:3 187:23 188:9 188:19 188:24 189:7 193:13
91:5 95:15 95:18 101:7 119:14 120:19
                                        192:23 193:6 195:15 199:21 200:1 200:2 186:25 194:5 194:23
121:7 124:13 124:23 125:1 125:6 127:21
                                        206:8 209:20
129:22 134:17 137:4 141:16 149:23 149:24                                                                                        phony(1) 84:17
 153:6 157:24 159:14 166:3 167:15 168:2                                            pays(1) 28:22                                php(2) 115:5 115:7
169:8 170:16 170:23 172:3 174:11 175:4  parental(1)  194:5                         peace(3)  130:8  142:25  172:14
                                                                                                                                pick(1) 59:25
181:20 184:18 187:11 200:18 206:5       pari(4) 96:25 97:14 169:19 170:24          pearlie(1) 150:23                            picked(1) 206:16
                                        park(3) 5:14 8:5 11:29                     peer(2) 17:18 44:2                           pickering(1) 11:40
over-secured(1) 77:9                    parke(4)  4:12 82:13  114:19  204:14       peeter(1)  13:20
                                                                                                                                piece(1) 209:19
overextends(2) 170:25 171:4             parody(3) 200:1 200:2 203:17               pejorative(1) 77:6                           piecemeal(1) 59:25
overhang(2) 36:14 36:18                 parse(1) 130:17                            penalty(4) 24:18 24:20 24:22 150:3           piper(1) 2:29
overlapping(1) 34:2                     part(30) 23:7  26:25  53:16  54:6 55:22    pending(4)  55:2  72:23  175:1  185:18
                                                                                                                                pitch(1) 210:4
overnight(2) 14:18 211:15               56:25  57:25  68:25  71:19  73:18 81:5     pennock(1) 8:40
                                        102:23 115:17 115:17 115:22 126:9 126:13pennsylvania(1) 1:43                            pitched(1) 204:25
overpaid(2) 199:13 204:1                                                                                                        place(10) 43:10 43:13 43:20 43:25 44:3
                                         127:16 144:21 154:24 155:1 155:24         people(20)  31:10  31:15  69:5  83:22  84:14
overpayment(2) 190:13 195:21                                                                                                    44:20 70:6 77:16 168:2 172:3
                                        165:23 182:14 194:11 195:12 199:23         94:17 94:18 118:5 119:3 119:5 122:2
override(1) 29:5
                                        202:18 202:25 206:20                       123:23 123:24 127:3 127:13 146:6 146:9
overruled(5) 20:8 105:4 105:9 105:14                                                                                            placed(3) 109:23 110:22 197:12
135:24                                                                             184:17 198:12 205:12
                                        parted(1) 209:19                                                                        placeholder(2) 139:12 139:18
                                        partial(5) 142:17 143:5 143:8 144:8 146:14people's(1) 67:17                             places(2) 110:14 134:11
overruling(1) 57:25                                                                                                             plain(2) 51:17 174:15
                                        participants(1) 24:8                       per(1) 91:7
overseeing(1) 113:21                                                                                                            plainly(1) 151:6
                                        participation(2) 117:11 202:9              percent(6)  85:10  134:9  165:21  165:22
oversell(2) 208:11 208:16                                                                                                       plaintiff(30) 121:20 122:24 123:9 123:14
                                        particular(16) 58:11 69:11 70:7 77:17      186:1 207:1
owe(1) 195:1                                                                                                                    124:1 124:8 124:9 124:12 124:13 125:10
                                        79:11 93:2 109:15 109:18 110:15 140:25
own(22) 35:17 64:20 68:16 78:9 78:9     141:3 151:21 158:8 158:24 172:24 177:7 percentage(2) 78:17 207:19                       125:13 126:21 132:5 134:24 135:7 135:8
78:10 90:11 110:13 110:19 110:20 113:13                                                                                         135:9 135:9 136:17 136:20 136:21 137:9
119:20 130:20 130:22 131:22 131:23                                                 perfectly(8) 43:21 44:14 44:21 84:13 91:4 137:16 137:17 137:18 137:21 137:21 138:1
                                        particularly(4) 31:2 38:10 72:7 144:1      115:17 204:19 211:6
132:14 142:19 151:7 163:23 166:12 167:2                                                                                          142:7 142:13
                                        particulars(1) 58:10
owned(3) 27:2 42:21 157:19                                                         perhaps(8)  112:20   115:15  116:7  123:20
                                                                                                                                plaintiff's(1) 122:23
ownership(2) 41:18 67:19                                                        A523
                                                                                   140:5 152:23 189:4 205:25
o’melveny(1) 7:38
                                                                                    period(3) 111:11 113:24 119:15
Page : 19                                                                                                                                               04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 233 of 247 PageID #: 744
                                         TRIBUNE.4.13.11.DOC
Word                         Page:Line   Word                          Page:Line    Word                            Page:Line      Word                         Page:Line
plaintiffs(14) 108:9 121:3 123:23 125:25 point(61) 39:21 41:7 42:24 43:2 44:23      preemption(1) 109:1                            proceeds(7) 138:4 165:21 165:22 177:22
127:1 127:4 127:20 127:21 133:25 136:14 45:17 46:23 48:19 49:2 52:18 55:16 57:14preempts(1) 107:2                                  178:12 179:21 180:2
136:16 157:13 161:4 163:20               58:1 61:24 70:14 75:20 75:24 82:1 90:16 preference(2) 83:11 94:9
                                         95:18 96:22 98:24 101:6 103:23 105:22 prejudge(1) 84:14                                   process(9) 26:25 61:11 87:3 109:19 145:4
plan(265) 14:15 14:25 15:7 17:13 17:15 108:23 112:9 113:12 132:19 132:21 137:12prejudice(4) 57:3 143:11 147:24 161:3               145:12 174:1 174:1 175:2
17:16 17:22 18:9 19:9 19:12 20:12 21:3 138:7 138:22 139:8 150:12 150:17 150:18prejudiced(2) 115:20 143:20
21:11 21:16 21:22 21:24 22:2 22:6 23:8 150:22 151:21 161:7 161:18 171:12 171:21prejudicial(2) 145:9 166:13                         produced(1) 1:48
24:8 26:13 26:13 26:16 28:7 28:21 29:20 172:7 177:8 185:7 187:11 188:24 189:9 preliminarily(2) 192:21 193:8                        product(1) 117:16
30:6 30:15 31:4 31:4 31:7 31:11 31:18 190:10 195:20 196:25 196:25 200:8 202:24preliminary(2) 132:7 176:14                          professional(3) 58:19 129:6 163:23
31:21 32:8 34:5 34:14 34:19 35:6 35:7     203:1 203:14 206:18 209:13 209:23 212:7premised(1) 32:18                                 professionals(5) 23:3 31:12 31:12 59:2
35:8 35:10 35:21 36:1 36:5 36:9 36:10                                               prepared(3) 79:25 98:8 179:9                   professor(8) 55:22 69:12 72:11 80:19
36:12 36:15 37:24 46:3 46:25 47:11 47:14                                            present(5) 18:24 31:14 152:3 197:17 201:380:22 94:16 206:15 207:11
47:15 47:16 47:25 48:13 49:2 49:23 49:25pointed(12) 45:18 127:12 135:16 135:17
                                                                                    presentation(4) 17:13 140:2 151:24 198:6
50:9 50:13 50:20 51:9 51:11 52:20 53:16 178:20 188:8 190:20 191:21 195:24 199:7                                                    professors(1) 25:8
                                                                                    presented(3) 14:9 50:23 151:19
57:19 57:21 58:8 59:2 59:6 59:8 59:14 199:12 199:21                                                                                profitable(1) 115:21
                                                                                    presenting(1) 79:11
59:25 60:2 60:6 63:2 63:6 63:20 63:22                                                                                              progeny(1) 206:20
64:21 65:11 66:20 67:4 68:9 68:11 70:8 points(10) 18:10 44:19 48:20 79:6 146:15     presently(1)  72:16
                                                                                    preserved(5) 61:4 73:8 76:16 130:22            progress(2) 17:10 53:1
73:4 73:18 74:17 75:11 75:12 75:14 75:14151:16 159:5 164:3 190:17 201:14                                                           progresses(1) 52:24
75:15 75:17 76:3 76:5 76:17 76:23 76:24                                             preserving(1)  144:25
                                                                                    press(4) 53:7  95:12  101:15   138:19          prohibited(1) 24:18
76:24 76:25 77:3 77:5 77:11 77:18 78:9 policies(2) 55:20 73:13
                                                                                    presumably(2) 119:11 200:10                    prohibiting(1) 124:12
78:9 78:16 78:18 78:21 80:20 81:16 81:22polk(2) 3:11 10:8
                                                                                    presumption(3) 149:2 207:19 207:21             promise(1) 210:24
82:2 82:8 82:22 82:24 82:24 83:2 84:13 pop(1) 206:12
84:21 87:2 87:11 88:11 88:18 88:18 93:8 popularity(1) 158:1                         pretty(12)  51:11  70:13  78:8  85:8  86:15    promised(1) 15:19
93:17 93:20 95:2 95:14 96:4 96:11 99:5 portion(8) 85:11 85:18 86:6 120:13 131:1988:11 88:16 90:4 149:25 159:24 185:6               promises(1) 73:1
99:6 99:11 103:10 104:10 106:18 108:2 145:22 170:9 170:13                           206:10                                         promote(2) 64:20 70:7
110:17 111:6 111:7 111:20 111:24 112:12                                             prevent(4) 28:1 114:3 114:4 117:19             prompt(1) 106:22
113:6 113:15 113:15 113:23 114:2 115:18 position(37) 34:15 40:7 40:9 40:11 56:4 preventing(1) 22:9                                 prong(1) 204:15
115:22 116:12 116:16 117:5 117:9 117:18 62:14 63:19 63:21 63:24 64:22 67:20         prevents(2) 144:10 147:17                      proof(2) 186:14 194:11
118:6 118:22 118:24 121:1 121:17 123:11 68:20 68:25 74:13 76:19 95:16 95:22 99:8previewed(1) 176:13                                proper(5) 35:11 41:4 91:4 97:21 119:25
123:16 124:25 125:16 126:8 126:25 127:5 99:9 105:16 107:2 109:5 119:3 119:13        previewing(1) 163:18                           properly(7) 35:23 105:12 125:5 149:3
127:23 129:19 130:4 130:9 130:10 132:13 121:17 125:5 134:12 139:10 156:7 156:9 previously(4) 26:17 66:20 114:22 114:24 164:23 195:15 196:12
132:16 135:3 135:11 135:15 137:3 138:11 156:23 157:8 157:11 157:15 184:15 196:10price(1) 194:3
139:10 140:17 151:2 152:7 152:11 153:12 201:1                                       primary(3) 173:5 175:20 188:7                  property(4) 22:18 179:14 179:15 180:4
153:17 153:24 154:6 155:9 155:11 155:15                                             primoff(1) 10:35                               proponent(4) 69:13 190:15 199:24 204:3
158:15 158:21 159:9 161:25 162:4 163:21 positions(6) 61:17 69:11 77:4 113:11        principally(1) 148:13                          proponents(58) 14:15 14:25 17:14 17:15
164:22 164:25 165:8 166:7 166:13 166:14 183:13 198:22                               principle(3) 167:3 191:6 198:21                17:22 18:9 22:6 29:8 30:19 31:4 47:11
170:19 170:21 170:25 171:5 171:5 171:12                                             principles(2) 23:23 40:22                      49:25 60:6 61:2 63:22 65:11 68:14 69:4
174:2 174:4 174:11 174:16 175:6 175:11 posner(3) 70:16 70:21 73:16                  print(1) 84:16                                 69:14 75:18 80:20 81:22 85:20 85:21 93:8
175:13 175:14 175:15 175:15 176:6 176:13possession(3) 91:21 116:3 188:13            prior(12) 19:13 62:18 66:17 67:3 76:17 103:10 111:7 112:12 113:7 114:20 116:18
 176:15 176:23 177:3 177:19 178:2 178:7
                                         possibilities(1) 122:11                    113:22 132:15 151:4 151:7 151:8 183:23 119:21 120:5 120:14 121:20 123:14 123:23
178:14 178:19 179:4 179:13 180:11 180:14                                            211:21                                          130:10 135:3 135:11 135:15 137:3 138:11
                                         possibility(2) 105:21 123:2
 180:20 180:22 182:14 182:20 184:10                                                               191:4                            139:10 163:16 163:21 166:7 169:3 169:9
                                         possible(3)  32:2  123:10 166:9            priorities(1)
189:22 189:23 190:13 190:14 190:15                                                                                                 169:10 176:5 189:22 189:23 191:9 191:14
                                                                                    priority(33) 15:10 21:7 24:10 24:13 29:19
190:19 190:22 191:1 191:9 191:14 191:23 possibly(1) 146:10                          37:22 37:23 42:22 43:12 43:22 44:8 54:1
                                                                                                                                   194:17 200:24 210:14
193:3 193:3 199:7 199:24 200:24 203:11 post(6) 31:5 45:20 49:13 88:19 150:12        54:4 54:9 62:2 74:17 75:8 75:13 76:9
204:3 204:3 210:13                       192:10
                                                                                    76:20 82:21 83:1 83:16 84:12 96:2 96:6 proportionate(30) 120:9 120:10 120:11
                                                                                    99:6 99:8 191:22 205:24 206:5 206:13           120:21 120:24 121:13 121:16 121:18
                                         post-hearing(1) 211:12                                                                    121:25 122:12 122:18 122:25 123:1 123:4
                                         post-petition(3)  31:21 88:22 90:22        208:15
plan's(1) 22:19                                                                                                                    123:12 124:2 124:8 124:16 125:14 126:16
                                         potential(5) 26:11 85:9 106:20 125:24      private(3) 71:6  165:3  171:13
plane(1) 201:22                                                                                                                    126:22 127:4 133:18 133:22 137:19 143:19
                                         202:19                                     privately(1)  151:18
planning(1) 210:16                                                                                                                  143:21 143:24 144:4 144:13
                                                                                    pro(7) 16:4 133:15 137:1 165:22 165:23
plans(33) 15:8 15:12 15:12 22:1 24:11                                               177:15  185:2
24:14 24:15 24:22 31:25 32:18 35:11      potentially(3) 35:15 124:18 129:24                                                        proposal(10) 46:3 60:24 77:21 120:8
35:24 51:12 52:25 53:17 53:20 54:23      potter(1) 2:20                                                                            121:22 133:17 203:21 203:22 207:10
                                         powerful(1) 169:19                         pro-hoc(2) 129:13 129:14                       212:11
54:25 61:25 81:19 98:15 102:3 102:5
                                                                                    probability(1) 121:24
102:21 103:3 103:11 103:14 132:14 180:20powers(1) 90:14                                                                            proposals(1) 212:2
                                         ppearances(7) 1:21 2:1 3:1 4:1 5:1 6:1 7:1 probably(12)   42:4  84:9 88:3   92:20  95:24
 187:21 190:12 206:25 212:5                                                                                                        propose(1) 212:14
                                         practical(2) 126:1 161:1                   115:11 148:24 149:7 152:1 165:15 169:18
                                                                                                                                   proposed(21) 14:9 16:16 52:1 66:19 81:19
                                         practically(1) 157:24                      182:2
plate(2) 83:19 98:20                                                                                                                88:2 116:17 117:18 126:5 126:10 131:21
                                         practice(1) 73:12                          problem(14)   31:19  33:24  75:25   76:1       136:11 153:23 154:6 155:24 162:4 171:7
played(3) 64:15 72:1 127:15
                                         pre(2) 88:19 90:23                         109:21  120:24   122:1  126:12   147:9  147:12 178:19 211:6 211:10 211:24
plaza(2) 2:23 4:20                                                                  192:24 201:17 203:9 206:8
pleading(9) 19:8 19:12 19:20 19:23 19:25 pre-existing(1) 199:1
151:25 181:21 198:18 198:24              pre-lbo(1) 169:23                                                                         proposes(4) 60:2 117:5 117:9 177:19
                                         pre-litigate(1) 81:3                       problematic(1) 109:3
                                                                                                                                   proposing(4) 46:3 68:11 78:9 207:1
                                         pre-motion(1) 114:25                       problematical(1) 86:8
pleadings(2) 19:13 198:22                                                                                                          proposition(7) 66:11 90:7 92:10 104:18
                                                                                                  106:18 125:22 209:24
please(6) 14:2 20:25 53:6 55:24 129:8    pre-petition(9) 31:6 90:24 91:8 91:9 91:16 problems(3)                                    105:24 149:7 149:13
                                          91:19 91:19 91:22 159:13                  procedural(3)   148:12  180:21   204:21
168:6
                                                                                    procedure(2) 120:9 123:15                      prosecuting(2) 82:4 111:14
                                         precedent(5) 93:21 132:3 137:2 144:16      procedures(4) 117:2 121:18 122:4 122:12 prosecution(1) 96:1
plenty(1) 147:4
                                         144:16                                     proceed(15)   58:24  74:22  82:9  82:17        protect(7) 25:16 26:2 31:24 107:24 134:13
plus(2) 184:11 192:10
                                                                                    109:12 109:19 109:20 111:13 124:10              155:12 158:25
podium(4) 92:23 157:25 162:22 163:7
                                         precedential(1) 92:19                      126:23 131:3 131:13 147:15 201:19 205:20
                                         preceding(1) 173:20                                                                       protected(7) 103:7 112:12 127:7 127:8
                                         precisely(2) 62:12 72:21                   proceeding(7) 70:6 81:5 120:11 120:11          127:9 127:13 143:1
                                                                                    171:18 172:16 211:1
                                         preclude(4) 53:22 130:18 130:19 147:25
                                         precluded(1) 153:10                                                                       protecting(2) 21:24 59:5
                                                                                    proceedings(8) 1:17 1:47 66:17 77:23 81:8protection(3) 25:17 107:18 150:1
                                         precludes(1) 55:5
                                                                                     121:25 145:14 213:7
                                         preclusion(1) 110:2                                                                       protections(5) 107:12 112:22 121:7 124:7
                                         predators(1) 22:10                     A524                                               155:18
                                         preempt(1) 128:11
                                         preempted(1) 107:7                                                                        protects(2) 88:21 88:22
Page : 20                                                                                                                                                  04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 234 of 247 PageID #: 745
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                        Page:Line     Word                        Page:Line    Word                         Page:Line
prove(1) 83:21                           question(22) 17:5 47:24 73:9 75:8 77:20   reasons(16) 22:4 41:15 62:8 64:19 68:4   reflect(6) 30:22 152:8 157:23 158:4
provide(33) 22:4 24:13 32:16 34:20 36:12 85:16 87:6 109:10 110:9 110:19 118:1      72:2 84:10 92:4 101:16 103:15 105:5      174:18 188:15
43:10 44:1 44:16 46:9 46:14 47:15 51:12 118:3 118:4 118:5 118:15 148:21 200:25     127:17 127:22 137:7 162:18 209:25
52:10 52:10 58:8 59:14 59:22 60:1 60:4 205:2 205:9 205:10 205:22 210:18                                                     reflected(4) 24:16 30:9 63:1 191:4
64:4 78:13 94:21 124:25 126:24 165:8                                               rebut(3) 21:14 70:11 207:21              reflects(2) 58:21 66:16
178:3 178:14 178:16 178:23 186:12 191:19questioning(1) 87:5                        rebuttal(3) 47:7 156:8 182:23            regain(1) 106:1
 197:1 198:15                            questions(7) 87:8 130:25 162:22 175:17    rebuttals(3) 156:3 156:21 181:6          regard(13) 44:18 44:19 45:17 45:21 52:18
                                         187:5 189:19 212:23                       rebutted(1) 207:20                       76:19 76:21 94:19 109:10 110:4 119:10
provided(16) 21:10 24:9 25:14 25:24                                                recall(9) 40:14 55:9 56:12 56:15 62:18   126:1 163:19
26:17 31:7 32:21 50:25 51:7 61:16 76:25 quick(6) 15:14 15:23 16:17 97:23 172:15    66:18 99:3 173:18 203:5
120:1 126:19 178:4 190:22 197:1          173:1                                                                               regarding(2) 190:18 196:4
                                                                                  receive(14) 36:8 47:17 47:19 47:20 47:23 regardless(1) 71:11
provides(15) 36:2 36:7 37:14 46:11 49:23 quickly(2) 86:11 171:20                  83:13 83:14 113:17 165:8 167:12 176:16 regret(1) 49:12
50:20 78:4 93:24 97:9 166:1 169:1 171:1 quite(13) 38:1 85:4 88:17 91:1 93:10 96:4 177:14 177:25 188:21                       rehash(1) 187:10
176:15 180:2 182:11                       105:12 114:23 151:12 172:18 172:25                                                 reimbursed(1) 77:1
                                         198:5 209:4                              received(5) 83:4 103:7 143:17 199:20       reimbursement(2) 77:8 78:4
providing(7) 26:18 32:20 60:3 118:21                                              receiving(3) 164:7 182:1 188:18            reissuance(1) 185:18
153:25 177:24 198:11                     quotations(2) 146:17 146:18              recent(9) 43:2 59:17 85:6 85:14 88:12      reiterate(1) 167:18
                                         quote(5) 66:21 106:3 147:23 147:23 202:24121:1 144:17 144:17 206:2                  reiterating(1) 163:17
provision(37) 31:4 31:5 31:9 31:16 31:20 quoted(4) 66:20 101:10 145:15 199:10                                                reject(1) 60:24
31:23 32:4 32:8 32:23 34:19 45:18 45:21 quoting(6) 84:4 142:19 142:20 144:5       recently(4) 45:1 88:5 107:11 160:7         rejected(6) 38:2 59:24 60:23 91:25 145:7
46:1 46:8 58:13 72:6 77:17 94:20 129:25 147:23 203:7                              recess(5) 53:5 101:2 101:3 175:20 176:1 206:24
131:20 142:13 144:25 150:6 150:10 150:11                                          recessionary(1) 160:15
 158:1 158:11 158:16 161:15 167:3 168:8 raise(7) 15:20 71:16 111:19 135:1 139:19 recited(1) 41:12
                                                                                                                             relate(4) 39:5 53:25 62:15 148:25
168:9 183:20 187:23 197:5 197:9 199:9 178:25 200:21                               reckoning(1) 173:23                        related(17) 31:13 37:12 42:12 47:21 54:4
                                                                                  recognition(1) 33:13                       59:13 62:3 64:20 66:25 81:17 88:24 93:18
provisions(39) 31:23 53:17 58:7 59:14    raised(23) 16:10 35:5 65:9 79:6 87:8     recognized(4) 23:25 25:7 25:11 132:12      139:21 143:3 149:11 177:1 191:18
72:5 75:11 76:22 93:17 93:19 93:19 93:20108:25 114:1 121:11 158:7 158:20 164:2
                                                                                  recognizes(1) 78:19
103:14 109:13 121:13 140:24 145:24 146:1164:3 181:2 184:20 187:11 196:19 197:3
                                                                                  recognizing(1) 60:3                        relates(4) 48:12 82:24 139:3 148:24
 146:2 150:3 150:6 157:12 157:17 157:18 197:6 202:13 202:14 204:17 204:18 205:22
                                                                                  reconcile(1) 112:16                        relating(6) 19:15 35:24 37:10 46:5 46:7
159:18 159:20 162:4 164:23 168:10 171:6
                                                                                  reconciliation(1) 174:22                   144:24
177:5 177:11 179:7 179:16 179:17 185:11 raising(1) 15:11
187:1 191:3 199:6 199:9                                                           record(25)  18:18  18:23 20:24 47:13 48:14
                                         range(2) 45:6 209:6                      57:19 58:21 65:13 66:14 66:15 93:7         relationship(1) 67:21
                                         rank(1) 97:14                            101:13 101:14 101:18 104:2 129:3 131:15 relative(6) 82:21 83:1 83:15 191:3 191:4
proviso(1) 83:7                          ranks(1) 66:24                           157:23 163:9 167:8 176:4 181:24 190:4 191:4
prudence(1) 28:3                         rata(3) 165:22 165:23 177:15             208:23 209:8
pryor(2) 13:28 13:28                     rate(2) 194:19 208:20                                                               relatively(3) 86:11 184:20 210:1
publication(1) 206:14                    rates(1) 194:23                          recorded(1) 1:47                           release(29) 30:5 63:5 79:25 117:25 118:2
published(2) 19:15 206:15                rath(3) 4:5 4:6 8:20                     recording(3) 1:47 147:1 213:6              118:4 118:9 118:11 118:13 118:17 119:4
purchase(5) 26:22 27:5 37:15 38:15 194:3 rather(6) 26:6 31:6 44:3 100:15 101:23                                              119:4 119:7 120:3 122:14 131:24 131:24
                                                                                  records(2) 174:18 175:4
purchased(3) 27:1 27:7 64:22             206:13                                                                              132:13 135:2 141:19 146:17 146:21 146:24
                                                                                  recover(6) 37:11 41:1 102:23 104:13
pure(1) 205:23                                                                    107:8 154:10                                153:7 154:19 155:12 155:17 155:19
purely(1) 205:1                          rational(1) 26:3                                                                    161:12
purport(4) 82:25 84:14 90:25 131:21      reach(2) 62:9 84:11                      recovered(1) 180:3
purported(5) 35:18 67:17 118:8 120:5     reached(7) 20:17 33:19 71:3 142:7 144:20 recoveries(13) 127:10 127:11 155:8 165:11 released(19) 67:3 118:5 118:20 118:23
176:23                                   199:17 210:9                              168:6 168:25 169:2 170:22 170:24 178:4 130:19 130:20 144:24 147:19 148:4 152:11
                                                                                  178:22 179:6 179:12                         152:14 152:21 153:9 153:11 153:24 154:3
purportedly(1) 177:13                    reaching(1) 78:14                                                                   154:9 155:15 159:14
purports(1) 81:23                        read(22) 20:24 29:23 48:13 58:13 76:7    recovering(2) 43:8 154:23
purpose(9) 24:2 26:4 36:13 43:13 44:6    95:14 97:4 97:7 97:21 98:6 101:8 126:5 recovery(19) 22:5 45:13 47:15 47:23          releases(2) 71:4 122:18
45:12 91:4 96:12 176:21                  126:7 167:7 181:8 181:11 197:5 197:9     71:11 73:2 78:6 84:5 84:5 95:12 123:5 releasing(1) 48:1
                                         197:24 198:25 199:15 202:5               123:8 154:22 154:25 155:2 176:15 191:19 relevant(5) 27:15 87:10 118:9 118:15
purposefully(1) 83:15                                                             207:19 209:20                              119:25
purposes(3) 119:23 146:25 172:19         readily(1) 117:23
pursuant(5) 19:17 35:25 36:14 130:14     reading(5) 41:24 51:18 80:5 96:25 107:21 recreate(1) 43:18                          reliance(2) 60:15 61:18
173:15                                   reads(1) 93:13                           red(3) 14:11 96:9 96:22                    relief(11) 19:21 20:1 30:5 110:7 110:12
                                         ready(4) 128:23 162:25 183:5 211:2       redeem(1) 184:18                           112:2 114:4 132:19 160:14 173:12 210:23
pursue(11) 53:15 56:13 63:21 68:15 80:11 real(5) 30:5 45:15 73:2 80:13 87:20      redeemed(3) 183:21 183:24 184:16
 82:5 82:7 106:5 106:7 111:4 114:7       really(40) 15:12 15:16 26:12 45:8 49:2   redeeming(1) 188:6                         rely(2) 29:8 146:5
                                         49:15 50:15 51:25 71:17 73:20 75:19 76:6redemption(2) 183:25 185:12                 relying(2) 25:23 65:12
pursued(9) 62:17 70:3 72:12 79:12 80:25 76:18 86:8 89:7 89:9 92:3 94:12 94:13 reduce(2) 133:12 133:22                        remain(5) 31:8 81:7 90:22 91:2 180:18
81:11 115:9 115:9 115:13                 95:10 96:9 96:22 114:24 126:8 126:10                                                remained(1) 91:3
                                                                                  reduced(3) 37:5 143:16 203:20
                                         134:8 134:20 136:10 137:20 139:5 164:9 reduces(1) 43:13                             remaining(2) 51:15 182:9
pursuing(3) 70:21 114:5 150:8            169:4 169:12 173:1 173:20 185:15 185:19 reduction(40) 121:16 129:25 131:20          remains(2) 91:6 132:20
pursuit(5) 53:13 59:12 61:21 62:1 71:18 186:16 187:2 187:14
                                                                                  131:22 132:4 132:24 132:25 133:3 133:7 remark(2) 86:16 151:18
pushing(2) 35:8 123:23                                                            133:14 133:15 133:18 134:1 134:24 135:4 remarkable(1) 90:7
put(25) 15:21 17:25 20:18 50:1 63:2      reap(1) 189:4                            135:6 135:10 135:13 136:20 136:24 137:1 remarks(7) 58:9 114:10 114:21 138:6
63:22 64:23 66:23 67:5 68:6 68:20 69:4 reargue(1) 116:2                           137:2 137:6 137:16 138:1 138:3 143:10 140:18 158:10 192:16
73:15 86:22 90:15 93:10 99:12 123:19     reason(20) 20:1 26:18 30:12 47:7 61:14 143:19 143:21 143:24 144:4 144:12 144:25
132:6 139:23 165:19 192:7 196:10 201:1 72:10 83:20 83:23 84:16 84:23 92:19 94:5 145:25 146:2 157:12 157:17 157:18            remedial(3) 24:2 24:3 24:4
201:15                                   105:10 106:24 109:13 111:5 125:21 161:18159:19 162:4                                remedies(2) 168:8 168:8
puts(2) 87:2 203:23                       212:8 212:22                                                                       remedy(4) 28:4 37:19 168:9 185:19
putting(3) 91:18 115:24 191:13                                                    refer(2) 102:12 150:22                     remember(12) 18:18 32:14 40:22 56:6
pws(6) 32:9 32:9 32:18 45:25 46:2 46:4 reasonable(3) 58:15 137:12 209:15          reference(5) 126:8 135:22 145:18 190:9 56:24 57:12 57:14 83:24 121:16 183:22
qualify(1) 193:24                        reasonableness(2) 77:15 138:17           194:23                                     198:1 208:21
quarrel(1) 115:5                         reasonably(4) 70:25 80:8 203:2 203:4                                                remind(2) 188:6 188:8
quarreling(1) 84:9                       reasoned(2) 142:16 160:10                referenced(1) 127:1                        remote(3) 50:7 50:8 149:7
quershi(1) 5:13                          reasoning(3) 70:22 135:19 207:24     A525referred(2) 89:17 93:17                    rendered(2) 40:4 91:17
                                                                                  referring(1) 89:18                         renders(1) 127:18
                                                                                  refers(3) 36:9 36:11 133:14
Page : 21                                                                                                                                             04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 235 of 247 PageID #: 746
                                         TRIBUNE.4.13.11.DOC
Word                        Page:Line      Word                       Page:Line     Word                        Page:Line       Word                         Page:Line
rental(1) 194:13                           respond(13) 17:23 73:2 139:25 140:3      riley(21) 6:20 102:9 102:10 103:22 104:3    same(48) 23:22 24:14 37:21 38:25 41:22
reorganization(8) 19:10 52:9 76:4 118:12   140:6 140:6 140:15 146:15 156:23 180:5   104:7 104:9 105:8 105:11 105:16 105:22      42:1 50:22 51:24 56:3 63:17 70:22 71:3
118:17 151:3 174:16 175:15                 185:8 196:11 204:7                       106:24 107:20 107:23 108:15 108:20          94:25 104:22 104:25 105:2 105:18 108:24
                                                                                    108:23 112:7 128:25 129:10 129:10           110:6 110:6 112:8 125:11 126:17 136:15
reorganizations(1) 52:9                   responded(1) 197:5                                                                    140:4 140:5 140:5 141:23 141:25 143:15
reorganized(1) 90:15                      responding(5) 68:20 74:3 101:15 156:6   ripe(1) 111:25                                144:12 148:8 154:11 161:17 167:18 172:22
reorganizing(2) 43:15 91:5                200:6                                   rise(18) 53:6 56:10 79:8 91:8 91:19 91:20 173:4 175:5 182:25 183:2 187:18 190:7
repayment(2) 167:12 167:13                                                        138:12 139:2 140:14 159:25 160:21 161:21193:2 195:18 201:22 203:19 207:3 209:21
repeat(5) 93:9 130:5 190:6 190:15 210:7 response(16) 17:14 17:15 17:16 18:4 18:5 162:1 162:11 162:13 176:2 183:10 184:19
repeatedly(2) 56:3 146:16                 18:19 20:6 57:1 60:7 75:17 121:23 146:3                                               sanctions(1) 73:19
repent(1) 92:22                           147:21 150:22 181:17 185:23             risk(7) 26:6 26:8 137:16 188:19 188:23 sanjana(6) 2:37 10:27 185:1 185:3 185:3
repetitive(1) 114:11                                                              189:3 189:11                                  189:23
replacement(1) 120:6                      responsible(2) 89:19 120:12
reply(1) 197:4                            responsive(2) 19:9 28:24                risk/reward(1) 188:22                         sarah(1) 184:24
report(11) 25:22 27:17 66:22 66:22 80:5   rest(2) 123:13  123:13                  risks(1) 26:10                                satisfaction(1) 21:11
80:6 93:11 93:13 101:8 170:2 173:10       restart(1) 210:17                       road(5) 48:15 73:18 80:15 88:7 116:6          satisfied(3) 39:5 85:24 119:24
                                          restrain(1) 58:9                        robert(9) 2:7 3:21 3:30 6:17 11:6 13:8        satisfies(1) 75:14
reported(6) 91:14 132:3 135:6 135:18      restrained(1) 152:21                    102:10 129:17 163:9                           satisfy(3) 75:12 119:22 155:6
160:5 160:8                               restricted(1) 68:6                                                                    save(2) 89:15 115:24
                                          restrictions(2) 53:18 158:17            rochester(1) 9:40                             savings(2) 87:18 88:2
reporter(2) 160:5 160:9                   restrictive(1) 109:12                   rock(1) 94:16                                 say(70) 17:9 17:16 33:8 41:16 45:11 50:10
reports(1) 101:15                         restructuring(2) 64:10 67:2             rockefeller(1) 4:20                            50:13 51:16 54:15 55:2 60:6 64:8 66:19
represent(1) 49:21                        result(10) 21:15 29:14 41:4 71:8 92:18  rodney(1) 3:23                                68:16 69:4 70:19 73:17 77:13 78:24 79:18
representatives(2) 184:16 184:17          133:3 133:7 135:18 182:9 186:9          roitman(1) 8:6                                80:12 83:5 83:7 84:15 91:2 92:2 93:12
represented(4) 56:22 62:23 194:1 195:10                                           role(5) 21:23 64:23 67:19 67:25 72:1          93:12 94:13 95:9 95:18 95:25 97:4 97:16
representing(1) 139:16                    resulted(2) 38:17 38:19                 rose-colored(1) 93:13                         98:4 98:9 104:1 104:9 106:9 112:16
reputational(1) 101:24                    resulting(3) 132:25 133:11 199:8        rosenberg(2) 83:25 185:5                      120:14 121:9 123:18 134:19 140:9 143:9
                                          results(3) 134:1  134:23 134:23         rosenblatt(1)  4:18                           144:2 148:22 149:13 150:2 172:13 181:2
reputationally(1) 72:25
                                          resume(1) 106:13                        rosenman(2) 6:25 13:10                        182:2 182:13 182:15 182:23 186:24 188:4
request(2) 54:12 55:11
                                          retain(6) 106:10 149:13 149:23 150:15   rosner(1) 12:35                               192:22 195:4 198:25 198:25 202:1 203:10
requested(2) 20:1 210:23
                                          150:16   151:11                         roth(5)  5:31  11:28  16:3 16:8  187:8        205:4 205:5 205:5 208:4 209:7 209:17
require(3) 75:12 118:8 126:7
required(6) 25:13 34:3 41:10 67:5 120:23                                          rotten(1) 85:3
                                          retained(4) 102:16 127:21 149:18 151:9 rough(1) 126:15                                saying(22) 16:23 35:5 43:5 46:2 52:19
202:18                                                                                                                          54:15 57:12 58:2 64:3 68:21 71:3 90:5
                                          retains(1) 149:9                        roughly(1) 126:25
                                                       150:10                                                                   105:9 109:23 114:21 124:14 126:14 144:3
requirement(6) 85:14 190:12 190:19 191:2  retention(1)                            routinely(2) 145:14 149:23
                                                                                                                                145:23 151:10 184:6 187:15
 191:23 198:7                             retiree(3) 176:17 191:20 195:13         ruckus(1) 202:8
                                          retirees(1) 192:1                       rudnick(4) 3:28 98:2 163:9 183:7
                                                                                                                                says(30) 41:20 41:25 43:1 43:7 45:3 50:11
requires(2) 28:17 73:21                   retirement(1) 26:17                     rule(45) 42:22 43:12 43:22 44:8 55:4 55:6 52:15 89:13 96:4 101:9 106:3 113:15
requiring(1) 33:10                        retort(1) 174:11                         55:7 55:15 58:17 58:17 58:24 58:25 59:3 113:15 115:18 116:3 116:7 120:16 121:10
res(2) 110:2 110:25                       return(3) 44:16 106:15 177:22           59:10 59:11 62:8 69:3 71:2 71:5 71:13 121:23 123:18 146:7 157:25 168:10 169:20
resent(1) 200:16                          reversed(2) 23:7 23:22                  71:14 72:7 72:15 72:21 73:8 73:22 75:13 176:14 179:17 185:20 206:8 206:24
reservation(1) 89:3                       reversion(1) 136:7                      75:14 76:20 87:17 89:14 90:9 98:12            207:17
reserve(6) 21:10 21:13 76:6 85:23 174:25 revert(2) 111:12 146:9                   110:25 114:15 122:25 123:1 123:6 163:3
176:19                                    reverted(2) 153:18 169:22               163:4  171:2   187:20  191:22  204:22  208:14
                                                                                                                                scared(1) 94:16
                                          review(4) 81:11 156:18 156:18 160:19                                                  scenario(2) 168:4 169:2
reserved(2) 65:9 165:9                    reviewed(2) 62:24 211:5                 ruled(3) 23:7 98:12 103:25
                                                                                                                                schaible(1) 3:13
resolution(6) 20:19 48:12 55:13 73:5      reviews(1) 80:6                         rules(6) 71:25 87:17 124:16 125:14 138:15
                                                                                                                                schedule(4) 14:8 14:11 21:9 212:1
75:25 76:1                                revised(2) 14:10 50:13                   206:12
                                                                                                                                scheduled(4) 54:17 57:20 210:19 212:17
                                          revisit(1) 100:7                                                                      scholer(1) 10:34
resolutions(2) 106:22 178:19              reward(3) 189:4 189:5 189:12            ruling(8) 23:20 31:15 43:3 71:3 98:22
                                                                                  104:1  104:7   145:21                         schott(1) 10:31
resolve(7) 76:12 83:1 98:22 98:24 110:9 reworking(1) 19:13                                                                      schotz(1) 1:32
132:18 211:13                             rhetoric(1) 64:20                                                                     schulte(5) 5:31 11:28 16:3 16:8 187:8
                                          rich(3) 4:39 49:19 49:20                rulings(3)  45:6  114:12  148:17
                                                                                  ruminated(1)    99:13                         schuylkill(1) 1:42
resolved(23) 14:16 14:16 14:20 14:24 15:7 richard(3) 6:20 102:9 129:10                                                          scope(9) 24:1 25:4 25:4 31:14 31:22 33:12
 35:8 35:8 48:14 56:21 72:18 72:20 75:19 richards(1) 3:20                         run(3)  99:23  122:10  126:18
                                                                                  rupert(1)  104:19                              56:17 89:16 89:21
77:13 81:4 86:5 101:23 125:24 174:21      rid(1) 48:25
178:17 178:24 189:8 212:3 212:4           rifkind(2) 8:33 11:15                   rushabh(1)   13:15
                                                                                  russano(1) 3:14                               scorekeeping(1) 86:9
                                          right(74) 15:3 15:21 18:14 20:7 21:20                                                 scott(2) 12:14 12:26
resolves(1) 180:14                        34:22 35:1 41:5 42:24 47:4 49:5 52:12 saccullo(2) 7:4 7:5                             scrutiny(1) 118:8
respect(70) 21:21 23:12 23:17 26:19 28:13 53:3 61:4 61:6 61:9 61:14 66:12 75:1    sachs(2) 12:13 12:13
                                                                                                                                seaquist(1) 38:23
 30:9 32:23 33:6 40:1 42:20 48:21 51:15 76:7 76:14 81:2 82:10 84:22 87:6 88:8 sadly(1) 164:15
                                                                                                                                        47:6
51:19 52:13 53:23 54:23 56:11 58:17       88:8 88:9 89:12 89:22 91:2 97:4 98:1    safeguards(5) 58:8 63:9 71:18 71:19 86:14seat(1)
                                                                                                                                           14:2 53:6
59:15 69:22 76:5 80:9 81:17 82:21 84:24 98:16 100:2 105:2 106:5 106:7 106:10      said(47) 37:3 40:19 40:23 41:11 45:1 46:4 seated(2)
92:16 93:2 93:15 93:19 94:8 94:9 96:2 106:11 106:23 108:22 111:4 114:23 123:2546:10 47:13 67:10 84:3 89:3 91:15 92:5 second(28) 27:1 29:21 31:19 38:22 42:18
96:5 99:5 112:22 114:1 135:17 136:8                                                                                             43:2 43:3 59:13 92:21 96:7 97:19 97:24
                                           124:19 128:23 131:2 131:12 139:24 143:597:20 98:5 98:8 98:11 99:6 102:18 106:2
137:25 138:22 139:10 139:22 139:25 141:2147:9 154:8 154:10 154:15 156:25 157:5 106:20 111:20 112:9 112:15 120:25 121:3 105:10 114:25 131:20 132:12 132:21
 141:4 141:25 146:8 146:12 148:8 148:20 166:11 168:21 175:6 181:4 185:19 188:3 127:19 130:6 145:15 161:13 173:20 173:21132:23 137:9 158:14 161:9 164:10 164:25
149:9 149:14 149:15 149:19 151:20 151:21193:2 193:18 201:23 202:2 202:11 203:10 173:22 178:13 181:23 184:8 184:19               171:11 172:16 176:13 194:2 195:20
 154:5 154:11 154:19 156:20 159:22        204:12 208:8 208:11 212:23 212:24       185:24 190:16 191:16 192:8 192:22 194:15
160:25 161:18 178:9 180:8 181:18 190:19                                            198:10 200:5 202:6 202:6                     secret(2) 84:8 88:14
202:11 204:8 211:6                                                                                                              secretary(6) 21:23 22:17 23:4 27:20 30:24
                                          rights(24) 34:5 60:4 73:8 81:17 130:3                                                  31:3
                                          130:22 144:25 145:4 146:6 147:25 161:3  sailed(1) 86:23
respectfully(2) 52:4 166:18               165:1 165:2 165:11 165:13 166:4 167:25 sale(5) 22:16 26:22 37:15 186:18 189:17
respecting(1) 198:14                                                                                                            secretary's(13) 20:19 22:1 22:2 22:12 25:2
                                          168:11 168:23 170:25 171:3 171:13 190:24sam(1) 67:1
respective(6) 84:12 99:3 183:3 183:13                                                                                            26:2 28:6 28:8 28:12 28:23 29:2 29:12
                                           190:25
212:4 212:19                                                                                                                    33:7

respects(1) 145:5                                                               A526

Page : 22                                                                                                                                                04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 236 of 247 PageID #: 747
                                         TRIBUNE.4.13.11.DOC
Word                          Page:Line  Word                            Page:Line      Word                         Page:Line    Word                         Page:Line
section(32) 24:17 24:18 24:19 25:6 28:2 settled(11) 26:14 85:9 130:13 137:21            show(4) 51:3 80:3 112:13 207:20           some(75) 23:3 27:6 29:18 30:2 30:4 39:7
28:4 28:9 30:20 30:23 50:13 52:25 75:12 152:22 154:6 154:9 155:22 179:13 180:19 showing(4) 51:1 51:6 119:14 207:20                41:2 42:22 52:16 52:17 54:17 55:16 57:14
76:22 77:10 77:12 78:6 83:2 87:10 96:9 182:6                                            shown(1) 70:11                            62:23 64:12 65:19 65:22 68:2 69:24 70:12
107:13 158:14 158:25 159:6 159:9 161:15 settlement(81) 54:2 62:2 63:22 74:18            shows(2) 112:10 164:12                    70:24 71:2 71:9 73:15 73:20 74:18 76:10
162:20 165:25 166:6 167:13 173:13 177:6 79:21 79:22 84:24 85:2 85:8 85:8 85:19 side(7) 64:13 67:12 115:5 138:23 173:23 80:14 81:9 84:7 85:14 86:12 89:15 90:25
182:21                                   85:24 86:3 117:12 117:13 117:16 117:21 210:13 211:10                                     93:1 102:13 103:24 108:10 109:12 111:18
sections(1) 167:17                       118:14 118:16 118:18 118:25 119:11                                                       114:21 115:25 115:25 118:14 123:25
secured(4) 29:17 77:9 78:5 78:6          130:14 132:25 133:1 133:7 133:11 134:3 sidestep(2) 107:4 109:2                           135:25 136:24 140:24 141:1 142:8 144:9
securities(19) 11:20 11:20 23:25 26:23   134:11 135:8 135:10 137:10 137:17 137:20sidley(4) 1:23 9:7 19:5 157:22                   144:9 145:4 146:3 151:16 158:7 165:5
30:14 30:22 35:25 36:1 36:2 36:6 36:8     138:4 138:18 141:21 141:24 142:8 142:9 siegel(9) 3:29 98:2 98:2 99:20 99:24 100:1169:17 170:8 170:12 179:19 180:11 184:3
38:3 49:23 50:3 75:16 76:8 108:3 112:11 142:21 142:23 142:25 143:6 143:6 143:8 183:7 183:7 183:23                                 184:4 184:4 188:24 190:17 192:18 192:22
142:8                                    144:8 144:20 144:24 145:2 146:14 148:7                                                   192:23 192:24 202:22 211:4 212:7 212:20
security(6) 37:16 41:21 41:22 41:23      151:3 153:25 154:7 154:24 155:1 155:2 sieger(1) 13:11
189:15 189:17                            155:25 165:9 169:13 169:14 169:16 172:8 sign(1) 56:6                                     somebody(7) 45:12 52:15 70:10 95:8
                                         172:10 172:11 172:12 175:2 179:3 179:6 signed(1) 188:10                                  125:3 133:6 197:8
see(19) 14:25 15:9 25:13 29:25 68:21     182:1 182:4 182:13 191:18 199:23 202:22 significant(5) 31:8 31:19 36:18 84:5
76:15 84:5 84:16 84:23 89:10 89:12 92:1 202:23 209:14 209:15 209:16 209:22              silence(1) 190:10                         somehow(7) 42:22 87:17 123:9 179:3
105:14 111:13 114:15 165:18 167:22                                                                                                180:4 201:6 211:19
                                                                                        silverstein(1) 2:21
171:23 212:21                            settlements(3) 142:17 143:7 143:8
                                                                                        simes(1) 10:21
seeing(1) 155:15                         settles(4) 136:17 137:18 180:14 192:3                                                    someone(14) 14:23 15:24 60:17 60:18
                                                                                        similar(18) 19:20 19:22 70:18 97:8 99:4
seek(6) 28:4 54:24 61:4 126:22 133:8     settling(18) 85:17   130:8  130:11  132:5                                                69:20 71:9 71:24 134:24 137:14 156:22
                                                                                        104:21 104:22 107:8 145:4 145:14 145:24
188:23                                   133:19 133:25 134:24 136:17 136:21 137:9160:7 162:10 162:17 194:1 194:13 203:6 192:3 193:11 197:20 211:16
                                          141:22 142:12 144:9 144:10 147:18             210:6
seeking(5) 19:21 114:3 114:4 124:2 186:9 157:10 157:14 191:11                           similarly(5) 26:4 31:14 61:1 195:13 207:2
                                                                                                                                  something(35) 14:21 14:23 17:16 43:9
seeks(2) 19:14 28:7                                                                                                               43:11 47:12 48:10 50:4 52:16 57:9 64:4
                                                                                        simple(3) 83:23 174:18 195:2
seem(3) 24:12 90:7 172:22                several(2) 53:11 160:1                                                                   77:23 78:19 81:25 105:6 109:24 111:22
                                                                                        simply(31) 25:2 26:3 29:10 30:25 34:17 113:20 120:7 135:15 141:17 141:20 150:2
seemed(1) 187:12                         shachar(1) 10:13
                                                                                        34:19 39:11 42:1 42:13 44:10 46:16 51:1 156:6 172:10 181:2 183:18 196:12 199:12
seems(8) 33:22 51:17 85:6 117:22 150:5 shall(8) 21:6 21:7 37:20 49:5 116:10             51:7 77:10 78:20 79:22 92:16 103:11
156:9 189:3 205:2                        147:24 152:12 167:15                                                                     201:1 202:7 206:5 211:18 212:16 212:23
                                                                                        128:2 132:3 141:8 146:9 148:18 157:11
                                                                                        161:25 185:21 192:12 198:10 204:2 205:23
seen(4) 64:18 67:16 109:5 136:5          shamah(1) 7:39                                                                           sometime(2) 32:1 129:25
                                                                                         210:2
segue(1) 195:20                          shannon(6) 8:40 141:11 145:6 145:12                                                      sometimes(4) 24:2 34:6 88:6 88:7
seife(1) 4:14                            149:16 160:7                                                                             somewhat(6) 80:8 103:16 107:15 166:13
                                                                                        sina(1) 13:5
seize(1) 64:7                                                                                                                     208:15 210:6
                                                                                        since(6) 15:8 105:16 121:11 161:16 204:20
self-contained(1) 126:6                  shannon's(1) 144:17                             207:22
self-dealing(2) 93:25 94:3               share(4) 83:10 134:8 170:24 177:15                                                       somewhere(3) 73:17 84:16 166:23
self-regulating(1) 87:15                 shareholder(14)    25:21  102:23  103:6                                                  song(1) 64:15
                                                                                        single(5) 78:23 135:5 135:6 180:1 188:5
selling(15) 133:19 134:5 134:6 134:13    106:15 149:20 152:15 153:5 153:6 154:16 sinks(1) 86:19                                   soon(2) 116:19 212:17
152:14 152:17 152:19 153:8 155:14 155:16154:17 155:16 159:12 161:5 172:2                                                          sooner(2) 101:23 115:12
                                                                                        sir(2) 51:9 116:11
 159:2 159:12 161:5 161:22 161:22                                                                                                 sorry(15) 16:19 25:6 32:11 65:5 82:22
                                                                                        sit(1) 99:2
                                         shareholder's(1) 34:4                                                                    85:20 115:13 129:1 129:7 156:13 168:19
                                                                                        sitting(4) 16:9 61:14 65:18 145:20
semcrude(4) 141:12 144:17 144:20 149:17 shareholders(19) 22:24 23:10 23:16 34:5 sitting.”(1) 174:12                               182:21 197:23 198:9 206:15
sends(1) 205:9                           34:10 40:15 40:19 48:2 102:22 103:1
                                                                                        situated(1) 207:2                         sort(18) 71:5 81:2 89:8 91:11 128:12
senior(46) 30:2 30:11 44:13 47:20 75:16 103:1 108:5 152:9 153:16 155:15 159:3 situation(12) 23:1 42:15 42:21 43:24
83:8 95:11 95:13 95:14 95:19 96:14 96:18 161:22   161:23   171:22                                                                 146:12 151:16 167:17 168:13 169:5 172:8
                                                                                        45:12 60:18 60:21 70:18 112:14 183:4      172:18 183:14 186:13 202:22 202:25
96:24 96:24 97:2 97:10 97:11 97:19 98:8                                                 186:13 203:25
133:21 134:2 165:10 166:4 167:11 167:15  shares(1)  27:1                                                                          204:21 209:3
                                                                                        situations(1) 34:1                        sorted(2) 73:17 105:6
170:10 170:23 172:12 187:17 190:23       sharing(2) 127:8 127:10
                                                                                        six(1) 85:9                               sorts(2) 88:25 106:18
191:16 192:8 192:11 193:18 193:20 193:21sharon(1) 59:23                                 size(2) 183:17 210:3
 195:4 195:9 195:13 195:16 199:20 199:25shaw(1) 6:39                                                                              sottile(30) 4:25 8:16 56:9 56:10 56:21
                                                                                        skadden(1) 9:29                           56:25 57:7 57:16 79:3 79:3 79:16 79:18
202:20 203:21 208:25 209:19              shaya(1) 9:40
                                                                                        skewed(1) 70:19                           81:21 82:11 86:16 87:1 93:9 93:10 100:4
                                         she(1) 107:7
                                                                                        slain(2) 25:8 25:11                       100:5 100:6 100:13 100:24 200:17 200:20
seniority(1) 166:5                       sheffield(1) 12:43
                                                                                        slate(1) 9:29                             203:6 203:7 203:9 210:10 210:13
sense(10)  25:2 68:15  74:1 74:1 90:12   sheron(1)   12:31
                                                                                        slater(1) 12:8
137:21 140:7 160:11 182:3 209:16         shift(1) 143:1
                                                                                        slice(3) 134:10 165:23 170:22             sought(6) 74:3 107:8 110:7 114:4 160:14
                                         ship(2) 86:19 86:21
                                                                                        slightly(1) 143:23                        173:11
sensitive(1) 163:18                      shopping(1) 146:10
                                                                                        slippage(1) 100:12
sent(1) 184:5                            short(5) 46:22 77:5 210:20 210:21 211:11
                                                                                        sloan(1) 3:22                             sound(4) 1:47 159:16 161:25 213:6
sentence(4) 84:21 115:18 159:8 161:9     shorter(1) 190:6
                                                                                        small(2) 48:3 186:1                       soundly(1) 145:6
separate(4) 59:7 171:18 182:11 182:20    shortly(1) 66:21
                                                                                        smith(2) 13:37 13:37                      south(2) 1:28 22:11
separately(3) 195:15 199:11 199:11       shot(1) 140:1
                                                                                        sneaks(1) 100:22                          southern(1) 59:19
september(2) 19:22 199:23                should(88) 17:4 22:5 24:3 26:14 44:23
serengeti(2) 13:23 13:24                 51:16 53:17 53:19 55:2 57:8 58:2 60:6 soak(1) 169:11                                     spaeder(3) 4:24 8:13 79:4
                                         60:24   61:6  61:9  61:14  61:22  62:4  62:14  soft(2) 68:18 69:6                        spansion(4) 99:4 118:10 125:18 146:17
serious(1) 101:24
serve(3) 55:4 63:14 69:21                62:16 63:13 67:25 68:3 69:22 69:23 69:24sold(1) 189:14                                   speak(4) 15:24 79:8 101:14 133:5
served(2) 61:3 196:16                    70:3 71:1 71:2 71:19 72:3 72:12 72:13 sole(1) 157:16                                     speaking(3) 71:17 80:19 184:25
                                         73:8  73:10   73:24  74:5  77:19  78:21  79:12 solely(6) 38:3 64:20 65:12 110:22 152:14 speaks(1) 186:3
service(8) 1:41 1:48 55:5 55:7 60:13
60:14 60:15 60:18                        80:25 81:7 81:11 81:16 81:18 81:19 81:25155:13                                           special(3) 9:27 79:4 118:8
                                         82:5 82:7 82:9 82:16 83:17 84:15 86:10                                                   specific(16) 53:23 58:7 62:5 69:9 74:14
                                         86:17   87:19  88:4  89:5  92:19  100:18  106:3solve(1) 201:17                           95:2 96:12 138:22 140:22 140:24 159:11
services(4) 1:41 60:21 91:16 91:17
session(1) 212:25                        109:19 112:12 112:19 112:24 113:2 124:9                                                  163:13 190:11 195:11 197:18 200:6
set(16) 21:3 57:13 104:2 110:3 110:4     135:20 136:25 138:1 138:3 142:18 149:2
110:6 111:1 111:10 123:22 138:14 143:25 150:2 153:1 153:6 154:10 154:15 155:20                                                    specifically(23) 32:16 36:9 39:17 51:14
145:17 146:12 148:4 187:21 207:18        156:21 164:4 183:15 184:12 184:22 188:7                                                  61:4 62:13 62:16 70:16 70:25 72:4 72:9
                                         193:19 200:11 201:5                                                                      78:4 89:18 94:3 120:10 149:15 149:24
                                                                                                                                  150:22 159:21 176:7 182:22 186:12 197:3
sets(3) 76:7 87:11 207:16
settle(11) 136:16 137:22 137:23 142:24   shouldn't(6)  33:21   72:17  78:21 111:23
153:11 161:24 172:4 175:4 181:25 181:25 135:20 136:9                                                                              specious(1) 71:12
                                                                                    A527                                          speculative(1) 129:24
182:3
                                         shouldn’t(3) 187:10 189:11 190:10                                                        speech(1) 65:7
Page : 23                                                                                                                                                 04/14/11 14:12:53
              Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 237 of 247 PageID #: 748
                                         TRIBUNE.4.13.11.DOC
Word                         Page:Line    Word                           Page:Line      Word                              Page:Line      Word                        Page:Line
spend(4) 54:15 55:19 71:7 140:21          step(18) 26:25 26:25 27:1 27:19 37:4 48:2 subordinated(51) 22:18 24:23 24:24 28:18 sum(1) 45:5
spending(1) 43:16                          94:8 94:8 96:13 96:13 96:16 106:12 134:628:20 29:6 30:16 35:23 35:25 36:3 36:6 summarize(3) 46:23 72:4 191:10
spent(3) 70:9 73:10 132:8                  159:12 159:12 161:22 161:22 174:10           36:8 37:20 39:14 39:20 39:25 40:3 41:22 summation(1) 173:1
sperling(1) 12:8                                                                        42:1 42:9 45:6 47:1 47:15 47:18 47:22 summit(4) 59:18 91:9 91:13 92:13
spill(2) 163:4 163:6                      stephen(1) 2:22                               48:5 48:23 49:24 50:6 50:9 50:12 50:14 sunk(1) 86:24
spoke(1) 69:14                            steps(1) 124:14                               51:16 52:2 83:16 83:17 84:9 84:12 96:13 superior(1) 25:1
spotlight(1) 86:17                        steven(1) 12:9                                98:9 98:13 163:25 165:10 176:21 178:3 supplement(4) 158:10 198:2 198:6 198:10
square(1) 3:23                            still(14) 27:6 35:10 36:17 46:19 60:13        179:20 182:12 187:3 187:16 187:18 187:22supplemental(1) 85:6
squarely(2) 99:12 197:12                  73:9 100:11 100:15 100:18 145:10 171:2                                                         support(7) 32:8 33:18 77:3 78:18 78:20
stacked(2) 165:12 165:18                  186:2 189:4 195:11                            subordinates(2) 34:19 38:11                      78:21 111:7
stafford(2) 184:24 184:24                                                               subordinating(9) 26:2 26:5 26:18 28:6
stage(1) 74:9                             stipulated(1) 175:7                           30:18 64:5 176:16 186:17 186:18                  supportive(1) 145:19
stand(3) 90:25 101:2 212:25               stock(60) 22:17 25:20 25:21 27:5 27:7                                                          supports(1) 51:10
standard(8) 39:4 44:15 46:11 46:13 46:17 27:8 28:19 36:20 36:22 36:23 37:1 37:5 subordination(58)            22:1   25:12  28:10  28:18  suppose(1) 136:13
58:19 151:11 207:16                       37:8 37:8 37:9 37:10 37:12 37:13 37:21 35:9 37:14 39:10 41:8 44:25 45:7 45:16 supposed(7) 25:16 31:24 120:7 168:3
                                          37:22 37:24 38:7 38:8 38:10 38:12 38:15 48:16 50:21 64:2 76:20 83:12 97:6 97:9 192:3 197:22 205:12
                                          39:6 39:7 39:25 41:1 41:2 41:3 41:14          98:11 164:8 164:11 164:23 164:25 165:7
standards(3) 73:23 73:23 73:23
                                          41:18   41:19  41:23 42:1  42:12  42:13  42:14166:8 166:16 167:2 167:19 171:1 171:3 supposedly(1) 120:14
standing(22) 54:18 55:2 55:10 55:11 56:7
                                          42:17   43:10  43:13 44:17  45:14  48:25      173:15 176:23 177:5 177:11 177:20 178:11
56:11 56:13 57:2 57:3 57:5 57:8 62:8                                                                                                     supposing(1) 210:22
71:17 72:15 74:3 79:12 94:12 104:10       50:22 50:25 50:25 51:2 51:7 51:12 99:7 178:15 179:7 179:15 179:17 179:24                       supreme(3) 150:24 150:25 151:5
                                          134:5 169:6 174:17 174:24 175:1 186:19        186:15   186:25   190:25   191:3   192:21  192:24
104:16 106:17 114:1 170:6                                                                                                                sure(26) 15:17 47:2 56:1 65:3 65:13 88:20
                                          186:21                                         193:1  193:7   195:8   195:17   197:3  197:8
                                                                                                                                          90:11 90:12 90:16 92:22 93:22 95:21
                                          stockholder(6) 152:17 152:18 152:19           197:9 197:12 197:14 199:9 200:7
stargatt(1) 2:4                                                                                                                          100:16 101:16 103:5 107:6 120:23 121:14
stark(27) 3:30 163:2 163:6 163:9 164:19   152:19   153:8  155:14                                                                         125:4 128:10 158:3 166:22 193:17 205:11
                                                                                        subs(5) 36:16 37:18 42:21 43:10 44:22
164:20 166:25 167:2 167:6 168:14 168:16                                                                                                  209:21 212:9
                                          stockholders(4) 133:20 134:6 134:13           subsequently(2) 134:7 190:21
168:18 168:20 168:22 173:22 175:18
175:20 176:19 177:1 177:4 180:1 181:2 stocks(1) 38:4                                    subset(1) 84:1                                   surely(1) 67:18
181:5 181:15 181:24 182:16 182:18         stop(5) 55:24 55:25 124:11 124:11 144:14 subsidiaries(14) 28:9 28:22 29:2 35:13                surprise(2) 86:17 200:25
                                          stopping(1) 125:14                            41:7 41:9 41:15 44:12 44:14 48:18 48:21
                                                                                                                                         surprising(1) 86:24
                                          stops(1) 108:17                               49:1 49:4 176:19
stark’s(2) 176:8 180:21                                                                                                                  surrender(3) 202:16 202:23 203:12
start(7) 35:5 66:17 77:15 87:13 116:23    story(1) 170:20                                                                                survive(1) 55:15
198:13 211:8                              straight(1) 200:9                             subsidiary(9)   27:2  28:14   28:16  30:10  42:8
                                                                                         42:11 42:12 43:18 169:11                        suspect(1) 91:3
                                          straightforward(1) 41:24                                                                       suspected(1) 176:7
started(1) 15:20                          strange(1) 24:12                                                                               suspicion(1) 83:21
                                                                                        substance(2)   20:23  87:20
starting(6) 43:15 62:21 62:22 70:14 87:12 strauss(3) 5:10 9:39 138:10                                                                    sustained(1) 52:21
177:6                                     street(14) 1:11 1:42 2:9 2:24 3:7 3:24        substantial(10) 47:1 55:19 77:11 78:7
                                                                                        78:12  80:25   98:19   98:25   149:25  189:6     sutton(1) 186:23
                                          3:31 3:38 4:8 4:27 5:6 6:13 6:35 7:27                                                          suttonbrook(5) 5:30 7:33 7:33 16:2 187:8
state(53) 75:18 101:18 102:16 103:4                                                                                                      swap(35) 190:14 192:19 193:6 193:23
103:18 104:11 104:17 106:24 107:3 108:6 stress(1) 178:3                                 substantially(1)  113:8
                                                                                        substantive(1)   19:11                           194:8 194:10 194:17 194:19 194:22 195:2
112:18 113:2 113:13 113:18 113:19 113:21stricken(1) 53:17                                                                                195:6 195:7 195:19 195:21 196:4 197:7
 114:9 116:23 117:3 117:6 121:2 126:4 strict(3) 118:8 206:12 208:14                     subtle(1) 206:14
                                                                                                    55:21   80:8   80:9  80:16  82:3     197:12 197:20 199:12 199:18 199:19
126:11 130:10 131:25 139:3 139:22 141:2 strictly(2) 177:2 177:8                         succeed(5)
                                                                                                                                         199:25 200:21 201:3 202:6 202:11 202:15
146:6 146:9 151:1 151:22 152:5 152:8      strikingly(1) 97:8                            success(5) 47:21 70:20 80:13 99:19 118:12
                                                                                                                                         202:16 202:17 203:4 203:13 203:16 203:19
152:10 153:2 153:15 153:21 154:20 155:21strong(4) 83:20 169:18 170:11 170:11            successful(1)  96:15
                                                                                                                                          204:1 204:8
 159:1 159:22 160:20 160:25 161:20        strong-arm(3) 167:25 170:4 170:11             successor(4) 115:10 115:14 163:10 183:8
                                                                                                                                         sway(1) 151:9
167:10 167:23 167:24 169:21 177:16 179:5strong-armed(1) 169:21                          succinctly(1) 93:11
                                                                                                                                         swing(1) 116:4
 179:12 182:7                             structure(6) 26:1 43:16 43:18 43:20 43:24 such(28) 20:2 21:13 37:20 41:23 61:17                switch(4) 196:3 200:16 201:7 204:2
                                           44:1                                         67:1  68:3  69:18   70:3   85:2  88:2  97:13
                                                                                                                                         table(2) 57:10 86:11
stated(11) 20:16 24:5 25:3 29:13 30:21                                                  101:12 101:13 101:19 101:21 115:18 118:8
85:11 85:12 145:13 151:5 180:13 203:7 structured(1) 125:18                               121:15 123:25 136:9 137:2 153:9 155:19 tailored(1) 88:12
                                                                                        159:12 164:4 166:3 211:20                        take(24) 15:15 26:8 27:25 53:3 57:8 77:4
                                          structures(1) 102:4                                                                            83:18 87:19 97:23 99:8 123:14 124:14
statement(9) 47:14 54:13 66:19 67:4 67:6 structuring(1) 173:6                                                                            126:24 133:20 145:10 157:25 159:7 165:6
75:20 98:18 101:19 176:14                                                               sudden(1)  199:24
                                          study(1) 142:2                                                                                 172:15 172:15 175:24 202:9 204:7 207:21
                                                                                        suddenly(1)   64:2
                                          stuff(5) 80:10 181:6 203:8 203:10 203:11
statements(1) 19:9                                                                      sue(7) 68:21   102:25   152:17   154:16   154:17
                                          stutman(5) 8:29 128:8 129:5 131:15 190:4                                                       taken(10) 16:23 20:2 23:9 24:25 31:20
staten(1) 94:24                                                                         157:14 171:22
                                          styled(1) 19:8                                                                                 57:22 85:2 157:8 167:25 198:22
states(12) 1:1 1:19 3:4 20:14 21:4 24:6 subject(25) 20:20 38:6 39:10 46:20 55:1
75:21 113:24 145:24 149:3 152:12 166:6 85:12 86:1 86:6 86:25 112:19 124:9 125:3         sued(6)  32:1  102:21    120:17   152:17  159:12
                                                                                                                                         takes(7) 95:15 95:17 171:8 171:11 175:6
                                                                                         171:22
                                          135:1 135:10 138:5 159:18 159:19 177:4                                                         184:15 188:13
stationary(1) 99:24                       178:15 179:7 179:15 179:23 181:21 202:19
statute(10) 24:4 33:18 33:21 40:23 41:25 202:21                                         suffer(1) 34:10
                                                                                                                                         taking(5) 57:9 61:17 115:15 130:2 156:15
44:24 50:6 105:25 113:24 162:10                                                         suffered(3) 34:9 34:18 208:25
                                                                                                                                         talk(17) 15:1 35:21 66:12 90:19 96:3
                                          subjective(1) 58:18                           sufficient(4) 21:11 21:14 63:10 121:8
                                                                                                                                         141:12 152:6 163:12 163:25 164:5 169:17
statutory(4) 51:17 121:6 199:6 205:23     submission(2) 211:23 212:12                   suggest(9)  14:22  60:7   69:17   85:7  87:25    171:19 204:19 204:23 205:12 209:11
stay(7) 55:5 58:22 58:23 72:25 110:12                                                   111:18   154:21   156:19   208:5
                                          submissions(4) 49:14 211:12 211:21 212:14                                                      211:22
111:17 112:2                              submit(9) 69:12 73:9 75:13 77:17 80:10                                                         talked(1) 86:13
                                          81:1 99:21 149:25 198:10                      suggested(5) 39:12 80:2 86:4 150:6 198:1
                                                                                                                                         talking(7) 40:3 51:14 120:19 132:9 148:6
stayed(3) 72:17 81:7 81:7                                                               suggesting(7) 51:25 58:1 77:12 83:22             200:23 203:6
ste(8) 1:35 2:16 3:7 4:34 5:40 6:21 6:41 submitted(5) 81:22 181:21 183:24 184:4 106:4 110:16 208:17
7:12                                      184:4                                                                                          talks(1) 168:2
                                                                                        suggestion(2) 57:1 91:23
                                                                                                                                         tanto(2) 133:15 137:1
stearn(1) 3:21                            submitting(1) 185:21                          suggestions(2) 115:15 212:11
                                                                                                                                         tar(2) 64:12 67:7
steege(16) 6:33 54:8 62:1 64:1 74:20 75:2 subordinate(9) 24:15 28:8 28:14 30:20         suggests(1) 87:16
                                                                                                                                         task(1) 85:2
75:5 75:6 76:12 76:14 78:1 82:19 109:8 44:21 63:25 97:10 97:15 178:21                   suing(8) 69:5 122:2 123:24 124:1 125:13
                                                                                                                                         tasked(1) 204:15
109:9 128:1 128:2                                                                       127:22   136:15   144:11
                                                                                                                                         tax(3) 24:17 24:23 25:25
                                                                                                                                         taylor(1) 2:5
steel(2) 38:24 59:23                                                                    suitable(1) 212:22
                                                                                                                                         team(1) 163:16
steen(5) 157:21 157:22 158:6 158:23                                                     suite(4) 3:38  4:8  4:28   6:13
stenger(1) 4:15
                                                                                   A528 suits(1) 121:2
                                                                                                                                         technologies(1) 149:20
                                                                                                                                         teed(1) 211:20
                                                                                        sullivan(1) 3:35
Page : 24                                                                                                                                                       04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 238 of 247 PageID #: 749
                                        TRIBUNE.4.13.11.DOC
Word                         Page:Line    Word                        Page:Line   Word                        Page:Line   Word                       Page:Line
telegroup(8) 37:25 38:13 39:4 39:12 39:23 that(301) 14:10 14:17 14:20 14:21 14:23 that(301) 58:5 58:13 58:17 58:21 58:23 that(301) 94:17 94:18 94:19 94:21 94:25
 40:5 40:21 40:22                         14:24 14:24 15:5 15:6 15:7 15:11 15:13 59:1 59:10 59:19 59:23 60:7 60:7 60:18 95:3 95:5 95:6 95:9 95:11 95:12 95:17
                                          15:15 15:18 15:19 15:20 15:24 16:4 16:1060:19 61:10 61:12 61:14 61:23 61:24 62:495:18 95:19 95:22 95:24 95:25 96:4 96:7
telephone(3) 18:24 131:9 147:1            16:10 16:14 16:16 16:18 16:23 17:1 17:5 62:4 62:7 62:15 62:18 62:23 62:25 62:25 96:12 96:21 96:22 96:25 97:3 97:7 97:9
telephonic(7) 7:31 8:1 9:1 10:1 11:1 12:2 17:7 17:10 17:12 17:25 18:10 18:11 18:1563:2 63:2 63:6 63:6 63:14 63:14 63:17 97:14 97:16 97:18 97:20 97:22 98:6 98:7
13:1                                      18:17 18:20 18:25 19:13 19:15 19:18     63:20 63:20 64:1 64:4 64:6 64:7 64:11 98:9 98:12 98:14 98:18 98:21 98:23 98:24
                                          19:21 20:1 20:1 20:2 20:11 20:22 20:23 64:13 64:15 64:16 64:17 64:19 64:22      98:24 99:3 99:15 100:14 100:14 100:16
tell(13) 49:9 52:3 54:16 56:3 96:7 105:12 21:14 21:25 22:13 22:18 23:8 23:16 23:2464:24 65:8 65:12 65:14 65:15 65:21 65:25100:18 100:19 100:25 101:10 101:11
107:21 117:22 162:15 174:14 202:5 207:3 24:2 24:4 24:5 24:6 24:12 24:15 24:19 66:3 66:3 66:18 67:3 67:4 67:5 67:5 67:9 101:13 101:19 101:19 101:21 102:3 102:4
212:12                                    25:2 25:2 25:4 25:6 25:12 25:15 25:17 67:10 67:11 67:14 67:19 67:20 67:23 68:4102:15 102:18 103:6 103:7 103:13 104:1
telling(3) 82:8 123:18 208:1              25:24 25:25 26:5 26:8 26:8 26:9 26:10 68:14 69:2 69:10 69:15 69:16 69:20 69:21104:7 104:9 104:15 104:17 104:19 104:20
tellingly(1) 168:5                        26:17 27:3 27:4 27:5 27:8 27:12 27:15 70:1 70:17 70:23 70:24 70:24 70:25 71:1 104:21 105:1 105:2 105:3 105:3 105:4
tells(2) 157:1 205:7                      27:15 27:20 27:24 28:5 28:9 28:10 28:17 71:2 71:3 71:6 71:10 71:12 71:15 71:20 105:5 105:7 105:13 105:13 105:20 105:20
ten(3) 53:3 108:4 151:2                   28:25 29:3 29:4 29:6 29:8 29:11 29:13 71:24 71:25 71:25 72:1 72:1 72:3 72:5 105:22 105:24 106:1 106:4 106:16 106:19
tend(2) 74:8 106:23                       29:13 29:15 29:15 29:23 30:2 30:3 30:8 72:8 72:12 72:12 72:13 72:15 72:17 72:24106:21 106:22 106:23 106:25 107:1 107:2
tender(1) 185:12                          30:9 30:21 30:23 31:1 31:8 31:15 31:17 72:25 73:1 73:3 73:7 73:9 73:11 73:12 107:7 107:8 107:12 107:17 108:10 108:12
tendered(4) 185:25 186:1 186:6 188:10     32:4 32:6 32:9 32:16 32:19 32:23 32:24 73:14 73:16 73:17 73:18 73:19 73:21      108:13 108:24 109:1 109:2 109:13 109:15
                                          33:5 33:13 33:18 33:19 33:20 33:24 33:2573:22 73:22 73:24 74:1 74:5 74:8 74:11 109:17 109:18 109:25 110:5 110:6 110:8
tension(2) 33:3 33:25
                                          33:25 34:16 34:18 35:15 35:21 36:2 36:7 74:18 74:19 75:12 75:13 75:14 75:15     110:10 110:14 110:17 110:18 110:19
tentatively(1) 18:1
                                          36:8 36:12 36:13 37:1 37:1 37:2 37:5    75:18 75:18 75:19 75:21 75:24 75:25     110:20 110:21 110:21 110:22 111:2 111:7
tenth(1) 38:24
                                          37:9 37:10 37:12 37:13 37:19 38:2 38:6 75:25 76:1 76:7 76:13 76:15 76:18 76:19 111:10 111:15 111:18 111:19 111:21
term(2) 153:18 193:20                     38:7 38:11 38:12 38:12 38:16 39:3 39:6 76:21 76:25 77:5 77:10 77:17 77:17 77:18111:22 112:9 112:10 112:11 112:13 112:14
termination(1) 203:3                      39:7 39:9 39:11 39:12 39:13 39:18 39:20 77:23 78:2 78:8 78:15 78:23 78:25 79:10 112:16 112:16 112:19 112:19 112:20
terms(27) 15:5 17:9 39:3 45:12 45:22      39:24 40:3 40:4 40:6 40:12 40:14 40:15 79:10 79:14 79:16 79:20 79:21 80:1 80:2 112:21 112:22 112:24 113:1 113:8 113:10
50:25 52:11 56:7 61:24 97:14 99:5 100:2240:16 40:24 41:8 41:11 41:11 41:14 41:2180:3 80:4 80:7 80:11 80:21 80:24 81:1 113:12 113:15 113:15 113:18 113:19
125:17 126:15 159:6 159:9 161:2 161:9 41:21 41:22 41:25 42:11 42:14 42:17         81:4 81:5 81:10 81:11 81:16 81:16 81:19 113:19 113:20 113:20 113:21 113:22
164:11 166:13 169:23 179:11 194:4 197:1342:21 42:23 43:4 43:5 43:5 43:5 43:11 81:20 81:21 81:22 82:4 82:15 82:17 82:24113:25 114:7 114:8 114:8 114:9 114:10
 200:7 203:17 203:18                      43:13 43:21 43:21 44:7 44:7 44:16 44:16 82:25 83:1 83:5 83:7 83:9 83:10 83:14 114:11 114:12 114:13 114:13 114:14
                                         44:17 44:23 45:1 45:1 45:1 45:4 45:6     83:18 83:21 83:23 83:24 83:24 84:2 84:3 114:14 114:21 114:23 114:25 115:3 115:4
test(10) 38:13 41:24 69:3 69:3 171:8     45:14 45:15 46:2 46:4 46:5 46:10 46:10 84:4 84:7 84:8 84:13 84:14 84:15 84:17 115:8 115:9 115:15 115:18 115:20 115:21
177:24 205:14 206:14 206:20 207:24       46:11 46:13 46:13 46:14 46:16 46:16      84:24 84:25 85:1 85:3 85:4 85:6 85:7    115:24 116:3 116:4 116:5 116:6 116:7
                                         46:18 46:21 47:7 47:12 47:13 47:14 47:1685:11 85:15 85:19 85:23 85:24 86:1 86:3 116:8 116:9 116:11 116:24 116:25 117:6
testified(3) 69:15 94:17 208:22          47:17 47:22 47:24 48:5 48:10 48:17 48:1986:4 86:6 86:8 86:12 86:16 86:17 86:18 117:9 117:11 117:18 117:21 117:24 118:2
testify(1) 63:6                          48:19 48:20 48:20 48:22 48:22 49:2 49:1486:25 87:1 87:2 87:3 87:4 87:6 87:8      118:3 118:4 118:5 118:7 118:9 118:15
testimony(13) 50:23 52:3 65:15 72:11     49:23 49:23 49:25 49:25 50:3 50:5 50:7 87:15 87:18 87:18 87:19 87:21 87:22 88:4118:20 118:25 118:25 119:2 119:3 119:12
80:18 98:17 205:11 208:22 208:23 208:24 50:8 50:10 50:12 50:12 50:12 50:13 50:1588:6 88:14 88:14 88:15 88:16 88:18 88:18119:14 119:19 119:21 119:23 120:7 120:8
209:4 209:7 209:8                        51:1 51:3 51:5 51:5 51:6 51:7 51:9 51:12 88:20 88:23 88:25 89:2 89:4 89:13 89:23 120:10 120:12 120:23 121:7 121:14 121:17
                                         51:16 51:16 51:18 51:24 52:1 52:4 52:9 90:1 90:3 90:5 90:7 90:9 90:10 90:11       121:19 121:19 121:20 121:24 122:1 122:1
testing(2) 206:3 206:4                   52:12 52:15 52:16 53:25 54:2 54:5 54:7 90:11 90:12 90:16 90:17 90:21 90:22       122:6 122:6 122:9 122:12 122:13 122:17
texas(1) 45:3                            54:10 54:13 54:15 54:16 54:16 54:25 55:590:25 90:25 91:2 91:3 91:7 91:12 91:15 122:19 122:22 122:25 123:3 123:5 123:9
text(2) 41:25 87:10                      55:8 55:8 55:9 55:12 55:16 55:17 55:20 91:23 92:1 92:2 92:2 92:2 92:2 92:5 92:6 123:20 123:23 123:24 123:25 124:1 124:5
textural(1) 87:10                        55:22 56:5 56:6 56:6 56:16 56:19 56:24 92:8 92:10 92:16 92:18 92:19 92:22 93:2 124:10 124:10 124:13 124:22 124:24 125:3
than(51) 15:1 26:6 28:19 30:20 31:6      57:4 57:7 57:11 57:12 57:15 57:19 57:19 93:9 93:12 93:13 93:13 93:15 93:22 93:24 125:4 125:9 125:21 125:23 126:2 126:10
32:20 44:3 48:2 56:22 57:9 67:24 68:10 57:20 57:22 57:24 58:1                     94:2 94:5 94:6 94:7 94:9                126:19 126:23 127:2 127:7 127:11 127:19
70:8 78:14 80:12 82:20 85:20 85:21 88:3                                                                                   128:2 129:13 129:19 129:21 129:22 129:22
97:13 98:17 99:21 101:23 107:14 109:24                                                                                     129:23 130:6 130:7 130:8 130:10 130:12
114:10 124:2 126:22 130:20 132:5 133:9                                                                                    130:13 130:16 131:19 131:21 131:22
135:7 141:20 144:1 148:3 152:2 153:5                                                                                      131:23 131:23 131:24 132:1 132:3 132:8
153:20 159:17 164:7 176:15 176:24 177:25                                                                                  132:10 132:12 132:13 132:14 132:21
 179:10 188:23 190:6 194:3 200:5 206:4                                                                                    132:23 133:2 133:10 133:11 133:17 133:18
206:9 211:14                                                                                                               133:18 133:19 133:20 133:21 133:23
                                                                                                                          134:1
thank(83) 17:6 17:7 20:9 21:17 32:13
34:24 35:1 42:7 47:4 47:5 48:6 49:4 49:5
49:17 50:16 52:23 57:16 66:10 75:3 75:4
79:1 79:2 82:10 82:11 89:16 89:22 92:25
93:4 93:5 98:1 100:1 101:25 112:2 112:3
113:3 113:4 114:17 116:9 116:10 127:24
127:25 128:4 128:14 128:21 128:22 129:2
129:15 129:16 131:2 131:6 131:11 131:14
138:8 139:14 140:12 147:13 147:16 157:5
157:20 158:6 158:23 162:24 164:20 167:1
168:21 175:18 175:25 176:3 180:25 182:16
 183:5 184:23 187:6 189:21 190:3 200:15
202:1 204:4 204:5 204:11 205:21 210:8
212:24

thanks(2) 52:22 57:15




                                                                            A529

Page : 25                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 239 of 247 PageID #: 750
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                        Page:Line   Word                        Page:Line     Word                       Page:Line
that(301) 134:7 134:8 134:11 134:14     that(247) 180:1 180:2 180:2 180:6 180:7 that’s(31) 165:9 165:25 167:4 168:2 168:7 the(301) 29:14 29:16 29:16 29:17 29:18
134:16 134:18 135:15 135:17 135:25 136:3180:8 180:9 180:11 180:11 180:13 180:15 168:24 170:10 171:12 171:17 172:4 174:629:21 29:21 29:25 30:2 30:2 30:5 30:6
 136:5 136:10 136:19 136:19 136:19      180:17 180:21 180:23 180:24 181:3 181:20175:2 175:15 178:4 181:3 181:9 181:21 30:8 30:9 30:9 30:11 30:14 30:15 30:15
136:21 136:23 136:24 136:24 137:3 137:4 181:23 181:25 182:3 182:4 182:5 182:5 182:15 184:10 185:15 186:2 188:11 189:1830:17 30:18 30:19 30:21 30:23 30:24
137:6 137:7 137:8 137:8 137:10 137:11 182:5 182:11 182:13 182:19 182:21 183:17191:5 192:12 193:11 195:1 198:5 198:5 30:24 30:24 30:25 31:3 31:3 31:4 31:4
137:15 137:19 137:20 137:21 137:23 138:4183:20 184:4 184:6 184:9 184:12 184:19 198:16 201:5                               31:5 31:6 31:9 31:10 31:10 31:11 31:11
 138:6 138:18 138:23 138:23 138:25 139:4184:21 185:9 185:10 185:11 185:20 185:20                                          31:12 31:16 31:18 31:18 31:19 31:21
139:6 139:6 139:8 139:18 139:18 139:23 185:24 186:2 186:7 186:9 186:9 186:20 thc(2) 61:2 92:8                             31:22 31:22 31:24 32:2 32:3 32:7 32:8
140:5 140:7 140:15 140:19 140:23 141:1 186:24 187:1 187:4 187:10 187:11 187:15 the(301) 1:1 1:2 1:18 2:8 2:31 7:26 14:2 32:8 32:9 32:10 32:12 32:14 32:17 32:18
141:7 141:8 141:12 141:13 141:15 141:20 187:20 187:21 188:1 188:5 188:9 188:9 14:3 14:6 14:7 14:8 14:12 14:14 14:17 32:19 32:19 32:19 32:22 32:22 32:24 33:1
141:22 141:25 142:16 142:20 142:25 143:9188:15 188:17 188:21 188:22 189:3 189:3 14:21 14:21 14:25 14:25 15:3 15:5 15:6 33:2 33:2 33:4 33:7 33:8 33:8 33:11
 143:10 143:12 143:12 143:16 143:19     189:6 189:10 189:11 189:11 189:13 189:1315:6 15:9 15:10 15:11 15:17 15:17 15:18 33:11 33:13 33:15 33:17 33:18 33:19
143:25 144:1 144:2 144:3 144:7 144:10 189:14 189:16 189:17 190:1 190:8 190:9 15:18 15:20 15:21 15:21 15:22 16:6 16:9 33:20 33:24 33:24 33:25 34:2 34:4 34:4
144:15 145:3 145:4 145:5 145:8 145:9    190:19 190:22 190:24 191:2 191:7 191:9 16:10 16:12 16:14 16:15 16:16 16:17        34:5 34:6 34:6 34:9 34:12 34:13 34:13
145:11 145:13 145:20 145:23 145:24 146:1191:12 191:13 191:17 192:12 192:13      16:20 16:21 16:21 16:21 16:24 16:24       34:13 34:14 34:15 34:18 34:18 34:19
 146:3 146:7 146:7 146:10 146:11 146:15 192:18 192:22 192:23 192:25 193:1 193:5 16:24 17:2 17:4 17:5 17:10 17:13 17:13 34:21 34:22 35:1 35:3 35:3 35:4 35:4
146:20 146:22 146:23 147:10 147:21      193:5 193:17 194:20 194:24 195:10 195:1417:14 17:15 17:18 17:19 17:19 17:22       35:5 35:6 35:6 35:6 35:7 35:7 35:9 35:9
147:22 147:24 148:5 148:7 148:8 148:9 195:20 195:24 196:4 196:9 196:12 196:1517:24 18:1 18:3 18:5 18:7 18:8 18:9          35:11 35:11 35:11 35:12 35:13 35:13
148:12 148:14 148:15 148:15 148:16      196:16 196:23 197:1 197:2 197:2 197:4 18:12 18:14 18:17 18:18 18:20 18:22         35:18 35:19 35:20 35:21 35:21 35:24 36:1
148:19 148:22 148:25 149:2 149:5 149:8 197:6 197:7 197:8 197:13 197:15 197:16 18:23 18:23 18:24 18:24 19:1 19:3 19:5 36:5 36:9 36:9 36:10 36:10 36:12 36:12
149:12 149:13 149:15 149:22 149:25      198:1 198:3 198:8 198:10 198:10 198:11 19:6 19:6 19:8 19:9 19:9 19:9 19:10        36:13 36:13 36:14 36:14 36:15 36:15
149:25 150:1 150:2 150:3 150:5 150:5    198:13 198:15 198:17 198:18 198:21      19:11 19:12 19:13 19:15 19:23 19:23       36:16 36:19 36:20 36:21 36:21 36:21
150:6 150:6 150:10 150:10 150:12 150:14 198:23 198:23 199:1 199:4 199:7 199:7 19:25 19:25 19:25 20:2 20:4 20:7 20:10 36:22 36:22 36:22 36:23 36:25 36:25
150:22 151:3 151:9 151:10 151:16 151:20 199:10 199:12 199:12 199:13 199:16      20:11 20:12 20:14 20:16 20:17 20:18       36:25 37:1 37:2 37:3 37:4 37:5 37:7 37:7
152:1 152:2 152:3 152:6 152:8 152:18    199:17 199:22 200:6 200:16 200:20 200:2320:18 20:19 20:19 20:23 20:24 21:1 21:2 37:8 37:8 37:9 37:11 37:12 37:14 37:15
152:19 152:20 152:20 152:24 153:4 153:6 201:1 201:6 201:17 201:17 202:14 202:1721:3 21:4 21:4 21:5 21:8 21:9 21:9 21:10 37:15 37:16 37:16 37:16 37:17 37:18
153:7 153:9 153:12 153:20 153:25 154:2 202:19 202:20 202:21 203:1 203:2 203:2 21:10 21:11 21:12 21:14 21:15 21:15         37:18 37:19 37:20 37:21 37:22 37:23
154:3 154:5 154:11 154:12 154:14 154:17 203:3 203:8 203:10 203:10 203:11 203:14 21:17 21:18 21:18 21:20 21:22 21:23       37:23 37:24 37:25 37:25 38:2 38:2 38:4
154:18 154:20 154:21 154:25 155:1 155:7 203:15 203:20 204:3 204:22 204:22 205:1 21:23 21:24 21:25 22:1 22:2 22:2 22:5 38:5 38:6 38:8 38:8 38:10 38:10 38:10
155:8 155:8 155:9 155:12 155:14 155:17 205:2 205:4 205:5 205:5 205:5 205:9      22:6 22:6 22:7 22:8 22:8 22:10 22:12      38:12 38:13 38:14 38:14 38:15 38:15
155:18 155:23 155:24 156:7 156:19 157:8 205:13 205:13 205:24 206:3 206:8 206:11 22:13 22:13 22:15 22:15 22:16 22:16       38:15 38:16 38:20 38:22 38:23 38:23
157:11 157:16 157:19 157:23 157:23 158:4206:11 206:12 206:15 206:15 206:19      22:17 22:17 22:17 22:21 22:21 22:21       38:24 38:25 38:25 39:3 39:3 39:4 39:5
 158:7 158:15 158:16 158:16 158:17      206:20 206:21 206:24 206:24 207:4 207:5 22:24 22:24 23:1 23:2 23:4 23:4 23:5      39:5 39:7 39:8 39:9 39:13 39:17 39:19
158:18 158:21 158:24 159:3 159:13 159:14207:6 207:12 207:15 207:18 207:20 207:2223:5 23:6 23:6 23:8 23:9 23:9 23:9 23:11 39:22 40:4 40:6 40:11 40:13 40:13 40:14
 159:15 159:15 159:16 159:17 159:20      207:23 207:24 207:25 208:2 208:5 208:1223:11 23:11 23:14 23:15 23:16 23:16       40:18 40:21 40:23 40:23 40:25 40:25 41:2
159:22 159:23 159:25 160:1 160:11 160:19208:17 208:18 208:20 208:21 208:24 209:423:17 23:18 23:19 23:19 23:19 23:20       41:2 41:3 41:4 41:6 41:7 41:9 41:9 41:10
 160:24 161:1 161:9 161:15 161:15 161:19 209:5 209:7 209:10 209:11 209:13 209:1423:21 24:1 24:1 24:6 24:9 24:13 24:14 41:12 41:14 41:14 41:15 41:18 41:19
161:23 162:3 162:5 162:8 162:15 162:16 209:14 209:15 209:17 209:18 209:19       24:16 24:16 24:17 24:20 24:20 24:21       41:21 41:22 41:23 41:23 41:24 41:25
163:3 163:19 163:22 164:2 164:3 164:13 209:22 209:23 209:23 210:1 210:18 210:1924:22 24:23 24:24 25:1 25:3 25:4 25:4 41:25 42:1 42:1 42:3 42:4 42:9 42:10
164:14 164:20 164:24 165:5 165:12 166:6 210:19 210:23 210:25 210:25 211:2 211:825:5 25:8 25:9 25:13 25:14 25:18 25:19 42:11 42:11 42:12 42:13 42:13 42:14
166:13 166:16 167:12 167:22 168:23 169:3211:11 211:15 211:16 211:20 211:23 212:325:19 25:20 25:20 25:21 25:22 25:22       42:15 42:15 42:16 42:16 42:16 42:18
 169:10 169:10 169:13 169:16 169:17      212:6 212:8 212:16 212:18 212:19 212:2425:23 25:24 25:25 25:25 26:1 26:2 26:4 42:18 42:20 42:20 42:21 42:22 42:24 43:1
169:21 169:22 170:3 170:12 170:13 170:19213:5                                   26:6 26:9 26:10 26:11 26:12 26:12 26:13 43:2 43:3 43:4 43:7 43:9 43:10 43:10
 171:11 172:1 172:6 172:7 172:9 173:7                                           26:13 26:13 26:15 26:15 26:16 26:19       43:11 43:12 43:14 43:16 43:18 43:21
173:9 173:11 173:11 173:13 173:22 173:24                                        26:21 26:22 26:24 26:25 26:25 27:1 27:1 43:24 43:24 44:3 44:6 44:7 44:11 44:13
 174:4 174:5 174:6 174:14 175:10 175:13 that'd(1) 14:12                         27:2 27:3 27:4 27:5 27:6 27:7 27:8 27:9 44:14 44:17
175:14 176:8 176:9 176:14 176:19 176:21 that's(175) 15:1 15:3 15:8 17:22 17:24  27:10 27:10 27:11 27:11 27:13 27:14
176:23 177:1 177:2 177:8 177:21 178:1 18:17 21:18 25:19 26:12 28:20 30:5 30:1727:15 27:17 27:17 27:18 27:19 27:19
178:2 178:6 178:10 178:13 178:14 178:16 31:19 31:22 33:23 33:23 34:7 34:24 36:1727:20 27:21 27:21 27:22 28:1 28:1 28:2
178:16 178:17 178:17 178:19 178:19      38:21 39:7 40:23 40:24 41:4 41:18 42:15 28:6 28:7 28:7 28:8 28:8 28:12 28:13
178:20 178:22 178:24 178:25 179:3 179:5 43:3 43:4 43:12 43:23 43:23 44:11 44:11 28:14 28:15 28:15 28:16 28:18 28:20
179:6 179:8 179:10 179:13 179:21 179:25 44:13 44:14 46:1 46:8 46:18 51:18 52:20 28:21 28:21 28:22 28:24 28:25 29:1 29:1
                                        54:11 54:12 54:18 55:3 55:4 55:12 56:7 29:2 29:4 29:8 29:8 29:9 29:11 29:12
                                        60:2 63:25 64:25 66:5 66:7 68:2 69:8    29:13
                                        70:5 70:11 70:13 71:23 72:17 72:21 73:16
                                        73:20 73:24 74:7 76:17 77:9 77:9 77:11
                                        77:15 78:14 78:25 80:10 80:13 80:15
                                        84:17 85:14 87:9 87:21 88:23 89:11 89:23
                                        89:24 90:4 90:16 90:21 92:1 92:6 94:11
                                        94:16 94:20 95:16 97:8 97:24 98:19 99:1
                                        103:23 104:16 105:5 105:9 107:19 107:21
                                        107:24 108:3 109:23 109:25 111:5 111:15
                                        111:25 112:25 113:14 114:3 114:16 115:8
                                        115:20 117:4 117:17 117:17 117:21 118:19
                                         118:22 118:24 119:7 119:7 119:17 119:24
                                        120:13 120:13 120:15 121:9 122:8 122:8
                                        122:15 122:20 123:7 123:17 124:4 124:15
                                        125:13 126:3 126:5 126:12 126:12 126:17
                                        126:19 127:6 130:5 130:14 130:24 135:24
                                        136:22 137:12 138:5 140:16 142:18 143:21
                                         151:21 153:16 153:17 154:7 157:3 157:19
                                        160:5 164:5 201:18 204:21 205:5 205:5
                                        205:22 208:4 208:8 209:2 209:5 209:8
                                        210:4 210:23




                                                                            A530

Page : 26                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 240 of 247 PageID #: 751
                                        TRIBUNE.4.13.11.DOC
Word                       Page:Line     Word                        Page:Line    Word                       Page:Line    Word                       Page:Line
the(301) 44:17 44:21 44:22 44:24 45:3    the(301) 64:25 65:2 65:4 65:8 65:10 65:10the(301) 85:12 85:13 85:14 85:15 85:15 the(301) 103:14 103:15 103:17 103:17
45:8 45:9 45:9 45:10 45:13 45:17 45:18 65:13 65:15 65:15 65:19 65:20 65:23        85:18 85:20 85:20 85:21 85:21 85:22     103:20 103:21 103:22 104:1 104:1 104:6
45:21 45:22 45:23 45:25 46:3 46:3 46:6 65:24 66:1 66:2 66:2 66:5 66:8 66:11       85:23 85:23 85:23 86:2 86:2 86:4 86:4 104:9 104:10 104:11 104:12 104:13 104:14
46:7 46:8 46:14 46:15 46:15 46:17 46:17 66:13 66:15 66:17 66:17 66:18 66:20       86:5 86:9 86:11 86:12 86:14 86:24 86:24 104:15 104:16 104:16 104:17 104:18
46:18 46:19 46:20 46:23 46:24 47:4 47:6 66:21 66:22 67:3 67:6 67:7 67:11 67:12 86:25 87:2 87:4 87:7 87:9 87:10 87:11 104:20 104:21 104:22 104:22 104:25 105:2
47:6 47:10 47:13 47:14 47:14 47:14 47:1667:18 67:19 67:24 68:2 68:3 68:4 68:6 87:12 87:12 87:14 87:17 87:19 87:20          105:2 105:4 105:5 105:9 105:9 105:11
47:21 47:21 47:24 47:25 47:25 48:1 48:2 68:9 68:10 68:12 68:12 68:12 68:13 68:1487:20 87:22 87:23 87:25 88:1 88:4 88:7 105:12 105:13 105:14 105:16 105:17
48:10 48:12 48:12 48:13 48:13 48:15      68:20 68:24 68:25 69:2 69:3 69:4 69:6 88:7 88:7 88:8 88:9 88:10 88:13 88:14 105:18 105:18 105:20 105:23 105:24
48:15 48:16 48:17 48:17 48:17 48:18      69:11 69:13 69:13 69:13 69:14 69:14      88:17 88:18 88:20 88:22 88:24 88:25     105:24 105:24 105:25 105:25 106:1 106:2
48:19 48:21 48:21 48:22 48:24 48:24      69:14 69:17 69:20 69:21 69:22 69:25      88:25 89:2 89:3 89:5 89:6 89:7 89:8     106:4 106:5 106:6 106:6 106:7 106:7
48:24 49:1 49:1 49:1 49:1 49:2 49:3 49:3 69:25 70:5 70:6 70:8 70:10 70:12 70:13 89:11 89:12 89:16 89:19 89:20 89:21       106:8 106:9 106:11 106:12 106:13 106:14
49:5 49:9 49:12 49:13 49:14 49:15 49:18 70:14 70:14 70:16 70:18 70:21 70:22       89:21 89:22 89:25 89:25 90:1 90:1 90:2 106:15 106:15 106:18 106:19 106:19
49:20 49:21 49:23 49:25 49:25 49:25 50:570:23 70:25 71:1 71:3 71:3 71:4 71:6      90:2 90:3 90:5 90:6 90:8 90:9 90:10     106:21 106:24 106:25 107:2 107:2 107:3
50:7 50:9 50:13 50:15 50:16 50:18 50:21 71:6 71:11 71:11 71:12 71:17 71:18 71:2190:15 90:15 90:19 90:21 91:4 91:5 91:5 107:5 107:10 107:11 107:12 107:15 107:18
50:21 50:21 50:24 50:25 51:4 51:9 51:14 71:24 72:1 72:1 72:2 72:4 72:6 72:8       91:6 91:6 91:11 91:14 91:18 91:18 91:21 107:21 107:22 107:24 108:1 108:1 108:5
51:15 51:20 51:23 51:24 52:2 52:6 52:8 72:10 72:14 72:14 72:16 72:17 72:18        91:22 91:23 91:23 91:25 92:1 92:2 92:2 108:6 108:7 108:7 108:10 108:13 108:17
52:11 52:13 52:18 52:21 52:21 52:24 53:172:20 73:3 73:4 73:4 73:6 73:9 73:13      92:3 92:7 92:7 92:7 92:10 92:13 92:15 108:19 108:22 108:25 108:25 109:4 109:4
53:3 53:6 53:7 53:11 53:12 53:13 53:16 73:17 73:22 73:25 74:3 74:5 74:5 74:8 92:18 92:23 92:24 93:1 93:5 93:6 93:7 109:5 109:13 109:13 109:14 109:16 109:17
53:18 53:22 54:1 54:2 54:3 54:3 54:4     74:9 74:12 74:16 74:16 74:17 74:17 74:1993:9 93:11 93:15 93:16 93:16 93:17 93:17 109:19 109:20 109:21 109:23 109:23
54:4 54:8 54:11 54:11 54:12 54:13 54:17 74:21 74:23 75:3 75:6 75:7 75:7 75:8      93:18 93:19 93:20 93:22 93:22 93:23 94:2109:25 110:3 110:3 110:4 110:5 110:5
54:18 54:22 54:23 54:25 54:25 55:1 55:3 75:8 75:9 75:10 75:10 75:11 75:11 75:12 94:2 94:4 94:5 94:6 94:9 94:9 94:10       110:6 110:8 110:9 110:11 110:11 110:12
55:5 55:5 55:5 55:8 55:9 55:10 55:14     75:12 75:13 75:14 75:15 75:16 75:17      94:15 94:16 94:17 94:19 94:19 94:20     110:13 110:19 110:22 110:22 110:23 111:1
55:14 55:17 55:19 55:20 55:24 56:2 56:3 75:18 75:19 75:21 75:23 75:25 76:1 76:4 94:21 94:21 94:22 94:22 94:23 94:24        111:2 111:4 111:5 111:6 111:7 111:8
56:5 56:8 56:10 56:12 56:12 56:13 56:14 76:6 76:6 76:7 76:7 76:8 76:10 76:13      94:24 94:24 94:25 95:4 95:7 95:10 95:11 111:8 111:9 111:11 111:15 111:15 111:16
56:15 56:15 56:16 56:17 56:17 56:17      76:19 76:20 76:21 76:22 76:23 76:23      95:12 95:13 95:14 95:15 95:16 95:17     111:20 111:20 111:21 111:22 111:23
56:19 56:24 57:1 57:1 57:2 57:4 57:4     76:24 76:25 76:25 77:2 77:3 77:4 77:7 95:18 95:21 95:25 96:2 96:2 96:6 96:7 111:24 112:2 112:3 112:6 112:8 112:12
57:6 57:7 57:8 57:8 57:9 57:11 57:12     77:7 77:14 77:16 77:17 77:20 77:20 77:2496:8 96:9 96:10 96:11 96:11 96:11 96:12 112:13 112:15 112:16 112:17 112:17
57:14 57:17 57:19 57:23 57:25 58:5 58:7 78:2 78:3 78:3 78:8 78:10 78:11 78:12 96:13 96:14 96:14 96:14 96:15 96:17         112:19 112:22 112:25 113:4 113:6 113:8
58:10 58:11 58:12 58:12 58:18 58:20      78:15 78:18 78:21 78:23 79:2 79:4 79:6 96:18 96:19 96:20 96:20 96:23 96:23       113:9 113:12 113:17 113:21 113:21 113:23
58:21 58:21 58:22 58:22 58:22 58:23      79:8 79:10 79:13 79:14 79:17 79:20 79:2196:25 97:1 97:2 97:2 97:3 97:4 97:4 97:5 113:25 113:25 114:1 114:2 114:8 114:11
58:23 59:1 59:4 59:5 59:6 59:6 59:7 59:8 79:23 79:23 79:24 79:24 80:1 80:1 80:2 97:6 97:6 97:7 97:8 97:9 97:9 97:9 97:12 114:11 114:11 114:15 114:17 114:19
59:8 59:8 59:10 59:11 59:12 59:13 59:14 80:5 80:6 80:6 80:7 80:10 80:11 80:12 97:15 97:15 97:16 97:17 97:17 97:18         114:20 114:20 114:22 114:24 114:25 115:1
59:16 59:16 59:17 59:18 59:18 59:19      80:14 80:15 80:15 80:19 80:20 80:22      97:19 97:20 98:1 98:3 98:3 98:6 98:7     115:5 115:5 115:6 115:7 115:8 115:9
59:22 59:24 60:2 60:3 60:5 60:6 60:9     80:23 80:23 80:24 81:1 81:3 81:3 81:4 98:10 98:11 98:13 98:13 98:14 98:14        115:10 115:10 115:12 115:13 115:14
60:12 60:15 60:18 60:18 60:22 60:22 61:181:6 81:7 81:7 81:9 81:11 81:13 81:13 98:15 98:16 98:21 98:23 98:25 99:2 99:2 115:14 115:14 115:15 115:16 115:17
61:1 61:2 61:2 61:3 61:3 61:4 61:8 61:8 81:15 81:15 81:16 81:18 81:19 81:22       99:5 99:6 99:6 99:7 99:10 99:11 99:12 115:18 115:21 115:24 116:1 116:2 116:3
61:10 61:12 61:15 61:16 61:20 61:21      81:22 81:23 81:24 82:4 82:4 82:6 82:7 99:14 99:16 99:16 99:19 99:19 99:23        116:3 116:6 116:8 116:10 116:12 116:12
61:22 61:22 61:24 61:25 61:25 62:2 62:2 82:8 82:8 82:10 82:13 82:14 82:16 82:17 100:2 100:5 100:7 100:11 100:20 100:21 116:16 116:18 116:18 116:20 116:23 117:5
62:3 62:3 62:6 62:6 62:8 62:9 62:10      82:18 82:19 82:21 82:22 82:22 82:22      101:1 101:4 101:7 101:10 101:13 101:14 117:5 117:6 117:9 117:11 117:11 117:13
62:12 62:13 62:14 62:18 62:19 62:21      82:23 82:24 82:24 83:1 83:2 83:3 83:4 101:14 101:18 101:19 101:19 101:20 102:1117:15 117:17 117:18 117:18 117:24 118:2
62:21 62:23 63:1 63:3 63:10 63:12 63:15 83:5 83:7 83:8 83:9 83:10 83:11 83:12      102:2 102:2 102:4 102:6 102:6 102:8     118:5 118:7 118:11 118:12 118:12 118:13
63:16 63:16 63:17 63:18 63:19 63:22      83:12 83:12 83:13 83:15 83:16 83:22      102:10 102:11 102:12 102:13 102:14      118:13 118:15 118:16 118:17 118:19
63:23 63:25 64:1 64:6 64:6 64:7 64:9     83:25 84:1 84:1 84:2 84:3 84:4 84:6 84:6 102:15 102:19 102:19 102:19 102:20      118:21 118:22 118:24 118:25 119:1 119:3
64:10 64:12 64:13 64:14 64:16 64:20      84:8 84:10 84:12 84:15 84:19 84:22 84:24102:20 102:21 102:21 102:21 102:23       119:3 119:4 119:4 119:5 119:6 119:6
64:21 64:21 64:23                        84:25 85:1 85:2 85:7 85:10               102:24 102:25 102:25 103:1 103:3 103:5 119:7 119:9 119:10 119:10 119:12 119:14
                                                                                  103:6 103:7 103:9 103:10 103:10 103:11 119:14 119:18 119:18 119:19 119:21
                                                                                  103:12 103:13 103:13                    119:23 119:25 120:2 120:3 120:4 120:5
                                                                                                                          120:5 120:8 120:8 120:9 120:14 120:15
                                                                                                                          120:16 120:17 120:18 120:19 120:21
                                                                                                                          120:22 120:24 120:25 121:3 121:5 121:6
                                                                                                                          121:7 121:8 121:8 121:12 121:15 121:15
                                                                                                                          121:15 121:18 121:19 121:19 121:22
                                                                                                                          121:25 122:2 122:3 122:7 122:11




                                                                            A531

Page : 27                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 241 of 247 PageID #: 752
                                        TRIBUNE.4.13.11.DOC
Word                       Page:Line    Word                       Page:Line    Word                       Page:Line    Word                       Page:Line
the(301) 122:12 122:14 122:16 122:19    the(301) 141:2 141:3 141:4 141:5 141:9 the(301) 161:9 161:12 161:12 161:12      the(301) 180:13 180:15 180:15 180:19
122:22 122:23 122:24 122:24 123:1 123:2 141:9 141:10 141:13 141:14 141:15 141:20161:13 161:14 161:16 161:17 161:18      180:20 180:23 180:24 180:25 181:2 181:3
123:3 123:11 123:12 123:13 123:14 123:15141:23 141:23 142:1 142:2 142:3 142:3 161:20 161:22 161:22 161:23 161:23        181:4 181:7 181:8 181:11 181:11 181:12
 123:15 123:19 123:20 123:21 123:22     142:5 142:7 142:9 142:9 142:10 142:11 161:25 162:3 162:3 162:4 162:4 162:6      181:15 181:18 181:20 181:21 181:24
123:23 123:23 123:24 123:25 124:2 124:3 142:12 142:13 142:14 142:14 142:15      162:6 162:7 162:8 162:8 162:9 162:9     181:25 182:1 182:3 182:3 182:4 182:5
124:4 124:4 124:7 124:8 124:8 124:9     142:15 142:15 142:19 142:20 142:21      162:14 162:16 162:17 162:17 162:18      182:6 182:8 182:8 182:9 182:12 182:14
124:16 124:18 124:23 124:24 125:1 125:1 142:22 143:3 143:9 143:9 143:11 143:12 162:22 162:23 162:25 163:4 163:4 163:9 182:16 182:18 182:19 182:19 182:20
125:5 125:6 125:6 125:9 125:10 125:13 143:14 143:15 143:15 143:16 143:18        163:10 163:11 163:12 163:15 163:16      182:20 182:24 182:25 182:25 183:1 183:2
125:14 125:16 125:18 125:20 125:22      143:19 143:20 143:24 143:25 144:2 144:3 163:17 163:20 163:21 164:2 164:6 164:7 183:2 183:2 183:3 183:3 183:5 183:6
125:23 125:23 125:24 126:1 126:2 126:5 144:4 144:4 144:4 144:5 144:5 144:12     164:10 164:11 164:12 164:18 164:22      183:9 183:11 183:13 183:14 183:14 183:17
126:8 126:9 126:9 126:10 126:12 126:13 144:13 144:15 144:15 144:20 144:21       164:22 164:23 164:24 164:25 164:25 165:2183:17 183:19 183:19 183:20 183:22
126:13 126:15 126:16 126:19 126:21      144:24 144:24 145:1 145:2 145:3 145:3 165:4 165:8 165:8 165:9 165:10 165:13 183:23 183:25 184:2 184:3 184:6 184:9
126:23 126:24 127:1 127:1 127:3 127:4 145:5 145:5 145:7 145:8 145:9 145:10      165:18 165:18 165:20 165:21 165:21      184:10 184:10 184:12 184:13 184:15
127:4 127:5 127:6 127:10 127:10 127:14 145:11 145:12 145:13 145:17 145:18       165:22 165:22 165:23 165:25 166:3 166:5 184:16 184:19 184:19 184:22 185:7 185:9
127:19 127:20 127:21 127:23 127:23      145:20 145:21 146:2 146:3 146:12 146:12 166:6 166:8 166:8 166:13 166:18 166:19 185:10 185:11 185:12 185:12 185:13
127:25 128:2 128:2 128:4 128:6 128:9    146:13 146:15 146:16 146:19 146:19      166:22 167:1 167:3 167:5 167:7 167:8    185:15 185:17 185:19 185:20 185:20
128:14 128:18 128:18 128:19 128:21      146:20 146:20 146:21 146:22 146:22 147:6167:9 167:13 167:13 167:14 167:17 167:18185:20 185:24 185:24 185:25 186:2 186:2
128:23 129:1 129:3 129:4 129:7 129:11 147:6 147:6 147:9 147:9 147:11 147:13 167:21 167:21 167:21 167:22 168:1 168:2186:3 186:4 186:5 186:6 186:7 186:8
129:12 129:15 129:17 129:18 129:19      147:15 147:17 147:20 147:21 147:24      168:5 168:7 168:7 168:8 168:10 168:14 186:9 186:11 186:11 186:15 186:18 186:19
129:19 129:20 129:22 129:23 129:23      147:25 148:7 148:11 148:11 148:13 148:15168:17 168:19 168:21 168:22 168:23 169:3186:21 186:21 186:23 186:24 187:6
129:25 130:1 130:2 130:2 130:3 130:6     148:15 148:17 148:17 148:18 148:19      169:3 169:4 169:6 169:7 169:9 169:9    187:15 187:18 187:21 187:22 187:23
130:7 130:8 130:8 130:9 130:10 130:11 148:20 148:21 148:22 148:23 148:25 149:1169:10 169:10 169:11 169:12 169:14        187:25 188:1 188:2 188:4 188:6 188:7
130:13 130:13 130:14 130:15 130:21       149:2 149:3 149:5 149:6 149:7 149:8    169:15 169:15 169:16 169:18 169:18      188:8 188:9 188:10 188:11 188:13 188:13
130:21 130:24 130:25 131:1 131:4 131:8 149:8 149:10 149:11 149:11 149:16 149:19169:19 169:20 169:21 169:24 170:1 170:1 188:15 188:17 188:17 188:19 188:19
131:10 131:12 131:14 131:17 131:19       149:19 149:20 149:21 149:22 150:1 150:3170:2 170:4 170:5 170:6 170:8 170:9     188:20 188:21 188:23 188:24 188:24 189:1
131:20 131:20 131:22 131:23 131:24      150:3 150:4 150:9 150:15 150:17 150:17 170:11 170:11 170:12 170:13 170:14        189:3 189:4 189:7 189:7 189:9 189:9
131:25 132:2 132:4 132:8 132:10 132:11 150:18 150:20 150:23 150:24 150:25       170:16 170:17 170:21 170:21 171:1 171:2 189:12 189:13 189:13 189:15 189:15
132:11 132:13 132:13 132:14 132:15      150:25 151:2 151:5 151:5 151:6 151:7    171:4 171:5 171:5 171:6 171:8 171:12    189:16 189:17 189:17 189:18 189:18
132:15 132:16 132:17 132:17 132:19      151:12 151:13 151:16 151:19 151:19      171:16 171:17 171:19 171:21 171:21      189:21 189:22 189:23 190:1 190:4 190:7
132:19 132:21 132:23 132:24 133:1 133:2 151:20 151:21 151:22 151:23 152:2 152:2 171:22 172:1 172:3 172:6 172:8 172:8    190:7 190:7 190:12 190:12 190:12 190:13
133:4 133:10 133:14 133:15 133:16 133:16152:2 152:4 152:4 152:5 152:7 152:7     172:9 172:9 172:12 172:12 172:13 172:15 190:13 190:16 190:18 190:19 190:20
 133:19 133:19 133:20 133:20 133:21     152:8 152:10 152:11 152:11 152:19 153:1 172:17 172:20 172:22 172:23 172:24 173:3190:22 190:23 190:23 190:24 190:25 191:1
133:22 134:1 134:1 134:2 134:3 134:4    153:10 153:11 153:12 153:15 153:16       173:4 173:5 173:6 173:6 173:7 173:7     191:1 191:2 191:4 191:4 191:5 191:5
134:7 134:8 134:10 134:11 134:14 134:15 153:16 153:17 153:18 153:19 153:21      173:8 173:9 173:10 173:13 173:15 173:20 191:7 191:8 191:9 191:9 191:11 191:14
134:18 134:19 134:23 134:25 135:1 135:3 153:22 153:24 153:25 154:2 154:3 154:3 173:23 173:25 174:2 174:3 174:9 174:10 191:15 191:16 191:18 191:19 191:21
135:3 135:8 135:8 135:9 135:9 135:11    154:4 154:6 154:6 154:9 154:15 154:21 174:11 174:13 174:17 174:21 174:24        191:23 191:23 192:1 192:4 192:4 192:4
135:11 135:12 135:15 135:15 135:16      154:24 154:24 155:4 155:4 155:5 155:5 174:24 174:25 175:1 175:3 175:3 175:4 192:5 192:8 192:9 192:10 192:11 192:13
135:18 135:19 135:19 135:25 136:1 136:4 155:6 155:9 155:9 155:9 155:11 155:12 175:5 175:5 175:6 175:7 175:8 175:8       192:15 192:15 192:15 192:18 192:19
136:6 136:11 136:11 136:12 136:13 136:14155:12 155:15 155:16 155:17 155:18      175:9 175:10 175:11 175:13 175:18 175:23192:20 192:20 192:23 193:1 193:2 193:5
 136:16 136:17 136:17 136:19 136:19     155:22 155:23 155:24 155:24 156:2 156:11176:2 176:3 176:6 176:6 176:9 176:11 193:6 193:6 193:7 193:7 193:8 193:8
136:21 136:21 136:25 137:2 137:3 137:3 156:15 156:24 157:1 157:5 157:8 157:8 176:13 176:13 176:13 176:14 176:15         193:12 193:12 193:13 193:13 193:15
137:4 137:5 137:5 137:9 137:10 137:11 157:12 157:12 157:15 157:16 157:17        176:16 176:21 176:21 176:22 176:23      193:16 193:17 193:18 193:20 193:23
137:13 137:13 137:15 137:16 137:17      157:17 157:18 157:18 157:19 157:20      176:23 177:3 177:3 177:4 177:6 177:7    193:25 194:2 194:3 194:5 194:6 194:7
137:18 137:19 137:20 137:20 138:3 138:3 157:22 157:23 157:23 157:23 157:25      177:8 177:9 177:11 177:11 177:12 177:13 194:9 194:16 194:16 194:17 194:18 194:20
138:4 138:4 138:5 138:5 138:8 138:10    157:25 158:1 158:2 158:3 158:3 158:7    177:15 177:17 177:19 177:20 177:21       194:21 194:21 194:22 195:1 195:4 195:5
138:11 138:13 138:14 138:15 138:15      158:7 158:8 158:8 158:9 158:10 158:11 177:21 177:23 177:24 178:2 178:3 178:4 195:5 195:7 195:7 195:8 195:9 195:12
138:15 138:16 138:17 138:18 138:19      158:13 158:13 158:14 158:15 158:20      178:5 178:6 178:7 178:8 178:8 178:10    195:17 195:18 195:19 195:21 195:21
138:19 138:21 138:22 138:23 138:24      158:22 158:24 158:24 159:8 159:8 159:9 178:11 178:14 178:14 178:15 178:16       195:21 195:25 196:4 196:7 196:8 196:9
138:25 138:25 139:2 139:3 139:4 139:5 159:13 159:18 159:18 159:19 159:22        178:17 178:22 178:22 178:22 179:2 179:3 196:12 196:14 196:15 196:17 196:20
139:9 139:9 139:12 139:12 139:14 139:18 159:23 159:24 159:24 160:2 160:3 160:3 179:4 179:6 179:7 179:11 179:11 179:12 196:21 196:22 196:23 196:24 196:24
139:22 139:25 140:1 140:1 140:4 140:4 160:4 160:6 160:8 160:12 160:13 160:14 179:12 179:12 179:13 179:15 179:16         196:25 197:2 197:3 197:5 197:6 197:6
140:5 140:8 140:12 140:15 140:16 140:16 160:14 160:15 160:16 160:17 160:20      179:17 179:18 179:19 179:19 179:20      197:7 197:9 197:10 197:12 197:12 197:13
140:17 140:17 140:18 140:19 140:20      160:20 160:23 160:25 161:2 161:3 161:3 179:22 179:23 179:25 180:4 180:4 180:5 197:14 197:14 197:15 197:15 197:18
140:20 140:22 140:23 140:24 141:1       161:4 161:5 161:8                       180:8 180:13                            197:21 197:25 198:1 198:6 198:9




                                                                           A532

Page : 28                                                                                                                                       04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 242 of 247 PageID #: 753
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                        Page:Line    Word                        Page:Line   Word                        Page:Line
the(231) 198:14 198:14 198:15 198:16     then(83) 17:13 17:15 17:22 24:23 25:18 these(93) 35:17 40:16 44:3 45:6 47:7      things(23) 14:14 37:15 40:10 40:12 49:16
198:18 198:20 199:2 199:2 199:4 199:5 32:24 34:15 36:2 41:3 41:20 41:22 44:9 49:16 50:11 50:11 50:13 55:14 57:5 58:1063:16 63:18 78:10 82:15 86:12 87:22
199:7 199:8 199:8 199:9 199:12 199:18 44:23 44:24 45:17 50:14 54:10 56:25 58:759:12 61:7 62:4 62:7 65:16 67:17 69:15 112:22 114:14 115:25 123:25 124:5 125:4
199:18 199:18 199:19 199:21 199:22       62:1 62:21 67:13 73:9 74:18 75:23 78:23 69:16 70:23 71:16 71:21 71:21 73:1 74:14127:19 145:8 151:23 185:8 193:24 211:5
199:23 199:23 199:25 200:3 200:4 200:4 81:16 83:7 83:9 83:13 84:19 89:3 89:4 75:23 78:9 80:15 81:2 81:8 83:6 84:12
200:6 200:7 200:8 200:9 200:12 200:14 90:9 92:12 96:15 96:19 99:11 99:13          85:4 92:5 94:14 94:15 94:17 100:8 101:20think(208) 14:19 14:24 15:1 15:3 17:24
200:16 200:21 200:21 200:24 201:2 201:3 101:10 105:8 109:20 111:12 115:10 115:16101:24 103:4 103:6 104:11 106:2 108:11 18:15 33:10 33:23 34:7 34:12 41:5 43:17
201:4 201:5 201:6 201:8 201:9 201:12      116:5 125:14 127:4 127:13 133:20 140:3 108:24 109:15 110:8 110:15 111:3 111:3 46:22 47:7 48:25 51:25 52:19 54:2 54:16
201:12 201:13 201:18 201:20 201:21 202:2140:4 140:6 140:21 140:25 141:24 142:15 112:10 112:17 113:1 113:13 113:23 116:2 55:12 57:13 58:8 58:25 66:3 68:15 69:25
 202:11 202:12 202:14 202:14 202:16      148:7 148:21 152:17 154:17 155:3 155:6 117:7 118:24 119:15 119:19 121:12 122:1771:25 72:9 72:22 73:14 74:1 75:19 77:5
202:16 202:17 202:18 202:18 202:20       155:23 165:20 174:9 179:18 179:23 184:2 124:17 124:18 125:9 125:20 126:2 126:4 79:10 82:18 83:17 83:23 84:2 84:8 84:13
202:21 202:23 202:24 203:1 203:1 203:3 188:3 191:21 192:4 199:17 199:21 201:4 126:21 127:2 132:9 136:8 139:11 140:2 84:17 85:13 85:15 85:19 85:21 85:25 86:3
203:3 203:4 203:6 203:8 203:9 203:10     202:1 207:10 207:11 207:17 207:20 208:20143:7 146:11 162:18 169:7 169:23 170:23 86:3 86:7 86:8 86:10 86:15 87:2 87:4
203:11 203:11 203:13 203:14 203:14        209:16 209:23                           180:17 185:18 186:9 186:22 190:18 191:2587:9 87:14 87:18 87:18 87:20 88:9 88:13
203:16 203:19 203:19 203:20 203:21                                                 194:8 195:14 204:7 208:12 208:18       88:16 89:4 89:6 89:10 89:24 90:4 90:12
203:21 203:22 203:23 203:25 204:4 204:5 then-indentured(1) 183:25                                                         90:17 90:19 91:1 91:7 91:12 91:25 92:4
204:8 204:10 204:12 204:14 204:15 204:16theories(4) 103:2 104:15 107:8 169:25     they(234) 14:20 14:23 14:25 15:16 17:12 92:5 92:6 92:8 92:12 92:18 93:3 93:10
 204:17 204:22 205:2 205:3 205:4 205:5 theory(11) 38:2 102:24 113:3 160:12        17:16 18:18 23:10 25:13 26:16 27:7 28:9 94:5 95:14 96:3 96:8 96:22 96:25 97:20
205:6 205:10 205:14 205:14 205:17 205:20173:13 183:2 192:8 192:12 192:17 202:17 29:17 29:18 30:21 31:25 32:1 32:17 33:1697:22 98:12 99:4 99:12 100:18 100:23
 205:21 205:24 206:1 206:2 206:8 206:10 203:1                                     33:16 33:17 33:22 34:10 34:14 35:14     101:17 101:21 102:18 104:23 106:23
206:10 206:11 206:12 206:16 206:17       there(180) 14:9 15:9 16:14 17:17 17:25 35:15 35:18 35:22 36:20 40:17 41:16 42:3107:23 108:6 108:16 108:20 109:21 110:16
206:18 206:20 206:20 206:22 206:22       19:18 19:20 19:24 22:4 24:1 24:25 25:11 42:9 45:7 47:19 50:14 51:4 51:5 52:15     110:23 111:16 111:25 112:13 112:14
206:25 207:3 207:7 207:9 207:10 207:11 25:16 26:23 30:10 30:11 30:12 31:7 32:1454:16 55:12 55:15 55:17 58:10 58:15        112:15 113:7 114:23 114:23 114:25 115:7
207:12 207:14 207:16 207:16 207:17       33:3 33:3 33:4 34:10 36:3 36:4 39:2      59:23 60:3 61:25 62:11 64:1 64:7 64:24 122:6 126:1 128:9 128:23 132:21 134:19
207:17 207:19 207:21 207:21 207:22       39:11 39:11 39:13 39:13 40:6 40:9 40:14 67:5 68:16 68:17 68:18 73:22 75:18 75:19137:25 139:18 139:19 140:1 140:7 140:17
207:23 207:24 207:25 208:1 208:6 208:6 41:6 42:10 42:20 42:25 44:10 45:8 46:16 75:20 76:8 77:3 77:3 77:10 77:13 78:2 140:20 141:8 141:18 142:2 144:15 146:11
208:7 208:7 208:9 208:11 208:11 208:12 46:19 48:20 49:2 50:8 50:22 51:3 51:4 78:20 78:21 79:24 81:7 81:25 82:5 82:9 146:12 148:13 148:22 149:1 149:5 149:12
208:12 208:13 208:14 208:18 208:21       51:6 51:9 52:16 52:16 52:17 52:17 55:1 82:17 83:5 85:5 86:22 86:22 86:22 86:25 150:7 151:19 151:24 152:1 152:23 154:12
208:23 208:24 208:25 208:25 209:1 209:5 55:25 58:20 58:25 59:9 59:10 60:21 60:2489:8 89:10 92:16 92:17 92:21 93:22 94:6 154:14 158:18 158:19 158:24 163:7 165:15
209:5 209:6 209:7 209:8 209:8 209:8      61:4 61:6 61:9 61:13 61:18 61:21 62:19 94:7 96:13 96:18 97:19 97:19 97:20 98:8 166:11 166:16 166:17 171:2 171:11
209:9 209:10 209:13 209:14 209:14 209:1462:23 62:25 62:25 64:17 64:18 64:23 66:198:9 98:10 98:10 98:11 102:16 105:7       171:14 174:6 174:6 174:8 174:9 174:14
 209:15 209:16 209:19 209:20 209:21      67:10 68:5 68:7 68:8 68:9 69:7 69:15     106:9 106:9 106:9 106:16 108:16 109:1 176:19 180:6 181:9 182:2 182:13 183:15
209:21 209:22 209:22 210:3 210:3 210:5 69:24 71:8 71:13 72:24 73:12 73:13 73:19109:1 109:2 110:19 111:7 111:11 111:12 184:19 184:21 186:15 186:23 187:13
210:8 210:9 210:9 210:11 210:11 210:13 74:15 74:18 75:22 79:19 79:21 79:22        112:19 113:13 113:14 113:17 114:9 116:19187:14 187:14 187:19 187:25 188:6 188:7
210:13 210:18 210:21 210:22 210:22 211:179:25 81:19 81:25 83:23 86:17 90:3 93:24 116:25 118:7 118:20 119:1 119:21 124:10193:9 193:11 193:13 194:16 196:6 199:16
 211:3 211:5 211:7 211:8 211:10 211:13 94:7 95:3 96:6 96:10 96:18 98:24 99:4 127:5 127:8 127:14 127:15 127:15 130:12 201:5 202:12 204:6 205:8 206:10 207:11
211:15 211:18 211:20 211:21 211:24       100:12 101:21 101:23 110:21 111:22       132:12 132:18 135:5 136:4 136:5 136:6 207:14 208:11 208:12 208:18 208:23 209:9
211:25 211:25 211:25 212:2 212:2 212:3 113:19 114:3 115:3 115:11 117:4 119:9 136:11 136:12 136:14 136:16 136:25            209:24 209:24 210:1 211:11 211:15
212:4 212:5 212:8 212:11 212:11 212:12 122:8 124:21 125:11 125:22 125:25 127:20140:23 142:18 142:25 142:25 146:12         211:19 211:23 212:13 212:20
212:13 212:14 212:15 212:17 212:19        129:7 132:2 132:15 132:24 133:10 133:13148:14 153:4 154:13 154:15 154:15 154:16
212:21 213:2 213:5 213:6 213:6 213:7     135:5 135:22 136:10 137:1 137:7 137:15 154:23 155:1 155:2 155:22 160:10 160:11thinking(2) 57:11 208:18
                                         145:24 148:16 148:16 149:2 149:18 149:18162:1 164:13 164:15 165:20 166:14 166:17third(53) 2:38 5:33 14:7 14:17 24:1 25:3
                                          151:5 151:17 160:1 171:15 180:2 180:8 168:11 168:12 168:12 169:11 169:25        32:9 37:25 38:5 38:20 45:10 65:9 100:20
their(108) 17:11 17:12 17:21 22:10 22:14 181:11 182:19 184:16 185:16 185:16       170:5 170:8 170:15 170:17 171:22 172:3 102:3 103:5 107:11 118:7 124:5 135:2
23:14 24:7 24:8 24:10 28:24 30:3 31:7 185:17 189:6 189:6 190:10 190:11 191:8 172:3 172:6 173:10 174:6 174:9 175:4         137:12 137:13 141:9 141:19 142:6 142:15
31:11 32:2 35:14 35:17 48:4 48:20 48:20 193:24 194:21 200:8 201:6 201:22 202:13 175:4 177:25 178:16 179:15 179:17 180:19142:19 143:9 143:18 144:2 144:2 144:6
50:20 53:14 54:24 55:13 58:16 59:3 60:12202:15 203:15 203:18 206:6 206:19 207:2 180:24 182:22 183:20 184:12 185:9         145:18 145:20 146:16 146:21 146:24
60:17 60:20 60:21 61:14 67:22 68:16 71:7207:5 207:9 207:18 209:1 209:2 210:12 186:19 188:9 188:10 188:10 188:12 188:18147:22 158:13 158:24 159:8 161:8 161:10
75:20 76:2 76:24 77:1 77:8 77:12 78:13 212:23                                      188:21 188:22 189:3 189:9 189:10 189:10161:14 165:3 168:25 171:14 194:5 205:3
78:17 78:17 78:20 85:6 90:11 94:7 95:8                                            189:11 189:14 189:16 189:16 191:15      205:6 205:8 205:9 208:17 210:9
97:14 102:16 113:11 117:21 118:6 120:12 there'd(1) 90:12                          192:12 192:13 192:14 195:4 197:9 198:21
121:17 121:23 122:4 122:10 122:10 123:5 there's(65) 14:20 20:22 24:22 33:12 33:12 199:5 199:5 199:7 199:9 199:12 199:18 third-party(3) 168:6 169:2 170:23
123:7 123:11 123:16 130:9 130:11 130:20 34:2 34:7 37:23 39:15 44:12 44:18 44:25 199:18 200:22 202:6 202:6 203:1 203:16 thirds(1) 175:1
130:22 134:8 135:5 141:6 143:2 148:14 45:1 45:8 45:15 48:22 50:22 51:1 51:2 203:18 203:20 206:9 207:25 207:25 211:2
152:25 153:22 161:24 163:16 163:21       51:6 51:6 51:13 52:17 61:17 67:11 68:11 212:22
164:13 166:7 166:10 169:13 169:16 172:4 77:6 77:15 78:12 78:25 83:9 83:20 83:23
174:2 175:5 175:11 175:15 177:13 177:14 86:19 96:20 97:16 102:18 104:4 107:17 they'd(5) 85:7 102:5 127:8 127:9 127:9
183:13 184:9 185:9 185:21 186:10 189:14 108:21 112:20 114:2 117:2 118:1 118:3 they're(45) 30:5 32:1 35:23 36:3 36:4
191:12 191:14 191:14 191:17 192:8 192:12118:4 118:9 119:2 121:24 125:5 127:20 37:8 37:9 37:21 37:22 39:3 41:17 45:7
 199:15 201:14 202:5 202:25 203:1 204:1 127:21 133:7 134:5 137:25 141:18 142:5 45:23 54:6 55:15 68:19 68:20 71:10 77:8
209:19 212:18                            147:4 148:15 148:25 161:11 205:13 206:7 78:5 78:5 78:22 81:9 83:6 92:19 96:16
                                         206:23 208:23                            96:25 103:8 106:23 108:2 109:22 109:23
them(60) 23:4 23:5 26:16 26:17 29:15                                              111:12 111:13 118:3 120:18 127:13 134:20
29:15 36:4 41:16 54:24 60:8 60:25 63:13 thereafter(1) 165:21                       134:23 136:15 136:22 153:4 164:16
66:25 67:21 67:23 67:25 68:8 68:15 69:15therefore(8) 36:4 68:24 99:9 143:4 143:6 211:16 212:18
74:10 77:16 80:1 82:5 82:7 82:8 97:21 154:10 162:2 209:11
106:17 108:14 108:16 113:14 123:16                                                they've(15) 33:19 35:8 37:3 52:2 77:13
123:19 144:12 152:22 155:3 156:21 163:18there’ll(1) 173:23                        104:12 109:17 109:18 112:14 117:10
 165:6 169:8 169:17 170:7 170:24 171:19 there’s(13) 165:12 169:12 175:13 178:18 117:18 122:22 123:7 146:22 163:22
179:14 180:18 184:18 185:6 185:13 185:13180:1 180:12 181:5 182:13 185:19 186:7
 185:21 188:23 193:2 194:19 195:16       186:16 190:17 193:20                     they’re(7) 167:12 169:13 170:14 170:16
195:18 198:22 204:2 204:8 211:7 212:5                                             191:25 192:1 192:2

theme(2) 67:7 210:6                                                             they’ve(1) 199:14
themselves(3) 18:18 35:19 130:22                                                thing(22) 17:9 43:12 51:24 56:3 88:8 88:8
                                                                                 88:9 90:19 103:3 111:16 111:17 112:15
                                                                                125:11 146:5 148:22 153:16 173:25 181:24
                                                                                 194:16 200:4 208:16 209:13
                                                                            A533

Page : 29                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 243 of 247 PageID #: 754
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                        Page:Line    Word                         Page:Line   Word                        Page:Line
this(301) 14:22 14:24 15:6 16:4 16:5    those(140) 17:17 17:20 19:16 19:19 20:21 today's(1) 212:24                        tribune’s(2) 9:28 191:19
16:19 17:9 18:2 19:16 19:22 20:1 20:5 22:5 22:18 22:20 23:22 25:17 26:14 28:15today’s(2) 197:18 200:19                    tried(9) 14:14 46:22 65:6 65:14 71:14
20:7 20:16 21:3 23:23 24:17 26:3 26:9 29:2 30:11 30:13 37:19 39:24 40:3 41:25 together(3) 54:8 126:18 126:23              72:21 122:9 146:22 148:5
26:20 26:23 26:24 28:11 28:12 30:1 30:7 42:9 42:14 44:19 45:11 48:14 51:7 53:16 told(5) 80:1 84:2 86:18 88:16 211:15
33:1 33:7 34:12 36:14 37:24 38:1 38:22 53:17 53:20 53:23 54:5 55:16 56:22 64:2 tomorrow(15) 89:7 139:1 139:7 139:19       trier(1) 126:17
40:21 41:9 41:13 42:21 43:1 43:17 44:9 67:16 69:9 70:25 71:10 71:19 72:12 73:5 140:4 196:9 196:13 197:11 200:10 204:9 triggering(1) 75:11
45:2 45:5 45:12 45:14 46:1 46:13 46:22 73:10 74:2 74:20 75:2 75:23 77:3 77:15 210:6 210:17 210:20 211:16 211:25           triumph(1) 68:25
46:24 46:25 48:10 49:10 49:12 50:18     79:9 79:25 80:16 80:24 82:3 83:3 83:16                                            true(5) 95:24 133:12 144:15 174:6 208:4
50:23 51:5 52:9 52:24 54:10 57:22 58:1 84:10 86:10 87:1 87:4 88:4 89:19 91:8 too(10) 27:12 33:21 68:21 76:13 78:25        truly(1) 71:20
58:21 60:22 61:19 62:12 62:19 63:2 63:1892:4 92:16 93:20 94:25 96:1 111:4 111:21115:4 145:20 165:5 201:5 212:13           trump(1) 13:34
64:9 65:18 66:3 66:16 66:17 66:20 67:10 112:11 112:21 112:24 114:2 114:3 114:4                                            trust(103) 3:28 11:24 12:29 13:41 15:13
67:13 67:18 67:20 67:22 68:9 68:10 68:15114:5 117:3 117:4 117:13 117:16 118:9 took(1) 178:1                               16:22 17:19 47:16 48:4 52:19 54:3 59:6
68:16 68:17 68:19 68:24 70:6 70:19 72:2 118:16 118:18 119:11 119:14 120:20       tool(1) 141:20                           62:3 62:6 62:15 65:25 70:18 81:9 81:10
72:6 72:22 72:23 73:11 73:14 73:19 75:17127:13 127:17 127:22 134:22 139:23 141:6tools(1) 142:16                           82:4 82:7 83:4 83:6 83:11 83:11 89:25
76:5 77:5 77:18 77:21 77:25 78:2 78:13 141:14 144:11 150:8 153:17 153:19 154:4topic(4) 117:14 119:17 119:17 142:4         90:2 90:6 90:8 90:9 90:10 93:18 94:18
81:2 81:11 82:1 84:8 84:11 85:17 85:22 154:5 154:8 154:23 155:6 155:21 159:3 topics(3) 53:11 54:3 92:21                   94:21 94:21 94:22 94:24 95:3 95:5 95:5
86:5 87:16 88:10 88:10 88:11 88:16 88:19159:25 160:10 160:18 160:18 161:2 161:4                                           97:5 97:17 98:3 102:4 102:20 103:4
                                                                                 torres(1) 12:29
89:6 89:7 89:10 90:5 91:10 91:11 91:14 161:5 161:25 162:5 162:11 162:13 162:14
                                                                                 tort(5) 133:5 160:11 160:17 160:17 161:25103:11 103:13 103:19 104:10 104:23
94:11 97:1 97:18 98:22 100:2 100:14     164:14 169:20 169:21 169:22 172:5 177:12                                          106:25 107:4 110:8 110:15 110:17 110:18
                                                                                 tort-feasers(1) 162:2
100:22 101:7 101:22 101:22 102:2 102:7 179:23 182:6 182:9 182:10 184:1 184:21                                             110:21 111:15 113:14 113:16 113:17
102:17 103:3 103:18 104:14 104:23 106:3 188:1 188:14 188:15 189:18 190:25 195:6  total(1) 85:10
                                                                                 totaling(1) 174:20                       113:19 113:20 114:7 114:8 115:22 116:21
106:10 106:14 108:12 109:2 109:11 109:22204:17 204:18 207:3 209:25 211:3 212:17                                           116:21 135:14 136:5 163:1 163:10 165:11
 109:24 111:5 111:6 111:7 112:13 112:16 212:21                                   totally(2) 87:19 89:1
                                                                                 touch(4)  40:5  40:12 41:5 165:5         165:19 166:1 169:24 176:11 176:22 177:3
113:9 114:15 114:23 115:5 115:16 115:20                                                                                   177:9 177:10 177:11 177:14 177:15 177:18
115:22 115:25 116:8 117:9 117:14 118:10 though(9) 23:8 125:2 145:11 150:9 151:25 touched(1)  93:16
                                                                                                                           177:22 178:8 178:10 178:12 178:14
118:11 118:12 119:21 120:4 120:25 121:9 154:18 168:2 187:25 202:17               tough(1) 122:1
                                                                                                                          178:18 178:21 178:25 180:9 180:15 180:18
121:16 121:23 122:2 122:22 122:24 123:6                                          toussi(1) 13:5
                                                                                                                           182:24 183:1 183:3 183:3 183:8 184:15
123:6 123:10 123:11 123:15 123:16 123:17thought(16) 17:20 17:25 18:1 56:19 65:7 toward(1) 15:21
 123:20 123:21 124:9 124:13 124:14      105:3 105:14 139:7 156:13 158:9 178:2 towards(1) 199:5
124:22 125:1 125:2 125:3 125:4 125:6    197:4 197:20 202:8 202:11 205:15         track(3) 100:11 100:14 111:14            trust's(1) 163:22
125:12 125:12 125:17 126:2 126:6 126:8                                           trade(8) 164:6 176:17 191:19 192:2 194:4 trustee(53) 3:4 3:4 22:13 22:21 27:3
126:25 127:17 128:7 129:17 129:21 130:4 thoughts(1) 175:22                       195:9 195:10 195:12                      27:12 27:16 49:21 66:2 69:9 70:17 81:10
130:15 132:6 132:17 132:17 132:18 132:20thousands(2) 108:4 108:4                                                          89:19 90:1 90:6 93:3 95:5 95:15 95:17
 132:25 133:1 133:11 133:12 133:24      threads(1) 206:1                         traditional(1) 175:14                    98:3 98:21 103:8 104:11 104:21 106:1
133:25 134:4 134:16 135:1 135:12 135:23 three(17) 44:19 59:17 79:9 79:14 92:9    train(1) 202:10                          106:5 106:7 106:10 106:13 111:8 120:17
136:1 136:7 136:13 137:12 137:24 138:7 92:16 100:25 100:25 115:4 118:22 119:9 transaction(15) 25:20 26:24 27:5 27:9       120:18 121:4 121:4 124:23 125:1 125:2
139:5 139:24 140:25 141:18 142:3 142:4 119:10 119:15 119:22 119:24 157:24 194:736:21 37:4 105:1 107:24 127:14 185:14 125:6 127:10 127:11 163:11 168:10 168:22
142:4 142:5 142:13 144:8 144:14 145:7                                            185:17 186:8 189:12 189:14 202:18         168:25 170:7 170:14 173:4 173:5 183:8
145:22 146:5 146:19 146:25 147:17 147:23threshold(3) 69:24 73:11 205:3                                                    183:25 184:14 185:12 188:13
 148:17 148:20 148:23 148:24 149:6      through(35) 14:14 14:21 18:7 27:9 28:1 transactions(6) 24:19 108:3 108:11 112:11
151:25 152:16 152:24 152:24 153:24      36:24 49:16 67:16 68:16 100:8 100:22      112:12 164:12                           trustees(9) 32:17 32:25 53:23 58:14 68:1
154:13 156:6 158:1 158:11 159:7 160:1 110:5 124:7 135:4 140:22 142:25 143:2                                               84:6 89:13 94:23 106:11
160:24 161:2 161:8 161:13 163:7 163:12 144:13 145:16 155:4 156:8 162:14 164:24 transcript(4) 1:17 1:48 198:9 213:6
163:13 166:5 168:7 168:11 168:24 170:24 165:11 165:14 165:16 166:2 177:7 181:7 transcription(2) 1:41 1:48
                                                                                                                          trusts(2) 93:20 178:13
171:24 173:9 173:17 173:21 173:23 174:11183:14 184:1 185:6 186:14 193:4 210:25 transfer(8) 109:16 113:14 159:2 160:12
                                                                                                                          trust’s(2) 165:2 186:14
 175:6 177:5 178:9 178:17 180:11 180:12                                          160:13 160:20 161:1 161:21
183:10 183:15 184:22 186:12 187:12 188:7throughout(1) 67:13                                                               truth(3) 70:8 70:10 148:25
 189:4 190:5 191:8 191:10 191:11 191:13 throw(1) 212:10                                                                   try(14) 14:25 17:11 49:22 52:10 58:9
                                                                                 transferred(2) 113:18 113:20             64:22 71:15 71:16 94:13 102:22 103:12
192:7 192:17                                                                     trash(1) 127:14
                                        thrown(1) 89:8                                                                    110:24 164:16 212:22
                                        thus(5) 26:7 131:18 132:22 167:19 171:5 travelers(1) 150:23
this(42) 193:9 195:2 195:19 196:3 196:3                                          trb(2) 6:31 96:21
                                        ticket(1) 73:15                                                                   trying(20) 37:11 43:18 45:13 63:24 70:8
196:11 196:11 196:17 196:25 197:7 197:11                                         treat(5) 20:21 42:19 90:23 193:2 199:19 71:10 101:22 103:17 104:10 107:25 108:1
                                        tied(1) 66:13
 197:16 197:19 197:23 198:23 199:1
                                                                                 treated(10) 21:6 29:7 37:20 37:22 76:8
199:11 199:11 199:14 199:15 200:9 200:11time(73) 16:23 20:20 21:9 21:24 24:14    136:7 136:9 199:25 200:1 202:15
                                                                                                                          108:2 108:2 108:10 114:14 123:14 136:22
 200:16 200:24 201:2 201:16 202:9 202:2235:21  43:17  43:17 48:10 54:10 54:15                                             155:9 173:19 212:18
202:25 203:5 203:9 203:22 203:23 204:15 54:17 63:7 63:17 64:7 70:17 72:23 74:4
                                                                                 treating(3) 28:19 203:17 203:18
204:21 207:5 207:10 208:3 209:11 209:18 75:24 79:23 79:24 80:11 81:9 88:1 88:1                                            turn(18) 47:19 49:5 58:7 58:18 61:24
210:1 210:2                             88:3 89:15 91:5 100:3 100:8 100:21 109:4treatment(13) 24:16 24:17 35:11 74:17     86:12 87:7 115:25 139:1 139:6 165:6
                                        110:24 112:17 112:19 115:1 115:21 115:2596:8 151:22 152:4 164:7 187:17 190:22 166:3 166:18 169:8 171:19 172:15 184:18
                                         116:8 119:15 132:8 132:9 132:15 140:22 191:10 195:18 207:1                       193:17
thomas(2) 4:17 4:33
                                        144:12 148:23 149:16 149:16 150:12                                                turned(3) 167:15 170:16 170:23
                                        163:12 172:22 173:4 174:13 175:23 178:2 treatments(1) 166:12                      turning(1) 117:24
                                        185:9 186:3 188:8 191:8 197:4 198:13     trehan(1) 10:17                          turnover(2) 167:20 169:1
                                        199:2 199:2 199:18 200:3 203:20 207:11 treister(5) 8:29 128:8 129:5 131:15 190:4 turns(3) 58:19 99:8 205:10
                                        210:16 210:16 210:21 212:8 212:12 212:20trend(1) 208:12                           twelve(2) 65:15 134:17
                                                                                 trial(6) 65:16 120:22 120:22 126:23      twice(5) 141:22 148:7 196:11 201:20
                                                                                 134:17 142:22                            two(44) 25:12 26:25 33:17 59:17 60:7
                                        timeframe(1) 211:24                                                               63:18 64:2 71:14 75:23 76:7 79:9 79:14
                                        timing(2) 184:3 189:1                    trials(1) 122:7                          82:18 84:12 93:1 98:17 103:15 105:25
                                        timothy(2) 7:4 128:17                    tribune(54) 1:8 6:4 6:4 6:18 9:7 9:20    108:8 115:4 118:19 132:10 133:25 136:14
                                        tina(1) 13:29                            21:5 22:13 22:17 25:20 26:1 27:2 27:11 136:15 137:7 142:3 150:18 152:7 155:8
                                        tinker(1) 3:6                            27:13 27:18 27:19 28:2 28:7 28:8 34:12 157:6 159:4 164:2 164:15 171:15 174:10
                                        tired(1) 163:14                          35:12 36:20 36:22 36:23 36:24 37:8 37:16174:25 185:8 190:11 190:18 190:23 200:24
                                        today(39) 16:3 17:10 35:20 46:21 49:15 37:18 37:22 37:24 39:6 41:18 44:11 48:16 206:4 206:18
                                        49:16 50:10 62:9 65:8 65:20 66:12 71:17 48:24 49:3 52:13 64:10 64:11 67:1 75:10
                                        75:20 99:1 100:18 100:20 101:21 110:11 97:12 101:9 102:11 108:1 112:6 167:23 two-year(1) 111:11
                                        111:23 117:5 129:12 129:14 132:15 140:15173:5 176:18 176:18 176:25 184:2 184:6 twoomey(1) 9:15
                                         141:18 158:8 177:2 179:1 179:2 179:9 184:8                                       type(3) 78:13 94:17 159:23
                                        180:1 197:11 197:17 197:23 201:16 204:23tribune's(7) 22:15 27:1 27:3 35:18 66:24 types(5) 108:11 112:11 113:1 133:5 162:13
                                         210:12 211:14 212:4                  A534
                                                                                 67:2 160:3                               typical(1) 63:9
                                                                                                                          typically(3) 33:15 107:16 146:23
Page : 30                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 244 of 247 PageID #: 755
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                        Page:Line     Word                         Page:Line    Word                        Page:Line
u.s(2) 5:24 5:25                         unless(7) 21:8 90:20 130:24 142:25 162:21version(1) 99:6                            was(251) 15:8 16:10 16:14 17:3 19:15
ucc(1) 62:21                              187:4 189:19                             versus(4) 152:9 172:2 183:3 183:4          19:20 19:21 19:24 23:1 23:2 23:8 23:9
ufca(1) 160:20                                                                     very(53) 15:14 26:10 35:10 35:15 35:20 23:11 23:11 23:12 24:6 24:25 25:3 25:9
ufta(1) 160:20                           unlikely(5) 55:21 80:8 80:8 84:3 210:23 41:24 42:10 44:5 45:10 47:1 47:2 65:7 25:16 25:20 25:22 25:23 26:5 26:15 26:23
ultimate(3) 21:7 110:6 138:17            unliquidated(3) 35:12 35:14 36:17         67:20 68:4 70:19 80:21 84:2 84:3 86:3 26:24 27:8 27:12 27:13 27:15 27:20 29:13
ultimately(19) 21:13 25:3 25:10 27:10    unnecessarily(1) 29:3                     87:20 88:20 89:4 89:4 90:7 91:10 102:8 29:15 30:12 32:4 32:8 32:9 32:10 32:11
55:17 56:25 61:19 61:20 61:21 71:23      unnecessary(5) 43:14 57:8 84:11 130:16 115:3 115:7 118:7 123:18 129:15 131:17 32:14 32:18 32:20 32:20 32:20 32:24
81:13 82:3 82:6 83:21 98:19 165:12       130:24                                    131:18 139:8 140:11 141:17 144:17 146:1934:16 34:17 35:19 36:3 36:24 39:17 39:20
182:10 183:1 189:5                                                                  147:17 153:14 158:16 158:18 158:23        40:14 40:14 40:15 41:4 41:10 42:10 43:4
unacceptable(1) 122:15                   unprecedented(1) 59:3                     171:19 171:20 186:1 204:10 205:25 206:2 45:19 46:4 46:4 46:5 48:13 51:3 55:10
unambiguous(1) 193:10                    unquantifiable(1) 170:9                   206:12 206:21 208:14 212:24                56:5 56:5 56:19 56:21 57:2 57:8 57:10
unaware(1) 56:5                          unrebutted(1) 208:22                                                                 57:11 57:12 57:15 57:20 57:21 60:11
unclean(1) 173:13                        unredeemed(1) 184:11                      vestige(1) 67:18                           62:19 62:20 62:25 62:25 63:2 63:2 65:7
unclear(1) 103:24                        unrelated(1) 63:12                        viable(4) 64:17 64:18 106:13 106:15        65:8 65:18 67:4 67:4 69:13 69:15 70:9
                                         unresolved(2) 56:20 202:5                 vicinity(1) 209:1                          71:2 72:1 72:2 74:19 79:11 79:20 79:21
under(134) 22:1 22:2 22:7 22:14 22:18
23:13 23:20 24:13 24:17 24:19 24:25                                                vie(1) 106:4                               79:22 79:25 85:2 85:3 85:23 85:25 86:3
                                         unsay(1) 84:7
25:12 26:19 27:21 28:2 28:4 28:18 29:16 unsecured(13) 4:5 8:5 61:8 79:5 82:14      view(20) 18:3 33:18 38:16 46:23 51:10      86:13 88:10 88:10 88:11 88:13 88:19 89:2
30:16 30:17 30:18 30:23 30:25 32:21                                                57:4 80:23 82:19 89:9 114:13 125:16        91:2 91:13 91:13 94:5 97:22 98:4 98:7
                                         114:19 163:24 165:23 174:17 174:19
35:23 37:19 38:13 39:4 39:10 41:24 45:5 174:19 206:9 209:20                        152:25 153:1 153:12 159:21 159:22 160:2399:3 99:4 101:19 101:20 101:21 103:24
45:7 46:24 50:9 50:21 52:20 54:3 59:23                                              162:3 188:8 206:18                        104:21 105:2 105:3 105:3 105:4 105:13
67:3 74:17 77:2 77:10 77:12 78:3 78:6 unsecureds(2) 165:19 169:4                                                              105:13 106:20 107:13 107:14 108:9 109:1
78:7 78:15 79:23 85:18 86:19 86:25 87:13unsuccessful(2) 61:13 96:19                viewed(2) 26:24 45:10                      111:22 112:1 112:17 114:3 114:23 114:23
93:20 95:2 96:10 97:15 102:20 102:24                                               viewing(1)  206:21                         115:22 119:14 124:4 128:2 130:13 135:13
                                         unsuccessfully(1) 103:20                                                             136:1 136:1 137:6 137:14 137:20 139:10
103:1 103:2 103:8 103:8 103:11 104:10 until(15) 47:20 81:7 83:7 91:5 99:17         views(2) 80:21 80:22
104:14 104:14 105:25 107:1 107:8 110:25 99:18 101:2 110:10 138:20 156:11 157:1 vigilance(1) 71:2                              142:13 144:13 144:20 144:21 145:8 145:9
112:22 112:23 113:2 120:8 122:3 122:3 174:21 199:15 201:3 210:21                                                              145:20 149:17 149:20 149:22 151:17 156:6
                                                                                   vigor(2) 158:1 158:7
123:11 125:18 127:18 134:3 146:6 146:22                                                                                        156:14 156:15 157:11 158:15 172:17
                                                                                   viking(1) 12:5
152:5 152:19 153:2 153:11 153:17 153:22 unusual(1) 107:15                                                                     173:3  173:4 173:5 173:10 173:13 173:19
                                                                                   vindicated(1) 80:2                         176:8 177:2 178:20 179:3 179:25 179:25
153:24 153:25 154:6 155:2 155:15 160:20 unveil(1) 196:5                            vindicates(1) 63:17
161:5 161:19 161:24 162:3 162:12 164:11 unwind(3) 108:3 108:14 108:16                                                         181:19 181:20 182:19 184:9 184:9 185:5
                                                                                   vindicating(1) 66:22                       185:9 185:14 185:16 185:16 185:17 186:12
166:15 167:10 167:12 168:11 169:21       unwound(2) 107:25 108:11                  vinson(1) 10:4
169:25 170:15 170:16 171:3 171:9 173:12 upheld(1) 23:19                                                                        186:19 186:20 186:21 188:22 188:22
                                                                                   violate(4) 42:22 103:14 106:25 172:8       189:12 189:13 190:8 191:8 191:10 194:11
173:14 177:3 179:11 179:12 179:13 180:19
                                         upon(32) 20:23 21:9 24:18 24:18 25:23 violated(4) 28:2 37:2 37:5 173:7               195:17 196:5 196:7 196:16 197:1 197:8
 182:1 183:21 186:17 186:25 187:1 188:1926:7 26:16 29:8 37:8 37:9 42:24 60:15 violates(8) 32:4 116:17 170:25 171:3
188:24 190:24 191:3 192:7 192:11 194:5 65:7 65:14 65:22 68:9 91:23 93:25 99:14 171:5 171:6 171:8 191:1                        197:12 197:16 197:16 197:19 197:20
194:14 194:14 197:19 206:11 206:20                                                                                            197:24 198:7 198:10 198:18 199:10 199:11
                                         99:19 138:16 150:20 160:16 164:6 165:1                                                199:16 199:17 199:22 200:3 200:9 201:6
                                         165:5 166:14 167:8 168:1 170:20 198:22 violating(2) 44:7 90:8                        202:13 202:17 202:18 202:23 203:6 206:15
underbrush(2) 82:20 82:21                212:21                                    violation(10) 22:14 22:21 34:3 34:4 39:19 206:16 207:10 207:14 207:15 208:5 208:6
undergo(1) 136:20                        upset(2) 113:2 117:5                      39:19 122:21 173:11 190:12 192:13          208:22 208:24 208:25 209:1 209:2 213:2
underlying(1) 143:3                      urge(1) 84:10
undermined(1) 21:25                      urgencies(1) 212:19                       violations(12) 22:13 22:25 23:6 23:18 28:5
understand(21) 23:24 25:4 52:18 56:12    usa(2) 13:14 13:14                         34:11 35:19 40:18 58:25 59:10 59:11      washington(6) 4:29 5:28 88:13 88:19
58:4 58:6 65:24 66:1 74:12 101:16 117:14                                           89:14                                      88:19 88:23
                                         usc(1) 24:5
119:19 125:1 125:5 130:17 132:22 136:12                                            violative(5) 43:11 43:21 44:20 171:7 199:8
                                         use(9) 86:20 90:14 115:21 120:8 123:4
166:10 179:3 187:15 204:22                                                         violators(1) 24:22
                                         146:13 146:23 153:18 159:11                                                         wasn't(3) 27:7 48:11 202:23
                                                                                   virtually(2) 25:21 175:10                 wasn’t(2) 184:5 199:14
understanding(5) 54:5 57:21 58:15 138:15
                                         used(5) 25:9 108:14 127:5 127:24 155:6 virtue(4) 43:9 50:5 130:3 179:14             waste(2) 53:14 73:13
 212:6
                                         useful(1) 158:9                           visteon(1) 107:11                         wastes(1) 90:8
                                         using(2) 43:10 116:8                      vociferously(1) 134:18                    water(1) 163:3
understands(2) 22:17 30:24
                                         usual(3) 71:6 174:10 174:24               void(1) 189:14                            waterfall(1) 199:8
understood(4) 48:13 57:23 141:3 150:21
                                         usually(1) 86:19                          vonnegut(1) 3:15                          waterstone(4) 2:35 185:1 185:4 185:25
undertook(1) 188:22
                                         utterly(1) 122:15                         vora(1) 13:15                             watkins(3) 2:36 10:26 185:1
undisputed(3) 183:15 183:17 184:20
                                         vague(1) 135:22                           voted(1) 75:10                            way(64) 17:22 17:24 18:1 34:8 40:23 43:1
undue(2) 87:2 87:4
                                         vail(1) 11:33                             wacker(1) 7:20                              47:16 59:4 69:5 71:5 71:16 72:20 81:2
unencumbered(2) 46:25 177:15
                                         valid(6) 89:5 94:7 113:13 113:18 113:19 wackerly(1) 9:17                             81:23 82:8 82:25 85:15 85:15 85:21 87:13
unenforceable(1) 129:25                                                                                                       87:21 91:18 92:5 92:17 94:24 95:9 98:15
                                         114:8                                     wait(4) 114:15 138:24 156:11 156:24
unequal(1) 190:24                                                                                                             100:22 105:6 106:21 110:23 111:2 112:15
                                                                                   waiver(1) 190:10
unfair(18) 26:7 122:20 200:21 202:6                                                                                           112:25 122:10 122:22 123:5 123:20 125:18
                                         valuating(1) 71:20                        waker(1) 7:12
202:12 204:15 204:16 204:25 205:2 205:22                                                                                       139:24 139:25 140:17 144:5 144:5 157:8
                                         valuation(5) 52:3 99:14 164:6 164:6 164:9 walk(4) 164:24 165:14 181:7 183:14
 206:3 206:17 206:21 206:25 208:13                                                                                            157:15 167:21 174:24 180:11 184:9 187:21
208:15 210:2 210:4                       value(33) 27:8 29:13 30:8 30:12 37:5      walrath(1) 107:6
                                         38:12 38:19 41:2 44:1 44:10 44:12 44:14 walrath's(1) 88:12                            192:14 192:14 201:16 201:18 205:13
                                         44:16 45:14 51:2 51:4 51:6 51:13 52:17 want(42) 15:17 25:13 41:8 49:15 53:1          205:24 208:11 208:12 208:18 211:19
unfairly(4) 190:13 190:20 191:2 191:24
                                         55:23 68:17 69:14 69:15 80:20 92:19       56:8 68:18 76:15 78:24 80:21 92:22 94:13211:20 212:5 212:13
unfairness(1) 172:3
                                         94:19 94:24 96:20 169:5 169:12 185:21 94:14 94:17 99:22 112:9 116:23 136:16
unfortunately(1) 101:22                  186:10 203:19                             139:9 141:17 146:18 154:16 156:5 171:21 ways(3) 144:3 151:12 179:19
unfounded(2) 72:24 101:25                valued(1) 186:10                          173:20 181:23 183:14 184:7 186:14 187:12we'd(3) 99:21 115:17 159:4
unhappy(1) 212:18                        values(2) 50:24 50:24                      191:11 192:9 196:10 198:12 198:18        we'll(11) 29:25 53:3 54:10 68:21 69:4
uniform(1) 117:3                         vanilla(1) 174:15                         200:25 201:2 201:8 201:9 201:20 201:21 94:15 99:7 114:15 164:13 211:22 212:22
unimpaired(3) 28:22 29:1 29:15           variety(1) 18:13                          205:11
unintelligibility(1) 126:9               various(13) 17:13 37:2 43:25 52:11 52:14                                            we're(35) 40:3 40:19 40:19 46:19 57:24
unique(2) 69:10 72:10                    80:7 117:3 117:12 119:10 127:3 135:3      wanted(20) 15:18 16:10 17:1 18:11 43:1 66:12 69:8 85:17 89:18 94:16 96:16 98:8
united(7) 1:1 1:19 3:4 20:14 21:4 92:7   184:22 190:7                              47:2 48:9 48:18 51:3 54:14 84:7 97:19 98:15 100:11 115:23 116:16 117:15 118:4
149:2                                                                              98:10 112:7 128:12 139:9 150:4 173:17 119:8 119:13 121:1 121:14 122:17 134:10
                                         vasquez(1) 8:10                           178:5 212:20                               134:12 134:13 134:19 138:18 148:9 153:25
universally(1) 25:7                      vast(1) 117:22                                                                        155:16 155:17 201:21 210:25 212:7
universe(1) 153:14                       vehicle(2) 57:24 165:11                   wants(13) 15:24 63:21 77:23 78:23 84:15
unjust(1) 107:7                          ventilated(2) 114:22 114:24               92:25 135:8 135:9 135:9 136:18 152:17
unknown(2) 118:14 170:9                  venture(1) 179:24                    A535 201:18 211:16
unlawful(1) 46:17                        verbatim(1) 19:12
                                                                                   wardwell(2) 3:11 10:8
Page : 31                                                                                                                                             04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 245 of 247 PageID #: 756
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line   Word                        Page:Line    Word                       Page:Line    Word                        Page:Line
we've(31) 20:22 20:23 43:17 45:24 46:14 what(196) 14:14 14:16 14:16 14:22 16:10 which(139) 14:8 16:15 16:16 19:14 19:25 will(112) 15:24 17:10 17:12 18:8 18:10
46:19 51:7 52:12 65:15 70:23 72:21 74:2 16:18 17:25 19:23 23:13 23:14 24:16 25:320:22 21:6 23:15 24:24 25:9 26:14 26:16 18:12 18:15 20:23 22:2 34:15 47:8 49:24
76:21 76:21 84:25 85:13 86:15 88:20     25:19 25:22 28:21 30:5 32:12 32:20 34:8 27:9 28:10 28:13 30:24 33:20 34:9 34:11 50:8 52:3 54:5 54:7 54:8 54:9 56:12
98:17 116:6 122:8 132:10 132:16 146:17 34:10 34:11 34:16 34:17 35:18 36:19       34:19 35:25 36:6 36:24 36:25 38:7 38:8 56:15 58:21 62:18 64:1 66:18 69:5 71:14
146:18 147:20 148:5 155:19 157:15 163:7 37:10 39:7 40:2 40:24 41:4 41:20 42:16 38:17 38:18 39:2 39:16 39:23 40:1 40:2 73:17 74:19 79:5 80:6 80:16 82:3 82:4
202:12                                  42:16 44:4 45:11 45:14 45:22 45:24 45:2540:9 40:10 41:25 42:8 42:19 42:23 45:2 83:13 83:21 83:24 90:6 93:24 94:23 95:3
wednesday(1) 14:1                       46:1 46:8 46:14 46:23 48:13 49:9 49:12 45:22 45:23 48:20 52:1 52:19 52:19 53:2295:12 95:19 95:24 95:25 97:10 98:18
week(6) 66:3 75:18 184:4 200:18 212:14 50:20 50:24 50:24 50:25 51:25 52:11       55:1 55:18 58:8 59:14 59:21 63:12 65:22 98:24 98:25 100:16 101:2 101:14 101:17
212:19                                  52:14 52:19 56:4 59:24 60:2 63:8 63:8 66:13 67:7 74:16 75:12 75:21 76:25 79:23102:17 102:17 104:24 108:6 111:20 113:16
                                        63:17 65:13 65:22 66:1 66:19 69:17 69:2281:8 83:4 85:16 87:13 89:17 89:18 91:12 113:21 113:22 114:10 115:3 115:11
weeks(4) 71:15 98:17 112:1 119:15       69:23 70:11 70:14 71:17 72:22 73:4 73:1694:11 96:24 97:2 97:3 97:9 99:13 99:14 119:19 120:10 120:12 120:20 121:9 127:8
weigh(3) 40:6 40:11 201:4               74:15 76:3 77:21 77:22 77:25 78:1 79:11 101:8 101:16 102:11 105:13 105:23 107:6 130:8 133:2 133:11 133:12 133:13 136:12
weighs(1) 40:9                          79:13 79:18 79:24 80:14 83:5 84:25 85:17107:6 107:15 112:24 115:6 116:24 120:17 138:16 138:20 139:1 139:2 139:6 143:1
weight(2) 92:7 94:7                     85:22 85:23 88:4 90:5 90:9 91:13 93:11 127:15 127:15 131:20 135:1 135:1 135:18 143:20 145:18 148:11 148:16 148:16
weiss(2) 8:33 11:15                     93:12 95:7 98:4 100:23 102:17 102:19     135:18 136:7 137:14 138:3 140:20 141:3 148:18 148:19 149:3 150:3 152:3 152:25
weitman(1) 9:23                         103:16 103:24 104:9 107:17 107:19 107:25142:10 144:19 145:19 150:16 150:25 152:9158:3 168:6 172:20 180:18 180:22 181:14
welcome(2) 147:14 211:17                 108:6 111:20 112:7 112:8 112:15 113:15 153:8 153:11 155:23 160:5 160:8 160:17 182:8 183:13 189:5 189:6 190:15 193:17
well(91) 14:17 14:19 15:22 16:12 26:10 114:24 116:2 116:5 116:6 117:5 117:15 161:11 162:1 166:6 175:21 177:3 179:1 195:1 201:13 202:25 204:4 208:21 211:25
33:1 33:10 33:15 33:16 34:3 34:8 37:19 117:24 120:1 120:7 121:10 121:10 121:11 179:1 179:20 186:3 186:4 186:12 187:13 212:12 212:25
39:25 40:23 43:6 44:22 61:20 64:3 65:24 121:12 121:22 123:4 123:17 123:18 124:4 190:21 193:3 194:10 195:20 195:20 201:10
67:14 68:2 68:21 69:17 72:16 73:4 74:23 130:9 131:18 132:22 133:14 134:16 135:8 201:10 202:14 203:12 203:24 203:25       willful(2) 32:7 94:1
75:25 77:13 77:20 81:15 84:19 86:13     136:5 136:10 136:22 138:2 139:9 144:7 206:14 206:17 206:24 211:25 212:13         william(2) 3:37 5:19
93:18 94:8 94:22 96:15 96:19 97:24 99:2 145:11 148:11 148:21 150:2 151:7 151:19                                          willing(3) 85:7 142:24 169:13
99:7 102:8 103:22 105:8 105:11 105:16 152:16 152:23 154:12 154:14 154:15 156:3                                           wilmer(1) 11:40
106:19 107:10 107:23 109:4 118:6 120:15 158:12 165:7 165:13 165:15 166:13 171:1while(11) 28:22 29:1 74:23 88:6 107:17 wilmington(37) 1:12 1:36 2:10 2:26 3:8
120:16 122:4 129:15 130:14 139:8 140:11 173:2 174:14 175:2 175:12 176:7 177:1 135:22 136:4 150:4 156:18 172:18 172:25 3:25 3:28 3:39 4:9 4:35 5:7 5:21 5:41
142:15 145:1 145:19 146:2 149:18 150:10 178:4 179:1 182:22 183:13 183:14 187:15                                           6:14 6:22 7:28 14:1 15:13 16:22 98:3
150:17 156:11 158:4 160:10 166:22 175:23190:15 194:15 195:1 195:17 198:2 198:5 whisks(1) 174:4                            162:25 163:10 163:22 165:1 169:24 176:11
 180:13 181:12 191:20 192:22 194:21     198:17 198:23 199:13 199:22 200:5 200:19white(1) 12:25                             177:10 178:8 178:10 178:18 178:25 180:9
194:24 196:15 196:21 197:3 197:21 197:25201:25 203:12 203:16 205:5 205:16 207:3whitman(2) 205:11 208:22                   180:15 180:18 183:8 184:15 186:13
 198:20 200:12 201:8 201:9 201:15 202:21208:1 209:17 209:18 210:15 210:16 211:14whitman's(1) 208:24
204:10 207:7 207:14 210:11 211:18                                                whittman(1) 12:22                       wilson(1) 10:23
                                                                                 who(49) 18:15 23:2 23:3 29:9 31:17 40:13win(1) 80:11
well-settled(1) 117:2                   what's(9) 30:1 34:3 34:4 70:21 120:13     43:8 47:18 52:6 54:8 59:5 60:20 63:11 wind-up(1) 167:9
                                        120:24 123:6 133:17 211:6                64:5 64:18 67:9 68:9 68:10 68:11 68:12 wiped(1) 25:21
well-taken(1) 90:16
wellbeing(1) 24:7                                                                68:22 69:4 69:7 69:13 77:19 77:23 90:10 wish(3) 20:4 24:14 93:14
                                        whatever(17) 21:12 46:25 69:5 73:11      96:6 99:10 99:11 117:7 117:8 122:2      wished(1) 16:15
wells(1) 12:25
                                        73:13 96:5 99:7 99:21 119:15 121:20      125:10 133:24 135:9 135:24 137:21 142:24wisler(1) 7:25
went(8) 14:17 27:19 79:10 143:9 185:5
                                        123:14 146:5 146:9 153:18 166:2 185:18 152:21 155:5 159:1 175:3 177:12 177:17
187:11 199:25 200:18
                                        192:11                                   184:17 192:3 195:1 207:10
                                        whatsoever(1) 48:22
were(92) 17:2 19:16 22:15 23:3 23:10
                                        what’s(1) 168:3                          who's(7) 14:19 52:10 67:1 70:1 75:23
23:13 23:14 25:12 25:23 26:10 26:10
26:15 34:8 34:10 35:22 39:24 40:3 40:16 when(61) 17:17 17:22 24:9 32:10 33:16 131:8 134:24
40:16 40:17 42:9 62:23 68:5 73:4 76:24 33:17 34:5 34:12 41:10 44:6 45:11 51:13
79:13 79:24 80:7 89:9 90:13 90:15 90:25 52:10 56:14 57:1 57:14 57:19 60:17 64:23whoever(2) 133:13 150:8
93:2 98:6 104:24 108:25 109:1 110:1     65:6 66:18 69:1 69:15 75:22 76:23 79:12 whole(18) 24:22 42:15 45:5 59:24 60:23
120:2 121:18 122:13 124:6 125:24 129:21 80:6 83:25 86:4 86:18 87:5 88:15 91:6 60:24 60:25 64:16 68:7 68:8 78:11 78:19
133:19 134:7 134:8 134:18 134:20 136:3 91:7 98:7 98:7 98:22 106:13 110:24        108:12 145:16 146:5 152:2 182:21 203:23
136:14 136:23 138:24 139:1 146:4 149:18 110:24 111:1 111:17 112:1 116:3 116:3
150:6 151:3 153:22 154:20 155:15 155:22 119:24 137:15 151:7 155:22 164:5 164:12 wholly(2) 27:2 137:23
155:22 162:8 164:2 164:3 169:21 170:18 176:8 176:23 183:1 191:24 195:1 202:5 whose(4) 31:13 48:25 64:8 211:13
178:13 182:24 183:24 184:3 184:4 185:25 203:5 206:5 206:13 210:25                who’s(1) 194:25
186:1 186:16 186:24 187:16 188:11 188:12                                         why(40) 22:4 33:19 34:7 41:16 51:6 53:14
 189:16 195:15 196:23 196:24 197:7 199:8where(46) 23:1 34:1 34:2 34:15 42:25      53:15 53:20 54:14 54:21 61:20 62:13 63:9
199:13 199:19 202:15 203:18 204:1 212:3 43:24 45:12 45:23 47:25 52:9 52:20 52:25 63:10 68:13 70:5 70:13 72:17 78:25 84:20
                                        54:7 55:3 58:14 59:25 60:2 60:10 60:12 88:8 89:5 94:5 101:22 107:21 109:10
                                        61:2 79:19 88:10 94:3 96:4 104:22 105:23110:9 111:5 111:25 112:13 122:25 135:25
                                        109:11 111:8 111:14 111:25 122:5 132:8 139:23 139:23 146:4 146:4 179:19 194:24
weren't(2) 89:8 134:14
                                        135:6 135:13 135:25 137:21 155:18 173:20195:2 205:4
west(2) 2:9 6:27
                                         177:10 183:20 188:7 189:9 193:4 200:18
we’ll(2) 171:19 175:23
                                        203:25 212:6                             widget(2) 174:15 175:14
we’re(5) 169:4 184:8 196:15 200:10 200:23
we’ve(4) 165:4 166:12 180:13 182:6                                               wiebolt's(1) 160:4
                                        whereas(1) 36:10                         wild(1) 13:38
wharton(2) 8:33 11:15                   whereby(1) 185:11
                                        whereupon(1) 213:2
                                        whether(56) 20:19 35:22 38:14 40:25 41:1
                                         42:9 43:8 47:24 48:3 50:2 55:13 55:14
                                        55:15 55:17 58:20 62:7 62:16 64:25 65:19
                                        65:20 70:2 71:7 71:20 72:8 72:12 73:10
                                        73:20 80:16 81:10 82:2 82:3 82:7 96:17
                                        96:23 96:24 99:13 100:11 100:12 101:20
                                        110:1 110:11 110:13 113:19 115:12 115:13
                                         134:22 154:1 157:9 157:13 162:11 162:12
                                        164:5 164:10 200:22 205:3 205:12




                                                                            A536

Page : 32                                                                                                                                         04/14/11 14:12:53
             Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 246 of 247 PageID #: 757
                                        TRIBUNE.4.13.11.DOC
Word                        Page:Line    Word                        Page:Line    Word                        Page:Line    Word                        Page:Line
with(290) 14:10 15:14 15:20 15:20 16:1 worry(3) 31:25 96:17 96:21                 you(301) 14:9 15:9 15:20 16:10 16:10     your(301) 14:4 14:5 14:7 14:13 15:4
16:2 17:1 18:20 20:5 21:21 22:16 23:12 worth(4) 27:7 142:18 183:24 184:11         17:2 17:4 17:6 17:7 18:6 18:11 18:24     15:10 15:25 16:7 16:22 16:25 17:6 17:7
23:17 24:21 26:10 26:19 27:4 27:9 27:16 would(195) 14:22 15:19 16:23 17:9 17:10 19:2 20:9 21:17 23:7 31:1 31:16 32:12 18:6 18:7 18:20 18:25 19:4 19:7 20:3
28:1 28:3 28:13 30:9 31:19 32:23 33:6 17:14 17:20 17:25 18:1 18:25 19:23 22:1832:13 33:1 33:2 33:5 33:12 34:6 34:22 20:9 20:10 20:13 21:18 29:23 32:13 33:24
38:4 38:7 38:8 38:9 39:3 39:8 39:23 40:1 23:15 24:12 24:13 24:16 24:24 24:25      34:25 35:1 39:22 39:23 39:25 40:12 40:1434:24 35:2 40:8 40:10 41:7 43:13 46:22
40:18 41:6 41:21 42:8 42:11 42:16 42:20 25:17 25:25 26:7 27:6 28:14 29:3 29:3 40:22 40:25 41:4 41:20 41:24 42:7 42:18 47:6 47:9 48:6 48:7 49:7 49:19 49:22
43:2 43:15 43:16 44:16 44:18 44:19 45:1729:18 30:12 32:5 32:17 33:1 33:5 33:8 42:19 43:2 43:7 43:8 43:16 43:23 44:4 50:15 50:17 51:10 52:8 52:18 52:23 52:24
45:21 45:24 45:25 46:3 46:13 46:14 48:1637:17 38:14 40:6 41:16 41:16 47:19 47:2244:6 44:7 45:11 47:2 47:4 47:5 48:3 48:6 53:8 53:11 54:13 54:21 55:9 55:22 56:2
48:21 48:24 49:14 51:2 51:15 51:19 52:4 48:5 54:15 57:22 57:23 58:13 59:3 61:24 49:4 49:5 49:9 49:17 49:23 50:16 51:20 56:4 56:10 57:16 57:18 57:25 58:4 58:6
52:13 52:18 53:1 53:21 53:23 54:8 54:23 62:6 62:7 62:11 62:13 64:4 64:8 67:3      52:3 52:3 52:9 52:10 52:10 52:20 52:23 62:4 62:18 63:5 63:14 64:15 65:5 66:7
56:11 58:17 59:12 59:15 60:8 64:6 64:16 69:12 69:17 69:25 70:2 72:5 72:7 72:8 53:1 54:13 54:13 54:16 57:16 58:1 64:15 66:10 66:18 67:5 67:15 69:19 70:1 70:4
65:8 67:19 67:20 69:22 70:6 70:7 70:8 72:14 73:9 74:15 74:20 74:22 75:13 76:7 65:2 66:8 66:10 67:14 67:14 68:3 68:4 70:5 70:9 70:12 71:15 71:23 71:25 74:2
70:18 71:2 72:18 72:20 74:8 75:25 76:19 77:1 77:17 78:2 78:15 81:1 84:10 85:5 68:13 68:24 69:3 69:17 69:20 69:25 70:1774:7 74:9 74:11 74:12 74:22 75:4 75:5
76:21 76:24 77:4 78:18 79:19 80:9 81:2 88:14 88:25 89:4 95:7 95:21 97:20 98:7 74:12 75:3 75:4 76:12 78:11 79:1 79:2 76:1 76:3 77:14 78:1 78:9 78:9 78:10
81:13 81:17 82:16 82:16 82:19 82:21 83:798:12 99:15 99:16 100:15 100:24 101:12 79:14 80:12 80:13 80:18 81:16 82:10         78:18 79:3 79:16 79:18 80:5 80:10 80:21
84:7 84:24 87:12 88:1 88:1 88:10 88:18 106:16 106:25 106:25 107:5 109:2 110:2 82:11 83:1 84:25 86:4 86:16 87:1 87:5 81:1 81:21 82:11 82:12 83:17 83:19 83:24
89:9 89:18 91:21 91:22 92:15 93:2 93:13 110:8 113:10 115:24 117:19 118:2 118:3 87:25 88:16 89:8 89:16 89:22 90:13 91:2084:10 84:18 85:15 85:16 86:4 86:6 86:7
93:14 93:15 93:19 93:21 94:8 94:9 94:10 118:15 119:20 121:24 123:13 123:21 124:192:24 92:25 93:4 93:5 94:15 94:17 95:7 86:10 86:15 87:4 87:5 88:15 89:1 89:15
94:25 96:2 96:5 98:18 99:5 99:5 99:7      124:1 124:5 124:6 124:21 124:24 125:11 96:7 96:7 98:1 98:6 98:6 98:7 98:8 98:12 89:24 90:14 90:17 91:10 92:20 93:3 93:8
99:15 101:8 101:18 102:3 102:14 105:7 125:11 125:25 126:7 126:11 126:16 126:1898:12 98:14 98:22 98:23 98:23 99:1 99:2294:18 95:4 98:4 98:20 98:22 99:20 100:1
106:4 106:16 106:21 108:17 109:10 109:21127:19 130:18 130:18 131:21 133:17        99:22 100:1 100:7 100:23 101:13 101:16 100:4 100:6 100:8 100:13 100:19 100:24
 110:4 110:7 111:10 111:15 112:2 112:22 133:18 133:20 133:21 136:3 143:13 143:17101:25 102:13 103:6 103:20 104:3 104:23 101:5 101:10 101:11 101:12 101:17 101:25
113:11 114:1 114:5 116:23 117:3 117:9 145:11 146:10 146:23 148:24 150:2 150:6104:24 105:11 105:11 105:12 107:5 107:8 102:2 102:9 102:13 102:18 103:5 103:13
117:10 117:12 119:1 120:7 120:25 121:7 150:7 150:9 150:9 150:13 150:22 154:8 107:25 108:5 110:1 110:17 110:18 110:18 103:16 103:22 104:3 104:12 104:17 104:23
122:5 123:21 125:9 125:22 126:1 126:4 154:21 154:22 154:23 155:3 155:4 155:6 110:21 110:21 110:23 110:24 111:1 111:2 105:8 105:22 106:24 107:5 107:20 107:23
126:12 128:9 129:11 129:14 131:8 132:6 155:8 156:19 158:9 161:2 161:3 161:21 111:6 111:13 111:17 112:2 112:3 112:8 108:11 108:20 108:23 109:8 109:10 109:14
132:17 132:17 133:6 135:16 136:7 136:16 162:5 162:10 162:11 162:13 162:18 166:23112:13 112:15 112:20 112:25 113:3 113:4 112:2 112:4 113:5 114:18 116:1 116:9
136:18 137:1 137:9 137:17 137:24 138:6 169:3 170:19 176:15 177:25 179:24          114:12 114:17 115:4 115:6 115:6 116:9 116:11 116:14 116:17 120:19 127:23 128:5
138:22 139:5 139:10 139:22 139:25 140:16181:10 182:8 185:10 185:11 185:12 185:13116:10 121:23 122:1 122:23 123:20 123:25128:16 128:19 128:25 129:2 129:10
 141:1 141:4 142:1 142:8 142:17 144:8     186:6 186:7 186:10 187:1 187:16 187:17 124:5 124:14 126:5 126:7 126:19 127:24 129:11 129:16 129:18 130:5 130:15 130:18
144:9 144:14 145:3 146:1 146:8 146:12 187:19 188:3 188:4 188:15 189:4 190:11 127:25 128:4 128:12 128:14 128:21 128:22131:2 131:3 131:7 131:14 131:18 132:2
147:10 147:22 148:9 148:20 149:9 149:14 192:21 197:4 197:17 198:15 198:17 199:20129:2 129:15 129:16 131:2 131:6 131:11 132:7 133:9 134:21 136:23 137:24 138:9
149:15 149:19 150:14 151:18 151:20        200:19 201:2 202:9 203:3 204:16 205:17 131:12 131:14 132:23 132:23 133:8 134:10138:12 138:16 138:23 139:15 140:11
151:20 151:21 152:4 152:7 153:12 154:5 209:13 212:14                               136:3 136:14 136:23 136:24 137:15 138:1140:14 144:7 147:8 147:16 148:14 150:21
155:20 156:19 157:12 158:15 159:22                                                138:8 139:14 140:12 144:3 146:4 146:23 150:22 151:10 151:15 156:1 156:17 157:4
160:25 161:18 163:15 164:14 166:6 166:16                                          147:13 147:15 147:16 148:14 148:21 149:5157:21 158:6 158:12 158:16 158:20 159:21
 169:14 171:3 172:4 172:9 172:14 174:3 wouldn't(4) 84:17 109:4 207:25 208:10       150:6 150:9 150:9 150:17 152:25 157:5 160:1 160:23 161:7 161:17 162:6 162:15
175:11 175:12 175:13 176:15 177:16       wrap(2) 34:23 34:24                      157:6 157:20 158:6 158:23 162:21 162:24 162:21 163:2 163:3 163:12 163:14 163:19
177:18 177:24 178:9 180:8 180:20 181:18 write(1) 87:17                            163:6 163:18 164:21 165:13 166:21 166:23164:15 164:21 165:14 166:3 166:18 166:20
181:25 181:25 182:3 182:14 184:20 185:10written(6) 89:2 89:9 98:15 119:16 121:23 167:1 167:1 168:14 168:21 172:5 172:7 168:6 171:12 171:25 172:4 172:16 172:20
 186:11 186:13 186:17 186:24 187:4       211:21                                   172:10 173:1 173:18 173:21 174:5 174:11 172:21 172:25 173:18 173:21 173:25
188:17 190:7 190:14 190:19 192:5 192:16                                           174:12 174:12 174:14 175:13 175:17       175:11 175:16 175:19 176:3 176:6 179:8
193:1 193:22 193:25 195:21 196:16 200:2 wrong(19) 38:17 38:18 39:11 41:10 64:4 175:18 175:25 176:3 176:9 179:1 179:2 181:5 181:8 181:10 181:13 182:15 182:23
200:2 200:17 201:6 202:11 203:9 203:12 66:6 70:13 79:1 90:20 90:23 122:16         180:25 181:10 182:16 182:16 183:5 184:23183:10 184:21 184:24 185:3 187:7 187:11
203:15 203:16 203:17 204:3 204:8 204:15 126:11 141:8 146:21 150:2 170:22 179:10 185:11 186:19 186:24 187:4 187:6 187:12187:20 187:20 189:19 189:23 190:3 192:8
204:16 206:13 209:19 211:2 211:6 211:6 179:11 179:11                              187:16 187:17 187:22 188:2 188:3 188:4 192:21 194:8 195:23 196:2 196:10 196:14
                                                                                  189:21 190:3 191:21 191:21 191:22 192:9 197:10 198:2 198:4 199:3 200:8 200:15
                                         wrongdoer(1) 67:8                        192:10                                   201:17 201:18 204:6 204:7
withdraw(3) 57:9 184:7 185:13            wrongdoing(1) 66:24
withdrawing(2) 55:11 78:9                wrongful(1) 160:16                       you(49) 192:24 192:25 193:21 194:9
withdrawn(1) 185:18                      wrongly(1) 176:20                        194:24 194:25 195:2 195:25 197:25 198:1 your(12) 204:13 205:1 205:16 205:21
withdrew(4) 55:12 57:2 76:23 77:11                                                198:2 198:2 198:3 198:9 198:12 198:12 207:3 208:8 208:20 208:21 209:25 210:10
                                         wrote(2) 70:21 184:8
within(8) 56:17 66:24 86:9 88:25 162:18 www.diazdata.com(1) 1:45                  198:25 198:25 198:25 200:15 201:13       210:14 210:15
186:2 186:4 187:18                                                                201:14 201:15 201:16 201:20 201:21 202:1
                                         yards(1)  86:23
                                                                                   202:2 202:5 204:5 204:7 204:11 205:18 yours(2) 56:8 198:24
                                         yeah(5) 51:22 56:19 99:23 104:3 108:20
without(24) 36:14 50:2 56:21 57:3 69:9 year(7) 19:17 19:22 45:2 105:25 150:19 205:20 205:21 207:3 207:4 207:9 207:21 you’d(2) 166:3 193:2
73:2 81:16 82:8 117:10 121:5 123:1 123:1162:9 174:8                               210:5 210:8 210:18 210:24 211:4 211:8 you’ll(1) 165:16
123:3 123:4 133:12 148:1 162:14 174:5                                             211:15 212:7 212:12 212:24               you’re(6) 164:18 168:16 172:11 187:15
175:8 193:10 198:16 199:3 203:24 205:14                                                                                    191:24 198:24
                                         yearly(1) 36:24                          you'd(4) 99:20 110:2 126:2 205:16
                                         years(3) 121:7 151:2 151:4               you'll(3) 88:24 92:1 203:5
witnesses(1) 62:23                                                                                                         yurkewicz(3) 5:39 15:25 16:1
                                         yell(1) 205:17                           you're(27) 43:10 43:12 43:19 51:25 52:19 zabel(5) 5:31 11:28 16:3 16:8 187:8
womble(1) 4:32
                                         yelling(1) 205:12                        58:5 66:3 78:10 78:16 78:18 78:19 98:9 zell(48) 6:31 53:2 53:9 53:13 53:21 55:1
won't(6) 63:15 96:18 130:5 209:23 210:7
                                         yes(13) 39:15 57:18 65:4 70:4 87:24 100:4105:2 105:9 105:17 107:6 110:24 110:25
210:24                                                                                                                     56:13 59:2 60:13 62:10 62:16 63:1 63:5
                                          100:6 128:6 147:8 182:24 196:1 200:14 120:15 120:17 124:17 126:23 137:8 147:14
                                                                                                                           63:11 63:17 64:3 64:12 64:23 66:22 67:1
                                         208:4                                     156:20 206:13 208:1
wondering(1) 65:18                                                                                                         67:8 67:14 67:21 67:23 68:19 68:22 72:9
                                         yesterday(3) 14:9 17:2 88:15                                                      79:7 79:22 80:2 80:3 80:9 80:20 80:23
won’t(2) 165:4 185:7
                                         yet(4) 131:4 188:21 207:13 212:17        you've(16) 49:22 56:2 67:13 68:15 83:18 81:17 82:14 86:18 86:21 90:21 91:2 94:10
woods(1) 160:3
                                         yield(1) 162:22                          89:6 91:21 125:8 125:25 126:24 132:22 94:13 101:6 101:9 101:11 109:9 135:17
word(2) 93:1 116:8
                                         yielding(1) 92:22                        134:16 141:12 156:2 163:14 207:5         203:11
words(11)  49:25 87:12 130:21 137:17
                                         yields(1) 116:5                                                                   zell's(3) 64:7 81:23 203:7
142:19 143:14 153:4 153:15 154:12 160:14
                                         york(9) 2:32 2:39 3:17 4:21 4:41 5:15    young(1) 2:4                             zelmanovitz(1) 13:42
 191:13
                                         5:34 59:19 149:21                                                                 zensky(1) 9:42
work(6) 24:21 72:3 111:6 127:18 127:24                                                                                     zloto(1) 9:36
209:23                                                                                                                     zuckerman(4) 4:24 8:13 62:22 79:4
                                                                                                                           “according(1) 177:10
worker(1) 21:24                                                                                                            “and(1) 168:22
workers(2) 24:7 26:15                                                                                                      “assets(2) 167:21 169:17
works(1) 109:25                                                               A537                                         “judge(1) 174:11
world(1) 203:23                                                                                                            “most(2) 191:16 191:16
worlds(1) 209:9                                                                                                            “since(1) 177:19
Page : 33                                                                                                                                         04/14/11 14:12:53
                 Case 1:12-cv-00128-GMS Document 8-6 Filed 07/26/12 Page 247 of 247 PageID #: 758
                                            TRIBUNE.4.13.11.DOC
Word                     Page:Line
“the(1) 168:10




                                                       A538

Page : 34                                                                                           04/14/11 14:12:53
